                                                F~l~[~
     Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 1 of 155 Page ID #:1
                                                        ~;~~
                                                                                 J~ G~,~;,a~J
 1 MICHAEL(MOSHE)PERRY
  23705 VANOWEN ST.# 262
2 WEST HILLS, CA,91307
  (747)224-9515                                                           2022 ~~iG "2 P~~1 2~ ~r3
                             IN THE UNITED STATES DISTRICT COURT                 ~~~UF;T
                           FORT      ENTRAL DISTRICT OF CALTFORN~A      ,_~~'~~"~-I~'.
 J
              L~ C U 22
      MICHAEL(MOSHE)PERRY
                                  J
                                       ?~      _      X    ~ •~~'_. _ _
                                                         ~~t o~No.:
                                                         laintiff Does Not StiPulate To A District Court
                                                                  to Judge.
 7             Plaintiff
 8                                                          ~aintiffs Verified Civil Complaint With Claims
             vs.                                            nd Alternative Statements Under FRCP
9                                                           d)(2)2 In Support of The Complaint:
      NP PARC CHATEAUX,LLC.(AND INC.),
10                                                       1) Request For Temporary and Permanent
      MANAGING COMPANY/IES GRAYSTAR-                     njunctive Relief Against The State California
      ALLIANCE RESIDENTIAL(ALLRESCO");                   supreme Court with declaratory, equitable relief
                                                        'ursuant to 28 U.S.C. §1651, and punitive damages
12    CHRISTINA ROMERO,MANAGER PARC                      gainst the landlord NP Parc Chateaux, LLC. (and
13    CHATEAUX LLC.,,"KEVIN," MANAGER                    nc.), and the Los Angeles County Sheriff's

14    PARC CHATEAUX LLC.; TANIA KIM
                                                         ~
                                                         )       Parc Chateaux LLC.'s Reprehensibility In
      CARDOSO;HOLLENBECK & CARDOSO LLP.; Dorking Alongside With The State of California
15
      CHANDLER HOYT,SANTA CLARITA CITY   uperior Court To Commit Procedural Fraud Of
16                                                       ►ue Process By Violated Federal Law 28 U.S.C.
      TOWING INC.("SCCTOW"); SHERIFF ALEX
                                                         1447(c) By Using An Electronic Transmittal
17
      VILLANUEVA IN HIS OFFICIAL AND                      etter of Remand As Remand, Instead of Waiting
18                                                        o The District Court "Certified" Remand Enabled
      INDIVIDUAL CAPACITIES AS COUNTY OF                 he State Court To Prematurely "Grabbed"
19' LOS ANGELES SHERIFF`S DEPARTMENT,                    ,irisdiction From The District Court And Issue A
                                                          'oid Default, default Judgment and Writ of
20    CHIEF NSTICE OF THE CALIFORNIA
      SUPREME COURT TANI GORRE CANTIL-
21                                                       S)     The landlord and the Los Angeles Sheriff
      SAKAUYE AS CHAIR OF THE CALIFORNIA                 Department substantively violated the Federal
22
      JUDICIAL COUNCIL AND THE CALIFORNIA                ioratorium Laws, CARES Act, by serving Mr.
23                                                       erry on August 23, 2020 with only 3-days Notice-
      OFFICIAL WHO ADMINISTERED THE                      o-Vacate, instead 30 days under Section 4024 of
24    VEXATIOUS LITIGANT LISTING AND                     ~e CARES Act (15 U.S.C. §9058)(b)&(c) (15
                                                         ~.S.C. § 9001 et seq.)),3 as amended by the Rescue
25    ORDERS,IN THEIR OFFICIAL,                          lan Act of 2021.
26    ADMINISTRATIVE CAPACITIES,I                        4)      California's Tenant Relief Act (CTRA) of
27

28
      1     Wolfe v. Strankman, 392 F. 3D 358 (2004).
                                                        1
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                 Defendants,                              September 1, 2020.
                                                           5) Violated Section 4024 of the CARES Act
                                                             d the staff had served Mr. Perry with only 3-days
 -,                                                          otice-To-Vacate on August 23, 2020. Landlord
                                                          failed to give Plaintiff 30 days Notice-To-Vacate
4                                                           ursuant to. Landlord and the sheriff Department
                                                            ad forced Plaintiff to live in hotels for over one
 5                                                          ear, because landlord Parc Chateaux had informed
                                                            ther landlords (Plaintiff applied to) not to rent to
6
                                                          6) Sheriff Department and the landlord staff
 7                                                         efusal to wear masks maliciously infected Mr.
 8                                                        ' erry with COVID-19, Coronavirus that made him
                                                          ;ravely ill that it almost killing him. Sheriff
9                                                          department deputies refused to yield to warning by
                                                           he Los Angeles Inspector General Max
10                                                         huntsman's letter of August 21, 2020 to wear
                                                           >rotective masks, had infected Mr. Perry on August
                                                          !7, 2020 with COVID-19 Coronavirus that made
12                                                         iim gravely ill that it almost killed him, had
                                                           lamage to Mr. Perry's liver and infected his heart
13                                                         vith Myocarditis4 During the wrongful eviction on
                                                           august 27, 2020. (Ref. "RELIEF ACT" 5.4519 of
14                                                         august 10, 2020 providing tenants a Private Right
                                                           ►f Action) Is remedied under the Fourteenth
15
                                                           amendment to the United States Constitution, and
16                                                         ~2 U.S.C. § 1983, California Senate Bi113088;

17                                                             ')   For Federal Question Jurisdiction Under 28
                                                               .S.C. § 13315 in Claim Against The Sheriff's
18

19     2       FRCP 8(dl(21: Alternative Statements of a Claim or Defense: A narty may set out 2 or more
       statements of a claim or defense alternatively or hvnothetically. either in a single count or defense
20     or in senarate ones. If a party makes alternative statements, the nleadin~ is sufficient if any one of
       ahem is sufficient. Jones v. Bock, 549 U.S. 199, 127 S. Ct. 910, 166 L. Ed. 2d 798 (2007).
21             28 U.S.C. § 1658: Time limitations on the commencement of civil actions arising under Acts of
       Congress. (a) Except as otherwise provided by law, a civil action arising under an Act of Congress
22     enacted after the date of the enactment of this section may not be commenced later than 4 years after the
       cause of action accrues. Sandwich Isles Comms., Inc., FCC18-172, 2019 WL 105385, at *39 (F.C.C. Jan.
23     3, 2019); see also Garvey v. Hale, 1997 WL 566262, at * 1 (N.T.S.B. Aug. 29, 1997) (stating that section
       4 658(a) annlies to "certain civil actions in federal court."
24             Mvocarditis infection is an inflammation of the heart muscle. Myocarditis is also common after
       COVID-19 infection than vaccination. COVID-19 as a Possible Cause of Myocarditis and Pericarditis.
25     https://www.acc.org/latest-in-cardiology/articles/2021/02/05/19/37/covid-l9-as-a-possible-cause-of-
       myocarditis-and-pericarditis.
26     Read more: https://www.newscientist.com/article/mg25133462-800-myocarditis-is-more-common-after-
       covid-l9-infection-than-vaccination/#ixzz78 YSSWQtT.
27     5       The substantial inquiry looks "to the importance of the issue to the federal system as a whole,"
       not to the parties in the particular suit. Gunn v. Minton, 568 U.S. 251, 260(2013). See Grable &Sons
28     Metal Prods., Inc. v. Darue En~'~ & Mfg., 545 U.S. 308, 312 (20051: "fFlederal-Question
       jurisdiction....will lie over some state-law claims that implicate significant federal issues, see, e.g.,
                                                           2
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                                                               epartment Enforcing Challenge And Execution of
                                                               he Eviction Orders that violated the 30 days
                                                               otice-To-Vacate under Section 4024 of the
 -,                                                            ARES Act(15 U.S.C. §9058)(b)&(c). Is remedied
                                                               ider the Fourteenth Amendment and 42 U.S.C.
 4                                                             1983;

 5                                                         8) For Federal Question Jurisdiction under 28
                                                           J.S.C. § 1331 and the judge-made cause of action
 6                                                         ecognized in Ex parte Young, 209 U.S. 123, 28
                                                           ~.Ct. 441, 52 L.Ed. 714(1908) for declaratory and
 7                                                         njunctive relief for a facial and as applied
                                                            onstitutional Challenge to the vexatious litigant
 8                                                         tatutes §391.7 (and §§391 et. seq.) is
 9                                                          unconstitutional as applied When the California
                                                           supreme Court forced Mr. Perry as a defendant to
10                                                         ile form "VL-110 Request to File New Litigation
                                                            ~y Vexatious Litigant" that was meant for a
11                                                          plaintiff, (which they always deny to him as a
                                                           .efendant for lacking merits) unwillingness to
12                                                         ddress Mr. Perry's grievance that the Sheriff and
13                                                          ~ndlord had violated his rights for 30 days Notice-
                                                           'o-Vacate under Section 4024 of the CARES Act
14                                                         15 U.S.C. §9058)(b)&(c) to deprive him due
                                                             ~rocess and equal protection of the law violate the
1~                                                         'ourteenth Amendment.6 Is remedied under 42
                                                            J.S.C. § 1983. (Exhibits Are Attached)
16
                                                                           R JURY TRIAL
17
18

19

20

21
22  Smith v. Kansas City Title &Trust Co., 255 U. S. 180. Such federal jurisdiction demands not only a
    contested federal issue, but a substantial one. And the jurisdiction must be consistent with congressional
                                                                                             ~overnin~ ~1331's
23 iud~ment about the sound division of labor between state and federal courts for jurisdiction over
   ~apvlication. These considerations have kept the Court from adovtin~ a single test
                                                                                         the question is whether
24 federal issues embedded in state-law claims between nondiverse parties. Instead,
    the state-law claim necessarily stated a federal issue, actually disputed and substantial, which a federal
                                                                                    of federal and state judicial
25 forum may entertain without disturbing a congressionally approved balance
    responsibilities. Pp. 3-6."
26 6        The Fourteenth Amendment Section 1: "No State shall make or enforce any law which shall
    abridge the nrivile~es or immunities of citizens of the United States; nor shall any State deprive any
                                                                           nor deny to any person within its
27 person of life, liberty, or property, without due process of law;
   jurisdiction the equal protection ofthe laws..." Section 5:"The Congress shall have the power to enforce,
                                                                                             States, Amendment
28 by appropriate legislation, the provisions of this article." [Constitution of the United
    XIV, Sections 1-5].
                                                          K3
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11             Violations of Federal Laws On The Moratorium Against Eviction Under Section 4024 of the
              CARES Act (15 U.S.C. §9058(b)&(c)) 28 U.S.C. §§1357; §1343(4); 2201 And 2202 California
12            Penal Code §396(fl, For Failing To Give Mr. Perry The 30 Days "Notice-To-Vacate" Before The
              Eviction on August 27, 2020 Violated Section 4024(b)&(c) Under The CARES Act (15 U.S.C.
13            9058(b)&(c)]. Against Parc Chateaux LLC, And Any Managing Agent/Representatives, And Other
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14            LLP]      19
~J
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16             Impacts on Evicted Families Act) For The Wrongful Eviction On August 27, 2020 Was In
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17             U.S.C. 9058); For Violation of The California Tenant Relief Act (CTRA)of September 1, 2020;
               Violation of Due Process Under California Constitution, Article I, Sections (1)&(4) And the Equal
18
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19             Perry's Rights As a HUD Tenant Under 42 U.S.C. § 1437d(k) For A Trial De Novo Under 24
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20             Relief And Monetary, Punitive Damages Against Parc Chateaux LLC, And Any Managing
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23             Landlord (Parc Chateaux LLC, and Any Managing Company, And Other Successesor/s, And Their
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           Angeles Sheriff's Department Had Both Caused Endangerment of Mr. Perry's Life, Health And
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           Almost Killed Him During The Eviction on August 27, 2020; The Sheriff Department Violation of
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 7
          Constitution, Article I, Section (1) In Any State Court. Mr. Perry Is Entitiled To Obtain Any
 8        Relief, Injunctive With Declaratory, Equitable Relief Against The California State Supreme Court
          Pursuant to 28 U.S.C. §1651 After They Forced Him As Defendant Under Cal. Code. of Civ. Proc.
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18         February 21, 2020 From The United States District Court Based Only of An Electronic "Letter of
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19
           That Was Never Mailed By The District Court, That Defendants Had Never Received Any
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27         Constitution, Article I, Section (1) And Government Code §26602: "[t]he spread of any contagious
           or communicable disease" Against The Los Angeles Sheriffls Department As The Eviction Jointly
~g
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            Rights Act of 1968 (As Amended); 42 U.S.C. §2000d-1; Section 109 of Title I of the Housing
 7
            And Community Development Act of 1974, 42 U.S.C. §5309; The Fair Housing Act And Title VI
 8          of the Civil Rights Act of 1964, Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. §794;
            Title II of the Americans with Disabilities Act of 1990, 42 U.S.C. §§12181 — 12189; Executive
9           Order 11063 (1962), Executive Order 12892(1994) In Concert With Violation of Section 4024 of
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15
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19
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20          LLP]       53
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             Supreme Court As Mr. Perry As A Defendant That Was Meant For A Plaintiff, Forcing Him To
~~
            File Form "VL-110 Request To File New Litigation By Vexatious Litigant" Which They Always
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 r5                                                            II.      PARTIES

10          1)      Plaintiff MOSHE (MICHAEL) A. PERRY is an Israeli-American man. At all relevant
    times, Mr. Perry has resided at the PARC CHATEAiJX LLC. Apartment Complex ("the Premises"), at
1 1 Constitution Avenue, Stevenson Ranch, California 91381 ("Unit 225").

12         2)       Defendant Parc Chateaux LLC., is a New York Corporation ("Parc Chateaux LLC.").
    Parc Chateaux LLC., owns Unit 225 in Stevenson Ranch.
13         3)       Defendant GR.AYSTAR- ALLIANCE RESIDENTIAL, and acts as the property
                                                                                in the State of California and
14 management company for the Premises. Parc Chateaux LLC., does business
    does business at its office, located at 300 Ardito Avenue, Kings Park, New York 11754.
15         4)       Defendant CHRISTINA ROMERO is the property manager at the Premises and is an
                                                                     Chateaux LLC and Christina Romero are
16 agent of Parc Chateaux LLC. As set forth in paragraph 6, Paxc
    referred to collectively as the "Parc Chateaux Defendants."
17          5)      Defendant "KEVIN" is PARC CHATEAUX LLC maintenance man at all relevant times
18 lived and resided at Parc Chateaux Apartments.
           6)       Defendant LOS ANGELES SHERIFF'S DEPARTMENT ("Sheriff's Department"), at all
19 relevant times are the....that served the Notice-To-Vacate and evicts the tenants following service of the

20 Notice-To-Vacate.
            7)      Defendant Counsel TANIA KIM CARDOSO; HOLLENBECK & CARDOSO LLP are
21 the counsels and law firm representing the Defendant PARC CHATEAUX defendants.

22          8)      Defendant HOYT,Santa Clarita City Towing Inc.("SCCTOW")
            9)      Defendant SHERIFF ALEX VILLANUEVA in his official and individual capacities as
23 County of Los Angeles Sheriff's Department.

24           10) Defendant Judge Tricia Taylor of the Chatsworth Courthouse, and CHIEF JUSTICE OF
     THE CALIFORNIA SUPREME COURT TANI GORRE CANTIL-SAKAUYE As Chair Of The
25 California Judicial Council And The California Official Who Administered The Vexatious Litigant
             And Orders, In Their Official, Administrative Capacities.
26 Listing

27                                             III.      JURISDICTION AND VENUE

~g                11)       This lawsuit is brought pursuant to the "The Civil Rights Act of 1964" and 42 U.S.C. §

                                                                                7
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 1    1983, Provision of Federal Law under 28 U.S.C. §1447(c) and Section 4024 of the CARES Act (15

2     U.S.C. §9058)(b)&(c)(15 U.S.C. § 9001 et seq.)),~ as amended by the Rescue Plan Act of 2021, and the
      "RELIEF ACT" 5.4519 of August 10, 2020 providing tenants a Private Right of Action), confers
3
      jurisdiction on this Court who has jurisdiction of Plaintiff's federal law claims pursuant to 28 U.S.C. §
4
      1331, as this case involves questions of federal law. Fort Bend County v. Lois M. Davis, No. 18-525
5
     (June 3, 2019).
6            9)        The jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1331, 1343(4); § 1357
7 (Injuries under Federal laws); 28 U.S.C. §§ 2201 and 2202, with diversity jurisdiction under 28 U.S.C.

8     §1332 and supplemental jurisdiction over the related state law claims pursuant to 28 U.S.C. § 1367(a)
      because those claims form part of the same case or controversy under Article III of the United States
9
      Constitution. Plaintiff's state law claims share all common operative facts with their federal law claims,
10
      and the parties are identical. Resolving Plaintiff's federal and state claims in a single action serves the
11
      interests ofjudicial economy, convenience, consistency, and fairness to the parties.
12            10)      Venue is proper in California, and Defendants are subject to the personal jurisdiction of,
13    this Court because Defendants maintain facilities and business operations in this District, and all or most

14    of the events giving rise to this action occurred in this District, with venue under 28 U.S.C. § 1391(b).
              1 1)     The racial and national origin discrimination$ action is brought pursuant to Title VII of the
15
      Civil Rights Act of 1964, as amended and Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. §794.
16

17                   IV.   THE DEFENDANTS PARC CHATEAUX ARE JOINTLY AND
                           SEVERALLY LIABLE WITH THE LOS ANGELES SHERIFF'S
18                         DEPARTMENT.
19
              12)      At all relevant times, Defendant Christina Romero, Defendant "Kevin" were agents and/or
20    employees of Defendant Parc Chateaux LLC. And Tania Kim Cardoso; Hollenbeck &Cardoso LLP are
21    the counsel and law firm representing the Defendant Parc Chateaux defendants are all jointly and
22
      ~       28 U.S.C. § 1658: Time limitations on the commencement of civil actions arising under Acts of
23    Congress. (a) Except as otherwise provided by law, a civil action arising under an Act of Congress
      enacted after the date of the enactment of this section may not be commenced later than 4 years after the
24    cause of action accrues. Sandwich Isles Comms., Inc., FCC18-172, 2019 WL 105385, at *39(F.C.C. Jan.
      3, 2019); see also Garvey v. Hale, 1997 WL 566262, at * 1 (N.T.S.B. Aug. 29, 1997)(stating that section
25    1658(a) applies to "certain civil actions in federal court."
      g       Pavon v. Swift Transportation Co., Inc., 192 F.3d 902 (1999): "We also reject Swift's
26    contention that Pavon was subjected to discrimination based on his national origin and not his
      race, and so may not bring a claim under § 1.981 which provides relief only for race-based
27    discrimination. See St. Francis College v. Al-Khazra~, 481 U.S. 604, 613, 107 S.Ct. 2022, 95 L.Ed.2d
      582(1987)(holding that Congress intended for this statute to protect "identifiable classes of persons who
28
      are subjected to intentional discrimination solely because of their ancestry or ethnic characteristics.").
                                                             0
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1 ~ ~ severally liable as well as the Los Angeles Sheriff's Department had no qualified immunity for violating
                                                v. Franks, 573 U.S. 228, 243 (2014).9
2 Mr. Perry constitutional rights. See Lane

3                                           V.    BACKGROUND
4            13)     Mr. Moshe A. Perry is an Israeli-American who had moved into atwo-bedroom unit under

 5    a HUD subsidized, affordable housing program since August 9, 2016, in Parc Chateaux Apartments, a
      large complex on Constitution Avenue in Stevenson Ranch, California. Under the lease, Mr. Perry was
6
      responsible for gas and electric, and the landlord was responsible for water, garbage and sewer services.
 7
      Mr. Perry had access to a parking space in front of the building.
8
             14)     As Mr. Perry's unit was subject to HUD's subsidized, affordable housing program it was
9     subject to regulations (24 C.F.R. § 966.5710 and 24 CFR § 966.4 -Lease requirementsl ~) and to the laws
10    and the City of Los Angeles HUD Affordable housing regulations and rent-control ordinance, meaning
11    his rent could be raised a maximum of around 3 percent per year and for the first three years Mr. Perry's

12    tent was raised only once from $1535 to $1648. During his tenancy, the maximum that stabilized rent
      could be increased was a total of 3 percent per year, whereas the market rent for atwo-bedroom, two-bath
13
      unit in Stevenson Ranch and Los Angeles increased by 255 percent. After Parc Chateaux had wrongly
14
      evicted Mr. Perry, they increased the rent from $1648 to $3877 for his two-bedroom, two-bath apartment.
15           15)     In 2018 one of Parc Chateaux proximate apartment building next to Mr. Perry's building
16    had entirely burned out, and construction had lasted until 2021. Almost immediately, and for the next 14
17    months until Mr. Perry was forced out, the landlords began to take away various benefits that had

18
     9       Lane v. Franks, 573 U.S. 228, 243 (2014). The qualified immunity analysis consists of two
19    prongs: (1) whether the facts the plaintiff alleges make out a violation of a constitutional right; and (2)
      whether that right was clearly established at the time the defendant acted. Castro v. County of Los
20    Angeles, 833 F.3d 1060, 1066 (9th Cir. 2016)(en banc); Orn v. Cit~of Tacoma, 949 F.3d 1167 (9th Cir.
     2020). Whether a right is clearly established turns on whether it is "sufficiently definite that any
21    reasonable official in the defendant's shoes would have understood he was violating it." Nicholson v. City
      of Los Ames, 935 F.3d 685, 695 (9th Cir. 2019)(quoting Kisela v. Hum, 138 S. Ct. 1148, 1153
22   (2018)). Regarding the second prong, the Ninth Circuit has explained: "We begin our inquiry into
      whether this constitutional violation was clearly established by defining the law at issue in a concrete,
23    particularized manner." Shafer v. Count~of Santa Barbara, 868 F.3d 1110, 1117 (9th Cir. 2017). The
      Ninth Circuit also confirmed that it is the plaintiff who bears the burden of showing that the rights
24    allegedly violated were clearly established. Id. at 1118.
      10     Sinisgallo v. Town o Islip Hous. Auth., 865 F. Supp. 2d 307 (E.D.N.Y. 2012) "[T]he only
25    possible exception would be if the housing court determined that it was entitled to conduct a trial de novo
      under 24 C.F.R. § 966.57, in which case the Plaintiffs would be entitled to raise all legal and equitable
26    defenses, including the constitutional due process and federal claims raised here. Although the Court has
      already held that § 966.57(c) permits the Plaintiffs to assert their federal claims in this court, whether and
27    to what extent they are entitled to raise those claims in the pending state praceeding is for the state court
      to decide." (Citation omittedl.
28    ~~      Code of Federal Regulations, Title 24, §§ 247.3, 247.4, 247.5, and 247.6; Code of Public Local
      Laws Baltimore City, Subtitle 9, § 9-14.
            of
                                                            D
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 1   previously been provided to the tenants, ignored or delayed.

2            16)     In mid 2018 early 2019 the landlord all of a sudden had changed the sewer charges Mr.
     Perry paid from under $20 to $49 that was based on only $12 of water use.12 When Mr. Perry requested
3
     the landlord for sewer figures that was based on the RUBS formula, as was noted in the lease agreement
4
     addendum of August 9, 2016, the Landlord refused and demanded $49 in sewer charges and $1250 in late
5    fees.
6            17)     Mr. Perry requested and on May 15, 2019 he was presented by assistant manager with
7 ~ ~ landlord Parc Chateaux Apartment charging HUD tenants over $55,752.66 in monthly sewer charges.

8    Landlord intentionally ignored the HUD's utilities allowances as mentioned in the lease agreement of
     August 9, 2016 that was provided for tenants was $48 but never utilized and increased. The increase of
9
     the sewer charge without the allowances was in violation of HUD Regulations.
10
             18)     Mr. Perry experienced an escalating series of problems with the landlord. One of the first
11
     things Mr. Perry noticed was that responding to maintenance and upkeep issues, were uncommunicative
12   and uncooperative, and became increasingly hostile to Mr. Perry. On July 2, 2019, Mr. Perry mailed the
13    landlord a certified mail informing them that in two weeks he is be leaving on a disability retreat in Israel

14   on July 27, 2019, 2007.
             19)     Mr. Perry wrote a letter he mailed by a certified mail to the landlord about his trip to Israel
15
     and included it with his August rent payment and he paid $50 in a check for carport space #410. Mr.
16
     Perry then parked his blue-gray 2007 all equipped automatic luxury Range Rover.13            A day after Mr.
17
     Perry left to LAX and flew to Israel on July 27, 2019 the landlord Parc Chateaux harassed and retaliated
18

19    12      In ~artment Assn. ofLos Angeles County. Inc. v. Cily ofLos Angeles - 74 Cal. App. 4th 681, the
      court of appeal declared that landlords can't circumvent rent limits by charging extra for water: "Using
20    this test of reasonable relationship, sewer service charges -- based upon a variety of factors have
      been upheld as constitutional. Thus, sewer service charges based upon water consumption have
21    been declared valid on the theory that the amount of water that flows into a building is apt to be
      roughly proportional to what flows out as sewage." (In re Ciry ofPhiladelphia (1941) 343 Pa. 47 [21
22    A.2d 876].)
      13
              The Ninth Circuit requires "proper standing to contest a forfeiture both as a statutory matter and
23    as an Article III and prudential requirement." United States v. One 1985 Cadillac Seville, 866 F .2d 1142,
      1 148 (9th Cir.1989); but see, U.S. v. $57,790 in U.S. Currency, 184 Fed.Appx. 604, 605 (9th Cir. 2006)
24   ("standing" in forfeiture actions not synonymous with Article III standing). "The claimant has the
      burden of establishing, by a preponderance of the evidence, that he has an interest in the property." U.S.
25    v. Real Property Located at Section 18, 976 F.2d 515, 520 (9th Cir. 1992), citing U.S. v. One Parcel of
      Land, 902 F.2d 1443, 1444 (9th Cir. 1990). "This interest need not be an ownership interest; it can be any
26    type of interest, including a possessory interest. See $122,043.00 [United States v. $122,043.00 in United
      States Currency, 792 F.2d 1470, 1473 (9th Cir.1986)] 792 F.2d at 1473; United States v. 1982 Sanger 24'
27    Spectra Boat, 738 F.2d 1043, 1046 (9th Cir.1984)(`It is not necessary therefore that a claimant under the
      forfeiture statute allege ownership. A lesser property interest such as possession creates standing.')
28   (citing United States v. Jacobsen, 466 U.S. 109, 113, 104 S.Ct. 1652, 1656, 80 L.Ed.2d 85 (1984))."
      United States v. $191,910.00 in U.S. Currency, 16 F.3d.
                                                           10
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 1   against Mr. Perry by towing his 2007 Range Rover vehicle without calling the police, even after he

 2   already paid for a carport #410.
             20)     While Mr. Perry was on his vacation disability retreat in Israel the landlord Parc Chateaux
 3
     LLC manager Christina Romero began he mischief after she assigned to Mr. Perry carport # 410, she said
 4
     by email that the carport belonged to another tenant who was about to move out from Parc Chateaux
 5
     apartment. Christina knew Mr. Perry was already in Israel and couldn't remove his vehicle.
 6           21)     So, Christina demanded by email that Mr. Perry remove his vehicle. Mr. Perry could not
 7   remove his vehicle and he asked her to move his car or tow it to another carport, or give the other tenant

 8   who was already about to leave an alternate carport parking for the few days. But Christina refused and
     ordered a towing company to tow Mr. Perry vehicle from the complex. As a result of the towing Mr.
 9
     Perry incurred thousands of dollars in various towing fees and storage fees he could not afford, causing
10
     Mr. Perry to lose his Range Rover valued at $18,985(Bluebook).
11
            22)      When Mr. Perry came back from Israel he was livid and he mailed his landlord a demand
12   letter via LISPS certified mail to remedy the loss of his vehicle, but the landlord ignored him. The
13   following months the landlord refused to answer Mr. Perry's questions the whereabouts of his vehicle

14   and he lost his vehicle,
            23)     Five months after Mr. Perry returned from his trip to Israel and after he paid all of his rent
15
     from August through December 2019, the landlord's manager Christina Romero retaliated when she all
16
     of a sudden increased Mr. Perry's rent by $362 retroactive five (5) months rent increase from August
17
     2019-December 2019, without giving Mr. Perry any previous notice to the increase. But this happened
18   after Mr. Perry had already paid all his rent for August-December 2019.
19          24)     When Mr. Perry requested a copy of the notice, the landlord's manager Christina Romero

20   promised she will email Mr. Perry the notice but she never did. See Greene v. Lindsey, 456 U.S. 444,
     450-451 (1982)(finding notice to tenants of eviction was invalid as matter of due process); See Jones
21
     v. Flowers, 547 U.S. 220, 230, (2006) (due process likely requires at least some additional effort to
22
     provide actual notice to the tenant).
23
            25)     Instead and while Mr. Perry was on a short business trip to Las Vegas, the landlord
24   manager Christina Romero had filed an unlawful detainer lawsuit (State case No.: 20CHUD00033),
25   against Mr. Perry on January 9, 2020 asking for forfeiture of the rent agreement based on $362 in 5
26   months of"unpaid" retroactive rent. Even knowing Mr. Perry had already paid his rent for those same

27   months.
            26)     Mr. Perry had almost missed the time to file his demurrer and cross-complaint on January
28

                                                         11
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      16, 2020. Mr. Perry fearing the state court discrimination had removed the state case to the federal court

 2   on February 6, 2020 in Case No.: 2:20-CV-01207-DFS-SK, the state court in Chatsworth had ignored
     Mr. Perry's notice of removal and papers that was served upon them, and the state court judge Tricia
 3
     Taylor had made nevertheless Orders on February 7, 2020 that violated federal removal laws.
 4
             27)     The United States District Court Central District Judge Dale S. Fischer had remanded the
 5
     case back to the state court On February 21, 2020. Mr. Perry never received a copy of the order of any
 6   remand order electronic "Letter of Transmittal-Remand To Superior Court (Civil)" until Parc
 7   Chateax ex pane motion was served on February 25, 2020 enclosed the copy of the transmittal letter. So,

 8   the very next day in the morning of February 26, 2020 he filed his answer. But the discriminatory state
     judge also intentionally ignored Mr. Perry's pleading and citation of Cal. Code of Civ. Proc. §
 9
     430.90(a)(1)&(2)(a)&(b) allowing him 30 days to answer as if it was inapplicable to him after he filed a
10
     demurrer. ~ 4
11
             28)     On March 1, 2020 President Donald J. Trump Issued proclamations of a state of
12   emergency and issued an executive order effective March 1, 2020 and March 4, 2020. Yet, the state
13   court in Chatsworth issued a default, ignoring Mr. Perry's answer and on March 5, 2020 the clerk issued

14   a default judgment against Mr. Perry. Mr. Perry motions to set aside the default and for reconsideration
     was arbitrarily denied on March 10, 2020. Mr. Perry filed an appeal to the Appellate Division of the Los
15
     Angeles Superior Court on April 4, 2020. Mr. Perry's timely appeal was finally heard late until May 11,
16
     2021.
17
             29)     Mr. Perry's fearing judicial discrimination in the state courts attempted a second removal
18   of the state court case to the United States District Court on March 12, 2020, because of COVID-19
19   Coronavirus he also filed a notice and pre-warning to the Los Angeles Sheriff Department he served

20   upon them by hand, not to arrive at his home to evict him in fear of infection from COVID-19,

21   Coronavirus.
             30)     The state of California trial court and appellate courts on May 19, 2021 refused to yield to
22
     justice15   and fairness and prejudiced Mr. Perry even as a defendant because they claim he was a
23

24
     14      Cal. Code of Civ. Proc. ~ 430.90(al(2): "If the defendant has not filed an answer in the original
25   court, then 30 days from the day the original court receives the case on remand to do anv of the
     following:(A)Answer the complaint. (B)Demur or move to strike all or a portion of the complaint if: (i)
26   an answer was not filed in the federal court, and (ii) a demurrer or motion to strike raising the same or
     similar issues was not filed and ruled upon by the original court t~rior to the removal of the action to
27   federal court or was not filed and ruled upon in federal court prior to the remand. If the demurrer or
     motion to strike is denied by the court, the defendant shall have 30 days to answer the complaint
28   unless an answer was filed with the demurrer or motion to strike.
     15      On February 25, 2020 landlord filed a "Request for a Clerk Default" together with the plaintiff's
                                                          12
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      vexatious litigant defendant. The Chatsworth Judge deemed Mr. Perry's February 26, 2020 answer as
                                                                      16
 2    untimely, claiming because he did not file on February 21, 2020.
             31)     Over a period of two months before the eviction on August 27, 2020, during May and
 3
      June of 2020, Mr. Perry saw a Sheriff Department vehicle/s parked for hours across the street, in the
 4
      Ralphs parking lot, a short distance and in direct view of his apartment front door. The Sheriff was
 5
      watching Mr. Perry leaving and going until Mr. Perry's girlfriend had also noticed the Sheriff's vehicle,
 6    and told Mr. Perry who finally grabbed his binocular looking at the sheriff vehicle officer who soon left
 7    the area. Both Mr. Perry and his girlfriend could not explain that time why the sheriff had stalked Mr.

 8    Perry's apartment?
             32)     See the Los Angeles Office of Inspector General MaaL Huntsman warning letter on August
 9
      21, 2020 to the Los Angeles County Sheriff Department ignoring COVID-19 masks health warnings:
10
     "Failure of Sheriffs Department Personal to Obey Face Covering Mandates." The Sheriff
11
      Department deputies refusal to wear protective masks to prevent the spread of COVID-19, a contagious
12    and communicable disease. "LA County sheriffs deputies aren't wearing masks as required, inspector
13    general saw Los Angeles County sheriffs deputies aren't followingpublic health orders that require them

14    to wear masks on the job, the Office of Inspector General warned Monday."Tuesday, August 25, 2020.
      https://abc7.com/los-angeles-county-sheriffs-deputies-la-sheriff-lasd-office-of-inspector-
15
      general/6388263/. "Los Angeles Sheriffs Department won't enforce county mask mandate", By Tori B.
16
      Powell, July 17, 2021 / 3:14 Pm /CBS News. https://www.cbsnews.com/news/los-angeles-county-
17
      sheriff-mask-mandate-covid/.1 ~
18

19
     "Ex Parte Application to "Reinstate" The Order of February 7, 2020." By doing so landlord had reopened
20    the default that allowed Mr. Perry's answer to be filed. Yet, the Appellate division of the Superior Court
      refused to hear Mr. Perry and ignored that the Chatsworth the Chatsworth Judge heard plaintiffls ex parte
21    application and then allowed Mr. Perry's answer to be filed in the morning of February 26, 2020.
      Additionally, both the landlord and the Chatsworth judge had failed to strike Mr. Perry's answer from the
22    court's file since February 26, 2020, and it was not a nullity. Yet, the Chatsworth trial clerk ignored Mr.
     Perry's answer was already filed and the clerk entered a clerk's default on March 4, 2020, and a default
23   judgment15 on March 5, 2020. On March 10, 2020, the Chatsworth Judge deemed Mr. Perry's answer as
      untimely.
      16      The Appellate Division claimed Mr. Perry's answer was due on February 21, 2020, the day the
24
      remand order was mailed to the state court. Yet, the California Courts ignored fundamental due process
25    requirement of service, the notice and mailing of the remand Order copy to Mr. Perry to inform him the
      case was remanded back to the state court, so he should file the answer, was extended by five (5) day
26    under CCP. §1013: "shall be extended five calendar days, upon service by mail."
     '~       "[A] court may take judicial notice of public records, government documents,judicial opinions,
27    municipal ordinances, newspaper and magazine articles, and the contents of websites. See, e.g., Makae
      v. Trump Univ., LLC, 715 F.3d 254, 259 n.2 (9th Cir. 2013); Harris v. Ctv. of~Orange, 682 F.3d 1126,
28    1 132 (9th Cir. 2012); Tollis, Inc. v. Cit~ofSan Diego, 505 F.3d 935, 938 n.l (9th Cir. 2007); United
     States v. Chapel, 41 F.3d 1338, 1342(9th Cir. 1994); Heidelberg, Inc. v. PMLithographers, Inc., No. 17-
                                                          13
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 1           33)    See Los Angeles Office of Inspector General Max Huntsman warning letter on June 15,

 2   2021 to the Los Angeles County Sheriff Department:"[W]e write regarding the Sheriffs Department's
     repeated failure to cooperate with the Inspector General's requests for documents and information
 3
     over the last two years." https://oig.lacounty.gov/Portals/OIG/Reports/6-15-
 4
     21%20Sheriff%20Alex%20Villanueva%20Letter.pdf
 5           34)    On August 23, 2020 the landlord and the sheriff posted on Mr. Perry's front door a three
 6 (3) days "NOTICE-TO-VACATE"(See Exhibit # 10) knowing Mr. Perry as "COVERED TENANT"

 7   living a HUD "COVERED DWELLING" living in Parc Chateaux Apartments since 2016, pursuant to

 8   Section 4024(a)(1) of the CARES Act and 15 U.S.C. §9058(a)(1). Mr. Perry was entitled to the 30 days
     "NOTICE-TO-VACATE" but only after the 120 expired. The Act forbids lumping the 120 days with
 9
     the 30 dayslgand then evicting tenants.
10
             35)    On August 27, 2020 the landlord and the sheriff's department not wearing COVID-19
11
     masks evicted Mr. Perry wrongfully and forcefully from his Constitution Avenue building to the street
12   only wearing a T-shirt and shorts. When Mr. Perry looked for an alternate apartment, the landlord would
13   told other landlords not to rent any apartments to Mr. Perry who could not rent an apartment and was

14   forced to live from one hotel to another for over one year.
             36)    Parc Chateaux had leased Mr. Perry's two-bedroom, two-bathroom apartment for $3,877 a
15
     month, an increase of nearly $2,000 (or almost triple) from $1648 a month Mr. Perry paid for his unit on
16
     Constitution Avenue. The landlords did not return Mr. Perry's security deposit of $400 was never paid
17
     back. Landlord could have used the security deposit for the supposed $362 of retroactive rent they
18   alleged Mr. Perry did not pay, although Mr. Perry made all his rent payments from August-December
19   2019.

20           37)    On August 27, 2020 the landlord and the Los Angeles Sheriff's Department arrived and
     hard and then they pounded the door with a sledge hammer and a crowbar and bent the metal door and
21
     broke the lock of Mr. Perry's front door. Then they violently evicted Mr. Perry from his home with only
22
     a T-Shirt and shorts, and told him "Go to the County and ask for shelter. We housing relief.
23
             38)    During the eviction the Sheriff's Department deputies did not wear masks and infected
24   Mr. Perry with COVID-19 Coronavirus that made him gravely ill, it almost killed him. The landlord and
25   the Los Angeles Sheriff's Department had violated the "CARES AcY' and 15 U.S.C. §9058 by evicting
26
     CV-02223-AB-AJWx (C.D. Cal. 2017); U.S. ex rel. Modglin v. DJO Glob., Inc., 114 F. Supp. 3d 993,
27   1008(C.D. Cal. 2015)."
     18     Section 4024(b)&(c)(1)&(2) of the CARES Act and 15 U.S.C. §9058(b)&(c)(1)&(2): "[m]ay not
28   issue a notice to vacate under paragraph (1) until after the expiration of the period described in
     subsection (b)."
                                                         14
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      Mr. Perry a"COVERED TENANT''from a"COVERED DWELLING."

2               39)    Congress had passed the Coronavirus Aid, Relief, and Economic Security("CARES Act")
      15 U.S.C. § 9058(b)19 (15 U.S.C. § 9001 et seq.,) was to limit the spread of COVID-19 Coronavirus was
 3
      a temporary moratorium on filings and eviction that was meant to protect the public from COVID-19
4
      spread.
 5              40)    The landlord and the Sheriff Department had failed to give Mr. Perry 30 days on July 26,
6     2020 and they waited until August 23, 2020 to post a 3-days "NOTICE-TO-VACATE." Landlord was
 7    not allowed to issue Mr. Perry a notice to vacate until after the expiration of the 120-day period

 8    moratorium against eviction had ended. Landlord then could not require Mr. Perry to vacate the covered
      dwelling unit before the date that is 30 days after the date on which the lessor provides the tenant with a
9
      notice to vacate, which was on August 23, 2020.
10
              41)      But landlord did not give Mr. Perry 30 days "NOTICE-TO-VACATE" after they gave
11
      him 120 days pursuant to Section 4024(b)&(c)(1)&(2) of the CARES Act and 15 U.S.C.
12    §9058(b)&(c)(1)&(2). Under Section 4024.(15 U.S.C. §9058) Time period.-- Moratorium.--During the
13    120-day period beginning on the date of enactment of this Act, the lessor of a covered dwelling MAY

14    NOT--
                 (b) (1) make, or cause to be made, any filing with the court of jurisdiction to
15
                    initiate a legal action to recover possession of the covered dwelling from the
16                  tenant for nonpayment of rent or other fees or charges; or
                   (2) charge fees, penalties, or other charges to the tenant related to such
17                  nonpayment of rent.
                (c) Notice.--The lessor of a covered dwelling unit--
18                 (1) Time period.--MAY NOT require the tenant to vacate the covered
                    dwelling unit BEFORE the date that is 30 days AFTER the date on which the
19
                    lessor provides the tenant with a notice to vacate; and
20                 (2) may not issue a notice to vacate under paragraph (1)
                    until AFTER the expiration of the period described in subsection (b).
21
                42)    In the first two weeks after the eviction of August 27, 2020 Mr. Perry endured hardship
22
     ~ and while living in a hotel he developed symptoms of Coronavirus, and he suffered weeks of grave
23    sickness, fearing for his life, he suffered diarrhea, fever, chills, severe coughing, sore throat; congestion,
24    runny nose; nausea; tightening of his chest; shortness of breath difficulty breathing; persistent, sharp,
25    stabbing chest pain that may travel to the left upper shoulder and neck with constant pressure in his chest

26
      19     See Bailev v. U.S., 516 U.S. 137, 145 (1995)("The meaning of statutory language, plain or
27
      not, depends on~ context."); see also id. ("The difference between the two provisions demonstrates that,
28    had Congress meant to broaden application of the statute beyond actual `use,' Congress could and would
      have so specified, as it did in [the other provision]").
                                                           15
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     and his heart; fatigue; body aches and muscle aches head to toe, back, legs, arms, and pain in his

 2   stomach, internal organs; headaches, migraines, loss of taste or smell, bleared vision. After the eviction
     on August 27, 2020 Mr. Perry could not hold any food and lost nearly 40 pounds of his weight. Over a
 3
     period of two months Mr. Perry's girlfriend had nursed him back to health, while living in the hotel they
4
     were staying.
 5          43)      Parc Chateaux lease identifies their property as one in afederally-subsidized housing
6    program, Mr. Perry has sufficiently alleged that defendant's property is a "COVERED DWELLING"
 7   under the CARES Act. Mr. Perry has attached to the complaint the addendum to lease between plaintiff

8    and defendant, entitled "AFFORDABLE HOUSING ADDENDUM." It specifies that plaintiff's rents
     are "subject to the program rent restrictions as governed by HUD and/or IRS."20 Exhibits 5-6 to
9
     Complaint.
10
            44)      Other documents Mr. Perry signed with the landlord in additional to the addendum to the
11
     lease agreement states: "The Affordable Housing Program provides for a specific maximum income
12   as determined by HUD," which applies to properties that are applying to or receiving assistance from
13   HUD.(See 24 C.F.R. § 8.2).

14          45)      A "COVERED DWELLING" is one that participates in a covered housing program, the
     rural housing voucher program or has a federally backed mortgage or multifamily mortgage loan. 15
15
     U.S.C. § 9058(a)(2). One such program is the low-income housing tax credit under Section 42 of the
16
     Internal Revenue Code. See 15 U.S.C. § 9058(a)(2)(A)(i). The Act also prohibited such landlords from
17
     charging late fees or penalties for late payment of rent. Section 4024 of the "CARES Act" of March 26,
18' 2020 and 15 U.S.C. §9058(b)(2).

19          46)      On August 10, 2020, Congress passed the "Rent Emergencies Leave Impacts on Evicted

20   Families Act" or the "RELIEF Act" (Bill S. 4519 (116 Congress)), which provide tenants a "Private
     Right of Action" can obviously be inferred21as a cause of action from Congress passing of "RELIEF
21
     Act." When Mr. Perry brought the matter to the attention of the California appellate Division on May 11,
22
     2021, that the landlord and the Los Angeles Sheriff's Department had violated the 30 days "NOTICE-
23
     TO-VACATE" under Section 4024 of the CARES Act (15 U.S.C. §9058)(b)&(c)(15 U.S.C. § 9001 et
24

25
     20     See Title VI of the Civil Rights Act of 1964, the Fair Housing Act, section 504 of the
26   Rehabilitation Act of 1973, and title II of the Americans with Disabilities Act of 1990.
     Z'     One exception applies to "[Inferences of intent drawn from the statutory scheme as a whole."
27   Block v. Community Nutrition Inst., 467 U.S. 340, 349 (1984); another exception applies "in those rare
     instances where 'statutes are drawn in such broad terms that in a given case there is no law to
28   apply."' Citizens to Preserve Ovef~ton Park, Inc. v. Volpe, 401 U.S. 402, 410 (1971)(citing S.Rep. 79-
     752 (1945)).
                                                         16
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       seq.)22

 ►7              47)   But the appellate division judges refused and ignored Mr. Perry's arguments to enforce
       federal moratorium laws (and as amended by the Rescue Plan Act of 2021) by stating:                "As the
 3
       enumerated asserted errors arose after the filing of the notice of appeal, they are not properly at
 4                                              23
       issue in the present appeal." (Citation).
 5               48)   The Appellate Division also ignored that the landlord along with the state of California
 6     superior court had committed procedural fraud of due process by violated federal law 28 U.S.C. §1447(c)
 7 ~ by using an electronic "Transmittal Letter of Remand as a remand order to prematurely "gabbed"

 8     jurisdiction from the district court and issue a void default, default judgment and writ of execution. The
       District Court never mailed the state court any "Certified" Remand Order to the state court to the present
 9
       day, which means it still has exclusive jurisdiction over the case removed.
10''
                 49)   The discriminatory state judge in the Chatsworth courthouse also intentionally ignored
11
       Mr. Perry's pleading and citation of Cal. Code of Civ. Proc. § 430.90(a)(1)&(2)(a)&(b) allowing him 30
12                                                                                24
       days to answer as if it was inapplicable to him after he filed a demurrer.
13               50)   When Mr. Perry presented the Appellate Division judges with evidence that the

14     Chatsworth Courthouse had violated federal law 28 U.S.C. §1447(c) by using an electronic "Transmittal
       Letter of Remand as a remand order to prematurely "gabbed" jurisdiction from the district court, he
15
       also submitted the appellate division with copies of his "COVID-19 Ranid Antibodies Test" results that
16
       the Sheriff Department infected him with Coronavirus infection. Upon hearing the news the despicable
17
       judges cut off oral arguments, and rushed out of the court. They care less for Mr. Perry's health or to the
18     health and safety of California's tenants as Mr. Perry. Likely because many of the California's judges are
19     22      Sandwich Isles Comms., Inc., FCC18-172, 2019 WL 105385, at *39 (F.C.C. Jan. 3, 2019); see
20     also Garvey v. Hale, 1997 WL 566262, at *1 (N.T.S.B. Aug. 29, 1997) (stating that 28 U.S.C. § 1658
       1658(a) applies to "certain civil actions in federal court.".
       23      California has adopted the "One Judgment Rule" (Cal. Rules of Court, Rule 8.821(A)(2))
21
       Construing the Notice of Appeal Liberally. See Lemaire v. All City Emplovees Assn., 35 Ca1.App.3d 106
22     (2nd District, 1973 ): "YES. California has adopted the "one judgment rule." This rule mandates that
       under California procedure there is ordinarily only one final judgment in an action....A judgment is final
23     when it terminates the litigation between the parties on the merits of the case. (Sioberg v. Hastorf, 33 Cal.
       2d 116 [199 P.2d 668]; Evans v. Dabnev, 37 Cal. 2d 758 [235 P.2d 604]; Fleuret v. Hale Constr. Co., 12
24     Cal. App. 3d 227 [90 Cal. Rptr. 557]; Count,Lof Sacramento v. Assessment Appeals Bd. No. 2, 32 Cal.
       App. 3d 654 [108 Cal. Rptr. 434].)
       24      Cal. Code of Civ. Proc. ~ 430.90(al(2): "If the defendant has not filed an answer in the original
25
       court, then 30 days from the day the original court receives the case on remand to do anv of the
26     following: (Al Answer the complaint. (B) Demur or move to strike all or a portion of the complaint if: (i)
       an answer was not filed in the federal court, and (ii) a demurrer or motion to strike raising the same or
27     similar issues was not filed and ruled upon by the orieinal court prior to the removal of the action to
       federal court or was not filed and ruled upon in federal court prior to the remand. If the demurrer or
28     motion to strike is denied by the court, the defendant shall have 30 days to answer the complaint
       unless an answer was filed with the demurrer or motion to strike.
                                                            17
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     partners to apartment owners and landlords.

2           51)     God only knows how many tenants have died because the Sheriff Department deputies'
     sick with Coronavirus did not care to put protective masks, while they evicted California's tenants. Mr.
3
     Perry knows of anyone who would be so passive to allow such criminal activity by a lawless landlord
4
     who also almost caused him to die from COVID-19, Coronavirus.
5           52)     The Appellate Division judges had abandoned any rule of law and refused to enforce
6    federal law and state's tenants' rights that were meant to protect tenants from the infection of COVID-19
7    Coronavirus, in their bias for protecting landlords' rights. Using any conceivable procedural trickery and

8    delays that prevent him from getting any relief or properly defending himself or in his appeal.
            53)     See In re Rose, 22 Ca1.4th 430, 93 Cal. Rptr. 2d 298, 993 P.2d 956 (Cal. 2000), California
9
     Justice Janice Rogers Brown, then was an associate Justice of the California Supreme Court from 1996 to
10
     2005, served also as a United States Circuit Judge of the United States Court of Appeals for the District
11
     of Columbia Circuit from 2005 to 2017, in dissenting had stated the following:
12                "[R]eview by a constitutional court, review by real judges whose
                   allegiance is to the judiciary, to its standards and ideals — to the rule, in
13                short, of law. Review, moreover, that is seen, observed in the form of
                   reasoned judicial opinions, and in the ritual of oral argument. In combination,
14                these features make up hallowed ground, for they comprise a signal feature of
                   our democracy —the protection of the individual from executive and
15                 legislative overreaching by neutral magistrates, magistrates whose decisions
                   are constrained by objective principles ofjudicial reasoning and by precedent,
16                 and whose rulings are an open book. (See Bickel, The Morality of Consent
                  (1975) p. 26 ["Confined to a profession, the explication of [legal] principle
17                 is disciplined, imposing standards of analytical candor, rigor, and
                   clarity."].) Lacking, as Alexander Hamilton wrote, "either the sword or
18                 the purse," the judiciary exists by virtue of "merely judgment."
                  (Hamilton, The Federalist No. 78 (Rossiter ed. 1961) p. 465; see also Scalia,
19                 The Rule of Law as a Law of Rules (1989) 56 U. Chi. L. Rev. 1175.) That
                   is the essence of the judicial function; that is what is missing in this sui
20                 generis special proceeding over which we exercise an inherent authority.
                  (See, maj. opn., ante, passim.) Judicial judgment —reasoned decisions,
21                 rather than decisions with reasons          is the constitutional counter to the
                   appetitive coordinate branches   of government,   implicit in the architecture of
22                 state as well as federal government."
23          54)      The Appellate Division opinion of May 19, 2021 stated that California Penal Code
24   §3960, California Government Code §8665 and Section 4024 of the "CARES Act" of March 26, 2020
25   and 15 U.S.C. §9058 are unenforceable and ignored the Sheriff Department refusing to wear protective

26   masks in violation of California Government Code §26602,25 and that they evicted tenants as Mr. Perry

27   25     California Government Code §26602: "[T]he sheriff may execute all orders of the local health
28   officer issued for the purpose of preventing the spread of any contagious or communicable
     disease."
                                                          18
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     on August 27,2020 and intentionally infect him with Coronavirus that almost killed him.
            55)     California Assembly Bill (AB) 3088 enacted that litigating COVID-19 disputes in the
     small claims court under California Code of Civil Procedure ("CCP") §116.223(b)(4).26 California
     Assembly Bill(AB)3088: "[T]his bill would instead, until February 1, 2025, provide that a small claims
4
     court has jurisdiction in any action for recovery of COVID-19 rental debt, as defined, regardless of the
     amount demanded and would provide that a claim for recovery of a COVID-19 rental debt is exempt
6    from the prohibition on filing more than 2 small claims actions described above." [Citation omitted].

                                        VI.     ALLEGATIONS27

                                        FIRST CLAIM FOR RELIEF
               [Cause of Action Under 42 U.S.C. § 1983 And Injunctive Relief Against The
10             California State Courts Pursuant to 28 U.S.C. §1651, With Declaratory, Equitable
               Relief For Deprivation of Rights And An Ultra Vires Claim Challenging
               State of California Unlawful Detainer Courts In Depriving Mr. Perry Due Process
12              And Equal Protection Under the 14th Amendment And In Violations of Federal
               Laws On The Moratorium Against Eviction Under Section 4024 of the CARES
13              Act (15 U.S.C. §9058(bLc))28 28 U.S.C. §§1357; §1343 4~; 2201 And 2202
               California Penal Code §3960, For Failing To Give Mr. Perry The 30 Days
14
               "Notice-To-Vacate" Before The Eviction on August 27, 2020 Violated Section
15             4024(b)&(c) Under The CARES Act (15 U.S.C. 9058(b~c)1. Against Parc
               Chateaux LLC, And Any Managin~A gent/Representatives, And Other Successes
16
               or/s; Landlord's Counsel Tania Kim Cardoso, And Law Firm Hollenbeck &
17             Cardoso LLPI
18          56)     Plaintiff incorporates by reference as if fully set forth herein the allegations contained in
19   paragraphs 1 above through 288 inclusive, as though fully set forth herein.
20
     26     CCP. ~116.223(b)(4): "fIt is the intent of the Legislature that landlords of residential real
21
     nronerty and their tenants have the option to litigate disputes resardins rent which is unt~aid for the time
22   period between March 1.2020, and January 31, 2021, in the small claims court. It is the intent of the
     Legislature that the jurisdictional limits of the small claims court not apply to these disputes over
23   COVID-19 rental debt."
     27     FRCP. 8(d) Pleading To Be Concise And Direct; Alternative Statements; Inconsistency. (1) In
24   General. Each allegation must be simple, concise, and direct. No technical form is required. (2)
     Alternative Statements of a Claim or Defense. A party may set out 2 or more statements of a claim or
25   defense alternatively or hypothetically, either in a single count or defense or in separate ones. If a
     party makes alternative statements, the pleading is sufficient if any one of them is sufficient. (3)
26   Inconsistent Claims or Defenses. A party may state as many separate claims or defenses as it has,
     28gardless of consistency.
27          28 U.S.C. § 1658: Time limitations on the commencement of civil actions arising under Acts of
     Congress. (a) Except as otherwise provided by law, a civil action arising under an Act of Congress
28   enacted after the date of the enactment of this section may not be commenced later than 4 years after the
     cause of action accrues.
                                                         19
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            57)     On March 27, 2020 Congress had passed the CARES Act, which here is the basis for

2    federal question jurisdiction, and Mr. Perry's Complaint alleges facts establishing the basis 42 U.S.C.
     § 1983 and any implied cause of action under Section 4024 of the "CARES Act" (15 U.S.C.
 3
     9058(b)&(c)) can obviously be reasonably inferred the cause of action from Congress passing of RELIEF
4
     Act on August 10, 2020 (Bill S. 4519(116 Congress)29).
 5          58)     Mr. Perry alleges that California public officials in the State Courts are doing something
6    they shouldn't, and refusing to do something that they should do, all in effort to make Parc Chateaux
7    LLC. Win at any cost even if fraudulent. The State of California superior Court in Chatsworth; the

8    California Supreme Court; the Second Appellate Court of Appeal; and the Appellate Division of the
     Superior Court all engaged in wide spread procedural fraud and deception on the federal court system,
9
     and on Mr. Perry by using an electronic "Letter of Transmittal-Remand To Superior Court (Civil)"
10
     instead of waiting to the district court to mailed "Certified" Remand Order pursuant to 28 U.S.C.
11
     §1447(c), which was never mailed by the district court to this day, required that district court to issue
12   injunctive relief against the State of California courts pursuant to 28 U.S.C. §1651.
13          59)      Additionally, the State the Appellate Division of the Superior Court partial reading and
                                                                                                            30
14   refused to failry address Mr. Perry's arguments and deceptive reading of California Penal Code §3960
     and California Government Code §866531 was inapplicable to Mr. Perry, in order to mitigate Parc
15
     Chateaux and the Sheriff's deputies illegal       activities during emergencies as COVID-19, and the
16
     proclamations of state of emergency and against eviction made by California Governor Gavin Newsom
17
     and the President of the United Stated Donald J. Trump on March 1, 2020, and on March 4, 2020, do not
18
     29      "[T]he equities do not justify depriving the applicants of the District Court's judgment in
19
     their favor. The moratorium has put the applicants, along with millions of landlords across the country,
20   at risk of irreparable harm by depriving them of rent payments with no guarantee of eventual recovery.
     Despite the CDC's determination that landlords should bear a significant financial cost of the pandemic,
21   many landlords have modest means. And preventing them from evicting tenants who breach their leases
     intrudes on one of the most fundamental elements of property ownership—the right to exclude. See
22   Loretto v. Teleprompter Manhattan CATV Corp., 458 U. S. 419, 435 (1982)." [Citations omitted]
     3       California Penal Code §396(fl: "[I]t is unlawful for a person, business, or other entity to evict
23   any residential tenant of residential housing after the proclamation of a state of emergency
     declared by the President of the United States or the Governor,...,and for a period of 30 days
24   following that proclamation or declaration, or any period that the proclamation or declaration is
     extended by the applicable authority"...."It shall not be a violation of this subdivision for a person,
25   business, or other entity to continue an eviction process that was lawfully begun prior to the
     proclamation or declaration of emergency."
26     ~     California Government Code §8665: "[A]ny person who violates any of the provisions of this
     chapter or who refuses or willfully neglects to obey any lawful order or regulation promulgated or issued
27   as provided in this chapter, shall be guilty of a misdemeanor and, upon conviction thereof, shall be
     punishable by a fine of not to exceed one thousand dollars ($1,000) or by imprisonment for not to exceed
28   six months or by both such fine and imprisonment." [Amended by Stats. 1983, Ch. 1092, Sec. 131.
     Effective September 27, 1983. Operative January 1, 1984, by Sec. 427 of Ch. 1092].
                                                          20
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 1   apply to Mr. Perry.

 2          60)     California Penal Code §3960 prescribes: "[aJnd for a period of 30 days following that
     proclamation or declaration, or any period that the proclamation or declaration is extended by the
 3
     applicable authority"; California Penal Code §3960 was extended within the 30 days by the CARES
 4
     Act of March 26, 2020. The state courts nevertheless entered a default and default judgment was on
 5   March 5, 2020 was contrary to the California Governor and the President proclamations of state of
 6   emergency was against evictions, and
 7          61)     The California Appellate Division court also claimed that "continue an eviction process"

 8   had BEGAN on January 9, 2020, at the filing and inception on the unlawful detainer proceeding,
     regardless of Mr. Perry was guilty of unlawful detainer or not. But the California courts refused to hear
 9
     or address Mr. Perry's appeal and writ petitions on the issue that the Sheriff's Department and the
10
     landlord had violated the 30 days "NOTICE-TO-VACATE" under Section 4024(b)&(c) of the CARES
     Act and 15 U.S.C. §9058(b)&(c) at the END of the "eviction process" they regarded as a "post-appeal
12   issues."   The State of California had exceeded their powers and jurisdiction by ignoring federal
13   moratorium laws.

14          62)     After Parc Chateaux LLC., had wrongly evicted Mr. Perry, they increased the rent for his
     two-bedroom, two-bath apartment from $1648 to $3877.
15
            63)     The harm caused to Mr. Perry by the Landlord Parc Chateaux LLC., and the Sheriff
16
     Department was an act and omission constituting willful and criminal misconduct, malicious, wanton,
17
     intentional, outrageous misconduct, indifference and endangerment of Plaintiffls Mr. Perry's life,
18   intentional misconduct, and a conscious flagrant indifference to the rights or safety of Mr. Perry.
19          64)     Defendants' unlawful actions were intentional, willful, malicious, and/or done with
20   complete disregard to Mr. Perry, the Plaintiff's welfare, safety, health and rights to be free from

21   deprivation of rights.
            65)     As a direct, legal and proximate result of the Parc Chateaux LLC.'s reprehensibility
22
     intentional discrimination, Plaintiff have sustained, and will continue to sustain, economic and emotional
23
     injuries, resulting in damages in an amount to be proven at trial.
24          66)     As a direct, legal and proximate result of the intentional acts, Plaintiff had sustained, and
25   will continue to sustain, economic and emotional injuries, plaintiff seeks injunctive, with declaratory
26   relief and equitable relief against the California state courts pursuant to 28 U.S.C. §1651.

27                                   SECOND CLAIM FOR RELIEF
28                 (Right of Action Under The "RELIEF Act" 5.4519 of August 10, 2020

                                                          21
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                      ("Rent Emergencies Leave Impacts on Evicted Families Act) For The
                      Wrongful Eviction On August 27, 2020 Was In Violation of The CARES
                      Act And The Notice-To-Vacate Requirements Under Section 4024 (15
                      U.S.C. 9058);32 For Violation of The California Tenant Relief Act
                      ~CTRA,of September 1, 2020; Violation of Due Process Under California
                      Constitution, Article I, Sections (1)&(4) And the Equal Protection Clause
                      of the 14th Amendment to the United States Constitution For Depriving
                      Mr. Perr~~hts As a HUD Tenant Under 42 U.S.C. § 1437d(k33)For
 6                    A Trial De Novo Under 24 C.F.R. § 966.57 For A "Covered Tenant"
                                                                                             34


 7                    With Request For Injunctive35, Declaratory, Equitable Relief And
                      Monetary, Punitive Dama~e          gainst Parc Chateaux LLC, And Any
 8                    Mana~~ gent/Representatives, And Other Successesor/s; The Los
 9                    Angeles County Sheriff's Department, And The Los Angeles Superior

10     32    Sinisgallo v. Town o Islip Hous. Auth., 865 F. Supp. 2d 307 (E.D.N.Y. 2012), holding that
                                                                                         eviction proceeding [was]
1 1 because the plaintiffs' "ability to litigate their federal claims in the state court
    'more theoretical than real,' and....the state court [was] unlikely to hear their federal claims," the Anti-
                                                                                       district court from enjoining
12 Injunction Act and the Younger abstention doctrine did not prevent a federal
     a state-court eviction nroceedin~. "fAls set forth below, the Court finds that neither the Anti—
13
       proceeding. Furthermore, while the Court finds that the Plaintiffs are not entitled to injunctive relief on
14     their claims asserted pursuant to Section 1983, the Court finds that the Plaintiffs' have met the requisite
       standard for obtaining preliminary injunctive relief based on their claim that the IHA violated their rights
15     under the FHA,..." [Citation omitted].
       33
               Landlord Parc Chateaux LLC., violation of Mr. Perry's housing rights under the United States
16     Housing Act, 42 U.S.C. § 1437d(k). The United States Housing Act mirrors Goldberg's criteria, requiring
       HUD regulations to implement an administrative grievance procedure appeal provides six administrative
17     steps afforded to tenants before landlord's eviction takes place. The federal HUD regulations elaborate
       upon the proper hearing procedures, in part requiring that "[a] grievance hearing shall be conducted by an
18     impartial person or persons appointed by the PHA". 24 C.F.R. § 966.55(b)(1).
               The Plaintiff has filed here also an application for a temporary restraining order and a preliminary
19     injunction, along with his summons and complaint under the United States Housing Act, 42 U.S.C. §
       1437d(k).
       35
20             The federal Anti—Injunction Act provides that "[a] Court of the United States may not grant an
       injunction to stay proceedings in a State court except as expressly authorized by Act of Congress, or
21     where necessary in aid of its jurisdiction, or to protect or effectuate its judgments." 28 U.S.C. § 2283.
       This Act presents an absolute ban on enjoining any state court proceeding, unless the facts of the case
22     bring the matter within one of the three narrowly construed exceptions. Vendo Co. v. Lektro—Vend Corp.,
      433 U.S. 623, 630, 97 S.Ct. 2881, 2887, 53 L.Ed.2d 1009(1977); Mitchum v. Foster, 407 U.S. 225, 228-
23     29, 92 S.Ct. 2151, 32 L.Ed.2d 705 (1972)"...."[A] federal court does not have inherent power to ignore
       the limitations of § 2283 and to enjoin state court proceedings merely because those proceedings interfere
24     with a protected federal right or invade an area pre-empted by federal law, even when the interference is
       unmistakably clear. Rather, when a state proceeding presents a federal issue, even a preemption issue, the
25     proper course is to seek resolution ofthat issue by the state court."
               Chick Kam Choo v. Exxon Corp., 486 U.S. 140, 149-50, 108 S.Ct. 1684, 100 L.Ed.2d 127(1988)
26    (internal quotation marks and citations omitted)."The three excepted circumstances are (i) the express
       provisions of another act of Congress authorizing such an order;(ii) necessity in aid of the federal
27     court's jurisdiction and (iii) the need to protect or effectuate the federal court's judgments."
      Standard Microsystems Corp. v. Texas Instruments Inc., 916 F.2d 58, 60(2d Cir.1990)(citing Atl. Coast
28~    Line R.R. Co. v. ~Bhd. ofLocomotive End,398 U.S. 281, 287-88, 90 S.Ct. 1739, 1743-44, 26 L.Ed.2d
      234(1970))."[Citations omitted]
                                                           22
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                      Court In Chatsworth, California.l

 2             67)    Plaintiff incorporates by reference as if fully set forth herein the allegations contained in

 3 ~ ~ paragraphs 1 through 288 above inclusive, as though fully set forth herein.

 4             68)    When Mr. Perry came back from Israel he was livid and he mailed his landlord a demand
       letter via USPS certified mail to remedy the loss of his vehicle, but the landlord ignored him. The
 5
       following months the landlord refused to answer Mr. Perry's questions the whereabouts of his vehicle
 6
       and he lost his vehicle,
 7
               69)    Five months after Mr. Perry returned from his trip to Israel and after he paid all of his rent
 8     from August through December 2019, the landlord's manager Christina Romero retaliated when she all
 9     of a sudden increased Mr. Perry's rent by $362 of five (5) months retroactive rent increase from August

10     2019-December 2019 after Mr. Perry already paid his rent, the landlord increase without giving prior
       notice to Mr. Perry. But this happened after Mr. Perry had already paid all his rent for August-December
ll
       2019.
12
               70)    When Mr. Perry requested a copy of the notice, the landlord's manager Christina Romero
13
       promised she will email Mr. Perry the notice but she never did. Instead, while Mr. Perry was on a short
14     business trip to Las Vegas, the landlord manager Christina Romero had filed a summary proceeding
15 (unlawful detainer) against Mr. Perry on January 9, 2020, asking for forfeiture of rights without due

16     process of the HUD lease agreement36 based on $362 in 5 months of "unpaid" retroactive rent, while
       knowing Mr. Perry already paid his for the five for those same months.
17
               71)    Thus, the California Supreme Court ignoring and refusing to address Mr. Perry's claims
18
       under section 4024 of the "CARES Act"(15 U.S.C. 9058), the California Tenant Relief Act(CTRA) of
19
       September 1, 2020, and the "RELIEF Act" S.4519 of August 10, 2020 ("Rent Emergencies Leave
20     Impacts on Evicted Families Act").
21             72)    Mr. Perry lived in a HUD in Parc Chateaux Apartments a "Covered Dwelling" as a

22 "Covered Tenant" for one the state courts refused to comply or address their violations of the section

23     4024 of the "CARES Act" (15 U.S.C. 9058) and as extended by state and federal moratorium on
       evictions].
24~i
               73)    Mr. Perry, wherein Defendants would provide him the sewer charges based on the RUBS
25
       formula as stated in the Utility Addendum, part of the. But Cross-Defendants NP Parc Chateaux, LLC.,
26
       36
27             See Urban Institute, "The CARES Act Eviction Moratorium Covers All Federally Financed
       Rentals—That's One in Four US Rental Units," UrbanWire (Apr. 2, 2020), on-line at:
28     https://www.urban.org/urban-wire/cares-act-evictionmoratorium-covers-all-federally-financed-rentals-
       thats-one-four-us-rental-units.
                                                           23
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     (ALLRESCO) refused to provide the RUBS accounting and instead only showed Mr. Perry a total of

 2   sewer tax they paid~for the year. When Mr. Perry requested a copy of the sewer tax Parc Chateaux paid,
     they refused to provide it to him.
 3
              77)   On August 27, 2020 four Sheriff Department deputies (names unknown) along with Parc
 4
     Chateaux maintenance person "Kevin" had violently kicked, hit and bent Mr. Perry's metal front door.
 5
     "Kevin" drilled Mr. Perry's front door locks and all the defendants broke Mr. Perry's door and upon
 6   entering his resident they violently twisted his arms from both sides and escorted him out of his home
 7   with only a T-shirt and shorts. Both "Kevin" and two of the four Sheriff deputies did not wear protective

 8   masks.    During the violent eviction, the defendants "Kevin" and the unmasked Sheriff deputues
     maliciously infected Mr. Perry with COVID-19, Coronavirus that made him gravely ill, had infected Mr.
 9
     Perry liver and infected his heart with Myocarditis37 that it made him gravely ill that it almost killed him.
10
              78)   The months before August 27, 2020, the Sheriff's Departments had publically advertised
11
     their refusal to wear protective masks was advertised on the new media. The Sheriff Department
12   deputies refused to yield to warning by the Los Angeles Inspector General Max Huntsman's letter of
13   August 21, 2020 to wear protective masks.

14            79)   As a direct, legal and proximate result of the intentional acts, Plaintiff had sustained, and
     will continue to sustain, economic and emotional injuries, resulting in damages in an amount to be
15
     proven at trial. Plaintiff is entitled to a trial de novo under 24 C.F.R. § 966.57 to raise all legal and
16
     equitable defenses, including the constitutional due process and federal claims.38.
17
              80)   Plaintiff is entitled to a reasonable punitive damages in the amount of $100,000,00039 for
18   pain and suffering, for mental anguish and for loss of earnings, ,attorneys' fees if obtained, and the costs
19   of the suit.

20                                     THIRD CLAIM FOR RELIEF
                    IA Cause of Action Under 42 U.S.C. § 1983 For Procedural Fraud40 of
21                  Due Process Against The Landlord (Parc Chateaux LLC. and Anv
22
     37      Mvocarditis infection is an inflammation of the heart muscle. Myocarditis is also common after
23   COVID-19 infection than vaccination. COVID-19 as a Possible Cause of Myocarditis and Pericarditis.
     https://www.acc.org/latest-in-cardiology/articles/2021/02/05/19/37/covid-l9-as-a-possible-cause-of-
24   myocarditis-and-pericarditis.
     Read more: https://www.newscientist.com/article/mg25133462-800-myocarditis-is-more-common-after-
25   covid-l9-infection-than-vaccination/#ixzz78YSS WQtT.
     38      "[T]he only possible exception would be if the housing court determined that it was entitled to
26   conduct a trial de novo under 24 C.F.R. § 966.57, in which case the Plaintiffs would be entitled to raise
     all legal and equitable defenses, including the constitutional due process and federal claims raised here.
27   Although the Court has already held that § 966.57(c) permits the Plaintiffs to assert their federal claims in
     this court, whether and to what extent they are entitled to raise those claims in the pending state
28   p9oceeding is for the state court to decide." [Citation omitted].

                                                          24
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                    Mana~~Company, And Other Successesor/s, And Their Counsel Tania
                    Kim Cardoso, Along With The State of California Superior Court In
                    Chatsworth Jude Tricia Taylor, And The State of California Supreme
                    Court By Prematurely "Grabbing" Jurisdiction From The District Court
                    On February 21, 2020 Based Only On A "Transmittal Letter of Remand"
 4                  Instead of"Certified" Remand Order 28 U.S.C. §1447(c)1

 5           81)    Plaintiff incorporates by reference as if fully set forth herein the allegations contained in

 6   paragraphs 1 through 288 above inclusive, as though fully set forth herein.
            82)     Plaintiff Mr. Perry alleged that Parc Chateaux perpetrated fraud upon him by his landlord
 7
     NP Parc Chateaux, LLC., his landlord's complaint, alleging he did not pay rent from September 2019
 8
     through December 2019 to commit a fraudulent eviction of Mr. Perry as a tenant from a HUD affordable
 9
     housing and rent-controlled apartment to circumvent tenant's rights to his contractual rights because the
10   landlord is retaliated against Mr. Perry by filing a frivolous and malicious unlawful detainer that asserted
     false and misleading accusations.

12          83)     The basis of the tenant's action was the fraudulent eviction, but also fraud on the courts,
     not only the unlawful detainer action, which does not concern possession buy is solely and incorrectly for
13
     nonpayment of rent after Mr. Perry had already made his rent payments for the alleged months.[Clark v.
14
     Mazes(2009) 170 CA4th 1281, 1286-1290.] But also violation of federal laws during the COVID-19
15
     pendemic. See the "RELIEF ACT" 5.4519 of August 10, 2020 providing tenants a Private Right of
16   Action) Is remedied under the Fourteenth Amendment to the United States Constitution, and 42 U.S.C.
17   § 1983, California Senate Bi113088.
18          84)     On February 21, 2020 NP Parc Chateaux, LLC., and their counsel Tania Kim Cardoso

19   committed more procedural fraud41 in violation of federal laws and along with the State of California

20
     40      See generally Mathews v. Eldridge, 424 U.S. 319, 344(1976)("procedural due process rules are
21   shaped by the risk of error inherent in the truthfinding process as applied to the generality of cases, not
     the rare exceptions"). In order to successfully establish a prima facie case for a procedural due process
22   violation, a plaintiff must show that:(1)there has been a deprivation of the plaintiffls liberty or property,
     and (2) the procedures used by the defendants and the state courts to remedy the deprivation were
23   constitutionally inadequate. See also United States v. Estate o Stonehill, 660 F.3d, 415, 444 (9th Cir.
     2011)[holding that procedural fraud of due process is harmful to the integrity ofthe judicial process].
24          "[A]t the core of procedural due process jurisprudence is the right to advance notice of significant
     deprivations of liberty or property and to a meaningful opportunity to be heard." Abbott v. Latshaw, 164
25   F.3d 141, 146 (3d Cir.1998). The focus is on the remedial process, not the government's actions that
     allegedly deprived the plaintiff of his liberty or property interest. See Bd. of Reime ts ofState Colls. v.
26   Roth, 408 U.S. 564, 577(1972). "[C]ertain attributes of "property" interests protected by procedural due
     process emerge from these decisions. To have a property interest in a benefit, a person clearly must have
27   more than an abstract need or desire for it. He must have more than a unilateral expectation of it. He
     must, instead, have a legitimate claim of entitlement to it." Id.
     al      See generally Deitrick v. Greanev, 309 U.S. 190, 196 (1940) ("It is a principle of the widest
28
     application that equity will not permit one to rely on his own wrongful act, as against those affected by it
                                                          25
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       Superior Court they had intentionally and prematurely "gabbed" jurisdiction from the United States
       District Court on February 21, 2020 based only on a electronic "Letter of Transmittal-Remand To
       Superior Court (Civil)" instead of waiting to the district court to mailed "Certified" Remand Order
       pursuant to 28 U.S.C. §1447(c), which was never mailed by the district court to this day. See United
 4                                                                    42
       States v. Estate o Stonehill, 660 F.3d, 415,444(9th Cir. 2011).
 5             85)    The State Court having received only the letter of transmittal of remand February 21, 2020
 6     never served Mr. Perry until NP Parc Chateaux, LLC.'s counsel Tapia Kim Cardoso filed s ex parte
 7     notice of February 25, 2020 enclosed within it exhibits the letter of transmittal of remand without a
                                                                                                    from the
 8 "Certified" remand Order. The defendants prejudiced Mr. Perry as he was caught by surprise
   fraud. Such procedural fraud is also harmful to the integrity of the judicial process. See United States v.
 9
                                                          a3
   Estate o Stonehill, 660 F.3d, 415,444(9th Cir. 2011),
10
          86) The defendants intentionally committed the procedural fraud44 of due process along with
11
   the California state courts manifest injustice flagrantly violated 28 U.S.C. §1447(c), enabled NP Parc
12

13
       but who have not participated in it, to ... defeat a remedy which except for his misconduct would not be
14     available.").
       42      See United States v. Estate o Stonehill 660 F.3d, 415, 444 (9th Cir. 2011): "[T]he inquiry as to
15     whether a judgment should be set aside for fraud upon the court under Rule 60(b)focuses not so much in
       terms of whether the alleged fraud prejudiced the opposing party but more in terms of whether the
16     alleged fraud harms the integrity of the judicial process"...."[I]n re Intermagnetics America, Inc., 926
       F.2d 912, 917 (9th Cir.1991)." "Fraud on the court" should, we believe, embrace only that species of
17     fraud which does or attempts to, defile the court itself, or is a fraud perpetrated by officers of the court
       so that the judicial machinery cannot perform in the usual manner its impartial task of adjudging
18     cases that are presented for adjudication."...."[I]n order to show fraud on the court, Taxpayers
       must demonstrate, by clear and convincing evidence, an effort by the government to prevent the
19     judicial process from functioning "in the usual manner." They must show more than perjury or
       nondisclosure of evidence, unless that perjury or nondisclosure was so fundamental that it
20     undermined the workings of the adversary process itself."
       43
               See United States v. Estate o Stonehill 660 F.3d, 415, 444 (9th Cir. 2011): "[T]he inquiry as to
21     whether a judgment should be set aside for fraud upon the court under Rule 60(b)focuses not so much in
       terms of whether the alleged fraud prejudiced the opposing party but more in terms of whether the
22     alleged fraud harms the integrity of the judicial process.... In re Intermagnetics America, Inc., 926 F.2d
       912, 917 (9th Cir.1991)." "Fraud on the court" should, we believe, embrace only that species of fraud
23     which does or attempts to, defile the court itself, or is a fraud perpetrated by officers of the court so
       that the judicial machinery cannot perform in the usual manner its impartial task of adjudging
24     cases that are presented for adjudication."...."[I]n order to show fraud on the court, Taxpayers
       must demonstrate, by clear and convincing evidence, an effort by the government to prevent the
25     judicial process from functioning "in the usual manner." They must show more than perjury or
       nondisclosure of evidence, unless that perjury or nondisclosure was so fundamental that it
26     ~~dermined the workings of the adversary process itself."
               The United States Courts afford procedural protection to pro se as it does affords to attorneys.
27     See the Ninth Circuit in Jacobsen v. Filler, 790 F.2d 1362, 1369 (9th Circuit 1985) (Reinhardt,
       dissenting)["Affording pro se litigants the procedural protection of the court serves the interest not
28     only of the litigants but also of the court itself' because "courts, no less than the parties to a
       dispute, have an interest in the quality ofjustice."]
                                                           26
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 1   Chateaux, LLC.'s counsel Tania Kim Cardoso, and the state court to prematurely grab jurisdiction from

 2   the district court and issue a fraudulent, void default, defaultjudgment and a writ of eviction.
             84)     This procedural fraud severely prejudiced Mr. Perry when the state court lacking
 3
     jurisdiction had entered a fraudulent default and default judgment and an illegal eviction of August 27,
 4
     2020.
 5           85)     The harm caused to Mr. Perry by the Landlord Parc Chateaux LLC., and the Sheriff
 6   Department was an act and omission constituting willful and criminal misconduct, malicious, wanton,
 7   intentional, outrageous misconduct, indifference and endangerment of Plaintiff's Mr. Perry's life,

 8   intentional misconduct, and a conscious flagrant indifference to the rights or safety of Mr. Perry that was
     harmed by the Sheriff Department.
 9
             86)     Defendants' unlawful actions were intentional, willful, malicious, and/or done with
10
     complete disregard to Mr. Perry, the Plaintiff's civil rights, welfare, safety, health and rights to be free
11
     from deprivation of rights.
12           87)     As a direct, legal and proximate result of the Parc Chateau LLC.'s reprehensibility
13   intentional procedural fraud of due process in violating federal removal laws, Plaintiff have sustained,

14   and will continue to sustain, economic and emotional injuries, resulting in punitive damages of
     $100,000,000.
15

16                                    FOURTH CLAIM FOR RELIEF
                     jFor Breach of Contract; Lack of Proper Notice In Violation of Due
17                   Process And Civil Rights45 Against Parc Chateaux LLC, And AnX
18                   Managing gent/Representatives, And Other Successesor/s,l

19           88)     Plaintiff incorporates by reference as if fully set forth herein the allegations contained in
20   paragraphs 1 through 288 above inclusive, as though fully set forth herein.

21           89)     Defendants NP Parc Chateaux, LLC., (ALLRESCO) entered into a written lease
     agreement of August 9, 2016.
22

23   45
             Lindsey v. Normet, 405 U.S. 56 (1972) Underlying appellants' claim is the assumption that they
24   are denied due process of law"..."[T]he Constitution has not federalized the substantive law of landlord-
     tenant relations,"..."[I]n other jurisdictions, these claims, if cognizable at all, must be litigated in separate
25   tort, contract, or civil rights suits."..."[B]ut this feudal notion of landlord-tenant law -- rooted in the
     special needs of an agrarian society has not been a realistic approach to landlord-tenant law for many
26   years, [Footnote 2/13] and has been replaced by what eminent authorities have described as "a
     predominately contractual" analysis of leasehold interests. [Footnote 2/14] This led Judge Wright, in
27   Javins v. First National Realty Cori., 138 U.S.App.D.C. at 373, 428 F.2d at 1075, to hold "that leases of
     urban dwelling units should be interpreted and construed like any other contract." Oregon takes the
28   same view, and treats a lease as a contract. Wright v. Baumann, 239 Ore. 410, 398 P.2d 119; E~Qen v.
     Wetterbor~, 193 Ore. 145, 237 P.2d 970.
                                                            27
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 1           90)     On July 2, 2019, Mr. Perry mailed the landlord a certified mail informing them that in two

 2    weeks he is be leaving on a disability retreat in Israel on July 27, 2019, 2007.
             91)     Mr. Perry wrote a letter he mailed by a certified mail to the landlord about his trip to Israel
 3
      and included it with his August rent payment and he paid $50 in a check for carport space #410. Mr.
 4
      Perry then parked his blue-gray 2007 all equipped automatic luxury Range Rover.46            A day after Mr.
 5
      Perry left to LAX and flew to Israel on July 27, 2019 the landlord Parc Chateaux harassed and retaliated
 6    against Mr. Perry by towing his 2007 Range Rover vehicle without calling the police, even after he
 7    already paid for a carport #410.

 8           92)     Without prior notice before Mr. Perry left for his vacation/disability retreat in Israel the
      landlord Parc Chateaux LLC., manager Christina Romero failed to provide Mr. Perry's notice47before he
 9
      left to Israel, and she began her mischief after she assigned Mr. Perry carport # 410 to park his Range
10
      Rover. See Jones' v. Flowers, 547 U.S. 220, 230, (2006) at 230 (knowledge that notice pursuant to
11
      normal procedure is ineffective triggers obligation to take additional steps to effect notice.).
12           93)     While In Israel, Parc Chateaux's manager Christina Romero email had states that carport
13   #410 belonged to another tenant who was about to move out from Parc Chateaux apartment. But

14    Christina knew Mr. Perry was assigned by her staff the carport and was already in Israel and couldn't
      remove his vehicle.
15
             94)     So, Christina demanded by email that Mr. Perry remove his vehicle. Mr. Perry could not
16
      remove his vehicle and he asked her to move his car or tow it to another carport, or give the other tenant
17
      who was already about to leave an alternate carport parking for the few days. But Christina refused and
18    ordered a towing company to tow Mr. Perry vehicle from the complex.
19
     46
20            The Ninth Circuit requires "proper standing to contest a forfeiture both as a statutory matter and
      as an Article III and prudential requirement." United StaCes v. One 1985 Cadillac Seville, 866 F .2d 1142,
21    1 148 (9th Cir.1989); but see, U.S. v. $57,790 in U.S. Currency, 184 Fed.Appx. 604, 605 (9th Cir. 2006)
     ("standing" in forfeiture actions not synonymous with Article III standing). "The claimant has the
22    burden of establishing, by a preponderance of the evidence, that he has an interest in the property." U.S.
      v. Real Property Located at Section 18, 976 F.2d 515, 520 (9th Cir. 1992), citing U.S. v. One Parcel of
23    Land, 902 F.2d 1443, 1444 (9th Cir. 1990)."This interest need not be an ownership interest; it can be any
      type of interest, including a possessory interest. See $122,043.00 [United States v. X122,043.00 in United
24    States Currency, 792 F.2d 1470, 1473 (9th Cir.1986)] 792 F.2d at 1473; United States v. 1982 Sanger 24'
     ~ectra Boat, 738 F.2d 1043, 1046 (9th Cir.1984)(`It is not necessary therefore that a claimant under the
25    forfeiture statute allege ownership. A lesser property interest such as possession creates standing.')
     (citing United States v. Jacobsen, 466 U.S. 109, 113, 104 S.Ct. 1652, 1656, 80 L.Ed.2d 85 (1984))."
26    United States v. $191,910.00 in U.S. Currency, 16 F.3d.
      47      See Jones v. Flowers, 547 U.S. 220, 230, (2006) ("In prior cases, we have required the
27    government to consider unique information about an intended recipient regardless of whether a statutory
      scheme is reasonably calculated to provide notice in the ordinary case."), discussing Robinson v.
28    Hanrahan, 409 U.S. 38, 40 (1972)(notice of vehicle forfeiture proceeding sent to owner's home address
      was inadequate when State knew owner was in prison).
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                95)   Defendants' unlawful actions were intentional, willful, malicious, and/or done with
      complete disregard to Mr. Perry, the Plaintiff's property rights, and rights to be free from deprivation of
      rights.
                96)   As a direct, legal and proximate result of the Parc Chateaux LLC.'s reprehensibility
 4
      intentional procedural fraud of the towing Mr. Perry incurred thousands of dollars in various towing fees
 5    and storage fees he could not afford, causing Mr. Perry to lose his Range Rover valued at $18,985
 6 (Bluebook). Plaintiff had sustained, and will continue to sustain, economic and emotional injuries,
      resulting in an award for punitive damages of$100,000,000, and exemplary damages to be determined by
      a jury or the court, plus any special, actual, damages.
                                          FIFTH CLAIM FOR RELIEF
 9
                      fA Cause of Action Against The Landlord Parc Chateaux LLC.48 In Special
10                    Relationship49 With Los Angeles Sheriff's Department Had Both Caused
                      Endangerment of Mr. Perrv's Life, Health And Safety By Infecting Him
11                    With COVID-19, Coronavirus That Made Him Gravely Ill That It Almost
                      Killed Him During The Eviction on August 27, 2020; The Sheriff
12                    Department Violation of Cal. Gov. Code §2660250 In violation of The
13
      48       "[L]essors also have the duty to take reasonable steps to prevent injury when the landowner
14    knows of a dangerous situation,.. (Leakes v. Shamoun (1986) 187 Cal.App.3d 772, 776[ 232 Ca1.Rptr.
      171]; see e.g., Uccello v. Laudensla per, supra, 44 Cal.App.3d 504 [a landlord is liable for third persons
15    injured by a dog if the landlord knows the tenant is going to keep a vicious dog on the premises and the
      landlord has the right to reenter the premises]; Rosales v. Stewart, supra, 113 Ca1.App.3d 130 [if the
16    landlord knows his tenant is going to use the rented property as a firing range the landlord may be liable
      to third persons injured by a bullet].)" [Mora v. Baker Commodities, Inc., 210 Ca1.App.3d 771, 258 Cal.
17    Rptr. 669(Cal. Ct. App. 1989) at p. 781, internal citations omitted;"The existence of the landlord's duty
      to others to maintain the property in a reasonably safe condition is a question oflaw for the court."
18           (Johnson v. Prasad (2014) 224 Ca1.App.4th 74, 79 [168 Ca1.Rptr.3d 196]; "The reasonableness
      of a landlord's conduct under all the circumstances is for the jury. A triable issue of fact exists as to
19    whether the defendants' maintenance of a low, open, unguarded window in a common hallway where
      they knew young children were likely to play constituted a breach of their duty to take reasonable
20    precautions to prevent children falling out of the window." (Amos v. Alpha Prop. Mgmt. (1999) 73
      Ca1.App.4th 895,904[87 Ca1.Rptr.2d 34], internal citation omitted.)
      49
21            The Supreme Court has held that "[t]he relationship between a common carrier and its passengers
      is...a special relationship."(Lopez v. Southern Cal. Rapid Transit Dist. (1985) 40 Ca1.3d 780, 789 [221
22    Cal.Rptr. 840, 710 P.2d 907].)
      so      California Government Code §26602: "The sheriff shall prevent and suppress any affrays,
23    breaches of the peace, riots, and insurrections that come to his or her knowledge, and investigate public
      offenses which have been committed. The sheriff may execute all orders of the local health officer
24    issued for the purpose of preventing the spread of any contagious or communicable disease."
      Although state may enforce quarantine laws, it the state failed to properly enforce the, the federal court
25    may take over to secure the safety and health ofthe public.
              See Compagnie Francaise de Navigation a Vapeur v. State Board of Health, 186 U.S. 380, 387
26   (1902): ["That from an early day the power of the states to enact and enforce quarantine laws for the
      safety and the protection of the health of their inhabitants has been recognized by Congress is beyond the
27    question. That until Congress has exercised its power on the subject, such state quarantine laws and
     state laws for the purpose of preventing, eradicating, or controlling the spread of contagious or
28    infectious diseases, are not repugnant to the Constitution of the United States, although their
     operation affects interstate or foreign commerce, is not an open question"].
                                                           29
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                                                                        42 U.S.C. &&1437-137r

                    Company, And Other Successesor/s.l

            97)     Plaintiff incorporates by reference as if fully set forth herein the allegations contained in
 4   paragraphs 1 through 288 above inclusive, as though fully set forth herein.

 5          98)     Plaintiffs wholly explain the supervisorial role of any of the named Defendants and make
     any allegations of direct participation. Each and every defendant have a direct involvement necessary to
 6
                                                        52
     sustain supervisorial liability under section 1983.
 7
            99)     Parc Chateaux LLC., their managers Christina Romero; Parc Chateau~c LLC.,'S
     Maintenance Person "Kevin" and their attorney Tania Kim Cardoso had acted culpability and deliberate
 9   indifference had controlled the wrongful eviction on August 27, 2020, they acted consciously and
10   knowingly53 with total disregard to the safety and health of Mr. Perry,54 in spite of the foreseeability55 of

11

12           See United States v. Carolene Products Co., 304 U.S. 144, 58 S. Ct. 778. 82 L. Ed. 1234 (1938)
     citing in Carolene Products Co. v. Evaporated Milk Assn, 93 F.2d 202 (7th Cir. 1938): ["W]hile the
13   police power is ordinarily said to be reserved by the states, it is obvious that it extends fully likewise
     to the federal government in so far as that government acts within its constitutional
14   jurisdiction...The police power referred to extends to all the great public needs...Its dimensions
     are identical with the dimensions of the government's duty to protect and promote the public
15   welfare."..."[T]he police power referred to "extends to all the great public needs. It may be put forth in
     aid of what is sanctioned by usage, or held by the prevailing morality or strong and preponderant opinion
16   to be greatly and immediately necessary to the public welfare." Noble State Bank v. Haskell, 219 U.S.
     104, 31 S.Ct. 186, 55 L.Ed. 112, 32 L.R.A., N.S., 1062, Ann.Cas. 1912A, 487. Its "dimensions are
17   identical with the dimensions of the government's duty to protect and promote the public welfare. The
     measure of police power must square with the measure of public necessity." It is beyond question,
18   therefore, that the enactment of the law was within the power of Congress unless it is unreasonable and
     arbitrary. We may not inquire into the motives of Congress, Hamilton v. Kentucky Distilleries Co., 251
19   U.S. 146, 40 S.Ct. 106, 64 L.Ed. 194 or, in the absence of doubt as to its reasonableness, the wisdom
     of legislation or the necessity for the exercise of legislative power, the existence of which is beyond
20   doubt, Lottery Case,supra."(Internal citations omitted).]
             42 U.S.C. §9902 Definitions.
     52      "Although there is no pure respondeat superior liability under § 1983, a supervisor [may be held)
21
     liable for the constitutional violations of subordinates `if the supervisor participated in or directed the
22   violations, or knew of the violations and failed to act to prevent them."' Hedrick v. Hunter, 500 F.3d
     a3 988 (quoting Taylor v. List, 880 F.2d 1040, 1045 (9th Cir. 1989)).
23           In Lugar v. Edmondson Oil Co., 457 U.S. 922, 927 (1982). plaintiffs shows that the Defendants
     acted under color of state law. Howerton v. Garcia, 708 F. 2d 380, 382 (9th Cir. 1983). "Actions taken
24   by private individuals may be 'under color of state law' where there is 'significant' state
     involvement in the action. Id.
     sa      The foreseeability of injury when considered along with various other policy considerations such
25
     as the extent of the burden to the defendants and consequences to the community of imposing a duty to
26   remedy such danger may lead to the legal conclusion that the defendant `owes a duty of due care "to all
     persons who are foreseeably endangered by his conduct, with respect to all risks which make the
27   conduct unreasonably dangerous."'"(Osborn, supra, 224 Cal.App.3d at p. 121, internal citation
     omitted.) Kwaitkowski v. Superior Trading Co., 123 Cal.App.3d 324, 176 Cal. Rptr. 494 (Cal. Ct. App.
28   1981): "[J]ustice Christian held that the landlord's action or failure to act was the proximate cause
     of the tenant's injury,..." Relying on Kline v. 1S00 Massachusetts Avenue Apartment Corp.(D.C. Cir.
                                                         ~Z~]
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       injury or death from COVID-19 Coronavirus infection, the landlord purposely put Mr. Perry in imminent

 2     danger56 by calling on the Sheriff deputies to evict Mr. Perry from his home August 27, 2020. During the
       eviction Landlord also helped and contributes to the Sheriff Department breaking Mr. Perry's metal front
 3
       door.
 4
               100) The Los Angeles Sheriff Department had also publically advertised their refusal to wear
 5
       protective masks, had caused Mr. Perry to be infected with COVID-19, Coronavirus during the eviction
 6     that made him gravely ill, endanger his life and that it almost killed him.
 7             101) As a result of the infection on August 27, 2020 eviction, Mr. Perry developed symptoms

 8     of Coronavirus in first two weeks, and endured hardship and suffered weeks of grave Coronavirus
       sickness, and fear of threat to his life. The first sign was diarrhea, fever, chills, severe coughing, sore
 9
       throat; congestion, runny nose; nausea; tightening of his chest; shortness of breath difficulty breathing;
10
       persistent, stubbing pain in the left upper side of his chest and his heart, with constant pressure in his
11
       chest; fatigue; body aches and muscle aches head to toe, back, legs, arms, and pain in his stomach,
12 ~I internal organs; headaches, migraines, loss of taste or smell, bleared vision, he lost close to 40 pounds of

13     his weight.

14             102) Defendants did not exercise at all any reasonable care to prevent the endangerment of Mr.
       Perry and exposure to COVID-19, Coronavirus, and they did not at all worked promptly correct the
15
       behavior that caused Mr. Perry to be infected with COVID-19, Coronavirus that made Mr. Perry gravely
16

17     1970)439 F.2d 477, held that, in an urban residential context, the landlord-tenant relationship gives rise
       to liability under circumstances where landlords have failed to take reasonable steps to protect the tenants
18     from criminal activity"..."[I]n Totten v. More Oakland Residential Housing, Inc. (1976) 63 Ca1.App.3d
       538, 543 [134 Ca1.Rptr. 29], at page 546, we noted that where there is a special relationship between the
19     parties, there is a "common law duty to protect against the criminal attack of third persons."
                See Kwaitkowski v. Superior Tradin~~Co., 123 Ca1.App.3d 324, 176 Cal. Rptr. 494(Cal. Ct. App.
20     1981): "[R]elying on Restatement Second of Torts, section 302B, this court in O'Haza, supra, noted at
       page 804, that the criminal act of a third person is a superseding cause unless the landlord actor at the
21 ~   time of his negligent conduct realized or should have realized the likelihood that his conduct
       created an opportunity for the commission of crimes and that a third person might avail himself of the
22     opportunity, relying on Restatement Second of Torts, sections 448 and 449, set forth below, so far as
       ~ertinent.
23      5      "[I]t is foreseeable that even an obvious danger may cause injury, if the practical necessity of
       encountering the danger, when weighed against the apparent risk involved, is such that under the
24     circumstances, a person might choose to encounter the danger. The foreseeability of injury, in turn, when
       considered along with various other policy considerations such as the extent of the burden to the
25     defendant and consequences to the community of imposing a duty to remedy such danger may lead to the
       legal conclusion that the defendant `owes a duty of due care "to all persons who are foreseeably
26     endangered by his conduct, with respect to all risks which make the conduct unreasonably dangerous."'
       "(Osborn, supra, 224 Ca1.App.3d at p. 121, internal citation omitted.)
       s6       The "relative culpability" of the parties— i.e., which party created the dangerous situation and
27
       which party is more innocent— may also be considered in determining the reasonableness of the force
28     used. Espinosa v. City &County of San Francisco, 598 F.3d 528, 537 (9th Cir. 2010)(citing Scott, 550
       U.S. at 384).
                                                            31
  Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 32 of 155 Page ID #:32


     ill that it almost killed him.
              103) More so, because the sheriff department deputies had previously publically advertised
     their refusal to wear protective masks.57 "LA County sheriffs deputies aren't wearing masks as required,
     inspector general says Los Angeles Countv sheriffs deputies aren't following public health orders that
 4
     require them to wear masks on the job, the Office of Inspector General warned Monday."Tuesday,
 5   August     25,     2020.     https://abc7.com/los-angeles-county-sheriffs-deputies-la-sheriff-lasd-office-of-
 6   inspector-general/6388263/. "Los Angeles Sheriffs Department won't enforce county mask mandate",
 7   By Tori B. Powell, July 17, 2021 / 3:14 Pm /CBS News. https://www.cbsnews.com/news/los-angeles-

 8   county-sheriff-mask-mandate-covid/.58
              104) The Los Angeles Sheriff deputies asymptomatic not wear protective masks had
 9
     nevertheless violently infected Mr. Perry with COVID-19 Coronavirus, while evicting him from his
10
     home on August 27, 2020. It would not take a genius that such predicament would occur by the Sheriffls
     deputies infecting and likely killing innocent tenants.
12            105) The harm caused to Mr. Perry by the defendants and the Sheriff Department was an act
13   and omission constituting willful and criminal misconduct, malicious, wanton, intentional, outrageous

14   misconduct, indifference and endangerment of Mr. Perry's life, intentional misconduct, and a conscious
     flagrant indifference to the rights or safety of Mr. Perry.
15
              106) As a direct result of Defendants' action and proximate result of the infecting Mr. Perry
16
     with COVID-19, Coronavirus, Plaintiff had sustain health problems and will continue to suffer physical
17
     damages and emotional distress, resulting in economic and emotional and physical injuries for punitive
18   damages in an amount to be proven at trial.
19
   57      Torres v. Cit~ofLos Angeles, 548 F.3d 1197, 1210 (9thCir. 2008) at 1210. If reasonable jurors
20 could  believe  that the defendant violated the plaintiffs constitutional right, and the right at issue was
   clearly established, the case should proceed to trial. Id.; see also LaLonde v. Count~of Riverside, 204
                                                                                   regarding what the officer or
21 F.3d 947, 953 (9th Cir. 2000)("If...there is a material dispute as to the facts
   the plaintiff actually did, the case must proceed to trial, before a jury if requested."). "Though we may
                                                                                         jury to determine first
22 excuse the reasonable officer for...a mistake, it sometimes proves necessary for a
   whether the mistake, was, in fact, reasonable." Johnson v. Bay Area Rapid Transit Dist., 724 F.3d 1159,
                                                                                                            Cir.
23 1168 (9~h Cir. 2013)(citations omitted); see also Wilkins v. City o Oakland, 350 F.3d 949, 955 (9th
   2003)(explaining that if determining reasonableness of officer's action depends on disputed issues of
                                                                                                          jury).
24 fact—i.e., which version of facts is accepted by jury—this is question of fact best resolved by
   When a case proceeds to trial, qualified immunity is no longer an "immunity from suit"; rather, it
25 effectively becomes a defense. Torres, 548 F.3d at 1211 n. 9.
   58      "[A] court may take judicial notice of public records, government documents,judicial opinions,
26 municipal  ordinances, newspaper and magazine articles, and the contents of websites. See, e.g., Makae
   v. Trump Univ., LLC, 715 F.3d 254, 259 n.2 (9th Cir. 2013); Harris v. Ct~of Orange, 682 F.3d 1126,
27 1132 (9th Cir. 2012); Tollis, Inc. v. Ciry o~San Diems, 505 F.3d 935, 938 n.l (9th Cir. 2007); United
   States v. Chapel, 41 F.3d 1338, 1342(9th Cir. 1994); Heidelberg  `  Inc. v. PMLithographers, Inc., No. 17-
28 CV-02223-AB-AJWx (C.D. Cal. 2017); U.S. ex rel. Mod~lin v. DJO Glob., Inc., 114 F. Supp. 3d 993,
   1008(C.D. Cal. 2015)."
                                                           32
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 1             107) Defendants' unlawful actions were intentional, willful, malicious, and done with total

2      disregard to Plaintiffl right for equal protection of the laws and to be free from discrimination of
       application of federal laws based on national origin.
3
               108) Plaintiff is entitled to their reasonable punitive damages,for loss of earnings, for pain and
4
       suffering, for mental anguish, attorneys' fees if obtained, and costs of suit.
5              109) As a direct, legal and proximate result of the harm, Plaintiff had sustained over $132,875
6      in economic, compensatory damages from all the defendants for Mr. Perry's soon to be 1 year of hotel
7      rental expenses, outside food expenses, storage expenses for his belonging, and for other expenses that he

8      will continue to sustain, to be proven at trial.
               1 10) Plaintiff further seeks reasonable punitive damages in the amount of $100,000,000 for
9
       endangering Mr. Perry's life, health and safety by infecting him with COVID-19, Coronavirus that made
10
       him gravely ill that it almost killed him during the eviction on August 27, 2020, for pain and suffering;
11
       for loss of earnings and for special compensatory damages; for mental anguish is entitled to liquidated
12     damages for all those willful violations, as well as other compensation for violation of the CARES Act
13     and 15 U.S.C. §9058 and for violation of the HUD Affordable Housing lease agreement jhe signed with

14     Parc Chateaux LLC. Plaintiff also seeks for all other injunctive, declaratory, and monetary relief
       available for the violations at tria128 U.S.C. § 1651.
15

16                                            SIXTH CLAIM FOR RELIEF
17                     [Violation of Civil Rights And 42 U.S.C. § 1983 And An Ex Parte Young
                       Action Agasint The California Supreme For Depriving Mr. Perm Rights
18                     To Defend Himself Under the Equal Protection Clause of the 14th
19                     Amendment to the United States Constitution And California Constitution,
                       Article I, Section (1) In Anv State Court. Mr. Perry Is Entitiled To Obtain
20                     Any Relief, Injunctive With Declaratory, Equitable Relief Against The
21                     California State Supreme Court Pursuant to 28 U.S.C. §1651 After TheX
                       Forced Him As Defendant Under Cal. Code. of Civ. Proc. &39& 1.7 (§§ 391
22                     et. seq) To File Form "VL-110 Request To File New Litigation BX
                       Vexatious Litigant" That Was Intended To A Plaintif£1
23

24             1 11) Plaintiff incorporates by reference as if fully set forth herein the allegations contained in

25     paragraphs 1 through 288 above inclusive, as though fully set forth herein.
               1 12) 42 U.S.C. § 1983 which provides a cause of action to a party subjected to "the deprivation
26
       of any rights, privileges, or immunities secured by the Constitution and laws" of the United States by a
271
       person acting under color of state law in the wrongful application of a state's statute Cal. Code. of Civ.
281
       Proc.(CCP.) § 391.7(§§ 391 et. seq). In regard to Mr. Perry's allegation under 42 U.S.C. § 1983 action
                                                             33
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     is "rive" agasint the State of California Suptreme Court by the improper use of . (See the Ninth Circuit
                                                        59
2    in Wolfe v. George, 486 F.3d 1120(9th Cir. 2007)).
             1 13)   When Mr. Perry explained to the California Supreme and Second Distrct Court of Appeal
3
     that he is a defendant, they forced him by letter (mailed or emailed) to first file form "VL-110 Repuest
4
     to File New Litigation by Vexatious Litigant" under CCP. § 391.7 that was clearly designed and
5    intended to plaintiffs vexatious litigants. But when Mr. Perry submitted form VL-110 to the California
6    Supreme Court, they would always deny form VL-110 asking for writ relief as lacking merits.
7            1 14) To conceal their malicious intents the California Supreme and Second District Court of

8    Appeal used letters instead of "Orders" demanding Mr. Perry first file form "VL-110 Request to File
              ati b_y Vexatious Litigant" under CCP. § 391.7. However, such letters by the California
     New Liti~on
9
     courts are construed as orders. See the United States Supreme Court's held in BP P.L.C. v. Mayor And City
10
     Council o Baltimore (19-1189, OS-17-2021)decided May 17, 2021:
11
                     "[T]o our minds, the first telling clue lies in the statute's use of the term
12                   "order." Whether we look to the time of §1447(d)'s adoption or
                     amendment,a judicial "order" meant then what it means today: a "written
13                   direction or command delivered by...a court or judge."'"

14                       1   Black's Law Dictionary 1322 (11th ed. 2019); see also id., at
                             1206 (9th ed. 2009); id., at 1247 (rev. 4th ed. 1968)("Every
15                           direction of a court or judge made or entered in writing,
                             and not included in a judgment"); id., at 1247 (4th ed.
16
                             1951)(same); id., at 1298(3d ed. 1933)(same)."
17
             1 15)   The California Supreme had violated Mr. Perry's civil rights and any declaratory decree
18
     guaranteed to him under California Constitution, Article I, Sections (1)&(4) and the Due Process And
19   Equal Protection Clause of the 14`h Amendment to the United States Constitution. The California
20   Supreme Court discriminatory and malicious use of CCP. § 391.7 against Mr. Perry as a defendant was

21   meant to stop Mr. Perry's ability to defend himself in any California state court. California Supreme and
     Court of Appeal violated California Constitution, Article I, Section (3)(b)(2)60 by broadly construing
22
     CCP. § 391.7 to limit Mr. Perry's the right of access to the courts.b~
23

24   s9      Wolfe v. George, 486 F.3d 1120 (9th Cir. 2007)"(Wle concluded that Wolfe had standing and
25   a rive dispute, even though no vexatious litigant order applied to him when he sued, because his history
     of lawsuits and the recently rescinded pre-filing order showed that he was sufficiently likely to be
26   subjected to such an order a~ain.5 We concluded that most of the defendants Wolfe had sued enjoyed
     sovereign immunity, but he nevertheless could, despite the Eleventh Amendment, seek declaratory and
27   injunctive relief against both the Chief Justice of the California Supreme Court and the California
                                                                    _ ~~--'- -rte- ~ - ~ ------~~~-- r»
                                                         ---~---.
     -rr-~ - ~ ---~-- --~--~-~-`----~ -----`~--- ~~~~--~


28   °"    California Constitution, Article I, Section (1): "All people are by nature free and independent
     and have inalienable rights. Among these are enjoying and defending life and liberty, acquiring,
                                                              34
     Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 35 of 155 Page ID #:35


 1            116)     See Murphv v. Ross, Civil Action No. 3:14cv870 (E.D. Va. Apr. 14, 2015): "[F]irst, in the

2      context of section 1983, "a declaratory decree refers to an order directing a particular judicial officer to
       take or refrain from taking a particular action in a particular dispute." Puiia v. Cross, No. 12-CV-54-PB,
 3
       2012 WL 3257824, at *3 (D.N.H. Aug. 8, 2012)." [Citation omitted]. The California Supreme Court
4
       Supreme and Second District Court of Appeal engaged in intentional procedural fraud of due process and
 5
       discrimination was motivated racial or ethnic discrimination against Mr. Perry who is Jewish, Israeli-
6      American.
 7             1 17)   See Williamson County, 473 U.S. at 182; Moore v. Urquhart, 899 F. 3d 1094 (2018)

 8     holding that "[a]ctions under Ex parse Young can be brought against both state and county
       officials."..."[E]x Parte Young requires "a connection between the official sued and enforcement of the
9
       allegedly unconstitutional statute" and "a threat of enforcement."..."[i]njunctive relief shall not be
10
       granted unless a declaratory decree was violated or declaratory relief was unavailable." [Citations
11
       omitted]. By ignoring that his eviction as a HUD "Covered Tenant" for one who lived in Parc Chateaux
12     Apartments a "Covered Dwelling" the state courts refused to comply or address their violations of the
13     section 4024 of the "CARES Act"(15 U.S.C. 9058) and as extended by state and federal moratorium on

14     evictions].
               1 18)   Thus, the California Supreme Court ignoring and refusing to address Mr. Perry's claims
15
       under section 4024 of the "CARES Act"(15 U.S.C. 9058), the California Tenant Relief Act(CTRA)of
16
       September 1, 2020, and the "RELIEF Act" 5.4519 of August 10, 2020 ("Rent Emergencies Leave
17
       Impacts on Evicted Families Act")
18             1 19)   Plaintiff was subjected to harassment by Defendants because of his national origin, Israeli
19     and harassed by the Los Angeles County courts, the Los Angeles County Sheriff's Department and the

20     defendants' landlord Parc Chateaux Inc., agents and employees. Defendants did not exercise reasonable
       care to prevent the harassment, and did not exercise reasonable care to promptly correct any harassing
21
       behavior that did occur.
22

23

24
       possessing, and nrotectin~ property, and pursuing and obtaining safety, happiness, and privacy. (Sec. 1
25     added Nov. 5, 1974, by Proposition 7. Resolution Chapter 90, 1974.)
       61      California Constitution, Article I, Section (3)(b)(2): A statute, court rule, or other authority,
26     including those in effect on the effective date of this subdivision, shall be broadly construed if it
       furthers the neonle's right of access. and narrowly construed if it limits the right of access. A
27     statute, court rule, or other authority adopted after the effective date of this subdivision that limits the
       right of access shall be adopted with findings demonstrating the interest protected by the limitation and
28
       the need for protecting that interest.
                                                            35
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 1             120)   Mr. Perry alleges that the California Supreme Court and the Court of Appeal

2      discrimination is driven on racial or ethnic biases that could be shown by misconstruing CCP. §391.7 to
       limit Mr. Perry's the right of access to the courts, ignore Mr. Perry's request for writ relief as a defendant.
3
       Then an injunction could be possible on equal protection grounds unless other evidence makes clear that
4
       the discrimination was necessary. See Hunter v. Underwood, 471 U.S. 222, 228 (1985)("Once racial
5 ~ discrimination is shown to have been a `substantial' or `motivating' factor behind enactment of the law,

6      the burden shifts to the law's defenders to demonstrate that the law would have been enacted without this
7      factor.").

8              121) Defendants' unlawful actions were intentional, willful, malicious, andlor done with
       complete disregard to Plaintiff's welfare, safety, health and rights to be free from harassment of his civil
9
       rights and discrimination based on race, national or country of origin.
10
               122) Mr. Perry is entitled him to obtain any relief, injunctive with declaratory, equitable relief
11
       against the California State Supreme Court and Court of Appeal pursuant to 28 U.S.C. §1651 for pain
12     and suffering, for mental anguish and deprivations of civil rights.
13                                       SEVENTH CLAIM FOR RELIEF
                              [For Harassment And Housing Discrimination62 of Mr.
14                            Perry In Violation of Cal. Gov't Code §1295563(in seq.
                               Against The Landlord (Parc Chateaux LLC, and Anv
15
                               ManaginCompany, And Other Successesor/s.]
16
               123) Plaintiff incorporates by reference as if fully set forth herein the allegations contained in
17
       paragraphs 1 through 288 above inclusive, as though fully set forth herein.
18             124) Plaintiff was subjected to harassment by Defendants because of his national origin, Israeli
19     and harassed by the landlord Parc Chateaux Inc., agents and employees; the Los Angeles County courts,
20     and the Los Angeles County Sheriff's Department and the defendants. Defendants did not exercise any
       reasonable care to prevent the harassment, and did not exercise reasonable care to promptly correct any
21
       harassing and discriminatory behavior that did occur.
22
       62      Sisemore v. Master Financial, Inc., 60 Cal. Rptr. 3d 719, 724 (Cal. Ct. App. 2007)(finding that
23
       despite the language of subsection (p)(1), protection against harassment and/or discrimination on the
24     basis of any person race, color, religion, sex, sexual orientation, marital status, national origin, ancestry,
       familial status, source of income, or disability of that person, is not limited to landlords and tenants and
25     may be applied to borrowers and lenders)
       63      Cal. Gov't Code § 129550: For any owner of housing accommodations to harass, evict, or
26     otherwise discriminate against any person in the sale or rental of housing accommodations when the
       owner's dominant purpose is retaliation against a person who has opposed practices unlawful under this
27     section, informed law enforcement agencies of practices believed unlawful under this section, has
       testified or assisted in any proceeding under this part, or has aided or encouraged a person to exercise or
28     enjoy the rights secured by this part. Nothing herein is intended to cause or permit the delay of an
       unlawful detainer action."
                                                             36
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             125)   Mr. Perry experienced an escalating series of problems with the landlord. One of the first

2    things Mr. Perry noticed was that landlord and his maintenance person "Kevin" daild to respond to Mr.
     Perry's upkeep issues, they were uncommunicative and uncooperative and increasingly hostile to Mr.
3
     Perry. In mid 2018 early 2019 the landlord all of a sudden had changed the sewer charges that Mr. Perry
4
     paid from under $20 to $49 a month based on use of only $12 of water.64 When Mr. Perry requested the
5    landlord for sewer figures that was based on the RUBS formula, as was noted in the lease agreement
6    addendum of August 9, 2016, the Landlord refused and demanded $49 in sewer charges and $1250 in late
7    fees.

8            126)   On July 2, 2019, Mr. Perry mailed the landlord a certified mail informing them that in two
     weeks he is be leaving on a disability retreat to Israel on July 27, 2019. Mr. Perry's letter included his
r
.
     August rent payment and $50 in a check he paid for carport space #410 that Parc Chateaux staff had
10
     assigned him. Mr. Perry then parked his all equipped automatic luxury blue-gray 2007 Range Rove and
11
     left with Uber ride to LAX and from there to Israe1.65 A day after Mr. Perry flew to Israel on July 27,
12   2019 the landlord Parc Chateaux harassed and retaliated against Mr. Perry by towing his 2007 Range
13   Rover vehicle without calling the police, even after he already paid for a carport #410.

14           127)   While Mr. Perry was on his vacation disability retreat in Israel the landlord Parc Chateaux
     LLC manager Christina Romero began he mischief after she assigned to Mr. Perry carport # 410, she said
15
     by email that the carport belonged to another tenant who was about to move out from Parc Chateaux
16
     apartment. Christina knew Mr. Perry was already in Israel and couldn't remove his vehicle.
17
             128) So, Christina demanded by email that Mr. Perry remove his vehicle. Mr. Perry could not
18
      ba      In ~artment Assn. ofLos Angeles County. Inc. v. City ofLos Angeles - 74 Cal. App. 4th 681, the
19
      court of appeal declared that landlords can't circumvent rent limits by charging extra for water: "Using
20    this test of reasonable relationship, sewer service charges -- based upon a variety of factors have
      been upheld as constitutional. Thus, sewer service charges based upon water consumption have
21    been declared valid on the theory that the amount of water that flows into a building is apt to be
      roughly proportional to what flows out as sewage." (In re Ciry ofPhiladelphia (1941) 343 Pa. 47 [21
22    A.2d 876].)
      bs      The Ninth Circuit requires "proper standing to contest a forfeiture both as a statutory matter and
23    as an Article III and prudential requirement." United States v. One 1985 Cadillac Seville, 866 F .2d 1142,
      1 148 (9th Cir.1989); but see, U.S. v. $57,790 in U.S. Currency, 184 Fed.Appx. 604, 605 (9th Cir. 2006)
24   ("standing" in forfeiture actions not synonymous with Article III standing). "The claimant has the
      burden of establishing, by a preponderance of the evidence, that he has an interest in the property." U.S.
25    v. Real Property Located at Section 18, 976 F.2d 515, 520 (9th Cir. 1992), citing U.S. v. One Parcel of
      Land, 902 F.2d 1443, 1444 (9th Cir. 1990)."This interest need not be an ownership interest; it can be any
26    type of interest, including a possessory interest. See $122,043.00 [United States v. X122,043.00 in United
      States Currency, 792 F.2d 1470, 1473 (9th Cir.1986)] 792 F.2d at 1473; United States v. 1982 San ~er 24'
27    Spectra Boat, 738 F.2d 1043, 1046 (9th Cir.1984)(`It is not necessary therefore that a claimant under the
      forfeiture statute allege ownership. A lesser property interest such as possession creates standing.')
28   (citing United States v. Jacobsen, 466 U.S. 109, 113, 104 S.Ct. 1652, 1656, 80 L.Ed.2d 85 (1984))."
      United States v. $191,910.00 in U.S. Currency, 16 F.3d.
                                                         37
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 1     remove his vehicle and he asked her to move his car or tow it to another carport, or give the other tenant

2      who was already about to leave an alternate carport parking for the few days. But Christina refused and
       ordered a towing company to tow Mr. Perry vehicle from the complex. As a result of the towing Mr.
 3
       Perry incurred thousands of dollars in various towing fees and storage fees he could not afford, causing
4
       Mr. Perry to lose his Range Rover valued at $18,985(Bluebook).
5              129)   When Mr. Perry came back from Israel he was livid and he mailed his landlord a demand
6      letter via USPS certified mail to remedy the loss of his vehicle, but the landlord ignored him. The
7      following months the landlord refused to answer Mr. Perry's questions the whereabouts of his vehicle

 8     and he lost his vehicle,
               130) Five months after Mr. Perry returned from his trip to Israel and after he paid all of his rent
9
       from August through December 2019, the landlord's manager Christina Romero retaliated when she all
10
       of a sudden increased Mr. Perry's rent by $362 retroactive five (5) months of rent increase from August
11
       2019-December 2019 without giving Mr. Perry any previous notice to the increase. But this happened
12     after Mr. Perry had already paid all his rent for August-December 2019.
13             131)   When Mr. Perry requested a copy of the notice that the landlord's manager Christina
                                                                                    Mr. Perry she will email
14~ Romero supposedly posted while he was in Israel, Christina had promised to
    him the notice, but she never emailed anything.bb Instead, while Mr. Perry was on a short business trip to
15
    Las Vegas, the landlord manager Christina Romero filed an unlawful detainer lawsuit against Mr. Perry
16
    on January 9, 2020 asking for forfeiture of the rent agreement based on $362 in 5 months of "unpaid"
17
    retroactive rent. Even knowing Mr. Perry had already paid his rent for those same months.
18             132)   After Parc Chateaux LLC., had wrongly evicted Mr. Perry, they increased the rent for his
19     two-bedroom, two-bath apartment from $1648 to $3877.
20             133) Defendants' unlawful actions were intentional, willful, malicious, and/or done with
       complete disregard to Plaintiff's welfare, safety, health and rights to be free from harassment and
21
       discrimination based on race, national or country of origin. If racial or ethnic discrimination could be
22
       shown to have driven a decision to resume evictions, then an injunction could be possible on equal
23
       protection grounds unless other evidence makes clear the jurisdiction would have resumed evictions
24     anyway. See Hunter v. Underwood, 471 U.S. 222, 228 (1985)("Once racial discrimination is shown to
25     have been a `substantial' or `motivating' factor behind enactment of the law, the burden shifts to the
26 ~ law's defenders to demonstrate that the law would have been enacted without this factor.").

27     66     See Memphis Light, Gas &Water Div. v. Craft, 436 U.S. 1, 14-15 (1978) (notice "does not
28     comport with constitutional requirements when it does not advise the customer of the availability of a
       procedure for protesting a proposed termination of utility service as unjustified.").
                                                           38
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 1             134) As a direct result of Defendants' action and proximate result of the infecting Mr. Perry

 2     with COVID-19, Coronavirus, Plaintiff had sustain health problems and will continue to suffer physical
       damages and emotional distress, resulting in economic and emotional and physical injuries for punitive
 3
       damages in an amount to be proven at trial.
4
               135) Defendants' unlawful actions were intentional, willful, malicious, and done with total
 5     disregard to Plaintiff' right for equal protection of the laws and to be free from discrimination of
6      application of federal laws based on national origin.
 7             136) Plaintiff is entitled to their reasonable punitive damages, for loss of earnings, for pain and

 8     suffering, for mental anguish, attorneys' fees if obtained, and costs of suit.
               137) As a direct, legal and proximate result of the discrimination, Plaintiff have sustained, and
 9
       will continue to sustain, economic and emotional injuries, resulting in damages in an amount to be
10
       determind in a trial by jury or by the court.
11 '
               138) Plaintiff further seeks reasonable punitive damages for pain and suffering, loss of
12     earnings, special compensatory damages, for mental anguish is entitled to liquidated damages Plaintiff
13     and for all other injunctive, declaratory, and monetary relief available for the violations at trial, including

14     liquidated damages for all willful violations, and other compensation pursuant to the CARES ACT and
       15 U.S.C. §9058.
15
                                         EIGHTH CLAIM FOR RELIEF
16                     Violation of 18 U.S. Code & 241 - Consniracv Against Rights Under
17                    Section 4024(b) And (c) of the "CARES Act" (15 U.S.C. 9058(b~c)
                      Against The Landlord Against Parc Chateaux LLC, And Anv Mana~g
18                    Agent/Representatives, And Other Successesor/s and The Los And
                      Sheriff's Department, and The California State Courts)1
19
               139) Plaintiff incorporates by reference as if fully set forth herein the allegations contained in
20
       paragraphs 1 above through 288 inclusive, as though fully set forth herein.
21
               140) All the defendants individually and jointly had conspired to derive Mr. Perry his civil
22     rights under Section 4024(b) and (c) of the "CARES Act" (15 U.S.C. 9058(b) and (c) during the
23     wrongful eviction of August 27, 2020.

24             141) Defendants Parc Chateaux LLC, and their managing agent/representatives, and the State
       of California courts along with the Los Angeles Sheriff's Department had conspiredb~to commit
25

26
       67      18 U.S.C. § 241: If two or more persons conspire to injure, oppress, threaten, or intimidate any
27     person in any State, Territory, Commonwealth, Possession, or District in the free exercise or enjoyment
       of any right or privilege secured to him by the Constitution or laws of the United States, or because of his
28     having so exercised the same; or If two or more persons go in disguise on the highway, or on the
       premises of another, with intent to prevent or hinder his free exercise or enjoyment of any right or
                                                             39
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     procedural fraud of due process by intentionally and prematurely "grabbing"jurisdiction from the United

2    states district court, they knowingly violating federal law 28 U.S.C. §1447(c) by using an electronic
     "Letter of Transmittal -Remand To Superior Court (Civil)" on February 21, 2020, instead of the
3
     actual "Certified" remand order that the state court never received by mail from the district court. Parc
4
     Chateaux LLC., and the state court had sued the electronic "Letter of Transmittal -Remand To
5    Superior Court (Civil)" as a remand to enabled them to have the state court to issue a void default
6 judgment and writ of execution.

7              142) Defendants' unlawful actions were intentional, willful, malicious, and/or done with

8    complete disregard to Plaintiff's welfare, safety, health and rights to be free from the defendants
     conspiracy to deprive Mr. Perry his civil rights and discrimination based on race, national or country of
9
     origin.
10
               143) As a direct, legal and proximate result of the Parc Chateaux LLC.'s reprehensibility
11
     intentional procedural fraud of due process in violating federal removal laws, Plaintiff have sustained,
12   and will continue to sustain, economic and emotional injuries, resulting in an award for punitive damages
13   and exemplary damages of $100,000,000.

14             144) Defendants' unlawful actions were intentional, willful, malicious, andlor done with
     complete disregard to Mr. Perry, the Plaintiff's property rights, and rights to be free from deprivation of
15
     rights.
16

17

18    privilege so secured....."They shall be fined under this title or imprisoned not more than ten years, or
      both; and if death results from the acts committed in violation of this section or if such acts include
19     .an attempt to kill,...."
              A conspiracy claim brought under section 1983 requires proof of"`an agreement or meeting of
20    the minds to violate constitutional rights,"' Franklin v. Fox, 312 F.3d 423, 441 (9~' Cir. 2001)(quoting
      United Steel Workers of Am. v. Phelps Dodge Corp., 865 F.2d 1539, 1540-41 (9th Cir. 1989)(citation
21    omitted)), and an actual deprivation of constitutional rights, Hart v. Parks, 450 F.3d 1059, 1071 (9th Cir.
     2006)(quoting Woodrum v. Woodward County, Oklahoma, 866 F.2d 1121, 1126 (9th Cir. 1989)). "`To
22    be liable, each participant in the conspiracy need not know the exact details of the plan, but each
      participant must at least share the common objective of the conspiracy."' Franklin v. Fox, 312 F.3d
23    at 441 (quoting United Steel Workers v. Phelps Dod~e Corp., 865 F.2d at 1541). The federal system is
      one of notice pleading, and the court may not apply a heightened pleading standard to Plaintiff's
24    allegations of conspiracy. Empress LLC v. City and Count~ofSan Francisco, 419 F.3d 1052, 1056 (9th
      Cir. 2005); Galbraith v. County of Santa Clara, 307 F.3d 1119, 1126 (2002). However, although
25    accepted as true, the "[fJactual allegations must be [sufficient] to raise a right to relief above the
      speculative level..." Bell Atlantic Corp. v. Twombly, 127 S.Ct. 1955, 1965(2007)(citations omitted).
26            A plaintiff must set forth "the grounds of his entitlement to relies]" which "requires more than
      labels and conclusions, and a formulaic recitation of the elements of a cause of action...." Id. at 1964-65
27   (internal quotations and citations omitted). As such, a bare allegation that Defendants conspired to violate
      Plaintiffs' constitutional rights will not suffice to give rise to a conspiracy claim under section 1983.
28    Indeed, Plaintiffs' conspiracy claim is comprised of nothing more than conclusory sentences, without
      explanation or factual support.
                                                          40
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               145) Mr. Perry is entitled him to obtain any relief, injunctive with declaratory, equitable relief
       against the California State Supreme Court and Court of Appeal pursuant to 28 U.S.C. §1651 for pain
 -,    and suffering, for mental anguish and deprivations of civil rights.
 J


 4                                         NINTH CLAIM FOR RELIEF
                     [For Trespass68 And Conversion And A Private Right of Action Under
 5                    Vehicle Code § 22658 of Mr. Perrv's 2007 Range Rover Apartment; In The
 6                    Wron~ul Trespass Into Mr. Perrv's Home On August 27, 2020 Was In
                      Violation of The CARES Act Who Along With The State Court Committed
 7                   Fraud In Violation of 28 U.S.C. § 1447(cLv Prematurely "Grabbing"
 8                   Jurisdiction On February 21, 2020 From The United States District Court
                     Based Only of An Electronic "Letter of Transmittal -Remand To Superior
 9                   Court (Civil)" Instead of The Actual "Certified" Remand Order That Was
10                   Never Mailed By The District Court, That Defendants Had Never Received
                     Anv Remand Order. Against Parc Chateaux LLC, And Any Managing
11                   A~ent/Representatives, And Other Successesor/S; Chandler Hovt, Santa
12                   Clarita City Towing Inc.("SCCTOW")1

IJ             146) Plaintiff incorporates by reference as if fully set forth herein the allegations contained in

1~     paragraphs 1 through 288 above inclusive, as though fully set forth herein.
               147) On July 3, 2019, Mr. Perry, informed the defendants, NP Parc Chateaux, LLC.,
l5
      (ALLRESCO) by certified mail that he is traveling to a disability retreat in Israel, and Parc Chateaux
16
       accepted69 two checks one for $1648 for rent and another check for $50 for carport #410 that was
17
       provided to Mr. Perry by Parc Chateaux to park his vehicle, a 2007 Range Rover, valued at $18,985.
18             148) On July 27, 2019, while Perry left with Uber to LAX he flew to Poland's Warsaw
19     International Airport then to Ben Guiron airport in Tel Aviv on, Parc Chateaux LLC., had email Mr.
20     Perry on July 28, 2019 they plan to remove his vehicle parked in carport #410 they assignd to him,

21     actually belonged to another tenants who was about to move out. Mr. Perry inquired why Parc Chateaux
       instead did not move his vehicle to another parking space, but Parc Chateaux ignored him. On August 2,
22
       2019 the landlord towed Mr. Perry's Rang Rover using their towing service.
23

24     6S       California Code of Civil Procedure (CCP) § 338: "Within three years: (a) An action upon a
       liability created by statute, other than a penalty or forfeiture.(b) An action for trespass upon or injury to
25     real property.(c)(1) An action for taking, detaining, or injuring goods or chattels, including an action for
       the specific recovery of personal property. (2) The cause of action in the case of theft, as described in
26     Section 484 ofthe Penal Code..."
       69
                See California Code Civ. Proc., § 2076: "The person to whom a tender is made must, at the time,
27     specify any objection he may have to the money, instrument, or property, or he must be deemed to have
       waived it; and if the objection be to the amount of money, the terms of the instrument, or the amount or
28     kind of property, he must specify the amount, terms, or kind which he requires, or be precluded from
       objecting afterwards."
                                                            41
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              149) Upon his return from Israel, Mr. Perry contacted the towing company Parc Chateaux used,

 2    and they have charged him thousands of dollars in towing fees, storage fees and other fees, and Mr. Perry
      could not afford the fees he lost his 2007 Range Rove. Defendants, NP Parc Chateaux, LLC had
 3
      damaged Mr. Perry by illegally towing his luxury 2007 Range Rover in the amount of$18,985.
 4
              150) Defendants Parc Chateaux's Chandler Hoyt, Santa Clarita City Towing Inc.("SCCTOW")
 5
      actions without following were malicious and knowingly violated Mr. Perry's rights under California
 6    Vehicle Code § 22658(1)(1)(d),(See Cal. Veh. Code, § 22658, subd.(a)[§ 22658 et. Seq.] See People Ex
 7    Rel. Renne v. Servantes, 86 Cal. App. 4th 1081 (Cal. Ct. App. 2001).70

 8            151) The landlord Parc Chateaux LLC, and the Los Angeles Sheriff Department substantively
      violated the Federal Moratorium Laws, CARES Act, by serving Mr. Perry on August 23, 2020 with only
 9
      3-days Notice-To-Vacate, instead 30 days under Section 4024 of the CARES Act (15 U.S.C.
10
      §9058)(b)&(c)(15 U.S.C. § 9001 et seq.)), as amended by the Rescue Plan Act of 2021. The defendants
11
      substantially violated California's Tenant Relief Act(CTRA)of September 1, 2020.
12            152) The landlord Parc Chateaux LLC, and the Los Angeles Sheriff Department trespassed~l
13    into Mr. Perry's residence on August 27, 2020, the Sheriff Department and the Parc Chateaux LLC., the

14    landlord's managing agents and staff failed and refused to wear masks, and they maliciously infected Mr.
      Perry with COVID-19, Coronavirus that made him gravely ill that it almost killing him. The Sheriff
15

16    ~~       People Ex Rel. Renne v. Servantes, 86 Cal. App. 4th 1081 (Cal. Ct. App. 2001): "Presiding
      Justice Harold G. Clarke of the Georgia Supreme Court observed that "[t]he law gives the towing
17    company a great advantage over the owner of the towed car, and creates a great potential for
      unfair business practices and abuse of the public." (Porter v. City ofAtlanta (1989)259 Ga. 526, 528
18   [384 S.E.2d 631, 634].)"...."We begin our analysis with the pertinent regulatory scheme, starting with
      Vehicle Code section 22658, by which the California Legislature has undertaken to regulate the removal
19    of vehicles from private property by a towing service. fn. 2 That section provides, among other things,
      that the property owner must first notify the police (Veh. Code, § 22658, subd. (a)) and that the
20    towing company must have written authorization from the property owner or agent, who must be
      present at the time of the tow (subd.(1)). Section 22658 also provides that the towing company may not
21    impose excessive charges for towing and storage (subd. (i)), and requires that the owner of the storage
      facility to which the vehicle is towed accent a bank credit card or cash for the towing and storage charges
22   (subd. (kll. fn. 3."...."fVlehicle Code section 22658 arovides a private right of action for the owner
      of the towed vehicle. A private pronertv owner who causes the removal of a vehicle without complvin~
23    with statutory requirements is liable to the vehicle owner for double the towins and storase charees
     (subd. (ell. A towing service which removes a vehicle without written authorization is liable to the
24    vehicle owner for four times the towing and storage charges (subd. (1)(3)). Similarly, anyone who
      charges excess towing or storage fees is liable to the vehicle owner for four times the amount charged
25   (subd. (i)). And any operator of a storage facility who fails to accept a credit card is liable to the vehicle
        weer for four times the towing and storage charges not to exceed $500(subd.(k))("Citation")
26    ~~       "[I]n order to state a cause of action for trespass a plaintiff must allege an unauthorized and
      tangible entry on the land of another, which interfered with the plaintiff's exclusive possessory rights."
27   (McBride v. Smith (2018) 18 Cal.App.S~' 1160, 1174 [227 Ca1.Rptr.3d 390]; The common-law
      distinction between direct and constructive trespass is not followed in California. A trespass may be
28    committed by consequential and indirect injuries as well as by direct and forcible harm.(Gallin v. Poulou
     (1956) 140 Cal.App.2d 638,641 [295 P.2d 958].)
                                                          42
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       Department deputies refused to yield to warning by the Los Angeles Inspector General Max Huntsman's

 2     letter of August 21, 2020 had secured an infection of COVID-19 to Mr. Perry on August 27, 2020.
       After Parc Chateaux LLC., had wrongly evicted Mr. Perry, they increased the rent for his two-bedroom,
 3
       two-bath apartment from $1648 to $3877.
 4
              153)    Defendants' unlawful actions were intentional, willful, malicious, and/or done with
 5     complete disregard to Mr. Perry, the Plaintiff's property rights, and rights to be free from deprivation of
 6     rights. Additionally, Parc Chateaux LLC., as a property owner who authorized the towing of a vehicle of
 7     Mr. Perry's Range Rover from their property did not follow the state law and did not first notify the

 8     police before the towing on August 2, 2019.       See Krieger v. Pacific Gas &Electric Co. (1981) 119
       Ca1.App.3d 137, 148 [173 Ca1.Rptr. 751], "Causes of action for conversion and trespass support an
 9
       award for exemplary damages."(Internal citation omitted.)
10
              154)    As a direct, legal and proximate result of the Parc Chateaux LLC.'s reprehensibility
11
       intentional procedural fraud of due process in violating federal removal laws, Plaintiff have sustained,
12     and will continue to sustain, economic and emotional injuries, resulting in an award for punitive damages
13     and exemplary damages to be determined by a jury or the court, plus any special, actual, damages.

14                                       TENTH CLAIM FOR RELIEF
                   jAn Implied Right of Action For Intentional Discrimination In HUD Housing
15                  Under Title VI of the Civil Rights Act of 1964, Section 60172 Which Is
                    Include Enforcement of section 4024 of the "CARES Act" (15 U.S.C. 9058
16
                    And In Congress Passing of"RELIEF Act" on August 10, 2020 (Bill S. 4519
17                 (116 Con~ress~,~IA~ainst Parc Chateaux LLC, And Any Manages
                    Agent/Representatives, And Other Successesor/s And The Los Angeles
18
                     County Sheriff Departmentl.
19
              155)    Plaintiff incorporates by reference as if fully set forth herein the allegations contained in
20
       paragraphs 1 above through 288 inclusive, as though fully set forth herein.
21
              156)    Mr. Perry was a tenant of Parc Chateaux Inc was enrolled in HUD affordable housing
22     since August 2016. Parc Chateaux units were enrolled in a HUD Affordable Housing program was a
23 ~ "Covered Dwelling" and Mr. Perry was a "Covered-Tenant' under section 4024 of the "CARES Act"

24 (15 U.S.C. 9058 et. seq.).
              157)    On August 23, 2020, the landlord, Parc Chateaux LLC., and the Los Angeles County
25
       Sheriff's Department posted Mr. Perry's door a "Notice to Vacate" in attempt to evict Mr. Perry by
26

27
       ~~      See Alexander v. Sandoval, 532 U.S. 275, 121 S. Ct. 1511 (2001): "[I]t is thus beyond dispute that
28     private individuals may sue to enforce § 601. Second, it is similarly beyond dispute —and no party
       disagrees —that § 601 prohibits only intentional discrimination."
                                                           43
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       August 23, 2020. On August 27, 2020 at 1 IAM, the landlord and the Sheriff's Department ignored the

 2     health hazards of COVID-19, they evicted Mr. Perry from his home, during which they infected him with
       COVID-19 Coronavirus.
 3
                158)   After almost two weeks after defendants had maliciously infected Mr. Perry developed
 4
       symptoms of Coronavirus, and was gravely ill with severe coughing; sore throat; congestion, runny nose;
 5     he had diarrhea, fever, chills, nausea; tightening of his chest; shortness of breath difficulty breathing;
 6     persistent, stubbing pain with constant pressure traveling from his mid chest to his left upper side to his
 7     heart.

 8              159) Landlord and there law firm Hollenbeck &Cardoso LLP had violated the section 4024 of
       the "CARES Act" and 15 U.S.C. §9058(c). After Parc Chateaux LLC., had wrongly evicted Mr. Perry,
 9
       they increased the rent for his two-bedroom, two-bath apartment from $1648 to $3877.
10
                160)      On March 27, 2020 Congress had passed the CARES Act, which here is the basis for
11
       federal question jurisdiction, and Mr. Perry's Complaint alleges facts establishing the basis fora "Private
12     Right of Action"73 can obviously and reasonably be inferred from Congress passing of RELIEF Act on
13     August 10, 2020 (Bill S. 4519(116 Congress)).

14              161)   Mr. Perry informed Parc Chateaux LLC., that he is a certified disabled person, and
       provided them with proof, but the landlord ignored him and evicted him on August 27, 2020. The State
15
       Courts and the Sheriff's Department subjected Mr. Perry to the COVID-19 Coronavirus pandemic health
16
       hazards or death by selectively choosing only him from all other HUD qualified tenants to be forcibly
17
       evicted in violation of section 4024 of the "CARES Act" (15 U.S.C. 9058), while the Coronavirus
18     pandemic was still dangerously wide spread in Los Angeles. Discriminating and depriving Mr. Perry
19     due process and subjecting to a wrongful eviction and to COVID-19 was not only wrong but dangerous
20     to the life, safety, health and well being of Mr. Perry.
                162) As a direct, legal and proximate result of the discrimination, Plaintiff have sustained, and
21
       will continue to sustain health problems, economic and emotional and physical injuries, resulting in
22
       damages in an amount to be proven at trial. Defendants' unlawful actions were intentional, willful,
23
       malicious, and/or done with reckless disregard to Plaintiff' right to be free from discrimination based on
24     national origin.
25

26     73      See Cort v. Ash, 422 U.S. 66, 95 S.Ct. 2080, 45 L.Ed.2d 26 (1975): Finally, in Rigsby, the Court
       noted that the statutes involved included language pertinent only to a private right of action for damages,
27     although such a right of action was not expressly provided, thus rendering "[t]he inference of a private
       right of action...irresistible." 241 U.S., at 40. See also United States v. Republic Steel Corp., 362 U.S.
28     482, 491 (1960)."...."The inference of a private right of action in the present instance is rendered
       irresistible..."
                                                             44
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               163) Plaintiff is entitled to their reasonable punitive damages for loss of earnings, for pain and
       suffering, for mental anguish, attorneys' fees and costs of suit.

                                          TENTH CLAIM FOR RELIEF
                     [Implied Cause of Action The Los Angeles Sheriff's Department Refusing
 4
                      Wear Masks To Prevent And Stop COVID-19 Coronavirus Infection
 5                   Endangered Mr. Perry And Created Life-Threatening Circumstances,
                     Bordering Criminality74While Knowingly Violating The California
 6
                     Constitution, Article I, Section (1) And Government Code §26602: "[t]he
 7                   dread of anv contagious or communicable disease" Against The Los
                      Angeles Sheriff's Department As The Eviction Jointly Done And
 8
                     Supervised On August 27, 2020 By Parc Chateaux LLC, And AnX
 9                   Mana~~A gent/Representatives, And Other Successesor/sl.

10             164) Plaintiff incorporates by reference as if fully set forth herein the allegations contained in
11     paragraphs 1 above through 288 inclusive, as though fully set forth herein.
12             165) On March 12, 2020, Mr. Perry filed a second removal in Case No. 2:20-cv-02346-JFW-

13     PJW NP Parc Chateaux, LLC v. Moshe Perry et al served the Los Angeles Sheriff Department with a
       Notice he filed in the United States District Court warning them not to evict him by enforcing a
14
       fraudulent voided default, default judgment and a writ of execution: "[Notice to the sheriff department
15
       from the injunctive relief available to defendant/.....is an executive branch officer enforcing a court
16     orders are not entitled to immunity, and is estopped from enforcing...."
17             166) The Sheriff Department ignored the warning and on August 23, 2020 the Sheriff
18     Department served Mr. Perry with 3 days "NOTICE-TO-VACATE" and evicting Mr. Perry on August

19     27, 2020. The Sheriff Department failed to give Mr. Perry the 30 days under 15 U.S.C. §9085(b)&(c).
               167) The plaintiff can prove the Sheriff Department's actual knowledge in creating the life-
20
       threatening circumstances and degree of culpability in endangering Mr. Perry life and health~s during the
21
       eviction of August 27, 2020 with total disregard of human life and indifference to consequences when
22
       they intentionally infected Mr. Perry with COVID-19 Coronavirus that made him gravely ill with severe
23

24     74      See California Jury Instruction on a Second Degree Felony-Murder: "[T]he unlawful killing of a
       human being with malice aforethought, but without a deliberately formed and premeditated intent to kill,
25     is murder of the second degree: "(1) If the killing proximately results from an unlawful act, the natural
       consequences of which are dangerous to life, which act is deliberatelyperformed b~person who knows
26     that his conduct endangers the life of another, or "(2) If the circumstances proximately causing the killing
       show an abandoned and malignant heart,...which course of conduct is a proximate cause of the unlawful
27     killing of a human being, such course of conduct constitutes murder in the second degree, even though
       the death was not intended."
28     75      See California Supreme Court case discussing endangerment of life and health in Walker v.
       Superior Court(1988)47 Cal.3d 112 ,253 Ca1.Rptr. 1; 763 P.2d 852.
                                                            45
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 1     coughing, sore throat, congestion, runny nose, diarrhea, fever, chills, nausea, tightening of his chest;

 2     shortness of breath difficulty breathing, persistent, stubbing pain with constant pressure traveling from
       his mid chest to his left upper side to his heart.
 3
               168) The Los Angeles County Sheriff Department refusal to wear protective masks ignoring the
 4
       warning from the Los Angeles Office of Inspector General Max Huntsman issued a warning letter on
 5     August 21, 2020 The Los Angeles County Sheriff Department "FAILURE OF SHERIFF'S
 6     DEPARTMENT PERSONAL TO OBEY FACE COVERING MANDATES."
 7             169)    More so, because the sheriff department deputies had previously publically advertised

 8     their refusal to wear protective masks, they had nevertheless violently evicted Mr. Perry from his home
       during, while they did not wear protective masks, they infected him with COVID-19 Coronavirus that
 9
       almost killed him.
10
               170)    The Los Angeles County Sheriff Department refusal to wear protective masks during the
11
       eviction of August 27, 2020, infected Mr. Perry with the COVID-19 Coronavirus making him gravely ill
12     that they almost killed him. The Los Angeles Sheriff Department violated California law and Section
13     3215(b)of the CARES Act of March 27, 2020.

14             171)    Mr. Perry had also pre-warned the Sheriff Department in a notice he filed in district court
       from coming to his home to evict him on August 27, 2020. Two of the Sheriff Department deputies sick
15
       with Coronavirus, refused and did not wear masks and infected Mr. Perry with COVID-19 Coronavirus
16
       during the eviction of August 27, 2020 in violation of the CARES ACT and 15 U.S.C. §9058 and
17
       California Government Code §26602.
18             172)    Landlord and Law Firm and the Los Angeles Sheriff Department infected Mr. Perry with
19     Coronavirus during the eviction of August 27, 2020, making him gravely ill that he almost died, they

20     therefore violated the section 4024 of the "CARES Act" and 15 U.S.C. §9058(c), and under The "Rent
       Emergencies Leave Impacts on Evicted Families Act" or the "RELIEF Act" 5.4519 of August 10, 2020,
21
       by the eviction of August 27, 2020. Nowhere does it shown that the State of California and the
22
       defendants were exempt by the "CARES Act" and the "RELIEF Act."
23
               173)   The harm caused to Mr. Perry by the Sheriff Department was an act and omission
24     constituting willful and criminal misconduct, malicious, wanton, intentional, outrageous misconduct,
25     indifference and endangerment of Plaintiff's Mr. Perry's life, intentional misconduct, and a conscious
26     flagrant indifference to the rights or safety of Mr. Perry that was harmed by the Sheriff Department.

27             174)   As a direct result of Defendants' action and proximate result of the infecting Mr. Perry
       with COVID-19, Coronavirus, Plaintiff had sustain health problems and will continue to suffer physical
28

                                                            46
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 1     damages and emotional distress, resulting in economic and emotional and physical injuries for punitive

 2     damages in an amount to be proven at trial.
               175) Defendants' unlawful actions were intentional, willful, malicious, and done with total
 3
       disregard to Plaintiff' right for equal protection of the laws and to be free from discrimination of
 4
       application of federal laws based on national origin.
 5             176) Plaintiff is entitled to their reasonable punitive damages, for loss of earnings, for pain and
 6     suffering, for mental anguish, attorneys' fees if obtained, and costs of suit.
 7             177) As a direct, legal and proximate result of the harm, Plaintiff has sustained, and will

 8     continue to sustain, economic damages to be proven at trial.
               178) Plaintiff further seeks reasonable punitive damages of $100,000,000 for pain and
 9
       suffering, loss of earnings, special compensatory damages, for mental anguish is entitled to liquidated
10
       damages Plaintiff and for all other injunctive, declaratory, and monetary relief available for the violations
11
       at trial, including liquidated damages for all willful violations, and other compensation pursuant to the
12     CARES ACT and 15 U.S.C. §9058 and California Government Code §26602.
13
                                       ELEVENTH CLAIM FOR RELIEF
14                    [Defendants Violation of The California Tenant Relief Act (CTRAL
                      September 1, 2020 After Violation of The 30 Days Notice-To-Vacate
15
                      Under Section 4024 of the "CARES Act" And 15 U.S.C. §905g((b~c)
16                    On August 27, 2020 Against Parc Chateaux LLC, And An~~g
                      Agent/Representatives. And Other Successesor/s And The Sheriff
17
                      Departments
18
               179) Plaintiff incorporates by reference as if fully set forth herein the allegations contained in
19
       paragraphs 1 through 288 above inclusive, as though fully set forth herein.
20
              180) Plaintiff alleges that defendants' landlord Parc Chateaux LLC., and the Sheriff
21     Departments violated California Tenant Relief Act (CTRA) (Assembly Bill (AB) 3088), which
22     temporarily prevents evictions due to hardships related to COVID-19 that was effective on September 1,

23     2020. More specifically, AB 3088 prevents eviction of tenants enduring financial hardship due to
       COVID-19 through January 2021 and delays rental recovery by landlords until March 2021.
24
              181) Plaintiff alleges that defendants' landlord Parc Chateaux LLC., failed to provide Mr. Perry
25
      "Covered Tenant" living in a HUD "Covered-Dwelling" the 30 days notice under Section 4024 of the
26
       CARES Act(15 U.S.C. 9058) after the eviction of August 27, 2020, or informing him of his rights under
27     AB 3088 on September 1, 2020.
28            182) Plaintiff alleges that defendants' landlord Parc Chateaux LLC. had failed to give him

                                                            47
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     notice and violated California Legislator Assembly Bill No. 3088 (AB3088).76 After Parc Chateaux

 2   LLC., had wrongly evicted Mr. Perry, they increased the rent for his two-bedroom, two-bath apartment
     from $1648 to $3877.
 3
             183) Plaintiff alleges that defendants' landlord Parc Chateaux LLC., failed to provide Mr. Perry
 4
     30 days to respond to the landlord's demand to pay rent by returning a declaration signed under penalty
 5
     of perjury, indicating that the tenant cannot pay the amount at issue because of COVID-19 related
 6   financial distress.
 7           184)    Defendant had intentionally ignored the dangers of COVID-19 and the moratorium of

 8   eviction, knowing well he moratorium on eviction would be extended by the California Legislator
     Assembly Bill No. 3088 (AB3088)(AB-828) enact California "Tenant Act" into law on September 30,
 9
     2020, that was signed by the Governor Gavin Newsome into law on August 30, 2020. Previously, on
10
     March ls` and 4`h 2020, the California President Donald Trump of March 1, 2020 both signed executive
11
     Orders on the CARES Act and the moratorium on eviction.~~
12
                                       TWELFTH CLAIM FOR RELIEF
13
                    fFor Deprivation of Hearing For HUD Dwelling In Violations 42 U.S.C.
14                  3601-3619 et. seq. 24 C.F.R. 966 et. seq.; 24 CFR C.F.R. 5.150-5.168~g 24
                    CFR C.F.R. PART 100; Title VIII of the Civil Rights Act of 1968 (As
15                  Amended); 42 U.S.C. §2000d-1; Section 109 of Title I of the Housing
16                  And Community Development Act of 1974, 42 U.S.C. §5309; The Fair
                    Housing Act And Title VI of the Civil Rights Act of 1964, Section 504 of
17                  the Rehabilitation Act of 1973, 29 U.S.C. §794; Title II of the Americans
18                  with Disabilities Act of 1990, 42 U.S.C. ~§12181 — 12189; Executive
                    Order 11063 (1962), Executive Order 12892 (1994) In Concert With
19                  Violation of Section 4024 of the "CARES Act" (15 U.S.C. 9058) and
20                  Under The "Rent Emergencies Leave Impacts on Evicted Families Act" or
                    the "RELIEF Act" S.4519 of August 10, California Penal Code §396(fll
21
             185)    Plaintiff incorporates by reference as if fully set forth herein the allegations contained in
22
     paragraphs 1 through 288 above inclusive, as though fully set forth herein.
23
             186) Plaintiff alleges that defendants' landlord Parc Chateaux LLC., intentional infliction of
24

25
     76      Assembly Bill No. 3088 (AB30881: "Existing law prohibits a landlord from taking specified
26   actions with intent to terminate~b the occupancy under any lease or other tenancy or estate at will,
     however created, of property used by a tenant as the tenant's residence. Existing law makes a violator of
27   those provisions subject to certain damages in a civil action."
     ~~      See Congressional Research Service,"CARES Act Eviction Moratorium," p. 2 (Apr. 7, 2020),
28   og-line at: https://crsreports.congress.goy/product/pdf/IN/IN11320.
            42 U.S.C. 12876 Definitions of tenants housing, dwelling. 42 U.S.C. 12879.
                                                          48
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 1   emotional distress had also violated Title VI of the Civil Rights Act of 1964, the Fair Housing Act,

 2   section 504 of the Rehabilitation Act of 1973, and title II of the Americans with Disabilities Act of 1990,
     Included under section 4024 of the "CARES Act" (15 U.S.C. 9058), which temporarily prevents
 3
     evictions due to hardships related to COVID-19 that was effective immediately.
 4
             187) Parc Chateaux LLC., intentionally deprived Mr. Perry hearing since he lived in a HUD
 5
     dwelling pursuant to Section 4024 of the "CARES Act" (15 U.S.C. 9058) and under the "Rent
 6   Emergencies Leave Impacts on Evicted Families Act" or the "RELIEF Act" S.4519 of August 10,
 7   California Penal Code §3960. Parc Chteaux LLC., knowingly violated intentionally discriminated

 8   against Mr. Perry under HUD Affordable Housing under Title VI of the Civil Rights Act of 1964. Section
     6011 they violated 42 U.S.C. 3601-3619 et. seq. 24 C.F.R. 966 et. seq.; 24 CFR C.F.R. 5.150-5.168 24
 9
     CFR C.F.R. PART 100; Title VIII of the Civil Rights Act of 1968 (As Amended); 42 U.S.C. §2000d-1;
10
     Section 109 of Title I of the Housing And Community Development Act of 1974, 42 U.S.C. §5309; the
11
     Fair Housing Act And Title VI of the Civil Rights Act of 1964, Section 504 of the Rehabilitation Act of
12   1973, 29 U.S.C. §794; Title II of the Americans with Disabilities Act of 1990, 42 U.S.C. §§12181 —
13   12189; Executive Order 11063 (1962), Executive Order 12892 (1994).

14           188)    As a direct, legal and proximate result of the defendants' actions and total disregard to his
     life and health, defendants intentionally placed Mr. Perry life in harm's way to the dangers of
15
     Coronavirus Pandemic, and will likely would sustain, and will continue to sustain, the harms of COVID-
16
     19 and the economic damages that can be proven at trial.
17
             189)    As a result of defendants' actions, plaintiff has suffered emotional distress, from each of
18   the defendants' arrogant misconduct; plaintiff seeks a minimum of $100,000,000 in punitive damages for
19   pain and suffering, for mental anguish subject to change or increase, for loss of earnings, attorneys' fees

20   and costs of suit.
             190) Defendants' unlawful actions were intentional, willful, malicious, and/or done with
21
     reckless disregard to plaintiff' right to be free from such intentional infliction of emotion harm, and was
22
     the proximate cause of Mr. Perry's injury when the Los Angeles Sheriff Department deputies infected
23
     him with COVID-19 Coronavirus during the eviction of August 27, 2020 that made him gravely ill and
24   almost killing him.
25

26

27

28

                                                          49
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                                      THIRTEENTH CLAIM FOR RELIEF
                      fFor Intentional, Severe Physical And Emotional Distress Against Parc
 2
                      Chateaux LLC, And An.~nagin~A gent/Representatives, And Other
 3                    Successesor/s And The Los Angeles Sheriff Department)

 4             191) Plaintiff incorporates by reference as if fully set forth herein the allegations contained in
 5     paragraphs 1 through 288 above inclusive, as though fully set forth herein.

 6             192) Plaintiff alleges that defendants' the Los Angeles Sheriff Department had intentionally79
       acts in a way to cause Mr. Perry severe emotional distress from the near death experience form the
 7
       COVID-19 infection causing Mr. Perry to suffer severe emotional distress, indignity, trauma, severe pain,
 8
       mental anguish, anger and anxiety, physical injury and financial cost resulting from the COVID-19
 9
       infection. E.g. Faya v. Almaraz, 329 Md. 435, 620 A.2d at 330(Md. 1993): "[a]ntibodies, pain, fear,
10     anxiety, grief, nervous shock, severe emotional distress, headache and sleeplessness." The Sheriffs
11     deputies' conduct on August 28, 2020 was extreme and outrageous. The Sheriff's deputies had acted

12     intentionally, and their conduct caused severe emotional and physical distress to Mr. Perry.
               193) The Sheriff's deputies' knew that the plaintiff and any other person were particularly
13
       susceptible to severe80 physical and emotional distress incurred injuries in the form of exposure to
14
       COVID-19, Coronavirus Pandemic on August 28, 2020. There was a pattern of conduct The Sheriffls
15
       deputies were in a position of power refusing to wear COVID-19 masks to prevent or stop the spread of
16     COVID-19.
17             194)   As a direct, legal and proximate result of the discrimination, Plaintiff was been put in

18     harm's way because of the Coronavirus Pandemic and will likely would sustain, and will continue to
       sustain, the harms of COVID-1981 Coronavirus and the economic damages that can be proven at trial.
19
               195)   As a result of Defendants' actions, Plaintiff has suffered emotional distress, resulting in
20
       damages in an amount to be proven at trial. Plaintiff further seeks punitive damages and all other
21
       injunctive, declaratory, and monetary relief available for discrimination at trial.
22

23     79      In Thomas v. Frederick, 766 F.Supp. 540 (W.D. LA. 1991) the court held that the officer's
       gonduct was outrageous and done with the virtual certainty that emotional distress would result.
24             Emotional distress is severe when a reasonable person in the same position as the plaintiff would
       be unable to cope with or endure it, and the plaintiffs reaction isn't unusual. Caldor v. Bowden, 330 Md.
25    632, 625 A.2d 959(Md. 1993): "For emotional distress to be severe, it must be so acute that "'no
       reasonable man could be expected to endure it."' Id. at 571, 380 A.2d at 616 (quoting Restatement
26    (Second) of Torts § 46 cmt. j (1965))."..."[E]ach element of the tort must be established by adequate
       proof. Caldor, 330 Md. at 642, 625 A.2d at 963. To satisfy the severity prong, a plaintiff must show "he
27     suffered a severely disabling emotional response to the defendants' conduct." Harris, 281 Md. at 570,
      380 A.2d at 616."
28     g'      The conduct was sufficiently extreme and outrageous for an intentional-infliction-of-emotional-
       distress claim.(Fox v. Hammes, 600 F.3d 819(7th Cir. 2010).)
                                                             50
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 1             196)    Defendants' unlawful actions were intentional, willful, malicious, and/or done with

 2     reckless disregard to Plaintiff' right to be free from discrimination based on sex.
               197)    As a result of defendants' actions, plaintiff has suffered emotional distress, from each of
 3
       the defendants' arrogant misconduct; plaintiff seeks a minimum of $100,000,000 in punitive damages for
 4
       pain and suffering, for mental anguish subject to change or increase, for loss of earnings, attorneys' fees
 5
       and costs of suit.
 6                                    FOURTEENTH CLAIM FOR RELIEF
                      [Retaliatory Eviction Under The Unlawful Business Practice And An Act
 7
                      of Unfair Competition ("UCL")82 Retaliatory Towing Embezzlement,
 8                    Thievery, Conversion of Mr. Perrv's Luxury 2007 Range Rover After Mr.
                      Perry Paid For Carport #410, Is Within The Meaning of Section 17200 of
r
•
.
                      the Business and Professions Code) Against Parc Chateaux LLC, And
10                    Any Mana ing Agent/Representatives, And Other Successesor/s;
                      Chandler Hoyt, Santa Clarita City Towin gInc•("SCCTOW"~]
11

12             198) Plaintiff incorporates by reference as if fully set forth herein the allegations contained in

13     paragraphs 1 through 288 above inclusive, as though fully set forth herein.

14             199)   On July 3, 2019, Mr. Perry, informed the defendants, NP Parc Chateaux, LLC.,
      (ALLRESCO) by certified mail that he is traveling to a disability retreat in Israel, and Parc Chateaux
15
       accepted83 two checks one for $1648 for rent and another check for $50 for carport #410 that was
16
       provided to Mr. Perry by Parc Chateaux to park his vehicle, a 2007 Range Rover, valued at $18,985.
17            200)    On July 27, 2019, while Mr. Perry left with Uber to LAX he flew to Poland's Warsaw
18     International Airport, then to Ben Guiron airport in Tel Aviv on, Parc Chateaux LLC., had email Mr.
19     Perry on July 28, 2019 they plan to remove his vehicle parked in carport #410 they assignd to him. On

20     August 2, 2019 the landlord towed Mr. Perry's Rang Rover using their towing service. Mr. Perry
       inquired why Parc Chateaux instead did not move his vehicle to another parking space, but Parc
21
       Chateaux ignored him. Upon his return from Israel, Mr. Perry contacted the towing company Parc
22.

23
       82     " `Actions for reliefunder the UCL may be brought by various government officials and `by a
24     person who has suffered injury in fact and has lost money or property as a result of the unfair
       competition.' (Bus. &Prof. Code, § 17204.)" (McGill v. Citibank, N.A. (2017) 2 Ca1.5th 945, 954, 216
25     Cal.Rptr.3d 627, 393 P.3d 85 (McGill ).) The California Supreme Court has construed "lost money
       or property" to mean that a private plaintiff "must demonstrate some form of economic injury."
26     ~Kwikset Corp. v. Superior Court(2011)51 Cal.4th 310, 323, 120 Ca1.Rptr.3d 741, 246 P.3d 877.)
        ~ See California Code Civ. Proc., § 2076: "The person to whom a tender is made must, at the
27     time, specify any objection he may have to the money, instrument, or property, or he must be
       deemed to have waived it; and if the objection be to the amount of money, the terms of the instrument,
28     or the amount or kind of property, he must specify the amount, terms, or kind which he requires, or be
       precluded from objecting afterwards."
                                                           51
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       Chateaux used, and they have charged him thousands of dollars in towing fees, storage fees and other

 2     fees, and Mr. Perry could not afford the fees he lost his 2007 Range Rove.
                 201) Defendants Parc Chateaux's Chandler Hoyt, Santa Clarita City Towing Inc.("SCCTOW")
 3
       actions without following were malicious and knowingly violated Mr. Perry's rights under California
 4
       Vehicle Code § 22658(1)(1)(d),(See Cal. Veh. Code, § 22658, subd.(a)[§ 22658 et. Seq.] See People Ex
 5     Rel. Renne v. Servantes, 86 Cal. App. 4th 1081 (Cal. Ct. App. 2001) and had damaged Mr. Perry by
 6     illegally towing and loss of his luxury 2007 Range Rover in the amount of $18,985.
 7               202) People Ex Rel. Renne v. Servantes, 86 Cal. App. 4th 1081 (Cal. Ct. App. 2001): "Presiding

 8     Justice Harold G. Clarke of the Georgia Supreme Court observed that "[t]he law gives the towing
       company a great advantage over the owner of the towed car, and creates a great potential for
 9
       unfair business practices and abuse of the public." (Porter v. Cit~ofAtlanta (1989) 259 Ga. 526, 528
10
      [384 S.E.2d 631, 634].)"
                 203) Plaintiff can show that the damage was attributable to an intentional act of Parc Chateaux
12     LLC., and its staff who is made liable. Drouet v. Super. Ct. ofS.F. County, Cal. App. 4th 1237,(review
13     granted), 24 P.3d 491 (Cal. 2001)(tenant may bring a claim for retaliatory eviction under the UCL

14     even when evicted under the Ellis Act, which expressly permits a landlord to evict tenants when
       removing rental units from the market).
15
                 204) Defendants' unlawful actions were intentional, willful, malicious, and/or done with
16
       complete disregard to Mr. Perry, the Plaintiff's property rights, and rights to be free from deprivation of
17
       rights.
18               205) As a direct, legal and proximate result of the Parc Chateaux LLC.'s reprehensibility
19     intentional the unlawful business practice and an act of unfair competition ("UCL") and retaliatory
20     towing of Mr. Perry's Range Rover on August 2, 2019, and the retaliatory eviction on August 27, 2020
       was in violating federal removal laws, Plaintiff has sustained, and will continue to sustain, economic and
21
       emotional injuries, resulting in an award for punitive damages and exemplary damages to be determined
22
       in a jury trial or by the court.
23
                 206)   Defendants' unlawful actions were intentional, willful, malicious, and/or done with
24     reckless disregard to Plaintiff' right to be free from discrimination based on sex.
25               207)   As a result of defendants' actions, plaintiff has suffered emotional distress, from each of
26     the defendants' arrogant misconduct; plaintiff seeks punitive damages to be determined in a trial by jury

27     or by the court, for pain and suffering, for mental anguish subject to change or increase, for loss of
       earnings, attorneys' fees and costs of suit.
28

                                                            52
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                                        FIFTEENTH CLAIM FOR RELIEF
                      [Defendants Violation of the California Fair Debt Collection Practices
 2
                     ("CFDCP"), Cal. Civil Code § 1788.2~c et seq., and the Fair Debt
 3                    Protections Collection Act(FDCPA~15 U.S.C. § 1692, et. seq.) A gainst
                      Parc Chateaux LLC, And Anv Mana in~A ent/Representatives, And
 4                    Other Successesor/s; Landlord's Counsel Tania Kim Cardoso. And Law
 5                    Firm Hollenbeck &Cardoso LLP

 6            208) Plaintiff incorporates by reference as if fully set forth herein the allegations contained in

 7     paragraphs 1 through 288 inclusive, as though fully set forth herein.

 8            209) Plaintiff alleges .that defendants fraudulently misrepresented to Mr. Perry that they may
       legally issue notices to vacate and initiate eviction proceedings during the moratorium on evictions. Mr.
 9
       Perry also alleges that defendants served on him on about October 2020 with notice demanding
10
       $14,768.13 for past rent from January 2020 until August 27, 2020 in violation of Sec. 4024(b).(Note: 15
11
       U.S.C. §9058).84
12            210)    The following are material facts: (a) On May 7, 2020, the Parc Chateaux multifamily
13     housing property was not exempt from the CARES Act eviction moratorium when Landlord issued a

14     Notice-to-Vacate to Mr. Perry for nonpayment of rent on August 23, 2020. (b) Landlord as aided by the
       Sheriff Department was not exempt from the CARES Act eviction moratorium when it evicted Mr. Perry
15
       on August 27, 2020.(c) Landlord by way of the Sheriff Department infected Mr. Perry with Coronavirus
16
       during the eviction of August 27, 2020, making him gravely ill he almost died.
17
              211)    See California Legislator Assembly Bill No. 3088 (AB3088)(AB-828) -California Code
18     of Civil Procedure ("CCP") §1179.03.5(a): "[Before February 1, 2021, a court may not find a tenant
19     guilty of an unlawful detainer unless it finds that one of the following applies:(1) The tenant was guilty

20     of the unlawful detainer before March 1, 2020.(B): "In an action under this paragraph, other than an
       action to which paragraph (2) also applies, the landlord shall be precluded from recovering
21
       COVID-19 rental debt in connection with any award of damages."
22
              212)    Mr. Perry had served the landlord with rental assistance request. See Code of Civil
23

24

25
       84     CARES Act Sec. 4024 (b) Moratorium was extended by Congress bill S.4519 - "Rent
26     Emergencies Leave Impacts on Evicted Families Act" or the "RELIEF Act" of August 10, 2020.--During
       the 120-day period beginning on the date of enactment of this Act, the lessor of a covered dwelling may
27     not-- (1) make, or cause to be made, any filing with the court of jurisdiction to initiate a legal
       action to recover possession of the covered dwelling from the tenant for nonpayment of rent or
28     other fees or charges; or (2) charge fees, penalties, or other charges to the tenant related to such
       nonpayment of rent."
                                                           53
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      Procedure ("CCP") §116.223(b)(2).gs But landlord had ignored him, and evicted him on August 27,

 2   2020.
             213) FDCPA claim arises from the landlord's charging him fees under Section 4024(C) of The
 3
     CARES Act from 15 U.S.C. §9058(b)&(c); 15 U.S.C. §§ 1692(e); 1692(F) and federal question
 4
     jurisdiction under 28 U.S.C. § 1331.
 5           214) The CFDCP is remedial legislation meant to promote fair and ethical standards between
 6   suppliers and the consuming public. Cal. Civil Code § 1788.2(c) et seq. The CFDCP prohibits landlords
 7   from engaging in acts or practices which constitute misrepresentations or fraudulent acts or practices in

 8   connection with a consumer transaction.
             215)   The CFDCP prohibits suppliers from engaging in any "deception, fraud, false pretense,
 9
     false promise, or misrepresentation in connection with a consumer transaction." "), Cal. Civil Code §
10
      1788.2(c).
11
             216)   Landlord is a supplier that advertises and leases apartments primarily to be used for
12   personal, family, and household purposes as a living space for families.
13           217) By issuing the Notice-to-Vacate on August 23, 2020 and initiating eviction proceedings,

14   Landlord misrepresented that no eviction moratorium existed or that it was exempt from the eviction
     moratorium.
15
             218)   Landlord also misrepresented the amount owed to it by charging Tenant a returned check
16
     charge and attorney fees when the CARES Act prohibits the Landlord from charging Tenants such
17
     charges and fees in connection with nonpayment of rent during the moratorium. Landlord's
18   misrepresentations were willful.
19           219)   Mr. Perry suffered losses as a direct result of Landlord issuing the Notice of

20   Noncompliance and initiating eviction proceedings, including but not limited to, loss time,
     inconvenience, missed time from work, and emotional distress.
21
             220)   The FDCPA prohibits debt collectors from making false, misleading, or deceptive
22
     representations to debtors in connection with a debt. 15 U.S.C. § 1692(e). 32. A debt collector includes
23
     "any person ... who regularly collects or attempts to collect, directly or indirectly, debts owed or due or
24   asserted to be owed or due another." 15 U.S.C. § 1692(a).
25

26

27   85      CCP. &116.223(b)(2): "fIln an action described in paragraph (1), the court shall reduce the
     damages awarded for any amount of COVID-19 rental debt sought by payments made to the landlord to
28   satisfy the COVID-19 rental debt, including navments by the tenant, rental assistance nro~rams, or
     another third Harty pursuant to paragraph (3) of subdivision (a) of Section 1947.3 of the Civil Code."
                                                         54
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 1             221)   Under the Act,"debt" refers to "any obligation or alleged obligation of a consumer to pay

 2     money arising out of a transaction in which the...property....or services which are the subject of the
       transaction are primarily for personal, family, or household purposes." Id.
 3
              222) Landlord Law Firm Hollenbeck &Cardoso LLP regularly collects or attempts to collect
 4
       debts for unpaid rent, late fees, charges, court costs, or attorney's fees owed to Parc Chateaux LLC.
 5            223) Subsection (5) of § 1692(e) expressly prohibits "the threat to take any action that cannot
 6     legally be taken or that is not intended to be taken."
 7            224) Landlord Law Firm's Notice of Noncompliance and its subsequent filing of an eviction

 8     action against Tenants violate the CARES Act's eviction moratorium and thus are actions that "cannot
       legally be taken" under the FDCPA.
 9
              225) Furthermore, Subsection (2) of 15 U.S.C. § 1692(e) expressly prevents debt collectors
10
       from "making a false representation of the character, amount, or legal status of any debt" or "any services
       rendered or compensation which may be lawfully received by any debt collector for collection of a debt."
12            226) Landlord Law Firm attempts to collect from Tenant a check return fee as part of its unpaid
13     rent calculation and attorney fees, which "constitute fees, penalties, or other charges to the tenant related

14     to such nonpayment of rent" that the CARES Act prohibits during the temporary eviction moratorium.
              227) The FDCPA also prohibits debt collectors from using unfair or unconscionable means to
15
       collect or attempt to collect any debt. 15 U.S.C. § 16920.
16
              228)    Subsection 6(C) of 15 U.S.C. § 16920 specifically prohibits "taking or threatening to
17
       take any nonjudicial action to effect dispossession or disablement of property if the property is exempt
18     by law from such dispossession or disablement."
19            229) Landlord Law Firm's drafting of the Notice of Noncompliance to be served on Tenant was

20     a nonjudicial action preceding Landlord's judicial action for eviction against Mr. Perry as a Tenant and
       was an action to effect the dispossession of the Apartment which Tenant possessed, and which was
21
       exempt by the CARES Act from such dispossession.
22
              230) Landlord Law Firm therefore violated the FDCPA, 15 U.S.C. § 1692(~6(C), by drafting
23
       and causing to be served the Notice of Noncompliance on Tenants and subsequently evicting action
24 I against Mr. Perry.

25            231)    As a direct, legal and proximate result of the Parc Chateaux LLC.'s reprehensible and
26     intentional violation of the California Fair Debt Collection Practices ("CFDCP"), Cal. Civil Code §

27     1788.2(c) et seq., and the Fair Debt Protections Collection Act (FDCPA),(15 U.S.C. § 1692, et. seq.),
       Plaintiff have sustained, and will continue to sustain, economic and emotional injuries, resulting in an
28

                                                            55
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 1    award of punitive damages and exemplary damages to be determined in a trial by jury or the court.

 2            232) Defendants' unlawful actions were intentional, willful, malicious, and/or done with
      complete disregard to Mr. Perry, the Plaintiff's property rights, and rights to be free from deprivation of
 3
      his rights.
4
              233) As a result of defendants' actions, plaintiff has suffered emotional distress, from each of
 5    the defendants' arrogant misconduct; plaintiff seeks punitive damages to be determined in a trial by jury
6     or by the court, for pain and suffering, for mental anguish subject to change or increase, for loss of
 7    earnings, attorneys' fees and costs of suit.

 8                                    EIGHTEENTH CLAIM FOR RELIEF
9                    jFor For Declaratory Relief and Monetary Damages86 Pursuant To the
                     Fourteenth Amendment for Violation of Title II of the Americans with
10                   Disabilities Act ("ADA") And Section 504 of the Rehabilitation Act of
11                   1973, 29 U.S.C. X794 Meant To Enforce Eviction and Cause Mr. Perry
                     Homelessness)
12
              234) Plaintiff incorporates by reference as if fully set forth herein the allegations contained in
13
      paragraphs 1 through 288 inclusive, as though fully set forth herein.
14
              235) Mr. Perry is a certified disabled person and neither the defendants, the state court or the
15
     ~ Sheriff's Department may subject Mr. Perry to health hazards, and even death that can be caused by the
16    Coronavirus Pandemic, and deprived due process or faulted for the delays because of the closure of the
17    State appellate courts due to the COVID-19 Pandemic is wide spread around the County of Los Angeles.
18            236) The State of California courts cannot deprive Mr. Perry from being heard on his unlawful
      detainer appeal. Mr. Perry's made a motion for stay of execution of the eviction in the trial court, and in
19
     ~ the Appellate Division of the Superior Court were both ignored. Moreover, the United States Central
20
      District Court in Los Angeles is also closed to self represented Pro Se, but the filing desk would allow
21
      some filing in case of an emergency.
22            237) Parc Chateaux Inc. eviction attempts are meant to circumvent Mr. Perry's rights as a
23    disable person and evade to fully litigating the case state after they obtained a fraudulent clerk's default
24    and default judgment on March 5, 2020. Defendants know well that Mr. Perry will never gain a fair due

25
      gb     See e.g., Tennessee v. Lane, 541 U.S. at 533-34 (Title II of ADA enforceable for damages
26    because Congress validly abrogated states' Eleventh Amendment immunity); Eleventh Amendment
      immunity waived or abrogated by a clear and valid Act of Congress. See Hoffman v. Connecticut, 492
27    U.S. 96, 101 (1989); "[T]he second important limit is that sovereign immunity bars suits against States
      but not against lesser entities, such as municipal corporations, or against a state officer for injunctive or
28    declaratory relief or for money damages to be collected not from the state treasury but from the officer
      personally. Pp. 754-757.
                                                           56
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      process hearing in the Appellate Division of the Superior Court who would never overturn wrongful

 2    eviction.
              238)    As a direct, legal and proximate result of the Parc Chateaux LLC.'s reprehensible and
 3
      intentional violation of the Title II of the Americans with Disabilities Act("ADA"), Title VII of the Civil
 4
      Rights Act of 1964, as amended,42 U.S.C. § 2000e-5(x(3) and 28 U.S.C. §§ 2201 and 2202, and Section
 5
      504 of the Rehabilitation Act of 1973, 29 U.S.C. §794; Title II of the Americans with Disabilities Act of
 6    1990, 42 U.S.C. §§12181 — 12189; Executive Order 11063 (1962), Executive Order 12892 (1994) In
 7    Concert With Violation of Section 4024 of the "CARES Act"(15 U.S.C. 9058) and Under The "Rent

 8    Emergencies Leave Impacts on Evicted Families Act" or the "RELIEF Act" 5.4519 of August 10,
      California Penal Code §3960.
 9
              239)    Plaintiff is entitled to their reasonable punitive damages to be determined by a trial by jury
~1~
      or the court, for pain and suffering, for mental anguish, for loss of earnings, attorneys' fees and costs of
      suit.
12                                    NINETEENTH CLAIM FOR RELIEF
13                   [A Judge-Made Cause of Action Invoked Under EX PARTE YOUNG ,
                     209 U.S. 123 (1908) For Facial And As Applied Constitutional Challen~
14                   of the State of California Vexatious Litigant Statutes §391.7 (And ~§391
15                   et. seq,) As Unconstitutional When Applied By The California Supreme
                     Court As Mr. Perry As A Defendant That Was Meant For A Plaintiff,
16                   Forcing Him To File Form "VL-110 Request To File New Liti ation By
                      Vexatious Litigant" Which Thev Always Denv To Blocking Him Access
17
                     To State Courts Defend And Prosecute His Claims Under Section 4024 Of
18'                  The "CARES Act"(15 U.S.C. 9058)1
19
              240) Plaintiff incorporates by reference as if fully set forth herein the allegations contained in
20    paragraphs 1 through 288 inclusive, as though fully set forth herein.
21            241)    Federal Question Jurisdiction under 28 U.S.C. § 1331 fora Judge-Made Cause Of Action

22    recognized in Ex pane Young, 209 U.S. 123, 28 S.Ct. 441, 52 L.Ed. 714 (1908) for declaratory and
      injunctive relief.
23
              242)    Over the past 11 years, the California Supreme Court had deprived Mr. Perry access to the
24
      courts as a petitioner for unemployment and disability, even when his paid vehicle and property was
25
      taken from him the violations of laws were condoned and covered up. When Mr. Perry sought relief
26    from the California courts on October 17, 2019 under California Constitution Art. VI, Sec. 10 and 12(a)
27    were always denied to him as a defendant because he was a plaintiff vexatious litigant.

28            243)    Mr. Perry pleading for relief for writ review, certiorari, mandate and prohibition, all fell

                                                            57
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 1   on deft ears in the California Court of Appeal, California Supreme Court who refused to address

2    landlords violations of section 4024 of the "CARES ACT" (15 U.S.C. 9058); California Penal Code
     §3960, California Government Code §8665. (See the "RELIEF ACT" 5.4519 of August 10, 2020
3
     ("Rent Emergencies Leave Impacts on Evicted Families Act")).
4
             244) During the period of April 6, 2020 to July 25, 2020, the California Supreme Court; the
5    Second District Court of Appeal and the Appellate Division of the Superior repeatedly refused to allow
6     Mr. Perry file any petitions for writ of certiorari; writ review, writ of mandate and prohibition, all fell on
7    deft ears in the Court and were not filed.

8            245) The California Supreme Court and the Court of Appeal had forced Mr. Perry to file form
     "VL-110 request to file new litigation by vexatious litigant" that was meant for a plaintiff vexatious
9
     litigant. The California state court hermetically denied and blocked Mr. Perry access to state courts as a
10
     defendant to defend himself and prosecute his cross-claims for the landlord's violation of the section
11
     4024 of the "CARES ACT"(15 U.S.C. 9058)]; California Penal Code §3960, California Government
12    Code §8665.(See the "RELIEF ACT" 5.4519 of August 10, 2020("Rent Emergencies Leave Impacts on
13   Evicted Families Act")).

14           246)    Since Mr. Perry was was designated as a vexatious litigant 11 years ago, he experiences
      all sorts of civil rights deprivation and was prevented even as a defendant from properly defending
15
      himself in any lawsuit filed against him.
16
             247)    When Mr. Perry complained that the California Appellate courts refused to grant him any
17
      due process and equal protection of the law relief after the Los Angeles Chatsworth Superior court and
18    the Appellate Division of the Los Angeles had engaged in deception by using an electronic "Transmittal
19    Letter of Remand as a remand order to prematurely "gabbed" jurisdiction from the district court and
20    issue a void default, default judgment and writ of execution. The District Court never mailed the state

21    court any "Certified" Remand Order to the state court to the present day, which means it still has
      exclusive jurisdiction over the case removed.
22
             248)    On Mr. Perry's appeal, the state superior court then engineered an inadequate record of
23
      appeal by omitting multiple articles of evidence as the Chatsworth court audio recording and documents
24    were ignored and not designated, and his appeal was jeopardized in defending the case against the
25    influential and corrupt landlord Parc Chateaux LLC.
26           249) Plaintiff sues the Chief Justice of the California Supreme Court Tani Gorre Cantil-

27    Sakauve as chair of the California Judicial Council and the California official who administered
      vexatious litigant listing and orders are sued in their official, as the official who administered vexatious
28

                                                            58
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      litigant listing and orders for declaratory and injunctive relief in their official administrative capacities.

2     Plaintiff is seeks declaratory and injunctive relief to invalidate the broad orders finding him a vexatious
      litigant defendant and plaintiff. The Chief Justice of the California Supreme Court as the official who
 3
      administered vexatious litigant orders sued for declaratory and injunctive relief in their official capacities.
4
             250) See Wolfe v. George, 486 F.3d 1120 (9th Cir. 2007): "[W]e concluded that most of the
5     defendants Wolfe had sued enjoyed sovereign immunity, but he nevertheless could, despite the Eleventh
6     Amendment, seek declaratory and injunctive relief against both the Chief Justice of the; California
7     Supreme Court and the California official who administered vexatious litigant orders, in their official

8     capacities." (Citation).
             251) As a direct, legal and proximate result of the defendants' harassment of Mr. Perry's civil
9
      rights, Plaintiff have sustained, and will continue to suffer and sustain hardship, health, economic and
10
      emotional injuries, plaintiff seeks injunctive, with declaratory relief and equitable relief against the
11
      California state courts pursuant to 28 U.S.C. §1651.
12                                      TWENTIETH CLAIM FOR RELIEF
                      Violations of the California Consumers Legal Remedies Act (CLRA~
13
                     For Conversion Pursuant to Cal. Civ. Code ~ 1780(a)gg Cal. Civ. Code
14                    1750 et. seq. ~ 1770(a), §1761(a~1

15           252) Plaintiff incorporates by reference as if fully set forth herein the allegations contained in
16 ~ paragraphs 1 through 288 above inclusive, as though fully set forth herein.

17           253) Parc Chateaux LLC., and their staff and attorney/s had knowingly violated California
      Consumers Legal Remedies Act (CLRA), as set forth in Cal. Civ. Code § 1750 et seq., when they
18,
      illegally towed Mr. Perry's luxury 2007, Range Rover on August 2, 2019, after Perry left for his
19
      disability retreat in Israel and couldn't move his car. This in spite of Mr. Perry's July 3, 2019 certified
20
      letter informing the defendants, NP Parc Chateaux, LLC., that he intend to travel to Israel, Parc Chateaux
21    accepted89 his rent check for $1648, and a $50 check for a carport #410 that was provided to him to park
22

23    87      "[i]n a transaction intended to result or which results in the sale or lease of goods or services to
      any consumer."[Cal. Civ. Code § 1770(a).] The CLRA defines "goods" as "tangible chattels bought or
24    leased for use primarily for personal, family or household purposes..." and "services" as "work, labor and
      services for other than a commercial or business use, including services furnished in connection with the
25    sale or repair of goods."[Cal. Civ. Code § 1761(a)-(b)]
      gg       See Cal. Civ. Code § 1780(a)("Any consumer who suffers any damage...may bring an action
26    against that person to recover or obtain any of the following:(1) Actual dama~, but in no case shall the
      total award of damages in a class action be less than one thousand dollars ($1,000). (2) An order
27    enjoining the methods, acts or practices.(3) Restitution of property.(4) Punitive damages.(5) Any other
      relief that the court deems proper.").
28    89       See Code Civ. Proc., § 2076: "The person to whom a tender is made must, at the time, specify
      any objection he may have to the money, instrument, or property, or he must be deemed to have waived
                                                            59
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 1   his vehicle, a 2007 Range Rover, valued at $18,985.

 2          254) On July 28, 2019 Mr. Perry received an email from Parc Chateaux AJ Presley informing
     him that his 2007 Range Rover was will be towed away of he does not remove it. Initially, AJ Presley
 3
     claimed that the tenant previously occupying carport #410 was about to move out of Parc Chateaux.
4
     Then A.J. revised his arguments and alleged that Parc Chateaux could never accept check payment for
 5   leasing carports, for the reason they intend to tow away Mr. Perry's vehicle. While in Israel Mr. Perry
6    had no Internet access or a phone to call Parc Chateaux. Mr. Perry's neighbor took pictures of Mr.
7    Perry's 2007 Range Rover and emailed him to Mr. Perry showing Parc Chateaux placed an orange

 8   towing sticker on the vehicle.
            255) Mr. Perry later learned that Parc Chateaux had towed his vehicle on August 2, 2019. AJ
9
     Presley emailed Mr. Perry the name of Mr. Hoyt Chandler, the towing company owner of SCCTOW who
10
     refused on August 3, 2019 to release of the vehicle to Mr. Perry's neighbored, even after he provided
11
     them with copy of his driver license. Instead the towing company imposed excessive towing and storage
12   charges agasint Mr. Perry which he could not afford, causing him to lose the vehicle.
13          256)    When Mr. Perry finally able to get into an Internet cafe, the owner of the towing company,

14 (Mr. Hoyt) had refused to respond to Mr. Perry's emails and when Mr. Perry finally called him from
   Israel, Mr. Hoyt disconnected Mr. Perry's phone call and ignored his phone calls. When Mr. Perry
15
    returned from Israel on August 28, 2019, he called the towing company and was told he owed $4500 in
16
    towing and storage fees. Mr. Perry could not afford to pay this and he lost his 2007 Range Rover,
17
    resulting in $18,985 in damages in loss of his vehicle.
18          257) Plaintiff can show that the damage was attributable to an intentional act of Parc Chateaux
19 ~ LLC., and its staff who is made liable. The cause of action against Parc Chateaux LLC., and their staff

20   for violation of the CLRA was alleged against defendants and stated a service of leasing a carport to

21   tenants as Mr. Perry who paid fora 30 day carport lease, but then after Mr. Perry left for the airport the
     landlord had called a towing company and towed Mr. Perry's car on August 2, 2019. This constituted a
22
     violation of the CLRA under Cal. Civ. Code § 1761(d)90 and the cause of action.91 The against
23

24
     it; and if the objection be to the amount of money, the terms of the instrument, or the amount or kind of
25   property, he must specify the amount, terms, or kind which he requires, or be precluded from objecting
     afterwards."
     90      Cal. Civ. Code & 1761(al: Definitions as used in this title - "Goods" means tangible chattels
26
     bought or leased for use primarily for personal, family, or household purposes, including certificates or
27   coupons exchangeable for these goods, and including goods that, at the time of the sale or subseauently,
     are to be so affixed to real property as to become a part of real property, whether or not they are severable
28   from the real property. (b) "Services" means work, labor, and services for other than a commercial or
     business use, including services furnished in connection with the sale or repair of goods. (c) "Person"
                                                         .~
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       defendants for unfair competition alleged defendants' representations in the contract and in inducing

 2     consummation of the carport lease and causing the towing of Mr. Perry's car thereafter he left for the
       airport was a fraudulent business practice likely to deceive a reasonable consumer, and Mr. Perry was in
 3
       fact deceived.
 4
              258) The CLRA prohibits unfair or deceptive acts that "result[]in the sale or lease of goods or
 5
       services to any consumer...." (Civ. Code, § 1770.) The CLRA defines "fslervices" as "work, labor, and
 6     services for other than a commercial or business use, including services furnished in connection with the
 7     sale or repair of goods." (Civ. Code, § 1761, subd. (b).) Insurance does not constitute a "service" for

 8     purposes of the CLRA. (Fairbanks v. Superior Cozrrt (2009) 46 Cal.4th 56, 62-63 (Fairbanks).) The
       CLRA must "be liberally construed and applied to promote its underlying purposes, which are to
 9
       protect consumers against unfair and deceptive business practices and to provide efficient and
10
       economical procedures to secure such protection."(Civ. Code, § 1760.)
11
              259)      An action for implied contractual indemnity is not a claim for contribution from a joint
12     tortfeasor; it is not founded upon a tort or upon any duty which the indemnitor owes to the injured third
13     party. It is grounded upon the indemnitor's breach of duty owing to the indemnitee to properly perform

14     its contractual duties. West v. Superior Court(1994)27 Cal. App. 4th 1625, 1633.
              260) As a result of each of Defendants' breaches of the agreements, Plaintiff, Mr. Perry has
15
       incurred substantial damages in an amount of $18,985 for the value of his 2007 Range Rover.
16
              261) Further, the Plaintiff request that Cross-Defendants' shall indemnify him the value of his
17
       vehicle, plus compensatory damages.
18            262) Plaintiff has tendered this claim to Defendants Parc Chateaux LLC., and each of them. By
19     service of this Complaint, Plaintiff hereby demands that Defendants immediately defend and indemnify
20     plaintiff for any and all damages from the loss of his 2007 Range Rover, valued at $18,985.
              263) Plaintiff is informed and believes and, based thereon, alleges that Defendants had refused
21
       his demands of indemnification.
22

23            264)      As a direct, legal and proximate result of the defendants' misconduct Plaintiff have

24     sustained, and will continue to suffer and sustain hardship, health, economic and emotional injuries,

25
       means an individual, partnership, corporation, limited liability companv, association, or other group.
26     however organized. (d)"Consumer" means an individual who seeks or acquires, by purchase or lease,
       any goods or services for personal, family, or household pumoses. (e) "Transaction" means an
27     agreement between a consumer and another person, whether or not the agreement is a contract
       enforceable by action, and includes the making of, and the performance uursuant to, that agreement.
       91      The term "Chattel" refers to personal property that you can transport, such as jewelry, clothing,
28
       electronics or vehicles.
                                                           61
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 1    resulting in punitive damages in an amount to be determined by a jury or by the court.

 2                                TWENTY FIRST CLAIM FOR RELIEF
 3                  IThe Los Angeles Sheriffs Department Aiding and Abetting With Parc
                    Chateaux LLC, And An.~aging A ent/Representatives, And Other
 4                  Successesor/s To Commit Tort, Assault And Battery And Undue Stress
 5                  And Hardship On Plaintiff During The Eviction of August 27, 2020.1

 6           265) Plaintiff incorporates by reference as if fully set forth herein the allegations contained in

 7    paragraphs 1 through 288 above inclusive, as though fully set forth herein.
             266) Plaintiff claims that he was harmed by landlord's staff aided and abetted by the Los
 8
      Angles Sheriff's department who posted on Mr. Perry door with only 3-days Notice-To-Vacate on
 9
      August 23, 2020 instead of the 30 days Notice-To-Vacate in violation of Section 4024 of the CARES Act
10
     (15 U.S.C. 9058). The landlord and the sheriff department were unmasked during the violent eviction of
11    August 27, 2020 they infected with COVID-19 Coronavirus that made him gravely ill that it almost killed
12   him, had damage to Mr. Perry's liver and infected his heart with Myocarditis.
13           267) Sheriff Department and the landlord staff refusal to wear masks maliciously infected Mr.

14   Perry with COVID-19, Coronavirus that made him gravely ill that it almost killing him. Sheriff
     Department deputies refused to yield to warning by the Los Angeles Inspector General Max Huntsman's
15
     letter of August 21, 2020 to wear protective masks,(Ref. "RELIEF ACT" 5.4519 of August 10, 2020
16
     providing tenants a Private Right of Action) Is remedied under the Fourteenth Amendment to the United
17   States Constitution, and 42 U.S.C. § 1983, California Senate Bill 3088;
18           268) Landlord and the sheriff Department had forced Plaintiff to live in hotels for over one
19 ~ year, because landlord Parc Chateaux had listed Mr. Perry on public websites of the (voided and
                                                      informed other landlords (where plaintiff had applied to
20 fraudulent) judgment against Mr. Perry, they
     rent) that they must not to rent any apartment to Plaintiff.
21
             269) Plaintiff alleges the landlord aided and abetted with a specific intent to facilitate their
22
     wrongful conduct.(See Schulz v. Neovi Data Corp.(2007) 152 Ca1.App.4th 86, 95 [60 Ca1.Rptr.3d 810;
23
     Navarrete v. Meer (2015) 237 Ca1.App.4th 1276, 1290 [188 Cal.Rptr.3d 623]; Orser v. George (1967)
24   252 Ca1.App.2d 660,668 [60 Cal.Rptr. 708].)
25           270)   As a direct, legal and proximate result of the defendants' misconduct Plaintiff have

26   sustained, and will continue to suffer and sustain hardship, health, economic and emotional injuries,
     resulting in punitive damages in an amount to be determined by a jury or by the court.
27

28               VII.    DECLARATORY PRAYER FOR RELIEF ALLEGATIONS

                                                         62
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 1          271) As present and actual controversy exists between Plaintiff Moshe A. Perry and all the

 2   Defendants concerning his rights and their respective duties, Plaintiff contends that all the defendants had
     acted maliciously, consciously violated his rights under section 4024 of the "CARES Act" (15 U.S.C.
 3
     9058), and with total disregard to his health, his life had infected him with COVID-19, Coronavirus that
 4
     almost killed him. Intentional discrimination under HUD Affordable Housing under Title VI of the Civil
 5   Rights Act of 1964. Section 601.
 6          272) Plaintiff is informed and believes, and thereon alleges that the defendants would deny
 7   these allegations. So, injunctive, declaratory and monetary damages and punitive damages relief is

 8   therefore necessary and appropriate.
            273) Plaintiff therefore prays for good cause for an injunctive, declaratory, equitable relief
 9
     against the landlord PARC CHATEAUX LLC., AND THE LOS ANGELES SHERIFF'S
10
     DEPARTMENT inadequate service of the "Notice-To-Vacate" of 3-days on August 23, 2020 and
11
     evicted him by force on August 30, 2020, that violated the Moratorium on Eviction under section 4024 of
12   the "CARES Act" (15 U.S.C. 9058), instead of giving Plaintiff 30 days ``Notice-To-Vacate", and for
13. infecting Plaintiff with COVID-19 Coronavirus that made him gravely sick that the infection almost

14   killed him.
            274)    Wherefore, for the reasons set forth herein, the undersigned plaintiff Moshe A. Perry,
15
     further pray for good cause to issue an injunctive, declaratory, equitable relief against CHIEF JUSTICE
16
     OF THE CALIFORNIA SUPREME COURT TANI GORRE CANTIL-SAKAUYE AS CHAIR OF THE
17
     CALIFORNIA JUDICIAL COUNCIL AND THE CALIFORNIA OFFICIAL WHO ADMINISTERED
18   VEXATIOUS LITIGANT LISTING AND ORDERS are sued in their official, who is in charge over the
19   County of Los Angeles Superior Courts who are violating federal laws for declaratory and injunctive
20   relief(Wolfe v. Strankrnan, 392 F. 3D 358(2004) pursuant to the all writs act 28 U.S.C. § 1651(a). .
           275)     The California Supreme Court are sued for depriving Plaintiff Mr. Perry his due process
21
     and equal protection of the law under the Fourteenth Amendment by forcing him to file form "VL-110
22
     Request to File New Liti ation by Vexatious Liti~" as a defendant in an unlawful detainer case, which
23
     they always deny as lacking merit. However, form VL-110 was meant for a plaintiff vexatious litigant,
24   and not to a defendant. No plain, adequate, or complete remedy at law is available to Plaintiff to redress
25   the wrongs addressed herein.
26         276)    If this Court does not grant the injunctive relief sought herein, Plaintiff will be irreparably

27   harmed.
            277) The Los Angeles Sheriff's Department and landlord Parc Chateaux LLC. (Inc.) are sued
28

                                                         63
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     for declaratory, injunctive, equitable and monetary and punitive damages relief.

 2                                   VIII.    PRAYER FOR RELIEF
 3
             278)    WHEREFORE, Mr. Moshe A. Perry prays as follows with regard to each of the above
 4   causes of action as asserted by him against all the defendants for which Mr. Perry reserve the right to
 5   amend upon change in circumstances of this case:

 6           279) Plaintiff seeks a judicial declaration of the rights and duties of the respective parties for
     declaratory, injunctive and equitable relief against the California Supreme Court pursuant to 28 U.S.C.
 7
     §1651 and additional relief under FRCP Rule 60(b) to vacate the State court's default, default judgment
 8
     and writ of execution of March 4, 2020 and March 5, 2020.
 9
             280) For compensatory damages plus any special, actual, damages in the amount of $132,875
10   to fully compensate Plaintiff for over one year of out of-pocket hotel expenses paid during the period
11   August 27, 2020 through August 25, 2021. Plus the cost of $18,985 for the value of Mr. Perry's 2007
12   Range Rover, along with punitive, exemplary and compensatory damages against defendants PARC

13   CHATEAUX LLC., GRAYSTAR- ALLIANCE RESIDENTIAL, CHRISTINA ROMERO, "KEVIN,"
     TANIA KIM CARDOSO; HOLLENBECK & CARDOSO LLP and the LOS ANGELES SHERIFF'S
14
     DEPARTMENT, CHANDLER HOYT, SANTA CLARITA CITY TOWING INC. ("SCCTOW"); and
15
     each of them, to be determined by a jury or the court.
16          281) For PARC CHATEAUX LLC., to remove any negative credit information reported to any
17   credit rental agencies or other credit bureaus that were made against Plaintiff Mr. Perry;
18          282) For a declaratory judgment finding that the actions of Defendant PARC CHATEAUX

19   constitute intentional infliction of emotional distress;
            283) For punitive damages92 in an amount of $100,000,000 that would punish Defendants for
20
     the malicious, wanton, intentional, outrageous misconduct, indifference and endangerment of Plaintiff's
21

22

23   92     State Farm Mutual Automobile Insurance Co., supra, 538 U.S. at pp. 424-425: " `[T]he most
     important indicium of the reasonableness of a punitive damages award is the degree of reprehensibility of
24   the defendant's conduct.' We have instructed courts to determine the renrehensibility of a defendant
     by considering whether: the harm caused was physical as onnosed to economic; the tortious conduct
25   evinced an indifference to or a reckless disregard of the health or safety of others; the target of the
     conduct had financial vulnerability; the conduct involved repeated actions or was an isolated incident;
26   and the harm was the result of intentional malice, trickery, or deceit, or mere accident. The existence of
     any one of these factors weighing in favor of a plaintiff may not be sufficient to sustain a punitive
27   damages award; and the absence of all of them renders any award suspect." (State Farm Mutual
     Automobile Insurance Co., supra, 538 U.S. at p. 419, internal citation omitted.)"[I]n a case involving
28   physical harm, the physical or physiological vulnerability of the target of the defendant's conduct is an
     appropriate factor to consider in determining the degree of reprehensibility, particularly if the defendant
                                                           64
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     Mr. Perry's life by PARC CHATEAUX LLC., GRAYSTAR, ALLIANCE RESIDENTIAL,

 2   CHRISTINA ROMERO,"KEVIN," TANIA KIM CARDOSO; HOLLENBECK & CARDOSO LLP and
     the LOS ANGELES SHERIFF'S DEPARTMENT and each and every one of them as alleged in this
 3
     Complaint for infecting and causing to Plaintiff Mr. Perry to be infected with COVID-19, Coronavirus
 4
     during the wrongful eviction of August 27, 2020 that had made Plaintiff so gravely ill that it almost killed
 5   him, and that would effectively deter the Defendants from future similar behavior. Plaintiff seeks a
 6   minimum of seven million dollars, subject to any increase that would be determined by the Court;
 7          284) Plaintiff seeks to recover all fees, charges as room and board, storage fees, food, and all

 8   other expenses, fees and charges Plaintiff had accrued and accruing as a result of the wrongful eviction of
     August 27, 2020, during the CARES Act and the CDC moratorium on eviction against PARC
 9
     CHATEAUX LLC., GRAYSTAR- ALLIANCE RESIDENTIAL, CHRISTINA ROMERO, "KEVIN,"
10
     TANIA KIM CARDOSO; HOLLENBECK & CARDOSO LLP and the LOS ANGELES SHERIFF'S
11
     DEPARTMENT and each and every one of them;
12          285) Plaintiff seeks to recover all damages in an amount of $18,985 for the value of his 2007
13   Range Rover that Defendants PARC CHATEAUX LLC., GRAYSTAR- ALLIANCE RESIDENTIAL,

14   CHRISTINA ROMERO,"KEVIN," TANIA KIM CARDOSO; HOLLENBECK & CARDOSO LLP and
     the LOS ANGELES SHERIFF'S DEPARTMENT and each of them;
15
            286) For such ancillary orders, judicial determination and decrees against PARC CHATEAUX
16
     LLC., GRAYSTAR- ALLIANCE RESIDENTIAL, CHRISTINA ROMERO, "KEVIN," TANIA KIM
17
     CARDOSO; HOLLENBECK & CARDOSO LLP and the LOS ANGELES SHERIFF'S DEPARTMENT
18

19   deliberately exploited that vulnerability." (Bullock v. Philzp Morris USA, Inc. (2011) 198 Ca1.App.4th
     543, 562 [131 Ca1.Rptr.3d 382], internal citation omitted.);
20          "[I]n a case involving physical harm, the physical or physiological vulnerability of the target
     of the defendant's conduct is an appropriate factor to consider in determining the degree of
21   reprehensibility, particularly if the defendant deliberately exploited that vulnerability." (Bullock,
     supra, 198 Ca1.App.4th at p. 562, internal citation omitted.); "[W]e have been reluctant to identify
22   concrete constitutional limits on the ratio between harm, or potential harm, to the plaintiff and the
     punitive damages award. We decline again to impose abright-line ratio which a punitive damages award
23   cannot exceed. Our jurisprudence and the principles it has now established demonstrate, however, that, in
     practice, few awards exceeding asingle-digit ratio between punitive and compensatory damages, to a
24   significant degree, will satisfy due process...[A]n award of more than four times the amount of
     compensatory damages might be close to the line of constitutional impropriety." [Internal citation
25   omitted.] "Nonetheless, because there are no rigid benchmarks that a punitive damages award may not
     surpass, ratios greater than those we have previously upheld may comport with due process where `a
26   particularly egregious act has resulted in only a small amount of economic damages.' The converse is
     also true, however. When compensatory damages are substantial, then a lesser ratio, perhaps only equal
27   to compensatory damages, can reach the outermost limit of the due process guarantee. The precise award
     in any case, of course, must be based upon the facts and circumstances ofthe defendant's conduct and the
28   harm to the plaintiff." (State Farm Mutual Automobile Insurance Co., supra, 538 U.S. at p. 425, internal
     citation omitted.)
                                                         65
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 1   and each of them, as may be necessary to implement, effectuate, carry out, and enforce said federal laws

2    in the district court on all violation of Federal, State, or local eviction moratorium laws and any other
     local rules and ordinances as stated and related to the "Coronavirus Aid, Relief, and Economic Security
 3
     Act" or Section 4024 of the "CARES Act" of Mar. 27, 2020; 15 U.S.C. 9058; under the 116th Congress
4
     Public Law 136 [H.R. 748] 134 STAT. 281: TEMOPORARY MORATORIUM ON EVICTION, 15
5
     U.S.C. 9001, and Congress passing under Bill S.4519 - "Rent Emergencies Leave Impacts on Evicted
6    Families Act" or the "RELIEF Act" of August 10, 2020;
7           287)     For a judicial determination in the district court against CHIEF JUSTICE OF THE

 8   CALIFORNIA SUPREME COURT TANI GORRE CANTIL-SAKAUYE AS CHAIR OF THE
     CALIFORNIA JUDICIAL COUNCIL AND THE CALIFORNIA OFFICIAL WHO ADMINISTERED
9
     VEXATIOUS LITIGANT LISTING AND ORDERS on all violation of Federal for the state court use of
l0
     the Vexatious litigant statutes CCP. §391.7(CCP. §§391 et. Seq.) as it is used by the California Supreme
11
     Court against defendants as Mr. Perry; is also used by the Second District Court of Appeal; the Appellate
12   Division of the Superior Court, and the superior Courts against defendants as Mr. Perry.
13          288)     For injunctive relief or any other relief ordering the against the Los Angeles Sheriff's

14   Department on the August 27, 2020 eviction, and Parc Chateaux Inc., and applying limitation on Mr.
     Perry it was not permitted, and should not be intended to exclude Mr. Perry from having relief offered on
15
     procedural due process terms under Section 4024 of the CARES Act(15 U.S.C. §9058)(b)&(c) and as it
16
     was extended by the CDC moratorium and the passing of Congress Bill 5.4519 - "Rent Emergencies
17
     Leave Impacts on Evicted Families Act" or the "RELIEF Act" of August 10, 2020 a Private Right of
18   Action—under Sec. 4(c) of the Renters and Homeowner's Rights;
19          289)     For all relief and ~a   such other and further relief against any defendant/s, and entity/ies

20   as deemed just equitable, injunctive and declaratory by the Court on the complaint.
            290)     For interest as allowed by law;
21

22                                 IX.       DEMAND FOR JURY TRIAL
23          291) Plaintiff hereby demands a trial by jury on all causes against any and all the defendant/s,
24   and entity/ies and the California Supreme Court.

25
                X.     RESERVATION OF RIGHTS TO AMEND THIS COMPLAINT
26
            292)     Petitioners) hereby explicitly reserves) his fundamental Rights) to amend this and all
27
     subsequent pleadings, should future events and/or discoveries prove that he have failed adequately to
28   comprehend the full extent of the damages) which he has suffered at the hands of the Respondents, the

                                                          ..
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 1   state court, and other involved parties, both named and unnamed, now and at all times in the future. See
     Rules 8, 15, and 18 of the Federal Rules of Civil Procedure.                  ~.                         _
2

 3

4

 5                                       XI.     VERIFICATION

6           293)    I, Michael Moshe Perry, Plaintiff in the above-entitled action, have read the foregoing and
     know the contents thereof. The same is true of my own knowledge, except as to those matters that are
 7
     therein alleged on information and belief; and, as to those matters, I believe it to be true.       I hereby
8
     declare, verify, certify and pursuant to the penalties of perjury under the laws of the United States, and by
9
     the provisions of 28 USC § 1746, that all of the above and foregoing representations are true and correct
10   to the best of my knowledge, information, and belief.
11      Executed 315 day of July, 2022 at West Hills, California.

12                                                                             ~~ /~
                                                             By:    [s      os e     erry
13                                                                         Michael(Moshe)Perr

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                                 XII.    CERTIFICATE OF SERVICE

             State of California, County of Los Angeles,

              I am over 18 years of age and am not a party to the within action or proceeding. My address is
     5815 Donna Ave. Tarzana Ave. CA 91356. On July 31, 2022, I served the foregoing documenUs
4    described as: Plaintiff Does Not Stipulate To A District Court Magistrate Judge. Plaintiff's Verified
     Civil Complaint With Claims And Alternative Statements Under FRCP 8(d)(2) In Support of The
 5
     Complaint: Request For Temporary and Permanent Injunctive Relief Against The State California
6    Supreme Court with declaratory, equitable relief Pursuant to 28 U.S.C. §1651, and punitive damages
     against the landlord NP Parc Chateaux, LLC. (and Inc.), and the Los Angeles County Sheriffls
7    Department. Parc Chateaux LLC.'s Reprehensibility In Working Alongside With The State of
     California Superior Court To Commit Procedural Fraud of Due Process By Violated Federal Law 28
8    U.S.C. §1447(c) By Using An Electronic Transmittal Letter of Remand As Remand, Instead of Waiting
     To The District Court "Certified" Remand Enabled The State Court To Prematurely "Grabbed"
9
     Jurisdiction From The District Court And Issue A Void Default default Judgment and Writ of
10   Execution. The landlord and the Los Angeles Sheriff Department substantively violated the Federal
      Moratorium Laws, CARES Act, by serving Mr. Perry on August 23, 2020 with only 3-days Notice-To-
      Vacate, instead 30 days under Section 4024 of the CARES Act(15 U.S.C. §9058)(b)&(c)(15 U.S.C. §
     9001 et seq.)), as amended by the Rescue Plan Act of 2021. California's Tenant Relief Act(CTRA)of
l?   September 1, 2020. Violated Section 4024 of the CARES Act and the staff had served Mr. Perry with
13   only 3-days Notice-To-Vacate on August 23, 2020. Landlord failed to give Plaintiff 30 days Notice-To-
      Vacate pursuant to. Landlord and the sheriff Department had forced Plaintiff to live in hotels for over
14   one year, because landlord Parc Chateaux had informed other landlords (Plaintiff applied to) not to rent
     to Plaintiff. Sheriff Department and the landlord staff refusal to wear masks maliciously infected Mr.
15   Perry with COVID-19, Coronavirus that made him gravely ill that it almost killing him. Sheriff
     Department deputies refused to yield to warning by the Los Angeles Inspector General Max
16   Huntsman's letter of August 21, 2020 to wear protective masks, had infected Mr. Perry on August 27,
17   2020 with COVID-19 Coronavirus that made him gravely ill that it almost killed him, had damage to
      Mr. Perry's liver and infected his heart with Myocarditis During the wrongful eviction on August 27,
18   2020.(Ref."RELIEF ACT" 5.4519 of August 10, 2020 providing tenants a Private Right of Action) Is
      remedied under the Fourteenth Amendment to the United States Constitution, and 42 U.S.C. § 1983,
19    California Senate Bill 3088; For Federal Question Jurisdiction Under 28 U.S.C. § 1331 in Claim
      Against The Sheriff's Department Enforcing Challenge And Execution of The Eviction Orders that
20
      violated the 30 days Notice-To-Vacate under Section 4024 of the CARES Act (15 U.S.C.
21   §9058)(b)&(c). Is remedied under the Fourteenth Amendment and 42 U.S.C. § 1983; For Federal
      Question Jurisdiction under 28 U.S.C. § 1331 and the judge-made cause of action recognized in Ex
22    parte Young, 209 U.S. 123, 28 S.Ct. 441, 52 L.Ed. 714(1908) for declaratory and injunctive relief for
      a facial and as applied constitutional Challenge to the vexatious litigant statutes §391.7 (and §§391 et.
23    seq.) is unconstitutional as applied When the California Supreme Court forced Mr. Perry as a defendant
      to file form "VL-110 Request to File New Litigation by Vexatious Litigant" that was meant for a
24
      plaintiff, (which they always deny to him as a defendant for lacking merits) unwillingness to address
25    Mr. Perry's grievance that the Sheriff and landlord had violated his rights for 30 days Notice-To-Vacate
      under Section 4024 of the CARES Act(15 U.S.C. §9058)(b)&(c) to deprive him due process and equal
26    protection of the law violate the Fourteenth Amendment. Is remedied under 42 U.S.C. § 1983.
     (Exhibits Are Attached), DEMAND FOR JURY TRIAL, on the interested party in this action. ~ By
27    placing ❑the original a true copy thereof enclosed in a sealed envelope Addressed as follows:
28

                                                           68
    Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 69 of 155 Page ID #:69


        Tania Kim Cardoso                     Los Angeles County
        Hollenbeck &Cardoso LLP.              Sheriff's Department
        7755 Center Ave. Suite 1100           Risk Management Bureau           State of California Supreme Court
        Huntington Beach, CA,92647            Civil Legal Litigation           350 McAllister St Room 1295,
    3                                         4900 South Eastern Ave.          San Francisco, CA 94102
        OB:NP Parc Chateaux LLC.
    4   2 Seaport Lane,                       Suite 102
        Boston, MA,02210-2001                 Commerce, CA,90040
    5
                                              Christina Romero, Manager        "Kevin," Manager Parc Chateaux
 6      Tania Kim Cardoso
                                              P~'c Chateaux LLC.               LLC.
        Hollenbeck &Cardoso LLP.
                                              24979 Constitution Ave,          24979 Constitution Ave,
    7   7755 Center Ave. Suite 1100
                                              Stevenson Ranch, CA 91381        Stevenson Ranch, CA 91381
        Huntington Beach, CA,92647
    8

    9
                                           Chandler Hoyt, Santa Clarita        Judge Tricia Taylor
10      Managing Company Graystar     —    City Towing Inc.                    County of Los Angeles Superior
        Alliance Residential (Allresco")   ("SCCTOW")                          Court, Chatsworth Courthouse
11      1545 Peachtree Street NE Suite 700 32311 Castaic Rd, Castaic,          9425 Penfield Ave.
        Charleston. 32.79504               CA 91384                            Chatsworth, CA,91311
12

13
               (By Mail) As Follows:
l -~    I am "readily familiar" with the firm's practice of collection and processing correspondence for mailing.
        Under that practice, it would be deposited with the United States Postal Service on that same day with
l       postage thereon fully prepaid at Tarzana, California, in the ordinary course of business. I am aware that
        on motion of party served, service is presumed invalid if postal cancellation date or postage meter date is
16      more than one(1)day after date of deposit for mailing in affidavit.
           (BY EMAIL)I caused to be transmitted to the email(s) mentioned above a true and correct copy of
17      the document.
             (FEDERAL) I hereby certify that, on 31S` day of July, 2022, a true and complete copy of the
18      foregoing by depositing the same in the United States mail, postage prepaid, has been duly served upon
        all parties of record above.
19
           (STATE)I declare under penalty of perjury under the laws ofthe State of California that the
~~      foregoing is true and correct.
               Executed on July 31, 2022, at Tarzana, California,
21

22

23

24

25

26

27
~g

                                                            .•
Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 70 of 155 Page ID #:70




                    ATTACHMENT
                      EXHIBITS




                                       10
Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 71 of 155 Page ID #:71

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                          U NITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
                                                       -
                                                       .                  ,,

                   NOTICE -~~~,~~ ~~~~ CLERK

                                    Extension of CARES Act

The United States District Court for the Central District of California has extended its authority pursuant to
the provisions of the CARES Act through September 25, 2022. Therefore, the Court announces the
following regarding its operations.

 Court Hearings

    • Hearings by video or telephonic conference may continue to be held in certain criminal matters as
      set forth in Order of the Chief Judge No. 20-043 and Order of the Chief Judge 22-157, unless the
      findings and authorizations in the Orders are subsequently terminated.

 Criminal Duty

    • In the Western Division, criminal duty matters will be held in Courtroom 880 at the Edward R.
      Roybal Federal Building and Courthouse through September 25, 2022.

   • The Southern and Eastern division criminal duty matters will be held in the duty magistrate's
     courtroom.




                                              Kiry K. Gray
                                 District Court Executive/Clerk of Court
                                              July 11,2022




       All posted notices are also available on the Court's public website at www.cacd.uscourts.gov.

 G-l5 (08/16)                        Notice from the Clerk                     Removal date: September 26, 2022
        Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 72 of 155 Page ID #:72
Case: 22-55145, 02/14Case 2:20-   led 02/07/22 Pa e 1 of 1 Page IC '94
              /2022, ID: 123690~~, DktEntry: 3, Page 1 of 1cv-01207-Der-SK Document 28




                                             UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
    NP Parc Chateaux, LLC,                                           C'A5E NUMBER:
                                                                                               2:2(3-cv-01207-DSF-SK


                                  v.
    Moshe Percy, et a1                                              QRDER 01 ~IOTIO~T FOR LEAVE TO APPEAL IN
                                                                    FOR~1A PALPERIS:
                                                                    D 28 U.Q.C. 753(i~
                                                  D£FEIv~ANT(S).    ~` Z8 U.S.C. 1915



   The Court,having reviewed the Motian far Leave to AppealIu For~ua Fauperis and ~daviithereto, hereby ORDERS:(The
   cheek mark irr the appropricrfe boa- indicates tlae Lh-~isr glade.)

   ❑ The court teas considered the motion and the motion is DENIED, The Court certifies that the proposed appeal is not
     taken in good faith tuider 28 U.S.C. 1915(a} aad is frivolous, without u~erit auci does nat present a suUstai~tial questio~i
     ~~vitliiu the mea~ii~g of 28 U.S.C. 7530.

   The Clerk is directed to serve copies of this Urder, try United States snail, u~aou the parties appearing ui this cause.




                          Dafe                                                          united States Disb-ict.7rrclge

   C+~ The Coart has consldeced the motion and the ~natiun is GRAFTED. It appears to the Coiu~t that the proposed appeal
       is tal~en ui good faith within the nieanin~ of 28 U.S.C. 1915(a). The Cotu~t certifies that the proposed appeal is not
       frivolous, that it presents a substuitial questio~i.Tie witfun moving pasty is authorized to prosecute au appeal ui forma
       pauperis tc~ the United States Cotut ofAppeals for the Ninth Circtut withautpre-payment ofany fees or costs and without
       giving security therefor.

       O A tra~iscript is needed to decide the issue presented by the proposed appeal, all within the meauu~g of28 U.S.C. 753
        (f~. The Court Reporter is directed to prepare acid file with dae Clerk of this Court an original uid one copy of a
         transcript of all proceedings liad iu this Court iu dus cause; the atton~ey far t}~e appellant is advised that a cagy of
         die tra~iscript will be made available. Tie expense ofsuch transcript shall be paid by the United States pursuant to
         2$ U.S.C. 1915(c) and 75~(f~.

  Tl~e Clerk is directed to serve copies of this Order upon tt~e parties appearing in this cause.



           February 7, 2Q22
                          Fi~~1                                                        U»rje~'Scores Disn•rct Jt~clge



   A-1S ORI?ER (02!08)              ORDER O~ ~iOTIO:~'FOR LEa~'E TO APPEAL I\ FOR~La P~~l"PERIS
Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 73 of 155 Page ID #:73



                          ,•~~   _~                      _,                                            ~o~.er   ~
                                                                                                           he.altl~
                                                  ► ,a




  Resource - P~~1ent.Handout for COVlD-19 Rapid Antibod~Test
 Thank you for completing a COVID-19 Rapid Antibody Test with K       er Health!




              You.were likely infected with SARS-CoV-2 more       The presence of antibodies indicates a previous
              than a few weeks ago, even if no symptoms           infection and possibly at least some degree of short-
              were present. IgG antibodies are "late              termimmunity or protection against future SARS-CoV-
   ~gG ~ antibodies", largely responsible for loc~g-term           2 infection. Case reports of reinfection have been seen
                        after infection or vaccination.           in the literature, so it is important to continue to
   Positive ~ ~mm~nity
                                                                  practice protective measures. If you develop new
                                                                   symptoms later, seek a diagnostic test, since
                                                                   occurrence of reinfection has been observed.
                  You were likely recently infected with SARS-    The presence of antibodies indicates a recent infection i
                  CoV-2. Your immune system is actively           and possibly at least some degree of short-term            i
   ,~,~           producing antibodies to an ongoing infection    immunity or protection against future SARS-CoV-2
      'gM         that likely began more than 14 days ago.        infection. Case reports of reinfection have been seen in
 ` and IgG                                                        the literature, so it is important to continue to practice
   Positive                                                       protective measures. , We recommend seeking a              }
                                                                  diagnostic test and isolating according to health
                                                                  authority guidance until test results are obtained.
               Your immune system is actively producing        The presence of antibodies indicates a recent infection
               antibodies to a recent Infection, IgM           and possibly at least some degree of short-term
               antibodies are "early antibodies" that develop  immunity is actively developing in the patient's system
               first during acute infection and disappear aher which may provide protection against future SARS-CoV-
   O IgM       a few weeks. In SARS-CoV-2 infections, IgM and 2 infection. Case reports of reinfection have keen seen
               ~gG antibodies can arise nearly simultaneously  in the literature, so it is important to continue to
   Positive
               within 2 to 3 weeks after illness onset. Thus,  practice protective measures. We recommend seeking ;
               detection of IgM without IgG is uncommon.You a diagnostic test and isolating according to healtf~       ~
               may still be capable of spreading disease to     authority guidance until test results are obtained.
               o thers, even when asymptomatic.
               This result may indicate different scenarios.    Continue to practice protective measures and follow
                    • You never had SARS-CoV-2, or              current guidelines. If you d►d not have symptoms on
            t        • You may have been infected and           test day and develop new symptoms later, seek a
     p      t            mounted a response with antibodies     diagnostic test.

   Negative I            below'the level of detection, or
             j           You may have been recently infected
            ~            within the last 14 days and haven't
              1          developed antibodies yet

  In all cases, follow the guidance of your healthcare provider and local health department. For more inforrnation, visit:
  httgs://www.cdc.sov/corvnavirus or www.coronavirus.sov

      ,~ ~ Confidential                                                                  printe               r   rent? onlv~~
Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 74 of 155 Page ID #:74


                                                                                                                  Kt'4 4'r
                                                            -a




    Resource - Patient,Handout for COVtD-19 Rapid Antibody Test


           FACT SHEET FOR RECIPIENTS                                                                         f ~oronavirus
           Azure Biotoch in c.                                                      Septlmb~rZ3, 2oZo         ~.Disease_2019
           Assure COViD-191~G/IQM Rapid Test Devpce                                                            (COViD-19~           -


        healthcare provider will work with you to determine how       !s this test FDA-approved or cleared?
        best io care for you based on the test results along wiEh      No. This testis not yet apprrned or cleared by the
        other factors of y'vLr medical history, your symptoms,         United Stafes FDA. When fhere are no FDA-approved or
        possible exposures, and geographic location of places         clea2d tests available, and other criteria are met, FDA
        you have recently traveled. There is also a chance that       can make tests available under an emergency access
        this test can give a positive result th2t ~s wrong(a false     mechanism cal{ed an Emergency Use Authorization
        posi5ve result). Even ahigh-performing antibody test          (EUA). The EUA for this test is supported by [he
        when used in a population withcwt many cases of               Seustary of Health and Human Service's(HMS's)
        CQVID-19 infection may produce as many or more false          dectara6on that circumstances exist to justify the
        results as true results trerause the likelihtrod of finding   emergency use o1 in viUo diagnostics for the detection
        someone v~ho has been infected is very small.                 and/or diagnosis of the virus lhat causes COVID-l9.
                                                                      This EUA wilt remain in effect(meaning this test can be
        Your healthcare provider will work with you to determine       used) for the duration of the COVID-19 declaration
        the likelihood of false resutf.                               justifying emergency of 1VDs, unless ft is termmaEed or
                                                                      revoked by FDA (after which Vie test may no longer be
       fr is not known how long antibodies to SARS-CoV-2              used).
       will remain present In tie bodq after lnfectfon. /t Fs
       no!known whethorhaving antibodies ib SARS-CoV-                 What ors the approved alternatives?
       2 r~i!! protect you from getNnp lnfacted again or help
       reduce the severity or duration of a future C~VID-19           There are no approved available aRernative tests. FdA
       In/ection. Regardless of yopr test result, you should          has issued EUAs for other tests that can be found al:
       continue to follow COC guidelines to reduce the risk           htt~s:l/www.ftia.awlemeroencY-p[eaaredness-a nd-
       of intoctiort, incJudTrtg social dfstancing and wearing        respv nee/mrm-legal~eaulatoty-and-policv-
       masks.                                                         frameworfc/emergen cv-useauthoriza6on


        1Nhat does it mean if I have a negative test result?
        R negative test result means that the antibodies la the
        virus that causes COVId-19 were not tour}d in yoix
        sample. However, it is possible for this test to gnre a
        negatiae result that is incorrect (false negative) in some
        people ~vilh COVID-19. Addiiionalfy, a negative result
        may occtK if you ere tubed ~exly in your ~ll+ms ~rtd yroa~
        body hasn't had time to produce antibodies to inflection.
        This means that you could possibly still have COVIO-19
        even though the test is negative. If this is the case, your
        heaftt~care provider will consider the feslresull logethef
        with aH other aspects of your medical history {such as
        symptoms, possible exposures, and geographical
        location of places you have reCentiy traveled]in deciding
        how to care for you.

        11 is important that you work with your healthcare
        provider to help you understand the next steps you
        should take.




       •    Where can I go for updates and more information? The most up-to-date information on
            CO:~ID-19 is avaitabfe at the CDC General webpage: httQs:llwww.cdc.~ov/COVIDis. In addition.
            please also contact your heatth~are provider with any questlonsfconcerns.
                                                                                                                                L




T    ~ ~ Confidential                                                                            Printed c                      nce only.
Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 75 of 155 Page ID #:75
  Case 2:20-cv-01207-DSF~ _ .: Document 14 Filed 03/13/20 P, :1 of 1 Page ID #:587




                     UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA




      NP PARC CHATEAUX LLC,                CV 20-1207 DSF(SKx)
          Plaintiff,
                                           Order DENYING Ex Parte
                      v.                   Application to Reopen Case, for
                                           Emergency Stay, and to Quash
      MICHAEL(MOSHE)PERRY,                 Writ of Execution and Writ of
          Defendant.                       Possession




        The Court previously remanded this case to state court. The Court
      has no jurisdiction to reconsider the remand, see Seedman v. U.S. Dist.
      Court, 837 F.2d 413, 414(9th Cir. 1988), and sees no reason to do so in
      any case.

         While Defendant's arguments about the state court's treatment of
      the prior removal appear to be well-taken, the proper avenue for
      redress is through the state court appeals process, not through this
      Court, which no longer has jurisdiction.

         The ex parte application is DENIED.

         IT IS SO ORDERED.


                                                      `~    ~ ~,
      Date: March 13, 2020
                                          Dale S. Fischer
                                          United States District Judge




                                                                   000004
Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 76 of 155 Page ID #:76
  Case 2:20-cv-01207-D~                   SK Document 8 Filed 02/19/20 ~              e 1 of 1 Page ID #:449

                    ~
                    ~*DESDtBf;~
                              l

                ~~or~               te'
                                      a          United States District Court
               j~                   L
                                    A                Central District of California           Cristina M.Squieri Bullock
                                                      Office of the Clerk                    Chief Deputy of Administration
               1~il~~          ~O
                                Y                                                            350 West 1st Street, Suite 4311
                        ~    1Pr                                                                Los Angeles, CA 90012
                    ~s~'RICt OF G

                 Kiry K. Gray                                                                       Sara Tse Soo Hoo
    District Court Executive /Clerk of Court                                                    Chief Deputy of Operations
        350 West 1st Street, Suite 4311                                                    255 East Temple Street, Suite TS-134
             Los Angeles, CA 90012                                                               Los Angeles, CA 90012



                                                     February 19, 2020

          Los Angeles CountySunerior Court —Chatsworth Courthouse
          9425 Penfiled Ave
          Chatsworth. CA 91311

   Re: Case Number:       2:20—cv-01207—DSF—SK
       Previously Superior Court Case No.    20CHUD00033
       Case Name:       NP Parc Chateaux. LLC v. Moshe Perry et al

   Dear Sir/Madam:

         Pursuant to this Court's ORDER OF REMAND issued on                    2/18/2020       ,the above—referenced
   case is hereby remanded to your jurisdiction.

          Attached is a certified copy of the ORDER OF REMAND and a copy of the docket sheet from this Court.

        Please acknowledge receipt of the above by signing the enclosed copy of this letter and returning it to the
   location shown below. Thank you for your cooperation.

   United States Courthouse
   255 East Temple Street, Suite TS-134
   Los Angeles, CA 90012


                                                                      Respectfully,

                                                                      Clerk, U.S. District Court

                                                                      By: ls/ Jennv Lam
                                                                         Deputy Clerk
                                                                        (Jenny_Lam@cacd.uscourts.gov)
  Encls.
  cc: Counsel ofrecord

   Receipt is acknowledged of the documents described above.



                                                                      Clerk, Superior Court



   Date                                                                    Deputy Clerk




   CV-103 (05/18)             LETTER OF TRANSMITTAL — REMAND TO SUPERIOR(   ~~01Q
                                                                         V VV   N
Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 77 of 155 Page ID #:77
   Case 2:20-cv-01207-DSF ~rC Document 9 Filed 03/04/20 P~._                                1 of 1 Page ID #:450



                     • ~~.                         United States District Court
                                                      Central District of California          Cristina M. Squieri Bullock
                                                       Office of the Clerk                   Chief Deputy of Administration
                                                                                             350 West Ist Street, Suite 431
                                                                                                Los Angeles, CA 90012

                    Kiry K. Gray                                                                    Sara Tse Soo Hoo
       District Court Executive / Clerk of Court                                                Chief Deputy of Operations
           350 West 1st Street, Suite 4311                                                 255 East Temple Street, Suite TS-134
                Los Angeles, CA 90012                                                            Los Angeles, CA 90012



                                                       February 19, 2020

                                                       hatsworth Courthouse                                                       _~
                                                                                                                   t
                                                                                                                            .. ~~.
                                                                                                                 a
     Re: Case Number:       2:20—cv-01207—DSF—SK                                                        -~ ~     _
         Previously Superior Court Case No.     20CHUD00033
         Case Name:       NP  Parc Chateaux. LLC v. Moshe Perry et al                              i             o

     Dear Sir/Madam:

           Pursuant to this Court's ORDER OF REMAND issued on                  2/18/2020       ,the above—referenced
     case is hereby remanded to your jurisdiction.

            Attached is a certified copy ofthe ORDER OF REMAND and a copy ofthe docket sheet from this Court.

           Please acknowledge receipt ofthe above by signing the enclosed copy ofthis letter and returning it to the
     location shown below. Thank you for your cooperation.

     United States Courthouse
     255 East Temple Street, Suite TS-134
     Los Angeles, CA 90012


                                                                       Respectfully,

                                                                       Clerk, U.S. Bisfict Court

                                                                       By: ls/ Jenny Lam
                                                                          Deputy Clerk
                                                                         (Jenny_Lam@cacd.uscourts.gov)
     Encls.
     cc: Counsel ofrecord

     Receipt is acknowledged ofthe documents described above.


                                                                      Clerk, Superior Court
         fE8 2 1 2020                                                          ~.usy Galustyan
                                                                      By:
     Date                                                                   Deputy Clerk




     CV-103(05/18) LETTER OF TRANSMITTAL — REMAND TO SUPERIOR CO                                          (        ~
                                                                                                       ~b~I~b~211o?o
       Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 78 of 155 Page ID #:78
7/18/22, 8:17 PM                                                     CM/ECF -California Central Di

                                                                           (SKx),             ,DISCOVERY,MANADR,REMANDED

                          UNITED STATES DISTRICT COURT
             CENTRAL DISTRICT OF CALIFORNIA (Western Division -Los Angeles)
                   CIVIL DOCKET FOR CASE #: 2:20-cv-01207-DSF-SK


 NP Parc Chateaux, LLC v. Moshe Perry et al                                             Date Filed: 02/06/2020
 Assigned to: Judge Dale S. Fischer                                                     Date Terminated: 02/18/2020
 Referred to: Magistrate Judge Steve Kim                                                Jury Demand: None
 Case in other court: 9th CCA,20-55298                                                  Nature of Suit: 230 Rent Lease &Ejectment
                     Superior Court of California Los Angeles                           Jurisdiction: Federal Question
                     County, 20CHUD00033
                     9th Circuit Court, 22-55145
 Cause: 28:1443(1) Notice of Removal -Rent, Lease &Ejectment

 Plaintiff
 NP Parc Chateaux, LLC                                                   represented by Tania Kim Cardoso
                                                                                        He Law, Apc
                                                                                        7755 Center Avenue Suite 1100
                                                                                        Huntington Beach, CA 92647
                                                                                        562-912-7712
                                                                                        Fax: 562-912-7728
                                                                                        Email: tcardoso@hclawapc.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


  V.
 Defendant
 Moshe Michael A. Perry                                                  represented by Moshe Michael A. Perry
 named a.s Moshe Perry in Complaint                                                     23705 Vanowen Street Apt 262
                                                                                        West Hills, CA 91307
                                                                                        747-224-9515
                                                                                        PRO SE

 Defendant
 Does
 1 to 10 inclusive

 Cross Claimant
 Moshe Michael A. Perry
 named as Moshe Perry in Complaint


  V
 Cross Defendant
  NP Parc Chateaux, LLC                                                  represented by Tania Kim Cardoso
                                                                                       (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?152494842917652-L_1_0-
                                                                                                          000007                1/4
      Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 79 of 155 Page ID #:79
7/18/22, 8:17 PM                                                      CM/ECF -California Central Distn



   Date Filed            # Docket Text
   02/06/2020             I   NOTICE OF REMOVAL from Superior Court of California Los Angeles County, case
                              number 20XHUD00033 with copy of summons and complaint.Case assigned to Judge
                              Dale S. Fischer, Discovery to Magistrate Judge Steve Kim,filed by defendant Moshe
                              Michael A. Perry.(esa)(Additional attachments)added on 2/10/2020:# t State Court
                              File, # 2 CV71)(esa).(Main Document 1 replaced on 2/11/2020)(lmh).(Entered:
                              02/10/2020)
   02/06/2020                 COPY OF COMPLAINT against defendants Does, Moshe Michael A. Perry, filed by
                              plaintiff NP Parc Chateaux, LLC.(see p. 10 of State court file)(esa)(Entered: 02/10/2020)
   02/06/2020                 COPY OF CROSS-COMPLAINT against Counter Defendant NP Parc Chateaux, LLC;
                              jury demand,filed by cross-complainant Moshe Michael A. Perry.(see p. 51 of state court
                              file)(esa)(Entered: 02/10/2020)
   02/06/2020            2 MEMORANDUM OF LAW filed by defendant Moshe Michael A. Pei•►•y. (esa) (Entered:
                           02/10/2020)
   02/06/2020            3    CERTIFICATION AND NOTICE OF INTERESTED PARTIES filed by defendant Moshe
                              Michael A. Perry. (esa) (Entered: 02/10/2020)
   02/06/2020            4 REQUEST to Proceed In Forma Pauperis, Declaration in Support filed by defendant
                           Moshe Michael A. Perry. (esa) (Entered: 02/10/2020)
   02/06/2020            5 NOTICE OF ASSIGNMENT to District Judge Dale S. Fischer and Magistrate Judge Steve
                           Kim. (esa) (Entered: 02/11/2020)
   02/06/2020            6 NOTICE TO PARTIES OF COURTDIRECTED ADR PROGRAM filed. (esa) (Entered:
                           02/11/2020)
   02/12/2020                 RECOMMENDATION issued by Magistrate Judge Steve Kim Re REQUEST to Proceed
                              In Forma Pauperis 4 forwarded to District Judge Dale S. Fischer for review.(clee)
                              (Entered: 02/l2/2020)
   02/18/2020            7 ORDER by Judge Dale S. Fischer DENYING REQUEST to Proceed in Forma Pauperis
                           I, with Declaration in Support (CV60) 4 . FURTHER ORDERED that this case is hereby
                              REMANDED to State Court. (MD JS-6, Case Terminated.) (jp) (Entered: 02/19/2020)
  02/19/2020             8    TRANSMITTAL of documents to Los Angeles County Superior Court. A certified copy of
                              the order of remand and a copy of the docket sheet from this court was sent to Los Angeles
                              County Superior Court -Chatsworth Courthouse. Case number: 20CHUD00033. (jp)
                              (Entered: 02/19/2020)
  03/04/2020             9 Receipt of Letter of Transi~~ittal -Remand to Superior Court. (jp) (Entered: 03/06/2020)
  03/1 l/2020           10 EMERGENCY EX PARTE APPLICATION to Reopen The Administratively Closed Case
                           Nunc Pro lunc from the State Court Order of 2/26/2020. Denying The Removal of
                           2/6/2020, Based on a Federal Question Jurisdiction Pursuant to 28 USC 1331, Based on 28
                           USC 1983, 28 USC 1443, 1981, 1982 (Defendant's Cross-Complaint), Because of The
                           State courts Constant Discrimination and Deprivation of Mr. Perry's Civil Rights filed by
                           defendant Moshe Michael A. Perry. (jp) (Entered: 03/11/2020)
  03/11/2020            11 REQUEST TO PROCEED In Forma Pauperis With Declaration in Support to Appeal,
                           filed by defendant Moshe Michael A. Perry. (mat) (Entered: 03/12/2020)
  03/11/2020            12 EX PARTE APPLICATION and Declaration for Extension of Time to File Appeal, filed
                           by defendant Moshe Michael A. Perry. (Attachments: # l Lodged Proposed Order) (mat)
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       Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 80 of 155 Page ID #:80
7/18/22, 8:17 PM                                                      CM/ECF -California Central D':

                            (Entered: 03/ l 2/2020)
  03/11/2020           13 [See Notice of Clerical Error item 15.] NOTICE OF APPEAL to the 9th CCA filed by
                          Defendant Michael[Moshe] Perry. Appeal of Order on Request to Proceed In Forma
                          Pauperis with Declaration in Support(CV60)Z Filed On: 2/18/20; Entered On: 2/19/20;
                          In forma pauperis is pending.(mat) Modified on 3/16/2020(mat).(Entered: 03/12/2020)
  03/13/2020           14 ORDER by Judge Dale S. Fischer DENYING EX PARTE APPLICATION to Reopen
                           Case, for Emergency Stay, and to Quash Writ of Execution and Writ of Possession 10 .
                          (SEE ORDER FOR SPECIFICS).(jp)(Entered: 03/13/2020)
  03/13/2020           16 APPELLANT APPLICATION from the Ninth Circuit for an Emergency Judicial Stay re:
                          Notice of Appeal to 9th Circuit Court of Appeals, 13 .(mat)(Entered: 03/16/2020)
  03/13/2020           ~ MOTION and Affidavit for Leave to Appeal In Forma Pauperis filed by defendant Moshe
                         Michael A. Perry.(Attachments:# 1 Lodged Proposed Order)(mat)(Entered: 03/16/2020)
  03/13/2020           18 ORDER by Judge Dale S. Fischer: denying 11 Request to Proceed Appeal In Forma
                          Pauperis; denying 17 MOTION and Affidavit for Leave to Appeal In Forma Pauperis.
                         (mat)(Entered: 03/16/2020)
  03/13/2020           19 ORDER by Judge Dale S. Fischer: denying l2 EX PARTE APPLICATION and Affidavit
                          for Extension of Time to File Appeal.(mat)(Entered: 03/16/2020)
  03/16/2020           ~ NOTICE OF CLERICAL ERROR: Due to The Notice of Appeal item 13 was filed as to
                         the incorrect party. The notice of appeal was filed by the defendant Michael A. Perry.
                        (Attachments: # (Notice of Appeal filed by Michael Moshe Perry)(mat)(Entered:
                         03/16/2020)
  03/19/2020           2U NOTIFICATION from Ninth Circuit Court of Appeals of case number assigned and
                          briefing schedule. Appeal Docket No. 20-55298 assigned to Notice of Appeal to 9th
                          Circuit Court of Appeals 13 as to defendant Moshe Michael A. Perry.(jp)(Entered:
                          03/23/2020)
  05/08/2020           21    ORDER from Ninth Circuit Court of Appeals filed re: Notice of Appeal to 9th Circuit
                             Court of Appeals, l 3 filed by Moshe Michael A. Perry. CCA # 20-55298. Pursuant to
                             Ninth Circuit Rule 42-1, this appeal is dismissed for failure to prosecute. This order served
                             on the district court shall, 21 days after the date of the order, act as the mandate of this
                             court.(mat)(Entered: 05/12/2020)
  05/12/2020           ?3 ORDER from Ninth Circuit Court of Appeals filed re: Notice of Appeal to 9th Circuit
                          Court of Appeals, 13 filed by Moshe Michael A. Perry. CCA # 20-55298. Accordingly,
                          this appeal is reinstated. A review of the record reflects that this appeal may be frivolous.
                          This court may dismiss a case at any time, if the court determines the case is frivolous.
                          Within 35 days after the date of this order, appellant must:(1)file a motion to dismiss this
                          appeal, see Fed. R. App. P. 42(b), OR(2)file a statement explaining why the appeal is not
                          frivolous and should go forward.[See document for more complete details.][Late
                          docketing due to document was received on 7/21/20.](mat)(Entered: 07/21/2020)
  06/26/2020           22 ORDER from Ninth Circuit Court of Appeals filed re: Notice of Appeal to 9th Circuit
                          Court of Appeals ~ 3 filed by Moshe Michael A. Perry. CCA # 20-55298. All other pending
                          motions are denied as moot. DISMISSED.(jp)(Entered: 06/30/2020)
  07/20/2020           24 MANDATE of Ninth Circuit Court of Appeals filed re: Notice of Appeal to 9th Circuit
                          Court of Appeals, 13 CCA # 20-55298. The judgment of this Court, entered June 26, 2020,
                          takes effect this date.This constitutes the formal mandate of this Court issued pursuant to
                          Rule 41(a)of the Federal Rules of Appellate Procedure.[See USCA Order 22
                          DISMISSED.](mat)(Entered: 07/21/2020)
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      Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 81 of 155 Page ID #:81
7/18/22, 8:17 PM                                                          CM/ECF -California Central Distri.
    1 2/22/2021         25 NOTICE OF DISCREPANCY AND ORDER by Judge Dale S. Fischer, ORDERING
                           Motion to Recall Remand submitted by Defendant Moshe Michael A. Perry received on
                           12/13/2021 is not to be filed but instead rejected. Denial based on: Case is closed. Case
                           remanded 2/19/2020.(jp)(Entered: 12/22/2021)
   01/30/2022           27 NOTICE OF APPEAL to the 9th CCA filed by Defendant Moshe Michael A. Perry.
                           Appeal of Notice of Document Discrepancies and Order -Rejecting, 25 Filed On:
                           12/22/21; Entered On: 12/22/21; Motion for In Forma Pauperis is pending.(mat)(Entered:
                           02/02/2022)
   01/31/2022           26 MOTION and Affidavit for Leave to Appeal In Forma Pauperis filed by Defendant Moshe
                           Michael A. Perry.(mat)(Entered: 02/02/2022)
   02/07/2022           28 ORDER by Judge Dale S. Fischer: granting 26 MOTION for Leave to Appeal In Forma
                           Pauperis.(mat)(Entered: 02/07/2022)
   02/07/2022           29 NOTIFICATION from Ninth Circuit Court of Appeals of case number assigned and
                           briefing schedule. Appeal Docket No. 22-55145 assigned to Notice of Appeal to 9th
                           Circuit Court of Appeals 27 as to cross claimant Moshe Michael A. Perry.(mat)(Entered:
                           02/07/2022)
  03/18/2022            30 ORDER from Ninth Circuit Court of Appeals filed re: Notice of Appeal to 9th Circuit
                           Court of Appeals 27 filed by Moshe Michael A. Perry. CCA # 22-55145. This appeal is
                           dismissed for lack ofjurisdiction.(See document for further information).(jp)(Entered:
                           03/18/2022)
  06/24/202?            3l ORDER from Ninth Circuit Court of Appeals filed re: Notice of Appeal to 9th Circuit
                           Court of Appeals 27 filed by Moshe Michael A. Perry. CCA # 22-55145. Appellant's
                           motions for reconsideration and reinstatement are denied. See 9th Cir. R. 27-10. No further
                           filings will be considered in this closed appeal.(jp)(Entered: 06/27/2022)
                                             _ _                _
  07/05/2022            32 MANDATE of Ninth Circuit       Court   of Appeals filed re: Notice of Appeal to 9th Circuit
                           Court of Appeals 27,CCA # 22-55145. The judgment of this Court, entered March 18,
                           2022, takes effect this date. This constitutes the formal mandate of this Court issued
                           pursuant to Rule 41(a) ofthe Federal Rules of Appellate Procedure.[See USCA Order, 30
                           DISMISSED.](mat)(Entered: 07/06/2022)



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       Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 82 of 155 Page ID #:82
6/24/22, 4:06 PM                                                         22-55145 Summary

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                                                           General Docket
                                          United States Court of Appeals for the Ninth Circuit
  Court of Appeals Docket #: 22-55145                                                                         Docketed: 02/07/2022
  Nature of Suit: 3230 Rent, Lease, Ejectment                                                                   Termed: 03/18/2022
  NP Parc Chateaux, LLC v. Michael Perry
  Appeal From: U.S. District Court for Central California, Los Angeles
  Fee Status: IFP

  Case Type Information:
    1)civil
    2)private
    3)null

  Originating Court Information:
    District: 0973-2 : 2:20-cv-01207-DS F-SK
    Trial Judge: Dale S. Fischer, District Judge
    Date Filed: 02/06/2020
    Date Order/Judgment:                 Date Order/Judgment EOD:                   Date NOA Filed:        Date Recd COA:
    12/22/2021                           12/22/2021                                 01/30/2022             02/02/2022




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      Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 83 of 155 Page ID #:83
6/24/22, 4:06 PM                                                              22-55145 Summary

  02/07/2022       1   DOCKETED CAUSE AND ENTERED APPEARANCES OF COUNSEL AND PRO SE APPELLANT. SEND MQ: No.
                       The schedule is set as follows: Appellant Michael Moshe Perry opening brief due 04/06/2022. Appellee NP Parc
                       Chateaux, LLC answering brief due 05/06/2022. Appellants optional reply brief is due 21 days after service of the
                       answering brief.[12362402](RT)[Entered: 02/07/2022 11:21 AM]
  02/08/2022 2         Filed clerk order(Deputy Clerk: JV~: The district court's order was entered on the docket on December 22, 2021.
                       Appellants notice of appeal was filed in the district court on January 30, 2022. Accordingly, the record suggests that
                       this court may lack jurisdiction over this appeal because the notice of appeal was not filed within 30 days after entry of
                       the district court's order. See 28 U.S.C. § 2107(a); Fed. R. App. P. 4(a)(1)(A), 4(c); United States v. Sadler, 480 F.3d
                       932, 937 (9th Cir. 2007)(requirement of timely notice of appeal is jurisdictional). Within 21 days after the date of this
                       order, appellant must move for voluntary dismissal of the appeal or show cause why it should not be dismissed for
                       lack of jurisdiction. If appellant elects to show cause, a response may be filed within 10 days after service of the
                       memorandum. If appellant does not comply with this order, the Clerk shall dismiss this appeal pursuant to Ninth
                       Circuit Rule 42-1. Briefing is suspended pending further order of the court.[12364546](CKP)[Entered: 02/08/2022
                       04:12 PM]
  02/14/2022 3 Received copy of District Court order [12369020](JFF)[Entered: 02/14/2022 09:46 AM]
  03/07/2022 4         Filed Appellant Michael Moshe Perry response to order to show cause.[12387689](JFF)[Entered: 03/07/2022 10:38
                       AM]
  03/18/2022 5         Filed order (A. WALLACE TASHIMA, MICHELLE T. FRIEDLAND and BRIDGET S. BADE)A review of the record
                       demonstrates that this court lacks jurisdiction over this appeal because the notice of appeal received by the district
                       court on January 31, 2022 was not filed within 30 days after the district court's post-judgment order entered on
                       December 22, 2021. See 28 U.S.C. § 2107(a); United States v. Sadler, 480 F.3d 932, 937 (9th Cir. 2007)(requirement
                       of timely notice of appeal is jurisdictional); Matter of Combined Metals Reduction Co., 557 F.2d 179, 203(9th Cir.
                       1977)(Federal Rule of Appellate Procedure 4(a) establishes mandatory time period for filing a notice of appeal as
                       thirty days after entry of judgment or order and court has no jurisdiction over untimely appeals unless there is an
                       exception that operated to extend the time period.). Consequently, this appeal is dismissed for lack of jurisdiction.
                       DISMISSED.[12399456](WL)[Entered: 03/18/2022 02:33 PM]
  03/22/2022 6         Filed Appellant Michael Moshe Perry motion to reconsider. Deficiencies: None.[12401934](JFF)[Entered:
                       03/22/2022 02:35 PM]
  03/23/2022 7         Filed Appellant Michael Moshe Perry motion to reinstate. Deficiencies: None.[12402451](JFF)[Entered: 03/23/2022
                       09:30 AM]
  03/25/2022 8         Filed Appellant Michael Moshe Perry supplemental motion to reconsider. Deficiencies: None.[12404805][COURT
                       UPDATE: Corrected Document Attached, resent NDA,--(Edited 03/29/2022 by BY](JFF)[Entered: 03/25/2022 09:14
                       AM]
  06/24/2022 9         Filed order(A. WALLACE TASHIMA, MICHELLE T. FRIEDLAND and BRIDGET S. BADE) Appellants motions for
                       reconsideration and reinstatement (Docket Entry Nos. [6], [7], [8]) are denied. See 9th Cir. R. 27-10. No further filings
                       will be considered in this closed appeal.[12479158](WL)[Entered: 06/24/2022 10:48 AM]



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       Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 84 of 155 Page ID #:84
6/24/22, 4:31 PM                                                          21-71444 Summary

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                                                           General Docket
                                          United States Court of Appeals for the Ninth Circuit
~ Court of Appeals Docket #: 21-71444                                                                       Docketed: 12/27/2021
', Michael Perry v. USDC-GALA                                                                                 Termed: 01/20/2022
   Appeal From: U.S. District Court for Central California, Los Angeles
   Fee Status: Due
  Case Type Information:
    1)original proceeding
    2)non-paid mandamus/prohibition
    3)null

  Originating Court Information:
    District: 0973-2 : 2:20-cv-01207-DS F-SK
    Trial Judge: Dale S. Fischer, District Judge
    Date Recd COA:
    12/27/2021




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      Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 85 of 155 Page ID #:85
6/24/22, 4:31 PM                                                             21-71444 Summary

   12/27/2021      1   FILED PETITION FOR WRIT OF MANDAMUS. DOCKETED CAUSE AND ENTERED APPEARANCES OF
                       COUNSEL. NOTIFIED REAL PARTIES IN INTEREST OF FILING.[12325368][COURT UPDATE: New Documents
                       Attached, resent NDA,—[Edited 12/28/2021 by BY](BY)[Entered: 12/27/2021 03:31 PM]
 i 12/27/2021      2   Filed Petitioner Michael Moshe Perry motion to proceed In Forma Pauperis. Deficiencies: None. Served on
                       12/27/2021.[12325373](BY)[Entered: 12!27/2021 03:33 PM]
  01/11/2022       3 Filed Petitioner Michael Moshe Perry letter dated re: Exhibits. Paper filing deficiency: None.[12338430](JFF)
                     [Entered: 01/12/2022 09:37 AM]
  01/18/2022 4         Filed Petitioner Michael Moshe Perry supplemental to petition for the writ of mandamus. Deficiencies: None. Served
                       on 01/18/2022.[12344192][Edited 01/19/2022 by JFF](JFF)[Entered: 01/19/2022 08:53 AM]
  01/20/2022 5         Filed order(RICHARD C. TALLMAN, MORGAN B. CHRISTEN and JACQUELINE H. NGUYEN) Petitioner has not
                       demonstrated that this case warrants the intervention of this court by means of the extraordinary remedy of
                       mandamus. See Bauman v. U.S. Dist. Court, 557 F.2d 650(9th Cir. 1977); see also Demos v. U.S. Dist. Court, 925
                       F.2d 1160, 1161 (9th Cir. 1991)("[T]his court lacks jurisdiction to issue a writ of mandamus to a state court.").
                       Accordingly, the petition is denied. All pending motions are denied as moot. No further filings will be accepted in this
                       closed case. DENIED.[12345824](WL)[Entered: 01/20/2022 11:23 AM]



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       Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 86 of 155 Page ID #:86
7/20/22, 5:02 PM                                                         20-55298 Summary

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                                                           General Docket
                                          United States Court of Appeals for the Ninth Circuit
  Court of Appeals Docket #: 20-55298                                                                        Docketed: 03/19/2020
  Nature of Suit: 3230 Rent, Lease, Ejectment                                                                  Termed: 06/26/2020
  NP Parc Chateaux, LLC v. Michael Perry
  Appeal From: U.S. District Court for Central California, Los Angeles
  Fee Status: Due

  Case Type Information:
    1)civil
    2)private
    3)null

  Originating Court Information:
    District: 0973-2 : 2:20-cv-01207-DSF-SK
    Trial Judge: Dale S. Fischer, District Judge
    Date Filed: 02!06/2020
    Date Order/Judgment:                 Date Order/Judgment EOD:                   Date NOA Filed:       Date Recd COA:
    02/18/2020                           02/19/2020                                 03/11/2020            03/12/2020




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     Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 87 of 155 Page ID #:87
7/20/22, 5:02 PM                                                             20-55298 Summary

  03/19/2020       1    DOCKETED CAUSE AND ENTERED APPEARANCES OF COUNSEL AND PRO SE APPELLANT. SEND MQ: No.
                        The schedule is set as follows: Appellant Michael Moshe Perry opening brief due 05/11/2020. Appellee NP Parc
                        Chateaux, LLC answering brief due 06/11/2020. Appellants optional reply brief is due 21 days after service of the
                        answering brief. [11635793](JBS)[Entered: 03/19/2020 04:16 PM]
  03/19/2020 2           Filed Appellant Michael Moshe Perry motion to stay lower court action. Deficiencies: None. Served on 03/13/2020.
                        [11635802](JBS)[Entered: 03/19/2020 04:20 PM]
  03/20/2020 3          Filed clerk order(Deputy Clerk: CO): A review of this court's docket reflects that the filing and docketing fees for this
                        appeal remain due. Within 21 days after the date of this order, appellant shall pay to the district court the $505.00
                        filing and docketing fees for this appeal and file in this court proof of such payment or file in this court a motion to
                        proceed in forma pauperis. Failure to pay the fees or file a motion to proceed in forma pauperis shall result in the
                        automatic dismissal of the appeal by the Clerk for failure to prosecute. See 9th Cir. R. 42-1. The Clerk shall serve a
                        Form 4 financial affidavit on appellant..[11637288](RT)[Entered: 03/20/2020 03:58 PM]
  05/08/2020 4           Filed Appellant Michael Moshe Perry motion to proceed In Forma Pauperis. Deficiencies: None.[11685201](NAC)
                        [Entered: 05/08/2020 01:21 PMJ
  05/08/2020 5           Filed Appellant Michael Moshe Perry motion to extend time to file appellant opening brief. Deficiencies: None.
                        [11685207](NAC)[Entered: 05/08/2020 01:22 PM]
  05/08/2020 6          Filed order (Deputy Clerk: TSP)Pursuant to Ninth Circuit Rule 42-1, this appeal is dismissed for failure to respond to
                        order.(Order dated 03/20/2020), This order served on the district court shall, 21 days after the date of the order, act
                        as the mandate of this court.[11685231](TSP)[Entered: 05/08/2020 01:32 PM]
  05/12/2020 7          Filed clerk order(Deputy Clerk: KWH): On May 8, 2020, this appeal was dismissed for failure to prosecute due to
                        appellant's failure to comply with this Court's March 20, 2020 order. That same day, however, appellant filed a motion
                        to proceed in forma pauperis thus belatedly complying with the Court's order. Accordingly, this appeal is reinstated. A
                        review of the record reflects that this appeal may be frivolous. This court may dismiss a case at any time, if the court
                        determines the case is frivolous. See 28 U.S.C. § 1915(e)(2). Within 35 days after the date of this order, appellant
                        m ust:(1) file a motion to dismiss this appeal, see Fed. R. App. P. 42(b), OR (2) file a statement explaining why the
                        appeal is not frivolous and should go forward. If appellant does not respond to this order, the Clerk will dismiss this
                        appeal for failure to prosecute, without further notice. See 9th Cir. R. 42-1. If appellant files a motion to dismiss the
                        appeal, the Clerk will dismiss this appeal, pursuant to Federal Rule of Appellate Procedure 42(b). If appellant
                        submits any response to this order other than a motion to dismiss the appeal, the court may dismiss this appeal as
                        frivolous, without further notice. If appellant files a statement that the appeal should go forward, appellee may file a
                        response within 10 days after service of appellant's statement. The briefing schedule for this appeal remains stayed.
                        Appellants motion for an extension of time to file the opening brief(Docket Entry No. [5]) is denied as moot. The
                        Clerk shall serve on appellant:(1) a motion to voluntarily dismiss the appeal, and (2) a form statement that the
                        appeal should go forward. Appellant may use the enclosed forms for any motion to dismiss this appeal or statement
                        that the appeal should go forward.[11688564](AF)[Entered: 05/12/2020 03:01 PM]
  06/15/2020 8          Filed Appellant Michael Moshe Perry response to order to show cause.[11722833](NAC)[Entered: 06/16/2020
                        07:22 AM]
  06/26/2020 9          Filed order(SUSAN P. GRABER, KIM MCLANE WARDLAW and RYAN D. NELSON): Upon a review of the record
                        and the response to the court's May 12, 2020 order, we conclude this appeal is frivolous. We therefore deny
                        appellant's motion to proceed in forma pauperis (Docket Entry No.[4] ), see 28 U.S.C. § 1915(a), and dismiss this
                        appeal as frivolous, pursuant to 28 U.S.C. § 1915(e)(2)(court shall dismiss case at any time, if court determines it is
                        frivolous or malicious). All other pending motions are denied as moot. DISMISSED.[11735110](RT)[Entered:
                        06/26/2020 02:08 PM]
  07/20/2020       10   MANDATE ISSUED.(SPG, KMW and RDN)[11757995](NAC)[Entered: 07/20/2020 07:38 AMA



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                              Billable Pages:         1                        Cost:                    0.10




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         Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 88 of 155 Page ID #:88
5/8/2020                                                            LASC -Case Access


 CASE INFORMATION
 Case Information ~ Register Of Actions ~ FUTURE HEARINGS ~ PARTY INFORMATION

 Case Number: 20CHUD00033
 NP PARC CHATEAUX, LLC VS MOSHE PERRY
 Filing Courthouse: Chatsworth Courthouse
 Filing Date: 01/09/2020
 Case Type: Unlawful Detainer/Residential (not drugs or wrongful eviction) {Limited Jurisdiction)
 Status: pefault Judgment By Clerk

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 FUTURE HEARINGS
 Case Information ~ Register Of Actions ~ FUTURE HEARINGS ~ PARTY INFORMATION

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 Case Information ~ Register Of Actions ~ FUTURE HEARINGS ~ PARTY INFORMATION

 Parties
 Respondent: NP PARC CHATEAUX LLC

 Plaintiff: NP PARC CHATEAUX LLC

 Defendant: PERRY MOSHE

 Attorney for Plaintiff: CARDOSO TANIA KIM

 Appellant: PERRY MOSHE




 Case Information ~ Register Of Actions ~ FUTURE HEARINGS ~ PARTY INFORMATION

 04115!2020 Appeal - Ntc Designating Record of Appeal APP-003/010/103; Filed by: Moshe Perry (Appellant)

 04!14/2020 Appeal -Notice of Filing of Notice of Appeal; Filed by: Clerk

 04!06/2020 Appeal -Notice of Appeal/Cross Appeal Filed; Filed by: Moshe Perry (Appellant); As to: NP Parc Chateaux; LLC
 (Respondent); To be paid at Central: No

 03130/2020 Motion to Stay Execution; Filed by: Moshe Perry (Defendant)

 03/2312020 Notice of Remand from Federal Court; Filed by: Moshe Perry (Defendant); Copy of Remand Order Attached:
 Yes; Date Remanded back to Superior Court: 03/18/2020

 03/10/2020 Challenge To Judicial Officer -Peremptory (170.6); Filed by: Moshe Perry (Defendant)

 03110/2020 Ex-parte Hearing on Ex Parte Application Defendants Motion for Reconsideration; Motion to Vacate Judgment
 and Motion for Sanctions scheduled for 03/10!2020 at 08:30 AM in Chatsworth Courthouse at Department F44

 0 311012020 Minute Order (Hearing on Ex Parte Application Defendants Motion for Recons...)

 03110/2020 Certificate of Mailing for (Nearing on Ex Parte Application Defendants Motion for Recons...) of 03/10/2020; Filed
 by: Clerk

 03l101202Q Ex-parte Hearing on Ex Parte Application Defendant's Motion for Reconsideration; Motion to Vacate Judgment
 and Motion for Sanctions scheduled for 03/10/2020 at 08:30 AM in Chatsworth Courthouse at Department F44 updated:

www.lacourt.org/casesummary/ui/popupCaseSummary.aspx
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      Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 89 of 155 Page ID #:89
5/8/2020                                                             LASC -Case Access
  Result Date to 03/10/2020: Result Type to Held

  03/05/2020 Writ of Possession; Issued by: NP Parc Chateaux, LLC (Plaintiff); As to: Moshe Perry (Defendant)

 03/05/2020 Default Judgment -Unlawful Detainer; Filed by: NP Parc Chateaux, LLC (Plaintiff; As to: Moshe Perry
 (Defendant)

 03/05/2020 Default judgment by Clerk entered for Plaintiff NP Parc Chateaux, LLC against Defendant Moshe Perry on the
 Complaint filed by NP Parc Chateaux, LLC on 01/09/2020 for a total of $0.00.: Judgment for possession is granted against
 all unnamed occupants pursuant to Code of Civil Procedure section 415.46.; Restitution and possession of the premises
 located at 24979 Constitution Avenue #225, Stevenson Ranch; CA 91381 is granted for plaintiffs)

 03/05/2020 Order to Show Cause Re: Failure to File Proof of Service scheduled for 03/23/2020 at 08:30 AM in Chatsworth
 Courthouse at Civil Clerk's Office Not Held -Vacated by Court on 03/05/2020

 03/04/2020 Request for Entry of Default /Judgment; Filed by: NP Parc Chateaux, LLC (Plaintiffl; As to: Unnamed
 Occupants; Moshe Perry (Defendant)

 03104!2020 Application for Writ of Possession; Filed by: NP Parc Chateaux, LLC (Plaintiffl; Daily Rental Value: 58.00

 03/04/2020 Default entered as to Moshe Perry; unnamed occupants pursuant to CCP 415.46; On the Complaint filed by NP
 Parc Chateaux, LLC on 01/09/2020

 02/27/2020 Updated -- Answer Jury Trial requested: Name Extension: Jury Trial requested; As To Parties: removed

 02/27/2020 Updated --Answer -Jury Trial requested: Name Extension changed from Jury Trial requested to -Jury Trial
 requested; As To Parties: removed

 02/27/2020 Motion re: Defendants request for $2,500.00 in monetary sanctions; Filed by: Moshe Perry (Defendant)

 02127/2020 Opposition to Plaintiff's ex parte application; Filed by: Moshe Perry (Defendant)

 02/27/2020 Motion re: Defendants motion to impeach and strike Plaintiffs Fraudulent substitute proof of service dated
 1/10/20; Filed by: Moshe Perry (Defendant)

 02/26!2020 Updated -- Request for Entry of Default /Judgment: As To Parties changed from Moshe Perry (Defendant) to
 Moshe Perry (Defendant)

 02/26/2020 Updated -- Request for Entry of Default /Judgment: As To Parties changed from Moshe Perry (Defendant) to
 Moshe Perry (Defendant)

 02/26/2020 Updated -- Request for Entry of Default /Judgment: As To Parties changed from Moshe Perry (Defendant) to
 Moshe Perry (Defendant)

 OZl26t2020 Updated -- Request for Entry of Default /Judgment: As To Unnamed Occupants changed from No to Yes; As To
 Parties changed from Moshe Perry (Defendant) to Moshe Perry (Defendant)

 02!26/2020 Certificate of Mailing for[Request for Entry of Default /Judgment]; Filed by: Clerk

 02/26/2020 Updated -- Motion re: Defendant's request for $2,500.00 in monetary sanctions: Status Date changed from
 02/27/2020 to 02/26/2020; As To Parties: removed

 02/26/2020 Other -Peremptory Challenge to Judicial Officer; Filed by: Moshe Perry (Defendant)

 02/26/2020 Updated -- Motion re: Defendants motion to impeach and strike Plaintiffs Fraudulent substitute proof of service
 dated 1/10/20: Status Date changed from 02/27/2020 to 02/26/2020; As To Parties: removed

 02/26/2020 Updated -- Opposition to Plaintiffs ex parte application: Status Date changed from 02/27/2020 to 02/26/2020; As
 To Parties: removed

 02126/2020 Answer; Filed by: Moshe Perry (Defendant)

 02/26/2020 Minute Order (Hearing on Ex Parte Application TO REINSTATE THE COURTS RULIN...)

 02126/2020 Certificate of Mailing for (Hearing on Ex Parte Application TO REINSTATE THE COURTS RULIN...) of
 02/26/2020; Filed by: Clerk



www.lacourt.org/casesummary/ui/popupCaseSummary.aspx                                                        000018            2/5
       Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 90 of 155 Page ID #:90
5/8/2020                                                            LASC -Case Access
  02/26/2020 Hearing on Ex Parte Application TO REINSTATE THE COURTS RULING OF FEBRUARY 7, 2020 scheduled for
  02/26!2020 at 08:30 AM in Chatsworth Courthouse at Department F44 updated: Result Date to 02/26/2020; Result Type to
  Held

  02/2512020 Ex Parte Application TO REINSTATE THE COURTS RULING OF FEBRUARY 7, 2020; Filed by: NP Parc
  Chateaux, LLC (Plaintiff; As to: Moshe Perry (Defendant)

 02/25/2020 Request for Entry of Default /Judgment; Filed by: NP Parc Chateaux, LLC (Plaintiff; As to: Moshe Perry
 (Defendant)

  02/25!2020 Proof of Personal Service; Filed by: NP Parc Chateaux, LLC (Plaintiff; As to: Moshe Perry (Defendant); Service
  Date: 01/10/2020; Service Cost: 60.00; Service Cost Waived: No

  02/2512020 Hearing on Ex Parte Application TO REINSTATE THE COURTS RULING OF FEBRUARY 7, 2020 scheduled for
  02/26/2020 at 08:30 AM in Chatsworth Courthouse at Department F44

  02/25/2020 Default entered as to Moshe Perry; On the Complaint filed by NP Parc Chateaux, LLC on 01/09/2020

 02/2112020 Notice of Remand from Federal Court; Filed by: Moshe Perry (Defendant); Copy of Remand Order Attached:
 Yes; Date Remanded back to Superior Court: 02/18/2020

 02/11/2020 Notice of Ruling; Filed by: NP Parc Chateaux, LLC (Plaintiff)

 02/11!2020 Notice of Ruling; Filed by: NP Parc Chateaux, LLC (Plaintiff

 02/11!2020 Proof of Service by Substituted Service; Filed by: NP Parc Chateaux, LLC (Plaintiff; As to: Unnamed
 Occupants; Proof of Mailing Date: 01/10/2020; Service Cost: 60.00; Service Cost Waived: No

 02/0712020 Updated -- Motion to Compel interrogatories: Filed By: Moshe Perry (Defendant); Result: Denied; Result Date:
 02/07/2020

 02/0712020 Updated -- Ex Parte Application to Strike Cross-Complaint: Filed By: NP Parc Chateaux, LLC (Plaintiffl; Result:
 Granted; Result Date: 02/07/2020

 02/07/2020 Ex-parte Hearing on Ex Parte Application Strike Defendants cross-complaint scheduled for 02/07/2020 at 08:30
 AM in Chatsworth Courthouse at Department F44

 02107!2020 Minute Order (Hearing on Motion to Compel interrogatories. Hearing on Ex Pa...)

 0210712020 Hearing on Motion to Compel interrogatories scheduled for 02107/2020 at 08:30 AM in Chatsworth Courthouse
 at Department F44 updated: Result Date to 02/07/2020; Result Type to Held

 02!07/2020 Ex-parte Hearing on Ex Parte Application Strike Defendant's cross-complaint scheduled for 02/07/2020 at 08:30
 AM in Chatsworth Courthouse at Department F44 updated: Result Date to 02/07/2020; Result Type to Held

 02/0612020 Non-Jury Trial scheduled for 02/07/2020 at 08:30 AM in Chatsworth Courthouse at Department F44

 02!06/2020 Non-Jury Trial scheduled for 02/07/2020 at 08:30 AM in Chatsworth Courthouse at Department F44 Not Held
 Vacated by Court on 02/06/2020

 02/05/2020 Opposition to Defendants Motion to Compel; Filed by: NP Parc Chateaux, LLC (Plaintiffl

 02/0512020 Proof of Service (not Summons and Complaint); Filed by: NP Parc Chateaux, LLC (Plaintiffl; As to: NP Parc
 Chateaux, LLC (Plaintiff

02/05/2020 Declaration In Support of Opposition to Defendants Motion to Compel; Filed by: NP Parc Chateaux, LLC
(Plaintiff

 02/05/2020 Ex Parte Application to Strike Cross-Complaint; Filed by: NP Parc Chateaux, LLC (Plaintiffi~; As to: NP Parc
 Chateaux, LLC (Plaintiff)

01/31/2020 Updated -- Demurrer -with Motion to Strike (CCP 430.10) Request For Jury Trial: Filed By: Moshe Perry
(Defendant); Result: Overruled; Result Date: 01/31/2020

 01/31/2020 Updated -- Ex Parte Application for order To Shorten Time on Demurrer with Motion to Strike: Filed By: NP Parc
 Chateaux, LLC (Plaintiff; Result: Granted; Result Date: 01/31/2020


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     Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 91 of 155 Page ID #:91
5/8/2020                                                             LASC -Case Access
 01131!2020 Defendants Separate Statement of Undisputed Material Facts with Reasons for Discovery (and Exhibits) in
 Support of the Request for Judicial Notice; Supporting Declaration;(Request for a Jury Trial)(Redacted); Filed by: Moshe
 Perry (Defendant)

 01131/2020 Ex Parte Application Shortening time; Filed by: Moshe Perry (Defendant); As to: Moshe Perry (Defendant)

 01!31/2020 Hearing on Ex Parte Application Shortening time scheduled for 01/31/2020 at 08:30 AM in Chatsworth
 Courthouse at Department F44

 01/31/2020 Motion to Compel interrogatories; Filed by: Moshe Perry (Defendant); As to: Moshe Perry (Defendant)

 01131/2020 Hearing on Motion to Compel interrogatories scheduled for 02/07/2020 at 08:30 AM in Chatsworth Courthouse
 at Department F44

 01!31/2020 STATEMENT OF UNDISPUTED MATERIAL; Filed by: Moshe Perry (Defendant)

 01/31!2020 VERIFIED ADDITIONAL FORM INTERROGATORIES; Filed by: Moshe Perry (Defendant)

 01/31!2020 VERIFIED AMENDED ADDITIONAL FARM INTERROGATORIES; Filed by: Moshe Perry (Defendant)

 01/31/2020 VERIFIED REQUEST FOR ADMISSION SET-ONE; Filed by: Moshe Perry (Defendant)

01131/2020 VERIFIED FIRST SET OF REQUESTS FOR THE PRODUCTION DOCUMENTS; Filed by: Moshe Perry
(Defendant)

 01I37I2020 FORM INTERROGATORIES; Filed by: Moshe Perry (Defendant)

 01/31/2020 Updated -- Ex Parte Application Shortening time: Filed By: Moshe Perry (Defendant); Result: Denied; Result
 Date: 01/31/2020

 01/31/2020 Minute Order (Hearing on Ex Parte Application for order To Shorten Time on ...)

 01/31/2020 Certificate of Mailing for (Hearing on Ex Parte Application for order To Shorten Time on ...) of 01131/2020; Filed
 by: Clerk

 01/31/2020 Hearing on Ex Pate Application for order To Shorten Time on Demurrer with Motion to Strike scheduled for
 01/31/2020 at 08:30 AM in Chatsworth Courthouse at Department F44 updated: Result Date to 01/3112020; Result Type to
 Held

 01131/2020 Hearing on Ex Pane Application Shortening time scheduled for 01/31/2020 at 08:30 AM in Chatsworth
 Courthouse at Department F44 updated: Result Date to 01131/2020; Result Type to Held

 01131!2020 On the Court's own motion, Hearing on Demurrer -with Motion to Strike(CCP 430.10) scheduled for 02!19/2020
 at 08:30 AM in Chatsworth Courthouse at Department F44 Held -Advanced and Heard on 01/31/2020

 01!30!2020 Ex Parte Application for order To Shorten Time on Demurrer with Motion to Strike; Filed by: NP Parc Chateaux,
 LLC (Plaintiffl; As to: Moshe Perry (Defendant)

01/30/2020 Opposition and Objections to Defendant's Request for Judicial Notice; Filed by: NP Parc Chateaux, LLC
(Plaintiffl

 01!30/2020 Request for Judicial Notice; Filed by: NP Parc Chateaux, LLC (Plaintiff

 01/30/2020 Hearing on Ex Parte Application for order To Shorten Time on Demurrer with Motion to Strike scheduled for
 01/31/2020 at 08:30 AM in Chatsworth Courthouse at Department F44

01128/2020 Supplemental Declaration Defendant's supplemental to his notice of general demurrer; Filed by: Moshe Perry
(Defendant)

 01121/2020 Updated -- Order on Court Fee Waiver (Superior Court): Status Date changed from 01/17/2020 to 01/21/2020;
 Status changed from TP to Filed

 01117/2020 Updated -- Request to Waive Court Fees: Filed By: Moshe Perry (Defendant); Result: Granted; Result Date:
 01!17/2020

 01117/2020 Order on Court Fee Waiver (Superior Court); TP by:

 01116/2020 Request to Waive Court Fees; Filed by: Moshe Perry (Defendant)

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  0111612020 Defendants Notice of General Demurrer and Verified Demurrer with Motion to Strike Unlawful Detainer
  Complaint: Memorandum of Points and Authorities; Proposed Order (redacted); Filed by: Moshe Perry (Defendant)

  01/16f2020 Updated -- Demurrer -with Motion to Strike (CCP 430.10) Request For Jury Trial: Name Extension: Request For
  Jury Trial; As To Parties: removed

  01/16!2020 Hearing on Demurrer -with Motion to Strike(CCP 430.10) scheduled for 02/19/2020 at 08:30 AM in Chatsworth
  Courthouse at Department F44

  01/1612020 Demurrer -with Motion to Strike (GCP 430.10); Filed by: Moshe Perry (Defendant)

  01/10!2020 Notice of Unlawful Detainer mailed 01/10/2020

  01/09/2020 Complaint; Filed by: NP Parc Chateaux, LLC (Plaintiff); As to: Moshe Perry {Defendant)

 01/0912020 Summons on Complaint; Issued and Filed by: NP Parc Chateaux, LLC (Plaintiffl; As to: Moshe Perry
 (Defendant)

  01!09/2020 Civil Case Cover Sheet; Filed by: NP Parc Chateaux, LLC (Plaintiff); As to: Moshe Perry (Defendant)

 01/0912020 Notice of Case Assignment -Limited Civil Case; Filed by: Clerk

 01/09/2020 Property Owner/Landlord Only Hearing Notice; Filed by: Clerk

 01/0912Q20 Order to Show Cause Re: Failure to File Proof of Service scheduled for 03/23/2020 at 08:30 AM in Chatsworth
 Courthouse at Civil Clerk's OfFice

 01/09/2020 Case assigned to Hon. Tricia Taylor in Department F44 Chatsworth Courthouse




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              Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 93 of 155 Page ID #:93

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          a means to elecV~onicaliy serve you a copy of the documents described be4ow, and
          associated with ZOCHUD00033 - NP PARC CHATEAUX,LLC vs M03HE PERRY in
          the fVorth Valley District Chatsworth Courthouse Department F44 .



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        indicate whether or not the contact has opened the document.


        Service Contact                         Document                           E~'~ii~'

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       (t...(c~holienback~aw.com)               Judgment                          {Not Opened)
                                                Default Judgment - UnSawful        Served - 03/04/2020 12:15 PM PST
                                                Detainer                          (Not Opened)
                                                AAPlication fnr Writ of            Served - Q3/04/2020 12:15 PM P8T
                                                Possession                        (Not Opened)
                                                Writ of Executlon                 Served - 03/04/2020 12:15 PM PST
                                                                                  (Not Opened)




      Status Key:

      Served -Email was sent do service contact, and service contact clicked Accept Service but6on to view this
      page.
      Served (Opened)-Service contact opened document to view or print
      Served (Not Opsc~d)-Service contact has NOT opened ttte document to print or view.




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                   .~                                       ,~
     SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
                                     Civil Divfsion
            North Valley District, Chatsworth Cotuthouse, Department F44

 20CHLJD00033                                                                   February 26, 2020
 NP PARC CHATEAUX,LLC vs MOSHE PERRY                                                    8:30 AM


 Judge: Honorable Tricia Taylor                       CSR: Electonically Recorded
 Judicial Assis~nt: M.Henderson                       ERM: None  R

 Courtroom Assistant: None                            Deputy Sheriff: P. Choi

 APPEARANCES:
 For Plaintiffs): Tania Kim Cardoso by Tania Cardoso
 For Defendant(s): Moshe Perry




                                          l
 1~'ATURE OF PROCEEDINGS: Hearing on Ex Parte Application TO REINSTATE THE
 COURTS RULING OF FEBRUARY 7, 2020

 The matter is called for hearing.

 The parties are sworn and testify.

 The Court inquires with the pasties.

 The Court lakes the matter emder submission.

 Later, the Court rules as follows:

 The Court heard oral argument regarding the following motions:

 1)Defendant's 170.6 Motion (filed ~on February 26, 2020);

 2)Defendant's Morton to Impeach and Strike Plainriffs Fraudulent Substitute Proof of Service
 Dates 1.10.2020 and Fraudulent Revision Personal Service Proof of Service 2.25.2420;

 3)De~'endast's Motion for ~25U0 in Monetary Sanctions Pursuant b Code of Civil Procedure
 Section 1285; and

 4)Defendant's Opposition to Plaintiffs ExParte Application to Reinstate the Orders of February
 7th,2020.

 - As to the.above, the Court orders the following:

 - Defendant's 170.6 Motion is deemed unrimeiy.
                                           Minuts order                              Page 1 of2

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    SUPERIOR CO~TRT OF CALIFORNIA,COUNTY aF LOS ANGELES
                                           Civil Dmsion
                  North Valley District, Chatswort~ Coeuthouse, Department F44

2~CAUDOfl033                                                                    February 26,2020
NP PARC CHATEAUX,LLC vs MOSHE PERRY                                                     8:30 AM


Judge: Honorable Tricia Taylor                    CSR: Electonical]y Recorded
Judicial Assistant: M. Henderson                  ERM: None
Coumoom Assistant: None                           Deputy Sheziff• P. Choi


- Defendant's Motion to Impeach and Strike Plaintiffs Fraudulent Substitute Proof of Service is
denied.

- Defendant's Motion far Monetary Sanctions is denied.

- As to Defendant's Opposition to Plaintiff's Ex Pane Motion, the Court rules as follows: the
Order to "Reinstate" is denied. This Court is not aware ofany proceeding or mechanism by
which the orders of February 7th, 2020 were rendered moot or uuproper. To that extent, the
Orders made by this Court on February ?th, 2 20 rein in effect

kl~rther, the Defendant argued to the Court dozing today's hearing that he had already filed an
answer in this matter. However, the Defendant did not file his answer until after the conclusion
of the hearing on February 26th, 2020. The Court had previously orderc~i that the Defendant's
dernurier was overruled and the Defendant was to file an answer on oz before February 7th,
2020.(See Minute Order dated January 31st, 2020). The Court thereby deems.the  answer filed by _.. _._
                                                                           ...
the Defendant on today's date untimely.                              Mr Perry's Note: State Judge
Certificate of Mailing is attached.                                      Tricia Taylor_is outr~~~t~in~
                                                                         Mr. Perry did not file leis answer
                                                                         at the conclusion offhe hearing,
                                                                         he filed it at the beginning of the
                                                                         hearing on Februar~r 26, 2020.
                                                                         Mr. Perry audio recorded this on
                                                                         his cell phone. The state court
                                                                         docket was later modified as to
                                                                        show Mr. Perry filed his answer
                                                                         th_e_ day after on February 27,
                                                                         2020. How else Judpe Taylor
                                                                        "Knew" Mr. Perry filed on
                                                                         February 26, 2020, when the
                                                                         docket shows it was "filed" on
                                                                         February 27, 2020
                                                                       f
                                         Minute Order                                 Page 2 of2

                                                                                    000025 Ex.35
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            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
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PLAINTIFF/PET'(T10NER:                                                      3sarrc'=L Ca'7iC. £mc~ro~~9~ar d Ca~%c far
NP Parc Chateaux, LLC                                                        $x: ~~ +~• r~~ae~~              ~,.~,~
DEFENDANT/RESPONDENT:
Moshe Perry
                                                                            CASE NlJMBER:
                         CERTIFICATE OF MAfLING                             20CHUDti0033

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TO i~E1NSTATE THE CdUR73 RULIN...) of OZ/26/2020 upan each par~y or rounsef named below by placing
the document for cattactian anti mailf ng so as to cause ]t to be deposhed in the United Sues mall st the
courthouse in.Chatsworttt, Caltfamfa, one copy of the orlgtnal fliedlenterad herein {n a separate seated
envelope to each address as shown below witf~ the postage thereon fully preps}d, to accordance with
standard court practEexs.



   T$ni~ Kim Cardoso                                          Moshe Perry
   Law Offices of Hoilenbeck &Cardoso, LLP                    23705 Vartowert St. #262
   7755 Center Avenue Suite 1100                              West Hills, CA 91307
   Huntington Beach, CA 92847




                                                    Sherri R. Carter, Executive OflScer / Cleric of Court
Dated: 7/2Q20
       Q712                                         By: M. Henderson
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            Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 99 of 155 Page ID #:99



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         a7TJRNEY oa PARTY v4~NaYT ATtoRNEY:            STATE 8AR iv0.:                                                  ~        vsE avcr
        ~~:Linda T. Hallenbeck 145048R'ania K. Caboso 2x4473                                                                                                        i
        flans runs;Holke~beck &Cardoso. LLP                                                                                                                             ~~
        sT~w~ae 7755 CentetAVentJ6. 3uita 114fl                                                                                                                         .~.::•

        crm Hu►ttirta#on Beach                       srAr~: Ce              z~~ cooE:9Z647                                                                   Y ~'       Tyr•'


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        e-►r~,+~ A~e~: Lholfenbedct~hvllenbeddaw.com                                                                                                         r'~
        gttoa+v~v Paz Vex NP Ferc Che~eawc LLC                                                                                                              r~~~
                           ow~o+ruu,.n~en~r aQearrae  ase~cr~ ov R~reo
        SUPERIOR COURT QF CAL~FORnUA, COUNTY OF L03 Anpe~es
         97REEt 1DDRES3; gig per~eh! Avenue                                                                                                                         ~ "r'~
        ~uNoaa~ess: 9425 Per►feetd Avenue
        ct~r aroaa~: ch~tswar~t. CA 81311
             e~aNCH nuu~: Chatsworth Courthouei
                                                                                                                   ~:
          Piaintif'~ NP ?arc Chatea~cc, LLC
        Defendant Mo41w Pomr. Et aL                                                                     20CHUD00033
                 ~  EXECUTION (Mone~r Jud~ent)                                                         (gJ Umitad Civil
                                                                                                           (Inr~udirsg Smal Claims)
        VYRiT OF [~ P088E88ION  OF     ~ Personal Propprby
                                                                                                       [] Untim~tad CiW Casa
                 0 g,~p                [~] Real P~ope~tY                                                   (including Fami and Probate)

        1, To the sheNf~ or Marshal of the Cai~ri~r oi: Los At7geles
           You af+~ drzsUed to enforc e the judgme~ described below vNttt dally i and your costs as provided try
        2. To eny r~~d piviceos server. You are sWtotised to serve this wok only in acoordanoe with CCP 699. 60 or CCP 715.04 .
        3. (Name): ~p parc ChetAsu~c. LLC
           1s the ~ original ju4gment c~edllnr ~ a~elgnea of rsoord whose address Is shown ors tt~1s form        ve the court's name.
        4. ~udg~ant~beor (name, b~►B of legal er~dtY if na ~         9. ~] 6ee next pie for i~ortnedia► on rea! or          anal Property to be
           netur~t ps~'son, ertd lest h7own addn9ss):                           delivered      a writ of pa~a~aiaa or sal under a wrii of sale.
                                                                     10.Q This writ to Issued on a st~teastate judgme ~t.
              Moshe Pem/                                             For Flema 11-17, see term fAC.a1x a~ tonr+           13-1NF0
 Q
                                                                     11. Total judgment (as enhared or renew+~d)        i}ossession Onfv
s
0             24879 Cartstitutson Avenue t1~25.                      12: Costa atEar judgmerti (CCP 685.080)                 $ assessfbn Only
              Stevenson Ranch, Ca. 81381
                                                                     Z3. Subtotal (aGd 91 acrd Z2)                           $ flssession On1
O
tV                                                                   14. Cradits to prirtapai (atlaroredltto;nteiesv         S ossession
                     Addidanel judgment debtors on next pees         ~~. Pt9rtdpa( retna(ning due tsritrb~cf 14 fmm 19)
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m
d       5. Judgrtewr+! oMstsd on (dBteJ: O~Or
                                            JIZ~OZO                  ~B, Accfved interest t6R'~n"ux,~ due per CCP            ffi          ~rtiv
                                                                         685.Q50(b) (not on QC 6.103.6 fees)
 a
.~     e, ~ JuclgmeM nscsevred on (daf~aJ:                           17, Fee for issuar►ce of writ
                                                                     4S. TotAI (add l5, iS, anti ?~
 m
                                                                     16. LBerying of'~cer.
},     ?. Nogce of gale under tttia writ                                 a. Add dai'1y !r►p~rsst from ciaCe of mit (at
          a. ~ has not been requ~d,                                         the tagaJrats orr 1~ (not on GC
 U
.~        b. Q has been requested lees nextPeDe1.                           @>0~5/e~ea) .... . . . . . . . . . . . .         $ a~sesaion Only
 Ò
       8. Q Joint detrtor lnkxmatlon Gn next page.                       ~• Pay dhscdy to court casts inGuded fn
 U                                                                          it aced '{7 (GC 8103.5, 68697; CCP
  a~     tsEw                                                               659.5200 . . . . . . . . . . . . . . . .         ~ osses9ion Oniv
fJ_
                                                                     20.E The mlaunts called for In items 11-19 a              differerrt inr each
                             ~~'~                                         cleDinr. TTtese am~uns are aYdted fvr ea             debtor on
            ~,,                Qtl                                        Ri18t~'NT►eTtt ZII,
                                                                                             SheaTi R. CertBr Executiv pier ~ Clerk of Court


                        ~                      N0T10E 'FO PER60N SERVED: SQE PAGE 3 FOR IMPORTANT fNF                            TION.
                                                                                                                                                  sag., as
       FormApprowEfarOpt~l~                                     WRIT OF EXfCUTfON                              coaaorcavu         . ~sas.san, nzo~o. zis.ato
       Judc~ai CmeaY of C~1~S~                                                                                                      pwerre+~rn CoOe. 9 a70.7,s
       eJ.o3o tRav, Jma.oty 1, 20t9t                                                                                                        vnY~4.tDurs.CB.e'~V




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~Ptaintfff: NP Pert Cha~a~c.1.LC



  zi.~ Additiorta► Judgment aebtvr (name, b~Ae ofleQal errtlty
       r~ not a natural person, and last known address):
                                                                                                                       i




                                                                   __ J                                                                       _t

  Z2, (~ Notice of sale hes beeryrid by (name enQ e0ctessj,




      i                                                                                                                                  ~J
      L-                                                         J            L____
  23. ~ Joirrt debtor was declared bound by the        Judgment   iCCP 889 994)
      a. orr (data):                                                         a. on {date):
      b, name, type of legal ~rrtitY if not a natural pe~s~, artQ            b. name, type of legs# ertt3ty it not a i ~ ral person, and



      ~                                                            ~ ~                                                                        -~
         }ast known address of jant d~Otor,                                      Est krmvm address of jofrtt




      ~                                                            ~ ~
       c. ~] Additfartal ccsb egalrist oar~in ~oir~t CoDt~rs ate tt~masd:           Q 8~law Q On                       9c



 2a. ~ (Writ of Pct ~s~iott or Whi! vl 38tN) JudanUtrt was er~ODrOG for the follc~vlilg:
     e. ~ PcasQes;cn of roel prapsrty: TT~a camplairrt wss flied on (Y1ate): 071~2~Zo
          (check 111 ~ l~•           (sl Kaaplloeble. Compete (4) fi(2} ar (3) Asve bean chscked.l
           (1) ~] TAe ?fsJudQment Clahn of Rat bo Poaeeseion wass ~tvrd in cemplWna with CCP 415.44+                       s judgment Includes
                  aN ienartts, sutrtenartts, named dafmarrts, and other oca~pacits of the pcemise~. ~
           {2) ~ The Prejudgmerrt Ctatm aP Rtpht to Possession was NOT served in compliartoe with CCP 4               .46.
           {3) ~ The urtlevrisll de4airier rawtted fram e tvredosure eats of s r~er~l hocrstng unit ~An oocu          not named in the
                 }ud~ner~ may flle a Clatm of Right to Pos~aession et any t}rne ~ to and inGudinp the time             levying otflcer returns
                 to efiedevldian, regardless of whether ~ PreJudAmer~ Claim of Fttght ~c Posaeeslon wa                    .) (See CCP4t5.46
                 end 1T 79.3(x){2).J

           (d) ff the unlawful miner cesut~d fbm a foreclosure {item ?Aa(3)), or iP Vie Pr~Judgcraertt Cfatm of      ht to Possession was
               not served In campllarrce witfi CCP 415.46 (item 24a(2j), answer the b)lawirtg:

                 ~a)      The deify rental value on tt~s daM the compjaMt wee fled W86 $58.00
                 (b)      Ttte court will hear ob;ectlona bo ertforoement of the JudB►neRt undor CCP 1174.3 on the           dates (specify,):



      b. ~ Pos~¢esion of personal propeRy.
                     If delivery cannot be had, then tvt the va{~ (~~e /n 2t~ ~p~iA,ad In the )uctgm~nt              upp~emerttal order.
      c. [~ 3ale of p9rson9{ D~opeRy
      d. [] sale of real Proper4+•
      e, The praperry is descHb6d;~ Below Q On Attachment 2Ae
          24979 ConsUhrtlon Aventse.#225, 9~,v+erteon Ranch, Ca, 91381



~_7 ~,~F#~II~~

E~-~afl i+~. lm+umy y: 24161                                 WRIT OF EXECUTION                                                         Page z of s




                                                                                                                     000029
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                                                            ~~r




                                                                                                       P&1M8ER:
        Plaintiff: Ha parc Chafea~nc, LLC



                                                                       ivu t~c:t t v rtx~un ~~~••~+
   i
  1~VRfT OF ~CECUTlON OR SALF. Your rfghta acrd duties ate indioeted on the aCzampanyiRg Notice ofLevy (Pay                EJ-15D).


  1jVRiT OF P~sSE3S►ON OF PERSONAL PROPERTY. K the levying officer Fs nat able to take ausiody of the p P~nY, the levying
   drfficer will demand that you tum over the property, If c~~tody ie not obtaln~ foliowirtg demand, the judgment m2 be enforced as a
  rhoney judgment for tf~e value of the property sFet~tled to the judgmerti or In a supplert~ent&1 order.

  V'vRfT OP POSSE83l~N OF RF.J~t, PROPERTY, {fate pramtaee ere rtot vacated v~tliin Rve days after tha crate + F service on the
    ccupant or, if service is by pus6ng, within ftve days after servfce on you, the levying officer wHl remove the occt pants from the read
     oPBrty and platy the f udgQrent creditor in po~se~sion of the pro~rty. Except for a mob[ h~rte, personal P ~ arty remaining on the
    remises will bQ sold or othervvise disposed of in accordance with CCP 1.i74 unless you or the owner of the prod arty pays me
  j dgmerit cr~dkor the reasonable cflet of storage end ekes possession of the persona( property not iaterthan T! days after the fir~te
  t~e judgment creditor takes po~sesgion of the pYerniess.



  ~       CEPT1dN IF RENTAL HOUSING UNtT WAS FORECLb3ED. If the r~sidor~el p~vperty that you era rerrtlrtp ~
        reclosure, you have eQdreiaral tlme before you must vacate the pt+erni~ss. If you have ~ lease inr a frnad term,
        ay remain in tt~e properfy urrh7 the lean is up. ff you have a ~riodic lease or tsnartcy, such as from more ~►-~
                                                                                                                           s avid in a
                                                                                                                           ~ as for e year; you
                                                                                                                           ~, you may remain
         the P~enY for 80 daysat~6e~ ~eceMrtg a notice to quit A blank forte Claire of Rlghtfa Passess/on end Notice       Nearing (form
       P10) acocmpantes this writ. You may da m your right m main cn th~ property by filling !t out and giving it to       sherEf(or Is~ying
       fficer.

     XCEPTION IF YOU WERE NQT SE7~YED WITii A FARM CALLED PREJUDGMENT CLAIM OF RIGHT TO f~05SESSiON. ff you
     ere not named !n the jadgmerrt for peas ession end you oca~lad the premises Qn tf~e dnEe bn aAiich tt~e urt ~   detainer case was
  flied, you may objed~ ~heertforcerrxeatratthe~udgment againet you. You must c~rrspl~+e tlw form Clefm oiR~         fo Passassran ana
  A~otice of HearMg (farm CPiO) and $ive k to tt~e sherlif or levying oftloer. A blank form accompanies this wrft Y have lhis right
     hetrter ar not the propertyyouu arm ►entirrg was sold in a for~Gosure.                                        t




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        Not far wo !n ac~ona un~r the E~ir Debt Btr~rtnp Prac~css Aci(Ctv. Code,~ 1788.~o et seq.)(see C►v-1o6)
      ~'O THE CLERK; On tfm complairrt or c                     eirtt filed
      a. on (dahe): Q~
      b. by (n~►teJ. NP Patc C         LLC
      c. ~ ErrOar dstisilt of Calar~errt fames):


     d. ~ t request ~ oouR Judprtss.tt under Code of Civil Prbcsd~ns ins B~S(b), b8b(c1~ 888. etc., ~pnlrtat dafert~t
          (names):

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          (~) D far                premises only end issue a wriE of ~utlon ort fire }udgmsnt CoOe of CNIf P~ncadure escdort
                1iT4(aj does not ep~fy. (Cods Clv. Pic.~ ~ 11~.)
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                    P►s1uQ~e~r1 Gf~Yn of     f to           r was served in aoft~#bitso~ wlth Gbde of CtvN Proo~durs eectlon
                               ~1s.ao,                                                                           .
          tZ) ~ under Code of Ctvtl Pcaos~ure sari 686{a). (CompAs~ the dean una~er Codb Cdv. Pia, § b88.8 an the
                       ~vwae (Tt~ri s1.1
          t~? Cl t~ dems,tt ~o~v enteral on (devt~l:
 2. JtuiQretfnt ~e 1'J~ ~tbevd.                                  A~                                                             - ~~
     a. D~rt~nd of                ,M ...... . .. .. . . a                            ~                                  s
     b. BD~tementof dam•

          cz> o~ . . ... . . . ... . ..... . . . s                                   ~                                  ~
     c. Irt9arest ... ....   .... . . ........ ~                           $                                         $
    d. Cow (~ !a+eer~) ... . . ...... ... S                                ~                                         s
    e. Atlomy ins . .... . . .. . . .. ... .. . 5                          ~                                         $
    f . TOTAL8 .... .... . . . . . . . . . . .. . . S                      $                                         $
    g. Dally d~msp~s was demanded to cxxr~ta~nt at tT~e rata of: S 558.00                         per day beginning (date): 01104J2Q20
    (`Psrsanel lnJury o~ wronger/ death a~br~s; Code eiv. Wvc., ~ 425.19.)
3. [~] (C1►sck tf fledI» a» untaraltd de~earer casa.) legal ~ae~nt ~rtt or nn                                           3stitft fnfortYt9ttOri 3a on !hs
                      r~r►►v~~ ~ 4J.
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       Ptair~ltf/P~v~wr.                                              t~ Parc Ch~h~~r, L1.0 ~''~`~
   petenean~Re~or~errt                                                    M~ Gerry, ~tr~: 20CHUD00033

 4. lsgai Qaosastar!!~slstrr~t or tatb~vrl~A d~ina'RtbtieR {fin. b Pry Cody,~eid0!t Nq.}. A {eoal docurne~~ sa~istartt yr
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                                                                                      e.   Regiatra~on na.:
                                                                                      f.   Expires ~ (dare);

 5. ~] O~oia►atlon +           Cods dv, Proc.. ~ S~b.6 {!ra' er~Y of default under Code CN. Prtsc., § 68i(a)J. ThIa action

     a. Q !a ~ fs nct on a contract or instaikrant sak for goads or aeMcea svb~~t ~ Ctv. Code, § 1~1 et seq. {Unruh Act),
     b. Q ~a ~ ~S got cn a             e~ cnrrtract subject fi~ c1v, cede, § z881 ec sea. c~.,~ver+no Motor ver,fc~e soles
                      and Flr~nos Act.
     c. Q ~ ~ is nat on an ab(fgation for Qoods~ services, (carte, ar e~erolorte of cr96it aublset to Code Civ. Prvc., § 3~8fb)•

 8. Oeelsr~tivn of maf~t~ ~Cod~ C1v. Proc.~ f Ste. A ccgy o(this Regtlasf Ibt Entry of Ded'ault was
    a. ~ got rngtt~Q to 2ha i~        de~nCarna, wtroee address are unbtarm 20 plahtttft or plalr~ifra edmmey (names):

     b. ~ ~a~d thst~c#~ss, paste             , in s sealed envelope addr:sard Eo each          nCe sltom~y of record or, ff Wane,
             bo eed~ ~fer~'s lost fQloKm ~dr~ ae falkoNrs:
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 1 dadaro vnd~t p~r~td of DM 'S+ ~d~r tM taws of the Stabs of CaAfomfa that tSts       ~         6.     e    true and correct.
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7. B                a! eo~b (requt~d /ImvrseY~nerr2 ~+~d1. Costa amd d(sbu~em~~b ar+~ s~ fcUows (Cade Civ. Proc.,
    § 1033.5):
   a. Cderk~ ~ fae~a . . . . . . . . ... . . . . . . . . . S
   b. P/ctuA s~cvs~s his . . . . .. . . . . . . . . . . . S
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   d.                                                                 S
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ay.,00~►+w, ~+«~r ~,~+s~             F~Gl1E8T FOR EI~T'RY OF DEFAULT                                                           ""'=of 2
                                          UPWlcatlon to EnDa/ Oefauit)




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             DEFENDAtYT: ~Osl~ P~rr1l. Etab
                                                                                                    c~ae xu~ea;
                        .tU~~llBNT—UNLJIWFt11. DETAINER
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         Q BY Court               ~]Pos~ssston OMy               (~ D~hndartt D(Q Not




 ~. (~] BY DEFAiJtT
        a. Oef~r►dert was prvpvrty carved wkh a copy of the eummorta and c~t~trrt.
        b. Defendant Palled to ar~arnret the c~rrs~drtt or appear and de4end the action wtth(n the lime atlawed by (aw.
        c. Qetertdsrsta dslgutt ti~ erttere~d by the clerk upon plelrttMPs appil~on.
        d. ~ iAsrk's.tt~gtiNir~t (Lbde Civ. Prx.. $1769). For passaeaion only of the premtaes d~crlbed on pees 2 (fterrt 4j.
             e. Q co~rt.Wd~ (Code Ctv. Preo.~ $585th)). Ths court c
                  (1) ~ OlelrttfYe te~tirnort~+ ertd other evidence.
                  t2?0 I~+rtttRa or others' w~Rten decterstion and evldenoe (Code CN. Ptoc.~ § 68S{d1)•


 2. Q AFTER C~ufiT TRIAL ThO Jury was waNad. The couK cormicterod the evtdencs.
      a. The case was tried an (dah~ and tlma):
                before (creme ot/udl~oiA~oer):

            b. Appearances by:
               Q F~lslrr~ jtreirre ~lr):                                                 Q P~lrttltPe eitomey (clams ewchJ,
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               Q Conttnusd ott                    ~ (brm MGQ25).
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               C Co~;~dant (rime e~ealf):
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               Q Gorrtlnwd on .~aeAnr~nt ~ ('fpm MC.~2b~.

           C. Q Deleftdnrtt ~d RO! BppeSf a! MSl. Detendarti was prDRe~ty senr8d W~h notice Of trfa~

           d [] A sf~ema n! of decieiar~ (Code Ctv. Proc., ~ 632)             Q was nai      Q was          requested.



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`°"" oan,a~'°`or°~~°"~
                 c.m~a.""              ~          JU~MENT—l1NLAWFUL D~YAtNER                                                       nest, ea.a ~+es
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 a Pertlms. ,wdgmar,t is
   a. ~ for phsirttitt (name each}: NP Para C~ulfaw4 LLC
               8nd a~tsiflsferr~erft (r~tre e9ca'?J:
               Mvs~e Perry, All unnamed occults
        [ ]     Cor~lnusd ort ~tachr~t3a (form N!C-OZ5).
     b. Q for aeterd~rt(nom aaa,):
4. ~ Piplisttn       Q O~ai►Q            Is er1~1e0 ~o                  lof the ptimbes tootled Q! (~eeQ            ~ Ap~/tmw►t ctlY~ aid t~w~ry~:
                              24979 Constib~tion Avenuc #225, Stevenson Raach, Ca, 91381
5. ~ Ju~rnertt ~ptles b tll oocs~art~a of the prsmtses indudtrtg tennnb, sub~eR►e~ffi it arty, artd rffirnee ofalmnnta if srry (Cc~ Cfv.
           Proc•, §§ 716.0'10, 1169, end 1174,3).
6. Amouc~t and farms of JudpmeM
   a. ~ Oefsndarrt rFarned in Rern 3a above must pay pistrrtlff on tha                b. ~ ?ta~rtliff to to ~lve nothing from defenderit
              compfaB~C                                                                    rsamed in Et~m 3b.
                                                                                          Q Defendant rtamsd in ilem 3b is to recover
                 (1) [~ _Paet~ refit                             $                                c~~: ~
                 (~) Q Holdover dntna~s                          $                                  D ~ ~~v tom' $
                 (3) D ~ttontey tees                             $
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                 (b! 0 Otte►!               f'):                 ~
                 ~e~ ~u.~uoc~rr                                  $
    c. ~ rn.re~,~1 ag~.manc to c~noalec.                    ~ T~ tease is sorsaRsd.
7. C] Cor~oes~i ]t~dpr~est. P1ak~tlff has bled the a~reeirbrrtt~ prcvtde i                       s proms to           td~rt e~ s0~l~d in
      ,/t~d~er~E—(/rs~ayvlF9                (fotrtt UD-1108}, whld~ 16 si~e~ctted.
8. ~ Other (spec:
         Q Cortdrwed on RmlAhrvrant8 (form MC-025).
Date s                                                         U
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Date:                                                           Q Cfe~, Dy                                                             ~ ~QP~tY
                                                        CLERK'S CEATIfICATE (C}~lona!)
 ~~y ~                          1 Certfty that thl8 l8 8 tCue copy of the OrlgUta! Jud~narn on fl{e !n the court.
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                                                            IlAENT—UNLAWFtil. DETAl1~iEA                                                   '`a °°"
   Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 105 of 155 Page ID #:105
     Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 106 of 155 Page ID #:106




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    P~rC Cheteata, LLC

f Moshe Peery, Et eL                                                                                                                   ~
                      APPL~TiO#1 FOR t~UAI~lC! Ot                                               "` ~~'
                Y~RlT Of lX~CtTl1ON. LION OR,sAL!                                           20CH1lD00033


 ~, Linda T. Haifenbeo~c !za ~1s                      degere under penaKy of perjury under t?~e tav~ of ttt~ State o1' Califomis;

     1. I am the '~~`°~' brPialrt~Pf                             iq the abov~ntitted actlon,

     2, The 4ollowi~              v~r! / OOrder wss made and enb~ree~or~
                          C]Jutlgme~t vwes nmewvd an
     9. Judgment/Order ss ehMreC/cer~e~we~d prov~0es as follows:

                Jud~nrm~t CrsdRor. (name srtd adcfreae)
                 NP Para CMO~o~ LLC
                 C!0 FI        C S~ G~d~ LLP
                 naa c nom ate., sc~e ~1~, Hwy ee~r,, cA a~s•sT

                J~dgmerfi Debtv►: (name ~rtd dress)
                Moshe Perry, Ail unnamed occs~parRs

                24979 Cow Avenue o1~5, BLeven~on Rant, Ca, 91381

               Rmourtt of Orsder and/or Desctiptlo~ of Pc~pecty.
                2 979 Constfiution Avenue lfa2S, Stevenson Ranch, Ca, 91381


     4. ~ (Un    net Proceedings Ortty) The dally rettte! value of ~e property sa of the date tfte compEaint was
        filed I~~,

     5, ~ Thla is an uRfa~vfta! ~tetner luc~gmerR, end a Projudgmerrt Gafm aF Rlsht bo Qass~n was served on ~e
        vcz~QaM(s) pvrsusnt to CoQe of Cl~tl Procedure aec~fan 416.48. Pursuant to Code of Civil Procedure
        sections 77 6.030 ~rtd 1174.3, ~ls wr4t applies to all 2ena~a; ~ne~ts, ~ anY nerrleC daimattts, if any; and amy
        otnar oC~aipen~ otthe pr~rtisea.

     6. ❑This is a F~nBy Lew Jtxtgme~tlOrder e~rtftled to priority under Coda of Ch►I! Proc~durti sec~fCrt 699.810.

     7. This writ is to be Issued to: QY t~s MgM~ Ccurtty             O Other (SPec~ty):



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u~sc ~acNose ~av oe.vn                  1AfRtT O!~ EXCCtmON~ PQ~8E~lON OR sI1L.B                                        Pam t ore
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   Case TMJe:
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   coats and Irrtares~, amaurtt ~ctualfy pald, date pald and wt~ethst applied to order a~ndlor to ~cwed Interest if acxrued
   Interest fe claimed, snd b~iance due. Due date otoosts of eRforcamer~t ~ ttro date they wQne added tc tea judgmerrt
   pursuant tc a cost bil) after judgment, nat cbta incurred,
  Failure to claim Irttereat shall be desms~ a wsalver thereof for the purpose of this writ only.
      ON INSTALLINENT ORDER8: EACH RAYMENT ORDERED At~fl QUE DATE MUST 9E STAT'ED SEPARATELY,
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    DUE Da'*'~                                 •,,x ^AfD                                        r~u nenro
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 and against ~a ~+~ All unnamed —
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Exetxl0ed cn 31411020
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   Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 107 of 155 Page ID #:107
     Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 108 of 155 Page ID #:108

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 WRlT OF (~          N OF     Q Person! Property
         ~ ~~                 ~ ~~ ~,~~                                                    Q lfiflmlbd Civil Case
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 t . To et» sh~rM or wrs~l at ~ Caarty of: Los ARgeEes
     You era d(rec~d !a ert~ the ~u0~t described beta~v with malty lneerest and your ~aSa as pravid~ by lew.
2. To my ~f~brsd prom ter. You ere euutlxwrtrrQ OQ serve tt~s writ oNy ht et000ndtnoe witfi CCP 888.080 or CCP 713.44Q.
3. (blame): NP Pero Chatdeux. LLC
     ie the ~ oriptntl Juf~r~ent o~dttor Q s~fprtee a( rtcotd whose addrss4 ~ shown on tf~ lbm~ abcvs the aaurt's nart~e.
4. Judpm~rtt d~bbo: (~e►ns, type Of legs/ enD'ty Pf not a 9. ~ S~ e~pd pis fbr tr~orsna~on on rral or P~~i property ~n be
     rtatura! person, 9~nd Isat 1CroWm address):                     dei'Msred tX~der ~ vrr(t at po~slon or sold urtider a writ of ale.
                                                          10.~ Thfe wrrlt to issued on a siemur-st~be judgment
     ~Moaha Fem                                      ~ Ror ttsn~ 11~f7. sa form YC~cf~ artd torn MC-M3~fF0
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     ~] f1Qd?doneS Judgment Q~ra on next pap~~
                                                          78. Principal remstinktip due (subtrsot t4 ~fnm 13) 5,~~+'~~1Q~lY
5. JudQrrttrrt ~rt4snd ort !date):                        16. Aratt~d fabareet tetnairtitt~ dus per CCP       3 Pos~siort Ortly
                                                              sa5.050(b) (not at QC 8103.a t~s)
6. [~ Jud~nt renews0 on (deter):                          i7. F8e for feauance of w►tt                        $40.00
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    e. ~ has not Dee~t reques9~d.                                 ~leg~frate on 1~ {noton GC
    b. [[~ h+ac beep► re~rOsd (ere rreXtPa~B)•                    5103,b ~) .. . . . . . . . . . . . . . .      $ Poanesaion ~nlv
                                                              b. Pay directly tD covet coat included !n
s. 0 Joint Cebtor Irtfurmedon o~ rte~ct pale.                    11 artd 17 (GC 8103.$, B8Q97; CCP
  [~U                                                             6QD.6201f}) . . ..... . . .... . . .          $P~s~n Oniv
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     PfeirtHfr NP Pero Chs6~u,c. LLC                                                            ~
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     b. Hama, b~Rs of ls~d ertftY N n02 a ns~n! pQrsan, and          b. naeme, hype of 1e~1 entltY K not a craturai person, and
         last knoWs~ acisi+ese of Jo1M der,                             i~8t krtrnvrt at4dra~ of jo(rtt debtor.
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      c. Q Addfliortst ooab sgairset oer~in Joint QebOora ~+e itemized:          Q BeEow Q Ort Attac~merrt 23c
 24. ~ {VVrtt al Possaaafart ~ Writ of Sale) Jud~t»rttwse sntv+ed for tf►e IoDowh~;
     e. [gj Poesassbn of ~va1 prvpert~ The ~rnytelRt w~ flted an (fiats): OSLO
               (Cltec~t (7) Rr C1I• Cheek (3)118ppNr~bfe. Cam~lefe (4) if (21 or (3}have been c~re~asd.)
        { t } [g] The ~u~~t C.~atrn ar ~pht m Paseessinn w~ ssrvsC In o~nptfance with CCP 415. 8, Tns~ud~rrr~ rnaudes
                     all aert~rtls~         . rtemed           , srsd att~er o~p~r~ of the pr~m~lsa.
        (2} ~] ~7se PrsJc~nertt CJe~m of fil~ht to Possession w~ fVOT served In cafnpli~r+oa with CCP 415.46.
        (3) ~ The ~a~taVvfu( ~fafrsar ►a~u?b~d tram a tcrsdasurr safe of a rert~l hcWtlr:p atilt (M oc~~rtf not n~mmd in ~e
                    ju~rrt~nt Reey 1tb a ClIIhn of RIgM to Po~BtsfOtt at airy three up t0 fwd Uxd~dtrs~ tt~e Sme tth i0vgltt~ o}}1oK retut~a
                    to etrte~ evk~9on, fegerKleQa of whetlisra-Prejradgrtr~t C18Vn of REgt~t in Poee66afort was served,)1Ses G~ 416.44
                    8~i01174.3(BJ(~•)
           t4) tf the unlewNl da~ar tasufb~C ft~vm a          ~ (ttem ?As~(3)}, or ff tf~e Pr~uegmsnt~ of RbFtt t1Poaeeeolon was
               rest served in r~mpiiarx8 with CCP 413,48 (item Z4a(2)}, erta~er iMe fo~ow~rt8:
                 (a)      The da,7y r+errtsl~vaiue cn the da0e the comPlahTt was flied was i58.E
                 (b)      The oovrt w#H heir c~orss to wttormmsrtt of ttw j~dgmertt under CCP 1774.3 art fhe toHowitts date (+~yacilY);
      b. Q Pca~sfon of personal property.
              [~ tf Cs~tvery c~mat be rtad, then t~or the va~uo (l~+z~ bi 2e~) efsdl~ed to tie ~udpmerrt or supplemerttsi order.
      c. ~ Safe of Do~~ P~Fb•
      d. [~ 5ale of ~1property.
      e. The property fs described:~ BeEflw [~ On Attachment 24e
          Z497fl Cas~ri~tlon Avenue #?1b, Skver~son Rartrh, Ca, 91381
es.,ao ~a.,,..~..~r 1. so+e~                                WRIT OF EXECUTION                                                     ~.:w s
  Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 109 of 155 Page ID #:109                               000038
     Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 110 of 155 Page ID #:110




                                                                                                 tenon n~n.rrrc                                   ~
      P~aiR~: NP PtfC CMtrletn{. LLC
  DefenCarrt hh~he Penv. Et al.                                                                  ?ACHUDQOat3




'WRtT OF EXECUTION QR SALE. Your rSQhts nrtd d~tiea ara indite on the socomp~nylr~ Notice ofLevy(forth EJ-LSD),

 ~WRET OF POSSESSItON OF PERSOiVAI PROPERTY. If the levying afflcer is nct ebt[► ~a tales custody oftlte pr~erty, the fevylrsg
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 ,money judgmarti fw the vslua of the propar~y a~tied in Ehe Judgmen! or in a ac~lamerrtal order.

     ;1T OF POSSESSION OF REAL PROPERTY. If the ptembea ero not vacote~d wlthln five days efEer ttte date of asrvioe on t#~e
       pant or, if seMoe is by posting within 1lv~a d&ys ef0ev seMoe on Your the levyir~ offlcc~rr will remvMe the occupants ibm tt~e real
     party and pfaae the Ju~n~rt csN~or in                  of tt» pr~pe+y Exvept fir t mobN~ hones, {D~roona{ praper~y remelntrtg on tt~e
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      rdoaure, you have addltfonal Mme bef~ro you must vacate the premises. Ii you have a lease for a Rxed term, such as far a year, you
      ~ remain to ttte pr~o~er~ urrtit tl~e betrs+ is up. If you t►sva a ~rto~c tease or t~nartcy, sur,~ as from taartt~►~morRh, you may remain
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          MICHAEL(MOSHE}PERRY                                                      superror    urto
                                                                                     County oif Los Angeles
          23705 VANOWEN ST.# 262
- _~ 2    WEST HILLS, CA,91307                                 ~ ~                     ~..~ ;~ ~ :~ ~~7~
         (747)224-9515                                                ~'               ~` ~~
    3                                                                                                  Officer/Clerk
                                                                            Sherri R. Carter Executive
    4                                    THE SUPERIOR COURT      BY Qlna Zucco, Deputy
                      OF THE STATE OF CALIFORNIA FOR THE COUNTY OF LOS ANGELES
    5                                    (Chatsworth Courthouse}
   6                                                              e No.: 20CHUI
         NP PARC CHATEAUX,LLC., A                                 >re Judge Tricia        for
    7
   8     SUBSIDIARY OF ALLIANCE RESIDENTIAL I
   9     & COMMERCIAL,INC.,(ALLR~SC4)                        DEFENDANT'S ANSWER
   10                   Plaintiff/Cross-Defendant,
   t]
                     Vs.
  12
         MOSHE PERRY
                                                                       ~           r„~ ~jl~ 5~~
  i3                                                                 ~Y ~ ~YI c~~ l `~
                       Defendant/Cross- Complainant,
  14
  15                TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  16     TO THE COURT,ALL PARTIES HEREiN, AND THEIR ATTORNEYS OF RECORD:
  l~                Defendant Michael (Moshe) Perry {hereafter sometimes '`Defendant"), hereby answers the
  18     complaint ofParc Chateaux Inc., the plaintiff, and admits, denies and alleges as follows:
                    Defendant hereby answers the Complaint pursuant to Code of Civil Procedure §431.30{d) and
  19
         denies, generally and specifically, each and every, all and singular, allegation contained in the
  20
         Complaint. Defendant further specifically denies that Plaintiff was damaged in the amount alleged, or
  21
         in any amount, or in any manner v~~hatsoever by any act or omission on the part of the answering
  22     Defendant.
  23           (1)         Defendant generally and specifically denies each and every allegations in tl;e
  24     complaint.
  25           (2)         Plaintiff had breached the rental agreement warranty to provide habitable partly and
         totally.
  26
                (3)        Plaintiff waived, cha~iged, or canceled the notice to quit. Plaintiff served defendant
  2?
         with the notice to quit or filed the complains to retaliate against defendant.
  28
                                                              1
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    Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 112 of 155 Page ID #:112



     1            (4)       Defendant generally and specifically denies each ar~d every allegation in paragraph 1

     2     ofthe complaint.
                 (5)        Defendant generally and specifically denies each and every allegation in paragraph 2
     3
           of the complaint.
.    4
                 (6)        Defendant generally and specifically denies each and every allegation in paragraph 3
     5
           of the complaint.
     b
                 (7)        Defendant generally and specifically denies each and every allegation in paragraph 4
     7     ofthe complaint.
     8           (8)        Defendant generally and specifically denies each and every allegation in paragraph 5
     9     of the complaint.
    10           (9)        Defendant generally and specifically denies each and every allegation in paragraph 6 of

    11     the complaint.
                 (10)       Defendant generally and specifically denies each and every allegation in paragraph 7 of
    12
           the complaint.
    13
                 (11)       Defendant generally and specifically denies each and every allegation in paragraph 8 of
    14     the complaint.
    15           (12)       Defendant generally and specifically denies each and every allegation in paragraph 10 of
    16     the complaint.

    }.7          (13)       Defendant generally and specifically denies each and every allegation in paragraph 11 of
           the complaint.
    18
                 (14)       Defendant generally and specifically denies each and every allegation in paragraph 13 of
    19
           the complaint.
    20           (15)       Defendant generally and specifically denies each and every allegation in paragraph 17 of
    21     the complaint.
    22           (16}       Defendant PERRY had offered Plaintiff Karin to discuss the rent abated resulted from

    23     the delay of fixing the heating and air conditioning problem, but plaintiff had refused and initiated the
           unlawful detainer.
    24
    25                        i.   The Court Lacked General And Personal Jurisdiction Over
       i                           Defendant In Rulings/Orders fiver Demucrer/Motion to
    26~                            Strike/Oral Motion to Quash/Motion On January 31,2420:
    27            {17)      Defendant moved. orally motioned on January 31, 2020 to quash service of summons
    28     under CCP. §415.20(b} and failed to comply -with CCP. §X 161(2)(a), on the grounds that he was not
                                                               2

                                                                                         000041
         1   personally served, and that na summons and complaint was ever served to hizn by nr~ail. The substitute
~_ .     2   service filed on February 11, 2020, was backdated to January 10, 2020 was false as to service by mail
             and was ineffective.
         3
                    {18)      The service of the unlawful detainer slumnons and complaint was inadequate to
         4
             effectuate valid service on the defendant. Code Civ. Froc. §41520(b)(emphasis added}. A substituted
         5   service is valid only if a good faith, reasonable effort at personal service on the party to be served is
        6    £first attempted. See Lebel v. Mai 210 Ca1.App.4th 1154, 1164(2012):"[s]ervice of process is essential
         7   to establish that court's personal jurisdiction over a defendant.[Fn. omitted.]
         8         (19}       Code Civ. Proc., §4I8.10(e){1):"A defendant or cross-defendant may make a motion
             under this section and simultaneously answer, demur, or move to strike the complaint or cross-
        9
             complaint. (1) Notwithstanding Section 1014, no act by a party who makes a motion under this
        10
             section, including filing an answer, demurrer, or motion to strike constitutes an appearance, unless the
        11
             court denies the motion made under this section. If the court denies the motion made under this
        12   section, the defendant or cross-defendant is not deemed to have generally appeared until entry of the
        13   order denying the motion. (2) If the motion made under this section is denied and the defendant or
        14   cross-defendant petitions for a writ of mandate pursuant to subdivision (c), the defendant or cross-
             defendant is not deemed to have generally appeared until the proceedings on the writ petition have
        15
             finally concluded."
        16
                   (20)       Plaintiff violated CCP. §417.20(c): "Subject to any additional requirements that may
        17
             be imposed by the court in which the action is pending, in the manner prescribed by the law of
        18   the place where the person is served for proof of service in an action in its courts of general
        19   jurisdiction."
       20i         (21)       When a defendant challenges that jurisdiction by bringing his oral motion to quash and
             the demurrer with motion to strike the coznplaini. However, the plaintiff on January 31, 2Q20, failed to
       21
             provide a proof of service and prove the existence of jurisdiction by proving, inter olio, the faces
       22
             requisite to an effective service." (Dill v. Berquist Construction Co.(1994)24 Ca1.App.4th 1426, 1439-
       23
             1440 [29 Ca1.Rptr.2d 746](Di11), italics added; accord, Coulston v. Cooper(196 245 Ca1.App.2d 866,
       24    868 [54 Ca1.Rptr. 302]; Floveyor Internat., Ltd. v. Superior Court(1997) 54 Ca1.App.4th 789, 793 [69
       25    Ca1.Rptr.2d 457] Flove ox); Amexican. Express, supra, 199 Ca1.App.4th at p. 387.)"("Citation").
       26i         (22)       Plaintiff violated CCP. §417.20(e): "If served by posting pursuant to Seetioo 415.45,
                                                                                              of posting, and
       271 by the affidavit of the person who posteel the premises,showing the time and place
             an affidavit showing the time and place copies of the summons and of the complaint were mailed
       28
                                                                 3
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 1     to the party to be served, if in fact mailed:'

 2           (23)     Therefore, service is not deemed based on CCP. §1161(2)(b): "Service of a summons in
       this manner is deemed complete on the 10th day after the mailing." Therefore, in this case service was
 3
       complete 10 days after February 11,2020 filing ofthe substitute service.
 4
              {24)    All rulings made the court without personal jurisdiction over the defendant not based on
 5     a valid proofof substitute service which was finally filed on February 11, 2020, must be set aside.
 6
                ii.   The Court Lacked General And Personal Jurisdiction And Defendant
 7                    Impeach Plaintiffs Substitute Service on January 10,2020 Substitute
 8                    Proof of Service Was Filed Late On February 11, 2020 After The
                      Court Order on the Demurrer Un January 31, 2020; And The
 9                    Personal Service o 02/25/2020 Are Both False And Misleading. Tl~e
10                    Orders of February 7, 2420 Are Voided For Removal And Lack of
                      General Jurisdiction, And Could Be Cured Nunc Pro Tunc:
I1
             (25)     The court on January 31, 2020 had no personal jurisdiction to malce any rulings on
12
       plaintiff's demurrer. The court on February 7, 2Q20 had no personal juxisdiction to issue rulings on Mr.
13
       Ferry's motion to compel discovery, and to issue an order stxikang Defendant's cross complaint, while
14
       the case was removed to the United Stated District Court on February 6, 2020.
15     The ptaintaff violated the California's substitute service law permits substitute service on a defendant if
lb     the plaintiff, acting with reasonable diligence, cannot serve process by ordinary methods. See Cal.

17     Code. Civ. Proc. § 415.20(b). The statute provides that:
                      "If a copy of the summons and complaint cannot with reasonable
18                    diligence be personally delivered to the person to be served...a
19                    summons may be served by leaving a copy of the summons and
                      complaint at the person's clweliing house, usual place of abode,
20                    usual place of business, or asual mailing address...in the
                      presence of..a person apparently in charge of his or her office,
21                    place of business, or usual mailing address...and by thereafter
                       mailing a cony of the summons and of the comalaint by first
22
                      class mail...served at the place where a copy of the summons and
23                    complaint were left.

24                    The court on January 31, 2020 should have granted Defendant's
                      oral motion to quash and the demurrer and motion to strike lack for
25                    the lack of proper service, based on common law rule of personal
                      delivery." (Hunstock v. Estate Development Corp., supra, 22
26                    Ca1.2d at p. 211.)
27
                       ui.   The Plaintiff Failed to Satisfy All Elements of The Sole
28 i                         Cause of Action For The Unlawful Detainer Action

                                                           4


                                                                                      000043
       1                          Pursuant To CCP. X1161(21:
       2           {26}    Plaintiff failed entirely to timely file his proof of service with no amended return, and
~~     3    with no proper affidavit that now could be filed nunc pro tunc, before the caurt have heard defendant's
       4    demurrer based on CCP. §418.10(e)(1), and before hearing on the other motions and cross-complaint.
           "Such proof presumptively establishes the fact of proper service, but it may be innpeached and the lack
       5
            of proper service shown by contradictory evidence. (Los Angeles v. Morgan (1951) 105 Cal App 2d
      6
           726, 731, 234 P2d 319; see Section 418.10.)(7) Jurisdiction depends on the fact of service, rather than
       7
           the proof thereof.(Herman v. Santee {1894) 103 Cal 519, 523, 37 P. 509; Drake v. Duvenick {1873)45
       8    Ca1455, 463.)."
      9           (27)    See also Courtney v. Abex Corp., 221 Cal. Rptr. 770 (Cal. Ct. App. 1986): "since "'[i]t
      10    is the fact of service which gives the court jurisdiction, not the proof of service."'(Herman v. Santee
           (1894} 103 Cal. 519, 523 [37 P. 509]; M. Lowenstein &Sons, Inc. v. Superiox Covert (1978) 8U Cal.
      11
            App. 3d 762, 770[145 Cal. Rptr. 814], disapproved on other grounds in Johnson &Johnson v. Superior
      12
           Court, supra, 38 Cal.3d at p. 254,fn. 7.)"(Precedential).
      13
                  (28)    Plaintiffs lack of due diligence, the waiting wntil later to present the substituted proof of
      14   service until February 11, 2020 is inadequate and its content misleading in section 5.(b)(4), because
      ZS   plaintiff had never personally served the defendazat and never mailed him any copy of the sunnmans and
      16   complaint. Plaintiff only posted the summons and complaint on defendant's front door during
      17   defendant's 10 days absence.
                  {29)     CCP. §1161(2) Elements: "[t]he elements of the action are set forth in Code of Civil
      18
           Procedure section 1161, subdivision (2). The statute provides, in relevant part, that the tenant may be
      19
           evicted "When he or she continues in possession,...without the permission of his or her
     20    landlord,...after default in the payment of rent, pursuant to the lease or agreement under which the
     21    property is held, and tlu~ee days' notice, in writing, requiring its payment, stating the amount which is
     22    due,...shall have been served upon him ox her...." (italics added.) ["Citations"] Bawa v. Terhtuie,
     23    JAD19-01 (Cal. Ct. App. 2019)(Precedential).
                  (30)    First, defendant, Mr. Perry did not defaulted, and had paid all his rent since August 9,
     24
           2Q19 when he lease was deemed renewed CCP.§1946.1. Second, Mr. Perry did not fail to pay rent
     25
           pursuant to the terms of the lease; and as required to establish an unlawful detainer. Third, Mr. Perry
     26    was a 3 %z years resident and as a month to month tenant was entitled to 60 days notice to pay or quite,
     27    not a 3-day notice for nonpayment of rent based on CCP.§§1946.1, 1946.5 and 1161(2). Fifth,
     28
                                                               G~
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     1      landlord cannot retroactive rent increase 4 months back using a 3- day notice.

.    2             (31)     See Borsuk v. Appellate Div. of the Superior Court of L. A. Cnty., 242 Cal.App.4th 607,
            195 Cal. Rptr. 3d 581, 2015:"These provisions, considered alone or in combination, do not suggest that
~' 3
            service of the three day notice confers personal jurisdiction or that a motion to quash service of the
     4
            sumxi~ons is the proper vehicle to raise a factual challenge to the service of the three-day notice."
     5             (32) "A landlord must serve a tenant with a valid thxee-day notice in order to prevail in an
     6      unlawful detainer action.(Code Civ. Proc., § 11 b 1. subd. {2); Bevill v. Zoura(1994) 27 Cal. App. 4th
     7      694, 697.)"`It has long been recognized that the unlawful detainer statutes are to be strictly construed

     8      and that relief not statutorily authorized may not be given due to the summary nature of the
            proceedings. [Citation.) The statutory requirements in such proceedings "`must be followed
     'L ]
            strictly..."" [Citations. `The remedy of unlawful detainer is a summary proceeding to determine the
    10
            right to .possession of real property. Since it is purely statntozy in nature, it is essential tlxat a party
    I1
            seeking the remedy bring himself clearly within the statute.' [Citation.]"(Dr. Leevil, LLC v. Westlake
    12      Health Care Center (Dec. 17, 2418, No. 5241324} Ca1.5th [2018 Cal. Lexis 9546, *7-*8].) ["Citations"]
    13      Bawa v. Terhur~e, JAD 19-01 (Ca.l. Ct. App. 20I9)(Precedential).
    14
                          iv.    Landlord Had Decreased Mr. PerrY's Rent From $1648 To
    15                           $1553, On October 24, 2019, And Increased Utility
                                 Allowances•
    16
    17            (33)      Landlord had decreased Mr. Perry's rent from $1648 to $1553, an October 24, 20I9, on
            a new lease agreezx~ent but demanded Mr. Perry pay all utilities. However, landlord cannot file an
    1$'
            unlawful detainer alleging Mr. Pexry defaulted on the rent due when Mr. Perry already paid all his rents
    19
            $1648 for each month, more than $1553 per month pronnised on Octabex 24, 2419.
    20                          v.   The Landlord Waiver Pursuant To Para~ranh #S7 of The
    21                               Lease Agreement By Accepting The Rents:

    22            (34)      "The three-day notice must demand that payment of rent be delivered to a person
    23      specified in the notice, deposited in a specified account at a financial institution identified in the notice,

    24      ar #ransferred electronically if the parties have established a procedure fax tk~e electronic transfer of
            funds.(§ 1161, subd. 2.) A three-day notice under section 1161, subdivision 2 cannot demand payment
    25
            by any other method. (See WDT-Winchester v. Nilsson (1994)27 Ca1.App.4th 516, 526 [stating that a
    26
            la.ndiord invoking the summaxy procedures of unlawful detainer must strictly comply with the statutory
    27      notice requirements]; Baugh v. Consumers Associates, Ltd. (1966) 241 Ca1.App.2d 672, 674 ["it is
    28

                                                                 D

                                                                                              000045_
          1   essential that a party seeking the remedy bring himself clearly within the statute"].) A complaint for
.         2   unlawful detainer based on a defective notice fails to state a valid cause of action.(Baugh, supra, at p.
              675.) We conclude that the sustaining of the demurrer to the count for unlawful detainer was proper to
    .     3
              the extent that the count is based on the nonpayment of rent." ["Citation"] Bawa v. Terhune, JAD19-01
          4
              (Cal. Ct. App. 2019)(Precedential).
          5          Parc Chateaux accepted Mr. Perry's full rent payment on December 2, 2019, did not inform Mr.
          6   Perry he owed any due rent, and deposited it in their checking account on December 3, 2019. See Cal.
          7   Civ. Code §1500 prescribes:"An obligation for the payment of money is extinguished by a due offer of
          8   payment, if the amount is immediately deposited in the name of the creditor, with some bank or savings
              and loan association within this state, of good repute, and notice thereofis given to the creditor."
         9
                     "Neither section 1161 nor any other statute or legal authority provides that the failure to deposit
         10
              money in the manner sated in Civil Code sectzon 1500 pursuant to a demand constitutes an unlawful
         11
              detainer." Katsh v. Murphy, B207238, October 27, 2009.
         12          "The court pointed out that the renter could have extinguished the rent obligation by depositing
         13   the rent in a bank account... (Ibid.)" Bawa v. Terhune, JAD19-41 (Ca1. Ct. App. 2Q19)(Precedential).
         Z4   In this case the landlord deposited the rent and extinguished the rent obligation.
         15            vi.   The Landlord Waiver of The Unlawful Detainer By Payment of
         16                  Money Is Extinguished By The Due Offer, Acceptance, And Deposit of
                             All Rent Payments From Defendant From September 2019 Through
         17                  December 2019•
         18
                    (35)     Parc Chateaux issued the three-day notice after Mr. Perry had already paid his rent. But
         19   the landlord never gave Mr. Perry any notice of any rent increase until the notice of retroactive rent due
         20   ftam September through December 2019, on a December 3, 2019 notice. When Mr. Perry requested
         21   the rent increase notice, the manager Christina Romero promised that she will give him the notice of
              rent increase, but she did not. (See email from November i 1, 2019:"I will have bim pull your letter
         22
              from the file and sent it to you again."
         23
                    (36)     The landlord manager Christina Romero did not pull any letter or maaled it to Mr. Perry.
         24
              Instead, she instituted the unlawful detainer, while she accepted all of Mr. Perry's rent check payments
         25   and deposited them in their bank. "[AJn obligation for the payment of money is egtin~uished by a due
         26   offer of payment, if the amount is immediately deposited i~ the name of the creditor. [See Cal. Civ.
         27   Code §1500 prescribes.] Bawa v. Terhune, JAD19-01 (Cal. Ct. App. 2019)(Precedential).
         28
                                                                  7
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 1                                          AFFIRMATIVE DEFENSES
                                        1311:7.~IlI_~~~MI.~►I/U1~~~/D!I]Dl~~1~(.~~I
             Neither the Complaint nor any claim of relief asserted therein states facts sufficient to
 3
     constitute a claim for relief against Defendant. Each purported cause of action fails to state facts
 4
     sufficient to constitute a basis for relief against this answering Defendant.
 S

 6                  vii.      Mr. Perry Was Never In Default For Payment of Rent
                              Within The Meaning of CCP. &1161(2):
 7
             (37)      "Under the clear words of the statute, athree-day notice may only be served, "after
    default in the payment of rent." (See United Riggers &Erectors, Inc. v. Coast Iron &Steel Co. (2018) 4
]G
    Ca1.5th 1082, 1089-1090 [statutory interpretation begins with examining the words used in a statute].)
10
    The word "de#'ault" is not defined by the statute. But, given the context in which it is used, it is apparent
1 1 the common definition, "failure to do something required by duty ox law," was intended....; See People

12   v. Whitlock (2003) 113 Cal. App. 4th 456, 462 ["To ascertain the common meaning of a word, `a court

13   typically looks to dictionaries"'].)" A tenant has a duty to timely pay rent, and when the tenant fails to
     do so, the tenant defaults in the duty." ["Citation"] Bawa v. Terhune, JAD19-01 (Cal. Ct. App. 2019)
14
     (Precedential}.
15
16               viii.     Mr. Perry Did Not Breach -The Rental Agreement And Landlord's
                           Forfeiture Is Waived By Landlord Accenting And Deposit Of
17                         Rents And Breaching The Rental Agreement By Filing A
18                         Frivolous Unlawful Detainer:

19           (38)      "[A] "`trivial" or "de minimis" breach [of a rental obligation] zs not sufficient ground for
                                                                                           Civ. Code, § 3533
20~ termination ....' [Citation.]" (Boston, supra, 245 Ca1.App.4th at p. 83; accord,
    ["[t]he law disregards trifles"]; Medico-Dental Bldg. Co. v. Horton &Converse (1942) 21 Cal. 2d 411,
21
    433 ["a breach of contractual right in a trivial or inappreciable respect will not justify rescission of the
22
    agreement by the party entitled to the benefit in question"].) "Permitting landlords...with superior
23
    bargaining power to forfeit leases based on minor or trivial breaches would allow them to strategically
24   circumvent LARSO's `good cause' eviction requirennents and disguise pretext evictions under the cloak
25   of contract provisions." (Boston, supra, 245 Ca1.App.4th at p. 85.}"..."`It is quite true that the payment
26   of the rent in accordance with the terms of the lease is
             {39)      one of the essential obligations of the lessee, and the failure of the lessee to properly
27
     discharge this obligation is a legal cause fox dissolving the lease. But this presupposes ti~at the lessor is
28
                                                            0

                                                                                        000047
       1    desirous and willing that the lessee should pay his rent promptly, and will facilitate and not hinder him
'-     2    in doing so; that the lessor is not endeavoring merely to entrap his lessee into a technical breach of the
            lease.' [Ci#ation.]" (Strom, supra, 88 Ca1.App.2d at p. 81.)" ["Citation"] Bawa v. Terhune, JAD19-01
       3
           (Cal. Ct. App.2019}{Precedential)."
       4
       5                             SECOND AFFIRMATNE DEFENSE
                                                   (Waiver)
      6           (40) Defendant is informed and believes and thereon alleges that Plaintiff has engages in
       7    conduct and activities sufficient to constitute a waiver of any claim or demand for relief which they
       8    may otherwise have against Defendant. The claims being advanced by Plaintiffs are barred by
            virtue of the Plaintiffs acts and/or omissions that amount to a waiver, including but, not limited to
       9
            attempting to enforce part of the rental agreement, white ignoring the rest of the rental agreement
      10
            pertaining to Plaintiff's responsibilities.
      11
      12            ix.    Landlord Had Accepted All Rent Payment Checks And Deposit Them
                           Tnto His Business Checking Account:
      13
                  (41)     The Effect of Payment by Check: When, as here, the form of payment used is an
      14
            uncertified check (see Cal. U. Com. Code, § 3104, subd. (fl [personal check is an uncertified
      15
            check]), California Uniform Commercial Code section 3310, subdivision (b}, provides, in relevant
      I6
            part, "Unless otherwise agreed... if...an uncertified check is taken for an obligation, the obligation
      17    is suspended to the same extent tki.e obligation would be discharged if an amount of money equal to
      18    the amount ofthe instrument were taken, and the following rules apply:[¶](1).... suspension ofthe
      19    obligation continues until dishonor of the check or until it is paid or certified. Payment or
     20     certification of the check results in discharge of the obligation to the extent of the amount of tl~e
     21     check." (Italics added.) While a debt or obligation is "suspended," a debtor is not in default in the
            paying of the obligation. ("Suspended" means "to hold in an undetermined or undecided state
     22
            awaiting further information"....Once the tendered check is negotiated by the payee and honored
     23
            by the bank, the obligation is discharged; if it is dishonored, the obliga#ion is revived. (Cal. U.
     24
            Com. Code, § 3310, subd.(b)(1).)
     25
                  (42)     The language in California Uniform Commercial Code section 3310 — "[i]f an
     26
           f uncertified check is taken_ for an obligation" — "refers to a situation in which the debtor has
     27     delivered an instrument with the intention that it constitute conditional payment for the underlying
     28     obligation and the creditor has accepted it as conditional payment for the underlying obligation."
                                                               E
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1    (Canal-Randolph Anaheim, Inc. v. Wilkoski(1978)78 Cal. App. 3d 477, 490 [discussing similarly

2    worded predecessor statute, former Cal. U. Com. Code, § 3802].) Thus, in order for California
      Uniform Commercial Code section 3314 to apply to suspend an obligation, there must be both a
3
      delivery by the debtor and an acceptance by the creditor, which then results in "`a surrender of the
4
      right to sue on the obligation until the instrument is due, but if the instrument is not paid on due
5
      presentment the right to sue on the obligation is "revived.""'{Id. at p. 487.)"
6
                    x.    Mr. Perry Drd Not Breach The Rental Agreement And
7
                          Landlord's Forfeiture Is Waived By Landlord Accepting
8                         And Deposit Of Rents And Breaching The Rental
                          Agreement By Filing A Frivolous Unlawful Detainer:
9
10          (43) "[A] "`trivial" or "de minimis" breach [of a rental obligation] is not sufficient ground

11    for termination ....' [Citation.]" (Boston, supra, 245 Ca1.App.4th at p. 83; accord, Civ. Code, §
      3533 ("[t]he law disregards trifles"]; Medico-Dental Bldg. Co. v. Horton &Converse {1942) 21
12
      Cal. 2d 411, 433 ["a breach of contractual right in a trivial or inappreciable respect will not justify
13
      rescission of the agreement by the party entitled to the benefit in question"].) "Permitting
14
      landlords...with superior bargaining power to forfeit leases based on minor or trivial breaches
1S
      would allow them to strategically circumvent LARSD's `good cause' eviction requirements and
lb    disguise pretext evictions under the cloak of contract provisions."(Boston, supra, 245 Cal.App.4th
17    at p. 85.)"
18          (44) "`It is quite true that the payment of the rent in accordance with the terms of the lease
     ~ is one of the essential obligations of the lessee, and the failure of the lessee to properly discharge

20     this obligation is a legal cause for dissolving the lease. Sut this presupposes that the lessor is
      desirous and willing that the lessee should pay his rent promptly, and will facilitate and not hinder
21
      him in doing so; that the lessor is not endeavoring merely to entrap his lessee into a technical
22
      breach of the lease.' [Citation.]" (Strom, supra, 88 Ca1.App.2d at p. $1.)" ["Citation"] Bawa v.
23
      Terhune, JAD 19-01 (Cal. Ct. App. 2019)(Precedential)."
24
                    xi.   Mr. Perry Paid His Rent On January,2,2020 And Was Not In
25
                          Default And When Landlord Withheld Rent Payment In Bad
2b                        Faith To Initiate Unlawful Detainer:
27
28
                                                        1p

                                                                                  000049
  1          (45) "[E]ven though a tenant defaults in the payment of rent, equity will not countenance
  2   forfeiture of a lease when the default is both de minimis and the product of the landlord's
      unreasonable refusal to accept rent."....
  3
            (46) "Thus, when a landlord refuses to accept rent that is one penny short of the required
  4
      amount, without any legitimate intent other than to manufacture a default in order to evict a tenant,
  5
      a tenant may assert the landlord's bad faith as an unlawful detainer defense. (Strom, supra, 88
  6
      Ca1.App.2d. at pp. 82=$3; see Nork v. Pacific Coast Medical Enterprises, Inc.(1977) 73 Cal. App.
  7   3d 410, 414 ["equitable defenses which can be used in an unlawful detainer action relate to
  8   improper acts on the part of the landlord such as: refusal to accept timely payment of rent"]; North
  9   7th Street Associates v. Constante (2001) 92 Cal.App.4th Supp. 9, 10-1 I ["[dJefenses available in
 10   unlawfiil detainer are limited to those which, if proven, would maintain the defendant's right to
 11   possession," including "refusa,i of the landlord to accept tender of rent"]; Randal v. Tatum (1893}
      98 Cal. 390, 396 [a landlord's refusal to accept a tenant's timely tender of rent is affirmative
 12
      defense to unlawfiil detainer based notice to pay or quit].) "Frustration of purpose [of a lease] is
 13
      [also] a legitimate defense to an unlawful detainer action which, if established, results in the
 14
      tenant's retention of the premises. [Citations.]" (Underwood v. Corsino (2005) 133 Cal. App. 4th
 15
     132, 135-136.)["Citation"] Bawa v. Terhune, JA.D19-01 (Cal. Ct. App. 2019)(Precedential)."
 16
               xii. Landlord Accented All of Mr.Perry's Rent Payments And
 17
                      Waiver Forfeiture of The Lease Agreement:
 18
           (47) EDC Associates LTD v. Gutierrez, 153 Cal.App.3d 167 (1984), 204 Cal. Rptr. 333
 19
    (F002869). Decided: March 16, 1984: "It is a general rule that the right of a lessor to dectare a
 20 forfeiture of the lease axising from some breach by the lessee is waived when the lessor, with
 21   knowledge of the breach, accepts the rent specified in the lease. (Bedford Investment Co. v. Folb
 22 (1947) 79 Cal.App.2d 363, 36b, 180 P.2d 361.) While waiver is a ques#ion of intent, the cases have
      required some positive evidence of rejection on the landlord's part or a specific reservation of rights in
 23
      the lease to overcome the presumption that tender and acceptance ofrent creates."
 24
 25
 26
 27
 28
                                                         11
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      1                xiii.   Landlflrd Retaliated Against Mr. Perry's After He Complaint
                               Thev Illegally Towed His 2007 Range Rover, After He Paid $50
.~    2                        For__Carport #410, When Mr. Perry Was Away On A Disability
      3                        Retreat In Israel:

      4            {48)    Reta.iiatary Rent Increase and Eviction, Cal. Civ. Code § 1942.5. A landlord has a
      5     retaliatory motive if the landlord seeks to evict the tenant (or takes other retaliatory action) within six

      6     months after the tenant has exercised any of the tenant rights. [Kriz v. Taylor, 92 Cal. App. 3d 302,
            1979),154 Cal. Rptr. 824.]
      7
                  (49)     CCP §1942.5(a): "If the lessox retaliates against the lessee because of the exercise by the
      8
            lessee of his or her rights under this chapter or because of his complaint..., and if the lessee of a
      9
            dwelling is not in default as to the payment of his or her rent, the lessor rzzay not recover possession of a
     10     dwelling in any action or proceeding, cause the lessee to quit involuntarily, increase the rent, or
     I1     decrease any services within 180 days..."

     ]2           (50)     CCP§1942.5(d):"Notwithstanding subdivision (a), it is unlawful far a lessor to increase
            rent, decrease services, cause a lessee to quit involuntarily, bring an action to recover possession, or
     13
            threaten to da any of those acts, for the purpose of retaliating against the lessee because he or she has
     14
            lawfully...has lawfully and peaceably exercised any rights under the law. In az~► action brought by or
     15
            against the lessee pursuant to this subdivision, the lessee shall bear the burden of producing evidence
     16     that the lessor's conduct was, in fact, retaliatory."
     17
                   xiv.    As Plaintiff Onlv Served Defendant Four Months Retroactive Three-
     18                    Day Notice To Pay or Quite Instead of 60 Dav, Possession Is No
                           Loner An Issue And The Cross-Complaint Is Prover When
     19
                           Landlord Is Not Entitled To A Judgment Of Possession After Failins
     20                    To Properly Serve Tenant With A Valid 60 Days Notice To Terminate
                           Pursuant To CCP.&~194b.1, 1946.5:
     21

     2z ,          (51)    Defendant, Mr. Perry month to month tenant lived on the premises for over 3 '/Z years
            entitled to 60 days notice. Mr. Perry. paid all his rent, and he did not fail to pay rent pursuant to the
     23
            terms of the lease, as required to establish an unlawful detainer based on 60 days notice, not a 3-day
     24
            notice for a month to month tenant for nonpayrr~ent of rent based on CCP.§§1946.1, 1946.5 and
     25
            1161(2).
     26            (52)    A tenant mYist be properly served witli a valid notice to terminate before a landlord
     27 is entitled to a judgment of possession. The landlord must allege and prove proper service of the

     28 ~ ~ notice before you can issue such a judgment. [See Leibovich v Shahrokhklaanv (1997) 5G CA4th
                                                                    12

                                                                                             000051
            511, 513.] If the tenant contests the fact of service, the landlord must show compliance with one of
       2    the statutory methods of service by offering testimony of the person who made the service, rather
            than an affidavit—unless the service was made by a sheriff, marshal,or registered process server.
-"     3
           [56 CA4th at 513-514; EC §647; GC §§26662, 71265.]
       4
                  (53)      §31.2 California Judges Benchguide 31-6. JUDICIAL TIP: When possession is no
       5
            longer at issue, and the case becomes a regular civil action, the defendant is relieved fram the
       6    prohibition against cross complaints and other relief. The best practice is to continue the case for
       7    at least 30 days to a case management conference, allowing both sides to amend their pleadings if
       8    desired.
                          xv.   Mr. Perry Exercised His Rights In Requesting The Sewer
                                Accounting Based 4n The Utilities Addendum RUBS Formula:
      10
                  (54)      Mr. Perry's motion to strike comes under the anti-SLAPP (strategic lawsuit against
      11
            public participation) statute. (Code Civ. Proc., §425.16.) He contends that although the acts on which
      12    the bogus cause of action of filing the unlawful detainer was filed, they may constitute activity
      13    protected by the statute. But Mr. Perry also contends that he exercised his rights in requesting the
      14    sewer accounting based on the Utilities Addendum RUBS formula, and the actions of the landlord were
      IS    merely incidental to the unlawful detainer cause of action because of the retaliation against Mr. Perry.
           [Wallace v. McCubbin, 196 Ca1.App.4th 1X69(2011), 128 Ca1.Rptr.3d 205].
      16
      17           xvi.     Mr. Perry Served Form Interrogatories, Special Interrogatories,
                            Request For Admission On January 16, 2020, And Request For
      18
                            Production Of Documents And Thins Was Served on Januarys 20
      19                    2020. Plaintiff Responses on January 30, 2020 Were Late, Boiler
                            Plate" Objections And Patently Inadequate And Evasive:
      20
                  (55)      Mr. Perry's discovery was timely served the Form interrogatories, special
      21
            interrogatories, request for admission on January X 6, 2020, and and request for production of
      22
            documents and things was served on Januarys 20, 2020. [Korea Data 10 Systems Co. v. Superior Court
      23
           (1997)51 Ca1.App.4th 1513, 1516] noted that owr courts "recognize the use of"boiler plate" objections
      24    as were provided in this case may be sanctionable ...."
      25
                                            THIRD AFFIRMATIVE DEFENSE
      26                                             (Estoppel}
     27            This answering defendant is informed and believes and thereupon alleges that Plaintiffs
     28     have engaged in conduct and activities, and by reason of said activities and conduct are estopped
                                                               13
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 1   firom asserting any claims for damages or seeking any other relief against this answering
2    Defendant.
                                  FOURTH AFFIRMATIVE DEFENSE
3
                                           (Caches)
4
            Defendant is informed and believes and thereon alleges that Plaintiff has delayed far an
 5   unreasonable period of time in asserting their claims against the Defendant, by waiting 4 months to
6    apply a retroactive rent increase of $92 without providing defendant notice of any of the rent
7    increase. Therefore, Plaintiffs claims or demands for relief against Defendant are barred under the
 8   Doctrine of laches.

9                                   FIFTH AFFIRMATIVE DEFENSE
                                      (Failure to Mitigate Damages)
10
            Defendant is informed and believes and thereon alleges that each alleged claim or demand
11
     fox relief against Defendant is barred under the Doctrine of Unclean Hands.(Failure to Mitigate
12   Damages). To the extent Plaintiff was damages as alleged in his complaint, Plaintiffs was due to
13   Plaintiffs failure to act reasonably to mitigate his damages.
14
                                SEVENTH AFFIRMATIVE DEFENSE
15      (Defendant's Privilege A.i~d The Right ofFreedom Of Speech And The Right To Petition The
                               Government For The Redress of Grievances)
16
            Defendant was privileged to do any act which was done because he was given consent in the
17
     rental agreement of August 9, 2016 which was deemed renewed by operation of law pursuant to
18
     CCP.§§1946.1, J.946.5 and 1161(2), and to seek sewer charges based on the RUBS formula, which
19
     landlord failed to provide for over 1 %z years, and for defendant's pre-lawsuit letter of 08/30/2019,
20
     for the loss of this 2007 Range Rover caused by the illegal towing of the landlord on 07/27/2019
21   after Mr. Perry paid $50 for a carport # 410.
22                                 EIGHTH AFFIltMATIVE DEFENSE
                                        (Consent of Plaintiff
23
            Plaintiff consented to all 'acts which were done by Defendant, as consented in the rental
24
     agreement of August 9, 2016, which was deemed renewed by operation of law pursuant to
25
     CCP.§§1946.1, 1946.5 and 1161(2).
26
27
28
                                                       14

                                                                                000053
     1                                    NINTH AFFIRMATIVE DEFENSE
                                             (Active Fault of Plaintiff
.    2
                Defendant is informed and believes and thereon alleges that Plaintiff if it is held liable for
'    3
         any damages caused to Plaintiff was negligent and otherwise actively at fault, and that Plaintiff is
     4
         liable to Defendant for any damages by the Plaintiff illegal towing loss of Defendant's 2007 Range
     5
         Rover due Plaintiff's maliciousness, which diminish Plaintiffs damages in proportion to the degree
     6   of fault attributable to Plaintiff.
     7                                           TENTH DEFENSE
                                                 (Full Performance)
     8
                Defendant has fully performed all obligations required of it pursuant to the terms and
     9
         conditions of any obligations existing between the parties as sued upon by Plaintiff in his
    10
         Complaint as consented in the rental agreement of August 9, 2Q16.
    11
    12                              ELEVENTH AFFIRMATIVE DEFENSE
                     (Set off and Abated Rent Excessive Rent Increase Pursuant to the Rental
    13               Agreement of August 9, 2016 As Noted In Paragraph 32 and 57 Inclusive,
                        And Decreased Utilities Allowances and Inflated Sewer Charges)
    14
                Defendant is informed and believes and thereon alleges that it is entitled to set off from
    15
         Plaintiff breach of contract for refusal to install security lighting, have security guards around the
    16
         premises or have security camera against any damages arising from the claims of Plaintiff as set
    17
         forth in the Complaint.
    18                                 TWELFTH AFFIRMATIVE.DEFFNSE
    19                                          (Ratification)
    20          That the Complaint is barred by the doctrine of ratification and as consented in the rental
    21   agreement of August 9, 2016, pursuant to the HUD Affordable Housing Program Affordable
    22   Housing program and Regulations, that Defendant has been enrolled in since August 9, 2016.
    23                               THIRTEENTH AFFIRMATIVE DEFENSE
                                              (Justification)
    24
                Those any and ali actions taken by the Defendant with respect to the matters alleged by the
    25
         Plaintiff Complaint were justified, and as consented in the rental agreement of August 9, 2016.
    26
    27                           FOURTEENTH AFFIRMATIVE DEFENSE
            (Back Credit for and Lowering the HUD Utilities Allowances and Inflated Sewer Charges)
    28
                                                          15
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 1          Defendant is informed and believes and thereon alleges that it is entitled to a set oft;

 2   recoupment of rent paid for since August 9, 2017 until August 9, 2019 and after for safe premises
     (night and day} Plaintiff was promised. Defendant may seek damages in an amount according to
 3
     proof at trial against Plaintiff for any damages Plaintiff may recover pursuant to the Complaint an
 4
     file herein.
 S
 6                              Fg'T~ENTH AFFII2MATIVE DEFENSE
                                       (Unjust Enrichment)
 7
            Defendant is informed and believes, and thereon alleges, that Plaintiff is barred from any
 8
     recovery under the doctrine of unjust enrichment. The tenant wants a safe habitable dwelling and
 9   one that meets his or her financial restrictions. The landlord; on the other hand, wants to make a
10   profit from the property owned co-ovv~led and operated by ~iUD Affordable Housing program and
11   Regulations.
12                                        SIXTEENTH DEFENSE
                                           (inequitable Conduct)
13
            Defendant is informed and believes, and thereon alleges, that Plaintiff is guilty of
I4
     inequitable conduct and retaliation against the defendant, thereby barrzng Plaintiff from recovery of
15
     any damages.
16                                        SIXTEENTH DEFENSE
17                                         (Inequitable Conduct)

18          Defendant hereby reserves all defenses unknown at the time offiling this response.

19                             EIGIiTEENTH AFFIRMATIVE DEFENSE
20                                     (Breach of Contract)

21          Defendant performed all conditions and covenants required to be performed under contract
     of August 9, 2016, until further performance was excused and discharged by Plaintiff Breach of
22
     Contract, refusal to provide sewer charges based on RUBS formula, and lowering the HUD
23
     Utilities Allowances. The existence of a contract between the litigating parties is a necessary
24
     element to an action based on contract, and st matters as unlawful detainer. [Roth v. Malson, 67
25
     Ca1.App. 4th 552,557 (1998).] Landlord's breach of the rental agreement is all but related to the
26! issues here.
27          Moreover, no California decision, however, prohibits a tenant from interposing a defense
28   which directly relate to the issue of possession and which, if established, would result in the tenant
                                                      16

                                                                                 000055
      1    retention of the premises. [Fn. omitted.]" (Green v. Superior Court, supra, to Cal. 3d 6i6, 6, 633.)
      2 "These defective conditions constituted a nuisance, depriving plaintiff of the safe, healthy, and
           comfortable use ofthe premises...."
~"    3
                  Code of Civil Procedure section 731 specifically authorizes an action by any person whose
      4
           property is injuriously affected, or whose enjoyment of property is lessened by a nuisance, as the
           same is defined in Civil Code section 3479 (see also 47 Ca1.Jur.3d, Nuisances, § 59, p. 299). Civil
      C7
           Code section 3479 de#ines a nuisance as "[a]nything which is injurious to health, or is indecent or
      7    offensive to the senses, or an obstruction to the free use of property, so as to interfere with the
           comfortable enjoyment of life or property...."
      9           A complaint that alleges a contract which demonstrates the mutual intent of the part
     10    indicated by their assent to the same terms and plaintiff refusal to install security lighting, have
     11    security guards around the premises or have security camera is an indication of negligence. (See,
           e.g., Gil v. Mansano(2004} 121 Ca1.App.. 739, 743.)(Landlord False Promzses)
     12
                  Defendant alleges that landlord made oral and written promises and warranties, and
     13
           guarantees, expressed and implied, and apparent, upon which the Defendant relied and breached
     14
           the contract for nearly 10 months. See Green v. Superior Court, 517 P. 2d 1168 -Cal: Supreme
     15
           Court 1974:
     16                 "In the past, California courts have increasingly recognized the largely
     17             contractual nature of contemporary lease agreements and have frequently
                    analyzed such leases' terms pursuant to contractual principles. (See, e.g.,
     18             Medico-Dental etc. Co. v. Horton &Converse (1942} 21 Ca1.2d 411, 418-419
                    [132 P.2d 457]; Groh v. Kover's Bull Pen, Inc. (1963) 221 Cal. App.2d 611
     19             [34 Cal. Rptr. 637]. See generally Note, The California Lease-Contract or
     20             Conveyance? {1952) 4 Stan.L.Rev. 244.) Similarly, leading legal scholars in
                    the field have long stressed the propriety of a more contractually oriented
     21             analysis of lease agreements.(1 American Law of Property (Canner ed. 1952)
                    § 3.11, pp. 202-205; 2 Powell, Real Property (rev. ed. 1967)¶ 221[1], p. 179;
     221            6 Williston, Contracts(3d ed. 1962)§ 890A, pp. 592-613.) Our holding in this
     23             case reflects our belief that the application of contract principles, including the
                    mutual dependency of covenants, is particularly appropriate in dealing with
     24             residential leases of urban dwelling units."
                        These enormous factual changes in the landlord-tenant fled have been
     25             paralleled by equally dramatic changes in the prevailing legal doctrines
     26             governing commercial transactions. Whereas the traditional common law "no
                    duty to zn.aintain or repair" rule was steeped in the caveat emptor ethic of an
     27             earlier commercial era (see, e.g., Nelson v. Meyers {1928) 94 Cal. App. 6b,
                    75-76 [270 P. 719]), modern legal decisions have recognized that the
     28
                                                            17
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      1          consumer in an industrial society should be entitled to rely on the skill of the
                 supplier to assure that goods and services are of adequate duality.
~-    2               In seeking to protect the reasonable expectations of consumers, judicial
                 decisions, discarding the caveat emptor approach, have for some time implied
      3
                 a warranty of fitness and merchantability in the case of the sale of goods.(See
      4          Klein v. Duchess Sandwich Co., Ltd.(1939) 14 Ca1.2d 272, 276-~83 [93 P.Zd
                 799J; Escola v. Coca Cola Bottling Co.(1944) 24 CaI.2d 453, 461-468 [150
      5         P.2d 436](Traynor, J., concurring.) Peterson v. Lamb Rubber Co. (1960) 54
                 Ga1.2d 339, 341-348 [5 Cal. Rptr. $63, 353 P.2d X75). See generally Jaeger,
      6
                 Waz~ranties of Merchantability and Fitness far Use (1962) 16 Rutgers L.Rev.
      7         493.)
                      In recent years, moreover, California courts have increasingly recognized
      8          the applicability of this implied warranty theory to real estate transactions;
      9          prior cases have found a warxanty of fitness implied by law with respect to the
                 construction of new housing units.(See Aced v. Hobhs-Sesack Plumbing Co.
     10
                (19b1) 55 Ca1.2d 573, 582-583 [12 Cal. Rptr. 257, 360 P.2d 897]; cf Kriegler
     11          v. Eichler Homes, Inc. (1969) 269 Cal. App.2d 224, 227-229 [74 Cal. Rptr.
                749]; Avner v. Longridge Estates (1969) 272 Cal. App.2d 607, 609-615 [77
     I2
                 Cal. Rptr. 633].)[11]
     13              In most signifcant respects, the modern urban tenant is in the same
                 position as any other normal consumer of goods. (See Note, The Tenant as
     14
                Consunner (1971) 3 U.C. Davis L.Rev. 59.) Through a residential lease, a
     15         tenant seeks to purchase "housing" from his landlord for a specified period of
     16         time. The landlord "sells" housing, enjoying a much greater opporhznity,
                incentive and capacity .than a tenant to inspect and maintain the condition of
     l7         his apartment building.
     18              A tenant may reasonably expect that the product he is pwrchasing is fit for
                the purpose for which it is obtained, that is, a living unit. Moreover, since a
     19         lease contract specifies a designated period of time during which the tenant has
     20         a right to inhabit the premises, the tenant may .legitimately expect that the
                premises will be fit for such habitation for the duration of the term of the lease.
     zz         It is just such reasonable expectations of consumers which the modern
     22         "implied warranty" decisions endow with formal; legal protection.(C£ Gray v.
                Zurich Insurance Co.(1966} 65 Ca1.2d 263, 269-271 [54 Cal. Rptr. 104, 419
     23
                P.2d I68]. See generally Leff, Contract as a Thing {1970) 19 Am. U.L. Rev.
     2A~         131.)
                     Finally, an additional legal development casts significant light upon the
     25
                continued vitality of the traditional common law rule. The past half century
     26         has brought the widespread enactment of comprehensive housing codes
     27         throughout the nation; in California, the Department of Housing and
                Community Development has established detailed, statewide housing
     ~g

                                                        18

                                                                                   000057
  1               regulations (see Health & Saf. Code, § 17921; Cal. Admin. Code, tit. 25, §§
                  1000-1090}, and the Legislature has expressly authorized local entities to
  2
                  impose even more stringent regulations. (See Health & Saf. Code, § 17951.)
  3                   These comprehensive housing codes affirm that, under contemporary
                  conditions, public policy compels landlords to bear the primary responsibility
  4
                 for maintaining safe, clean and habitable housing in our state. As the Supreme
  5               Court of Wisconsin declared with respect to that state's housing code: "[T3he
  b               legislature has made a policy judgment —that it is socially (and politically)
                  desirable to impose these duties on a property owner —which has rendered
  7               the old common law rule obsolete. To follow the old rule of no implied
  8               warranty of habitability in leases would, in our opinion, be inconsistent with
                  the current legislative policy concerning housing standards."(Pines v. Perssion
  9              (1961) 14 Wis.2d 590, 596 [111 N.W.2d 409, 412-413]; see Buckner v. Azulai
 10              (1967) 251 Cal. App.2d Supp. 1013, 1015 [59 Cal. Rptr. 806, 27 A.L.R.3d
                 920].)
 11                                NINTEENTH AFFIRMATNE DEFENSE
 l2                                          (Novation)
 13           That the complaint is barred by the doctrine of Novation.
 14                               TWENTIETH AFFIRMATIVE DEFENSE
 15                                         (No Duty)
 16       (1) That Defendant owed no duty To the Plaintiff as may alleged in the complaint.
 17 (ineffective notice posting but not mailing). Defendant is informed and believes and thereon
 18    alleges that Plaintiff posted athree-day notice but did not mail it. Posting alone in the case was
       insufficient to provide notice. California has long held that service of a three-day notice by posting
 19
       alone does not comply with section 1162. (Davidson v. Ouinn (1982) 138 Cal.App.3d Supp. 9
 20
       [188 Ca1.Rptr. 421; Jordan v. Talbot (1961) 55 Ca1.2d 597 [12 Cal.Rptr. 488, 3b1 P.2d 20, 6
 21
       A.L.R.3d 161].)
 22.
             (2) The United States Supreme Court, in a recent decision, held that "merely posting
 23    notice on an apartment door does not satisfy minimum standards of due process" in an unlawful
24     detainer proceeding. {Greene v. Lindsey (1982} 456 U.S. 444 [72 L.Ed.2d 249, 102 S. Ct. 1874J.}
 25    The notice required by section 1161 must be served pursuant to section 1162. Section 1162
26 provides for service by (a) personal service to the tenant or(b) leaving a copy with some person of
                                                     or business and sending a copy by mail to his
27 "suitable age and discretion" at his residence
 28
                                                        19
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1    residence or(c)"affixing a copy in a conspicuous place on the property ...; and also sending a copy

2    through the mail addressed to the tenant at the place where the property is situated."
           (3)      This last method of service, "post and mail," was the form used by respondent in the
3
     instant case. Posting, and holds that it is insufficient to give the actual notice and opportunity to be
4
     heard required by Mullane v. Central Hanover Tr. ~o.(1950) 339 U.S. 306 [94 Ltd. 865, 70 S.Ct.
5
  652] and Shafer v. Heinter (1977) 433 U.S. 186 [53 L.Ed.2d 683, 97 S.Ct. 2569]. The problem
6
  arises when the constitutional requirement of notice set forth in Greene is applied to the statutory
7    requirement of section 1161(2), inclusive.
8          (4)      How to measure the three days' notice required by section 1161 ifthe three days does
9    not commence with posting claimed on July 18, 2012? Greene v. Lindsey (1982) 455 U.S. 444,
10   stated that posting is not notice. The question is whether the "three days' notice" required by the

11   statute is three days of actual notzce, i.e. three days which do not begin to run until notice is
     actua}.ly served upon the tenant, thus providing the tenant with three full days in which to cure the
12
     default and prevent forfeiture.
13
           (5)      The statute appears to so provide on its face and where "the meaning of the law on
14
     its face is plain and unambiguous the Court will not go behind the statute ...." (White, Sources of
15
     Legislative Intent in California (1972) 3 Pacific L.J. 63, 65; citing Kesler v. Department of Motor
16   Vehicles (1969) 1 Ca1.3d 74, 77 [Sl Ca1.Rptr. 348, 459 P.2d goo].)The statute provides nat merely
17   notice but three days in ,which to cure the default. "If payment is made by the tenant within the
18  three-day notice period, the right to possession remains in effect as if there had been no default."
19 (Briggs v. Electronic Memories, supra, 53 Ca1.App.3d at p. 905.)[138 Ca1.App.3d Supp. 13].
20                           TWENTY-FIItST AFFIRMATIVE DEFENSE
21                     (Reservation of Right to Add Additional Affirmative Defenses)

22          Defendant presently has insufficient knowledge or information on which to form a belief as

23   to whether it may have additional, as yet unstated affirmative defenses Greene addresses the
     constitutional adequacy of a form of notice; namely, available. Defendant reserves the right to
24
     inset additional affirmative defenses in the event discovery indicates they would be appropriate.
25
            WHEREFORE,Defendant prays for judgment as follows:
26
                 1. That Plaintifftake nothing by way of his Complaint against Defendant;
27               2. For reasonable attorney's fees and costs incurred herein;
28
                                                       20

                                                                                  000059
       1               3. For the cross-complaint to be litigated in 30.days an the issue of retaliation and for
                          damages for the illegal towing and loss.of defendant's 2007 Range Rover;
      2
                       4. For any such other and further relief as this court deem just and proper and
•~    3                   recoupment of excessive, unauthorized rent increase from August 9, 2017 to the
                          present;
      4
                       5. Pursuant to HUD program and regulations, for refunds and reimbursements of
      5                   utilities allowances and excessive rent payments paid for a premises that are neither
      6                   partially or totally uninhabitable.
      7                           FACTS SUPPORTING AFFIRMATIVE DEFENSES
      8            That Plaintiff must fulfill what he had promised Defendant on August 9, 2016, and stop
           harassing defendant and stop violating the duty he owes to defendant that the law imposed in the
      9
           making or performance of the contract. For protection from eviction without good cause pursuant
     10
           to HUD regulations. Government-subsidized housing, including housing projects and Section 8
     11
           voucher housing, is governed by ~-IUD regulations. [See 42 USC §§1437, 1437f; 24 CFR pts 941,
     12
           960, 964-970, 990.]
     I3            A landlord, whether a housing authority ox a private person or entity, is contractually bound
     14    to adhere to the ~-ILTD program and regulations. You should be aware an eviction involving
     15    government-subsidized housing has some procedural differences from regular unlawful detainer
     16 (UD)actions. Of special note: Tenants in federally subsidized housing in California are entitled to
     17    at least 90 days' notice before eviction when the Iandlord is dropping out of the federal program,
           even when the property is not subject to a local rent control ordinance. [Cal. Civ. Code §1954.535;
     18
           Wasatch Property Mgmt. v. Degrate (2045) 35 C4th I111, 1118, ,1121-1123.1' There are other
     19
           procedural differences:
     20
                      •   For nonpayment of rent by a public housing tenant, there is a 14-day
     2i                   notice period.
                      •   In most other cases, 30 days' notice is required.
     22               •   The tenant may be entitled to an administrative hearing before the UD
     23                   is filed.
                      •   Good cause is required for eviction in every case.
     24               •   The lessor's receipt of a housing assistance payment on behalf of the
                          tenant does not constitute a waiver.
     25               •   Drug use in. violation of azero-tolerance drug policy is grounds for
     26                   eviction under federal regulations.
     27    ~      See 24 CFR §§966.4(1), 966.50-966.57, 247.3; Save#t v Davis (1994) 29 CA4th Supp 13, 15; City of South
           San Francisco Housin LcAuth. v GuilloN (1995)41 CA4th Supp 13, 19-20.
     28
                                                                21
     Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 131 of 155 Page ID #:131      000060
 Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 132 of 155 Page ID #:132



  1             Defendant is entitled to protection from eviction. without cause. (See DeZerega v Meggs,
 2       supra, 83 CA4th at 38-43.) The failure ofthe tenant to pay rent does not ipso facto work a forfeiture
         of the leasehold; it merely gives the lessor the right to tezmznate the lease in the manner provided
 3
         by law ...' (Lamey v. Masciota (1969) 273 Ca1.App.2d 709, 714 [78 Ca1.Rptr. 344]; Briggs v.
 4
         Electronic Memories and Magnetics Corp. {1975} 53 Ca1.App.3d goo j126 Ca1.Rptr. 34].) The
  5
         essential element, therefore, is tine notice and whether or not it comports with the fundamental
 6
         requirements ofthe law and rules of contract.
  7
                                    Defendant's Request To Take Judicial Notice
 8
                Defendant request for the Court to Take Judicial Notice in the aforementioned action of
 9
         exhibits submitted, as well controverted facts as plaintiff did not appear at the demurrer hearing or
10
         filed an opposition, thereby waiving their right to oppose all that said in the demurrer.
11

12                                                    Conclusion
13              Fox the foregoing reasons, defendant is entitled for the Court to reconsider the order
14       overruling the demuzxer/motion to strike, and enter judgment for the Defendant and order a

15       declaratozy, injunctive and equitable relief and Defendant is entitled to retain possession of the
         premises (not to be vacated from the premises} and a fair retroactive set-off and abetzxzent of
16
         unauthorized rent increases and utilities allowance decrease, and infla#ing of sewer charges from
17
         August 9, 2016 to present, pursuant to the lease agreement of august 9, 2016, for the defendant and
18
         against the plaintiff.
19~
                                                 Verification
za ~            T am the Defendant in the aforementioned action. I have read the foregoing Defendant's

21       ans~rer Response to the Unlawful Detainer and knows all the facts are stated in answer I know

22       them to be true. The same is true of my own knowledge, except as to those matters that are therein
         stated on information and belief, and concerning those matters, I believe it to be true. I declare
23 I
         under penalty of perjuzy under the Laws of the .State of California that the foregoing is true and
24'
         correct.
25
                Respectfully submitted,
26              DATED: February 25,2020
27                                                                                    r
2~ f I                                                                   'Michael(Morrie) P~[. Yerr,~m
                                                                                            d    [
                                                           ~2

                                                                                      000061
. 1                                  Declaration of MichaelSMoshe)Perry
  2          I am the Defendant, Moshe Perry ("Mr. Perry"), will and hereby declare as follows: Y have read
      the foregoing as to the .defendant's demurrer and motion to strike Unlawful Detainer summons and
  3
      conaplaitnt on January 3l, 2020, defendant's his oral motion to quash for failure to show proper service
  4
      of summons and complaint; (after Unlawful Detainer case -was already removed to the United States
  5
      Distxzct Court on February 6,2020, when possession was no longer an issue).
  6           The proof of substitute service dated 1/10/2020, and the proof of personal sezvice dated
  7   02/25/2020 are false and misleading, and was filed late with the court after rulings on the demurrer and
  8   motion to strike service and oral motion to quash service made an January 31, 2020, was late arzd was
      not returned or amended, and it was served late with the cotut and the defendant on 02/11/2020. See
  9
      exhibits 3-4).
 10
             All the orders issued on Febzuazy 7, 2020, after the removal to the district court on February 6,
 11
      2020 are void as matter of removal and aze not voidable or capable of being reinstated. The court had
 12   no authority to issue any orders on February 7, 2020, or striking and dismissing defendant's cross-
 13   complaint. As matter of removal, the order ofFebruary 7, 2020, denying defendant's motion to compel
 14   discovery are also void. The request for default judgment znay he taken while the case was removed,
 IS   arxd remanded to the superzor court. (Code Civ. Proc., §430.90, subd. (a)(2) [providing 30 days to
      respond to the complaint upon remand after removal].)"
 16
             The defendant's cross-complaint, and defendant's motion to compel from plaintiffs inadequate
 17
      responses/the content of a discovery responses, the inadequate responses to the request for admission,
 18   the form and special intexrogatories, and the plaintiffs inadequate responses to such a request for
 19   admission, and production of documents are still pending the remand from the district court.
 20          I declare under penalty of perjury under the laws of the state of California that the foregoing is
 21   true and correct and that this declaration was executed this 25`h day of February, 2020, at West Hills,
      California.
 22
             Executed: February 25, 2020
 23
 24                                                                                                         e
 25
 26
 27
 28
                                                         23
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      Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 134 of 155 Page ID #:134



                                                  Proof of Service

-.    2           STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

      3           I am over l 8 years of age and am not a party to the within action or proceeding. My address is
           58I 5 Donna Ave. Tarzana Ave. CA 9135b.
      4           On February 25, 2020, I served the foregoing documents described as: DEFENDANT'S
      5    ANSWER,on the interested party in this action.
                By placing ❑the originals a true copy thereof enclosed in a sealed envelope
      6    Addressed as follows:
      7    Hollenbeck &Cardoso LLP.
           7755 Center Ave. Suite 1100
      8    Huntington. Beach, CA,42647
           O/B: NP Parc Chateaux, LLC.
      9

     10    ~(BY MAIL)as follows:
           I am "readily familiar" with the firm's practzce of collection az~d processing correspondence for mailing.
     11    Under that practice, it woutd be deposified with the United States Postal Service on that same day with
     12    postage thereon fully prepaid at Tazzana, California, in the ordinary course of business. I am aware that
           on motion of party served, service is presumed invalid if postal cancellation date or postage meter date
     13    zs more than one(1)day after date of deposit for trailing in affidavit.
     14    ❑(BY FACSIMILE)I caused to be transmitted to the facsimile numbers)above a true and correct
           copy of the document.
     l5       (BY EMAIL)I caused #o be transmitted to the email( s) mentioned above a true and correct copy of
     16    the document.
             (PERSONAL SERVICE)I delivered such envelope by hand to the offices of the addressee.
     17       (STATE) T declare under penalty of perjury under the Laws of the State of California that tine
           foregoing is true and correct.
     18
                  Executed on February 25, 2020, at Tarzana, California,
     19;

     24

     21

     22

     23

     24

     25

     26

     27

     28
                                                              24

                                                                                           000063
  7  TANIA K. CARQOS4,S8N 244473
     HOLLEPiBECK & CARDOSO, LLP
  2 7755 Gertter Avenue, Sure 1100
     Hvrrtingtan Beach, CA 92847
  3 (562)912-7712
    (562)912-7 28 facsimile
  4
        ATTORNEY FOR PLAINTIFF
  5
 6
  7
 8                               SUPERIOR COURT OF CALlFORNlA
  9        COUNTY OF LOS ANGELES, CHATSWORTH COURTHOUSE —NORTH VALLEY
                                      DISTRICT
10
11
72      NP PARC CHATEAUX, PLC,                     Case No.: ZQCHUDOOQ33
13                Pfairrt~ff,                      EX PARTS APPLICATION TO
                                                   REINSTATE THE COURTS RULING OF
              vs.                                  FEBRUARY 7, 2020; PROPOSED
14
                                                   ORDER
15
        MOSHE PERRY, DOES 1 through 1d             Date: Februs~ry 26, 2020
1s      Inclusive                                  Time: F44
                     Defendant                     Dept: 8:30 a.m.
z~
18 ,
19 '
20
21
22
              To Defendant(s), MOSHE PERRY, and to his attomay of record, if any:
23 j~         PLEASE TAKE NOTICE that on February 26, 2020, at 8:30 a.m., or as soon
24
        thereafter as the matter may be heard in Departrnent F44 ofi the above enticed court
25 I
        located at 9425 PENFfELD AVENUE, CHATSWORTH, CA 9131 , Plaintiff, NP PARC~
26
        CHATEAUX, LLC (hereinafter uPlaintitP'), by and through its counse{, HOLLENBECK &~
27
        CARDOSO, LLP, will and does hereby make application to this Court to reinstate the;
28
                                                1
                       EX PARTS AP              OR ORDER SHORTENING TIME
                                                                           000064
Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 135 of 155 Page ID #:135
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    7   Court's ruing of February 7, 2020, immedia~efy at the time this Application is made.
    2         This Motion will be based on the attached Memorandum of Points and Authori#ies
    3   and Declaration of Tania K. Cardoso, al! pleadings, records and files in this action, and
    4   on such other ora! and documentary evidence as may be produced at the hearing

    5   thereon.                                             ~,-         ,
    6   Dated: February 24, 2020                 HOLLENBECbC~& CARdOSO, LLP
                                                          ~'



                                                       By: fianta A       so
                                                       Att
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                              ,~                                       ~.
  1                                      STATEMENT OF FACTS,
  2           On or abouf A~Qusf 9, 2016,E Plainf~fl` and Defendant entered into a six monthl
  3    lease agreement fnr the premises looted at 24979 Constitution Avenue #225,
  4   Stevenson Ranch, CA 97381.             Said agreement called for. rerYi in the amaurrt ofd
  5   $1,556.00 to be paid on the fi3rst day of every month. Rent was thereafter increased to
 6    $7 ,740.00 ~e~ctive September 7, 2019. Defendant failed to tender the full rent for the.
  7    months of September, October, November, and December 2019 in the amount of
  8   $368.40. De#endant was served with a Noce to Pay Rent or Quit on December 3, 2019.;
 9     Defendarrt faafed to comply with said notice during the notice period by either paying the
 1a   rent or vacating.
 11           Piaintt~' ffied an unlawful detafiner action against.Defendant on January 9, 2020
 12   based upon_the Natice to Psy Rent or Quit. Defendant was personally served with said
 13   unlawfvt detstiner on January 10, 2020. Defendant then flied a Demurner with Motion to
 14   Stn'ke on January 16, 2020 and Cross-Complaint, which is inappropriate in the unlawful
15 j detainer setting. The Demurrer was overruled on January 31, 2020 at that hearing
'16   Defendarrt's ~ moiton t~ c~rrtpel discovery r~por~ses was set for Febn~ary 7, 2020.
17    Plaintiff futi~rer flied an ex parts motion to strike the cross complaint fior the same day.
18           On February 7, 2020 Plaintiff app~red and argued before the court the motion fio~
19    strike and the motion to compel. De#endartt did not appear. The Court made Plaintiffs
20    counsel aware of a filing called "Defendant's Warnant for Pefitlon for Removal to Federal
27    Court,A after argumerrt the Court denied said Warrant for Pe~fion.
22           On or about February 12, 2020 Plaintrff received in the mail nonce of a federal
23    removal filed by Defendant. on February 8, 2020. The Califiomia Central U.S. District
24    Court riiriartd'ed ~lte e~~el~adc tc~fhis Court on February Z8, 2020. Defendarrt did not file
25    a notice of stray with the courE, therefore nat perfecting his stay.
26                                                w this case so as not to inadvertently I,
             However, Plaintiff has not pra~eeded with
27    violate a federal stay. P}aintif~ has not received re►Tt from the Defendant and possession ~
28    is still ai issue fn this case. Pia€ntfiff wishes to proceed wittz the Unlawful Detainer action.
                                                    3
                       EX PARTS APPLICATfON FOR ORDER SHORTENfNG T[ME
 Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 137 of 155 Page ID #:137 000066
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                                                                                                         i

         i~
     1 ~~                                     POINTS~ND_AtJ_THIIBL'LJ~
         I                          ~. THERE ARE S~"R[GT TIME LIMITES SET FOR
         ;,                                UNLAWFUL DETAINER ACTIONS
    3                The California L~gisiattate enacted the Unlawful Detainer Statues in order to
    4         provide an adequate, expeditious and summary procedure for redeeming possession of
    5         real property unlawfully withheld by a tenant. .De I.a Vary v, M~ni~~al_~ouci-af-Los'
    6         Angefe~(1879)98 CalApp. 3d 638.
     7               For this reason, the Mme within which to `espond to an unlawful detainer is five (5)
     8        days rather than the thirty (30) days of a general civil action (CCP §1'i67.3}, the time tol
     9        set a Motion to Quash Service of Summons Is three (3) to seven (7) days after serving
    10' notice (CCP §1187.4), and a Motion for Summary Judgment may be heard upon five (5)

    1~        days na~ce(CCP §1170.7).
    12               Based on the legislative in~en#, and the summary nature of an Unlawful Detainer it
    ~3        is requested that DefendartYs Cross-Complaint be stricken immediately so as not to
    ~4        interfere w'~th the remaining litigation.
    15
    16                                I1, THE COURT NIAY ORQER A S~fORTER
                                          TIME THAN PRESCRIBED BY CODE
    ~7               Although a hearing on a Mofion for New Trial must be set a least 2~ calendar
    ~8        days aftor giving a notice, plus the requisite days necessary for the method of giving
    ~ 9 ~ notice, the court may prescribe a shorter time(CCP §1005, as amended July 1, 1999).
    20 i             As discussed su       ,the good cause necessary for shortening time for the hearing;
    2~   is found in the summary intent of the Unlawful Detainer Statutes (CCP §7 005(b); CRC;
    22 j                                                                                     i
         325(b)).
    23                     IIl. THE COURT SHOULD REINSTATE THE FEBRUARY 7, 2020 COURT
                                      ORDERS GRANTING THE MOT(ON TO STRIKE CROSS-
    24                                     COMPLAINT AND DENYIIitG MOTION TO COMPEL
    25
                             On February 1, 2020 Plaintiff appeared and argued both PlainfifPs Motion,
    26 ,
         to Strike the Cross Complaint as well as Defendant's Motion to Compel. During
    27
         argument, the Court advised PfaintiPPs counsel that Defendant had filed something
    28                                                                                    r
                                                      4
                                EX PARTS APPLICATION FOR ORDER SHORT~NI~~~~~
  1          called "DefiendanYs V1lan~aM for PetPtlon for Removal to Federal Court," after argument
 2           the Court denied said Warrant for Petition.
        I~
 3           The Court considered the argument, read the moving papers and ruled as foElows:
 4              • Defendarrt's Motion io Compel denied.
 5 ~            • P1air~#iff's Motion to SUike-Cross-Complaint granted,
 6              • Defendants Warrsrrt for Petition for Removat to Federal Court denied.
 7                   On February 17, 2020 P(sintiff prepared a notice of Hating an the above, mailed
 8 the nonce of ruling and uploaded it.                                                      ,
 9         On or about February 12, 202Q P(aintiffi received :n the mail nofice of a federal;
10 ~ remove! filed by Defendarrt on February 6, 202x. Defendant did not file a notice of stay;
11           with the curt, ther~ore not perfecfing his stay. The CafffomIa Central U.S. District;
72           Court remanded the teas back to this Court on February 18, 2020.                                         i
13                  However, Piaint~ff tree not prot~ded with this case so as not to inadvertently
14           violate a federal stay.
                    !Neither Pisirtt~ff nor the Court acted in any manner but goad faith when arguing
1~
             and ruting on the February 7, 2020 matters before the curt. However in the interests of
16
             justice, the Plaintiff` now requests that the court reaffirm or reinstate the orders described
77
             above !n order for Plairttrff to further prosercrte ifs case.
18
                                                     COI~CLUStON                                                  ~
79 ,~
                    For the foregoing reasons it is respectfully reQuest~ed that this Court reinstate its
20
             February 7, 2020 orders.
21
22
             Dated: February 24, 2020                            Respectf[~lly submitted
23
                                                               H~LLE ~ ~      K    C       QSQ,
                                                                                             ,,, C.LP
24                                                             !
2~ c
26
                                                                8y: T    K. Ca oso                            ~
27                                                              Attvmeys
28
                                                           5
                                  PARTS APPLICAT(
                                                                                                        1 i
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         ~                                                                                                 i
    1                               bECLARAT~ON OF TANtA K. CARDOSQ
    2
    3        1, Tanla K. Cardoso, do hereby declare and state as follows:
    4              1.     That 1 am a partner with the law firm of Hoilenbeck &Cardoso, LLP,
    5                     attorneys for the Plaintiff in the above matbe~ and am duly admitted to
    6                     practice law in the Superior Court for the State of California. That the facts
    7                     contained herein are within my personal knowledge, and if called upon to~
    8                     testify thereto I can competently do so.
    9              2.     There is good cause for granting the Motion on an Ex Parte basis because
   10                     Possession is still at issue in this case.
   11              3.     On February 7, 2020 my partner, Linda Hollenbeck appeared before this
   12                     court on Plaintrff's ex pane motion to strike Defendant's Cross Complaint
   13                     and Defendar~Ys Motion to Compel. Defendant did not appear at the
   14                     hearing, however the Court heard argument and ruled accordingly. During
   15                     that hearing, the Court notfied Ms. Hoflenbeck that Defendant filed a
    16                    Vlfarrant for Petition for Removal to Federal Court. it did not appear a~
   17                     notice of stay was filed but'some sort of request for the court to remove the
   18 ~                   case to f~deraf court sua sponfe. The Court subsequently denied the
    ~9                    warrant for petition for ~emova! to federal court.
   20              4.     On February 11, 2020 1 personally prepared the Notice of Ruling, mailed it1
   27                     to the Defendant and uploaded it with the court. A true and correct copy of
   22 i                   the remand order is attached hereto as Exhibit A.
   23               5.    On ar about February 12, 2020 l received in the mail notice of a federal
   24                     r~mova( filed by Defendant on February 6, 2020. Defendant did not file a
   25                      n~tfce of stay with the court, therefore not perfecting the stay.
   26               8•    The California Central U.S. Oistr~ct Court remanded the case back to this
   27                      Court on February 78, 2020. A true and correct copy of the remand order fs
   28 I                   attached hereto as Exhibit B.
                                                       1
                                       DECl1~1RATlON OF TANIA K. CARDOSO
                                                                                 O O O O~.7
                                                                  ~.
  1          7.     However, Plaintiff has not proceeded with this case so as not io
  2                 inadvertently violate a federal stay.
 3           8.     Neither Piaintif~ nor the Court acted in any manner bu# good faitfi when
 4                  arguing and rccling on the February 7, 2020 matters before the court.
 5                  However in the interests of justice, the Plaintiff now guests that the court
 6                  reaffirm or reinstate the orders described above in order for Plaintiff to
                    further prosecute fts case.
 7 i
             9.     The Defendant is stif! in possessian of the premises and my client is losing
 8
                    money every day.       My client is seeking to regain possession o~ the
 a
                    premises. Ther~efiore, there is good cause for this motion to be heard on an~
10                                                                                               i
'f9                 ~x paAe basis.
                                                                                                    i
             i declare under penaEty of perjury under the (aw of the State of California that the
12
       foregoing is true and ~rorrect and that this declaration wa~Ex~~,on February 24,E
13
14     2020 at Huntington Beach, Califomia.
'
!5
16                                                     Tan    . Cardalso
17
18 ~
19
2Q
21
22
23
24
25
26
27
28
                                               2
                                         TION OF TAN(A K. CA
                                                                               ~~I~I~I~~~~
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Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 142 of 155 Page ID #:142




      j -inu~ t. ~iollen~ec{c, 584 't45048
         i E "~2^~~ iC. ~3CdOS~, SSN 244.473
     ;~~ ~:C~.~~~?EC4C & C~RDOS4, LAP
       ~'?3~ ~e:^ter Avenue, Ste. 't 1~4
     ; 1 H~:T~~~.,^t~?~ Beach, CA 9264?
         f~Q2~ ~~ 2-77'12
   i I i ~~32; ~'2-~'72~ ~'ax
          ~ afi~r~:e~y `~r Piainzr~
         ~,

      ;~ `                                                    i
       ;~ ,                SvaER}4R COURT ~~ Ti~E STATE OF CAS FQRN~A
          ;
     "          ~C~~iiY 0~ ~.4S ANGELES, ~HATSWORTH COURTHOUSE --NORTH VALLEY
    a ~_
                                                     DtSTRfCT
   ., `!
  .V
        ~1                            ~


                                                                Case No.: 20GHllDa0D33
   1 I I i~P PARC CHATEAUX, LLC,
  12 ~i
                                                                NOTICE OF RULING
                          P]arntrFf,
  ,~ :~                                                         Date: February 7, 2020
       f rvS.                                                   Time: 8:30 AM
   A /   !

   ``' : r                                                      Dept: F44
           fV1iSE-i~ BERRY, and Does 1 to 'i Q inclusive,
  .~~ ; ;
  .
       ~,
   -~ ;                               Qefendant(s)
      ,;
   y7    ~ .



                   ~'`_=ASE TAKE N4T10E that Defendant`s Motion to Compel and Ptair~t~fPs cx Pane
  :e ~ ~
  to : ,;~~;'cat`~r to Stri~c~ ~efe~darit's Grass-Corr~p~aint was heard on ~ehruary 7, 2020, at 8:3G
      :;
  a;, ; ~ ~I~Y~, i:~ wept. r=-a4 of~ the CHATSWOR'rE-i COURTHOUSE before JUDGE TR1CiA
      ~i
                                                                                 Farther, the Court
  `` !i ~QY~-G~. The Court DEi~iED Defend~r~s Mo#ion to Compel,
   Z2 ~' r
                .ED Plaintiff's Ex Parts Application io Strike Defendant's Cross-CampEaint. The
          f GRAN-r
   ?3 ; i
         :; Cc~sr also DENIED pefendant's Warrant for Peti~an far Removal to ~'ederai Court.
   ~a
          ;;
   2$ ! i
          i~


                                                                        L~            R      ,L
   z7 ; i                                                            BY: TAN[A K. CAR~aSO, ESQ.
      ~~                                                             ATTORNEY FOR PlJa1NTlFF
   za !
          jf                                                1
          ;~
          ~;                                     NOTIGE C1F RULliVG
         .,
          ii
                                                                                         __. . _ ~~:11
                                                PRQo_Eo~ s~RytCE
              ~, TAN1A K. CARDOSO, declare
   Z
                     l am, and was at the time of service of the papers herein refierred to, over the age
   3          of eighteen (18) years, and not a party to the within action. tam employed in the Counr,~
   4          of Orange, Califom3a, in which county the within mentionetf mai6ing oxurred. My
              Business address is 7755 CENTER AVENUE,SUITE 110Q HUNTINGTON BEACH, CA
   5          52647.
   6          v-~ i-e~ruaty "'~ , 2020, 1 served the following document(s):
   7 ~a~ice of Ruling
   8
             o- :*~e To~lowing parties:
   ;..~ t~ --:,
  nv
             ~_ c~: yet(Moshe Parry
        ;: 2s?~~ ~lan~++~r~ Streot #282
: 'r,'
;
  i~ :
    ~.
 ~L
 ~; ~
         s~                  jBY PERSONAL DELIVERI~ L delivered in hand to the place w!iere tie
                             property is sitt~atec~. !declare under penalty of pet~'ury that the foregoing
         ii                  is true and correct and if called as a witness couEd testrfy compfe#efy.
 ~~
        'i                   (BY MA(L)! ple~Ced e~ Vu~ Ond cor'r~ct copy of tho ciocumont(s) in s
 ~ ~ ~ ~'X
      !!                     sealed envelope addressed as follows and 1 caused the.envelope to be
 ~t g ~~                     deposited in the mai! at Huntington Bead, Caiffomis. The envelope was
       ~~                    massed wifh postage thereon fui(y prepaid.
.~
~ ~ '~                       (HY FACSIMILE) 1 transmitted the documents by facsimile machine
                             (from telephone number: {562)912-77'€2, to each person (fisted in the
                              a~ove service list. The transmissions) were reported as complete and
 iy i
     ~                        w~~~out error. A copy of +he transmission report Is attached to this Proaf
    ?,                        o* Se-vice. T,^.is ~ransrr.ission report was properly issued by the        j
        =j                   transmitting fa~sir~ile machine.
2~
                             ~3Y QVER~tGHT MAaL~ ; placed a it e aid correct copy of the
:~                           Q~cumert(s~ ;r. a sealed envefop~ addressed as follows ana I caused tnE
                             e:~veiope to ~e deposited with LISPS at Huntington Beach; California.
1~
24                  i declare under penally of penury under the laws of the State of Ca(Ifornia that the
        'Or'rgfling fa true arsd correct.
~~3
              cxecc~~ted on Feb~usry 7 Z, 2020, at Huntington Beach, C~fornia.
2~
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'
                                                                TANIA K. CARD SO, E5Q.
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Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 143 of 155 Page ID #:143    000072
Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 144 of 155 Page ID #:144

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                                                                                              Chief Bepury of Operations
       Di~rict Court Exautive !Clerk of Coto!
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                                                     Fe~.uary I9, 2020


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      Re: Case Nt:rnber: —__?•?fin 1 ~~7-nSF—SK
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          CasE dame:        u? P rr Chateawc T i C c' oche ~v

      i7ear Sir/~Viadara:

            Pursuant m this Court's ORDER OF REMA'.~ID sssLed as             2/l 8/2x20       , the aca~~e—referenced
      case is hereby ~,ad~d to your jurisdiction.
             Attacbet3 is a cextrfied ropy of the ORDER OF RE?VlAiv~ and a Dopy of tht docket sheet from this Court.
            Flc~se eckaowl~dge receipt ofthe above by si~S.ing :.fie erclosed copy ofthis letter and returning it to the
      loca.*ian shown below. Thank you for your cooperation.
      United States Courthouse
      255 East TerrrFIe SLrect, Suiu TS-134
      i,os Aagel~s. CA 9dOt2


                                                                     RespertfuIly,

                                                                     Cleric. Z;.S. District Court
                                                                     ~Y: r           .
                                                                         ~epuzy Clerk
                                                                         (Jenny_i.ar.1Ccacd.uscourts.gov)
      Enc•la.
      cc: Counsel of'reror~

      Receipt is ~owltdged o`:he doc~.i~e~;s descriced above.



                                                                     Clerk, Superior Court

                                                                     By:,~,_..,.~...,,_
      Data                                                              Deputy Clerk
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       CV-103 (05/18}           LETTER OF TRANSMITTAL —REMAND TO SUPERIOR COURT (CIVIL}

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 ►viashe Perry et al.                                                                  pRIyER R~ REQ[JFST TO PRQCEED
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              February i2, iOZf?                                                               ~~
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              date                                                              Sieve ?::rn, T~aited Staten Magistrate Jud~te
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           Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 145 of 155 Page ID #:145                              000074
Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 146 of 155 Page ID #:146




               Linda T. Nollenbeck, Bar #145048
     'S~
     2̀~
               T~nia K. Cardoso, Bar #24.4-473
               Hoilenbeck 8~ Cardoso, LLP
     3         7755 Center Avenue, Suite 1100
               Huntington Beach, CA 92647
               Telephone: (562) 9'!2-7712
               Facsimile:(562)912-7728
     ~~,       Attorney for Plaintrff


                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA

     9~1 COUNTY OF LOS ANGELES- CHATSWORTH COURTHOUSE -NORTH VALLEY;
                                   DISTRICT
    10~                                                             i
        NP PARC CHATEAUX, 1~C                                       1
    11                     -            Case No.: 20CHUD00033

                                        ~~atn~'                 DECLARATfON OF TELEPHONIC
    ~                vs.                                        NOTICE
    73~
        MOSHE PERRY, and DOES 1 fo 10
    't4 inciusfve,                                              Date: February 26, 2020                    J
                                                            ~   Time: 8:30 AM
    15,',                               Defendant.          ~   Dept: F-44                                 4
    1      i

    1                                                                                                      ~
               (, Tania K. Cardoso, declare:                                                               '~
    18
    1                 1.      i am over the age of 18 and not a pac~y to this case. I am employed by thl
                      attorney of record for the Plairrtiff in this action. l have personaE knowledge of th~s
    2 ~
                      statements made herein. (f ca!{ed upon to testify, f would and could competently

    21~
    22~~
                      testify t~ the facts stated herein.
                      2,      On February 25, 2020 at 7:58 AM I called Defendant Moshe Perry caile~
    23~;
                       me at (747) 224-95 5, the same number he has called me from several time.
    2~                 Mr. Perry answered the phone.                                                        i

                      3.      ( informed the Defendant that we would be appearing ex parts o~
                       Wednesday, February 26, Zfl20 at 8:30 A.M, in Department F~4 of th~
                                                                                                   1
                       Chatswarth Courthouse on my Ex Parts Motion to Reinstate the February 7, 2020
    Pa
                                                            1
                                        DECLARATION OF TELEPHONIC
                                                                             NOTi~00075
                                ~                                      ~
     1           rulings immediately at the time of the ex parts motion on Wednesday. 1 stated
   2             that the courthouse was located at 9425 Penfi~id Avenue, Chatsworth CA 91311 ~
   3             and that the motion would be heard in Department F~4.
  4              4,     Mr. Perry explained to me that he had fried a new writ, l asked him if there
   5             was a stay based on the writ, he cou{d not provitle me any proof that a stay is in j
  6              place. He merely staled that the writ rt~eaRt there was a stay. f disagreed ~ witf~
  7              him. He advised ma that !was stupid because 1 had gone in to the court on'
  8              February 7, 2020 even though the case had been removed. 1 cold him that he did
  9              not advise my office or the court and that he hac ;~rrr f}ed a notice of stay with thej
                                                                                                       {
 10              court so fire judge did not have notice of the shay. He confirmed that he would bed
 1 1 '.          in court to oppose my motion. ! left him my phone number of 582-912-7712 but he
 12             said he pfd not need i#.
 13
 14 f           1 declare that the foregoing is true and correct under penalty v~ perjury under the
 75       Eaws of tf~e b'#ate of Cai~fomia and that tills declarationwa~'~cuteQ on Tuesday,
{6
'         February 25, 2020 at HurrtiRgton Beach, California.       '
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   t                                               Tanta K. ~ard~aa
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  Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 147 of 155 Page ID #:147000076
Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 148 of 155 Page ID #:148




    1   TANIA K. CARDOSO,SBN 244473
        HOLLENBECK 8 CARDOSO, LLP
    2 7755 Cerrter Avenue, Suite 1100
       Huntington Beach, CA 92647
    3 (562} 9'12-7742
      (562) 912-7728 Facsimile
    4
       ATTORNEY FOR PLAINTIFF
    5
    6
    7
    8                             SUPERIOR COURT OF CALIFORNIA
    9     COUNTY OF LOS ANGELES, CHATSWORTH COURTHOUSE --NORTH VALLEY
                                    DfSTR(CT
   90
   11

   12   NP PARC CHATEAUX, LLC,                  ) Case No.: 20CHUDQ0033

   13                Plaintiff,                  j PROPOSED ORDER aN EX PARTS
             ~                                   j MOTION
   14
                                                    DetQ: JANUARY 30, 2424
  15
  '
        MOSHE PERRY, DOES 7 through 1 d          ~ Time: 8:30AM
                                                 ~ Dept: F-~4
   16   inclusive

   17                Defendant                  )
   18
   19         Appfic~tion having been made by Plaintiff, NP PARC CHATEAUX, PLC, with proof
   20   having been made to the sa~sfaction of the Court, and GOOD CAUSE APPEARING
   27   THEREFORE,
   22   IT IS HEREBY ORDERED that:
   23         The February 7, 2020 nsfings made by this curt are reinstated and reaffirmed.
   24
        Dated:
   25
   26                                          Judge/Commissioner of the Superior Court

   27
   28

                    PROPOSED ORDER ON fX
                                                                                   1,
'251202Q                                                                                           `
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  Electronic Service Notification
                                                                                                     8 Guest User        ~7 L.. _;
    You have received this notification at the request of the submitting attorney or party as
     a means to electronically serve you a copy of the documents described below, and
    associated with 20CHUDOfl033 - NP PARC CHATEAUX, LLC vs MOSNE PERRY in
    the North VaNe~Dist~ct Chs~s~rorth Courthouse°~~partment F44.
            Like this e~~rvlce haturo. Ciiak here to try Attorney Service of San Dimas to a-fife and e-
                                         ser~r8 your docurnsrtts tccl
    ~e~re~i L~ocurne~is
    The fallowing doct~merrt8 have been efectronicatfy served. Click the document name /title, or the print icon on
    the right to open then prirrt or download.
     Document Name /Title                                                                  Status          Acttone
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      Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 150 of 155 Page ID #:150
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      Electronic service notifications have been sent to the follow(ng service corrtacis. ThQ status column wilt
      indicate whether or not the contact has opened the document



        Service Contact             Document                                                    Status

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       (t...@holienbecklaw.com) COURTS RULING OF FEBRUARY 7, 2020                               AM PST(Not Opened)
                                Order RE: EX PARTE                                              Served - 02/25/2020 10:1 Q
                                Request for Entry of Default /Judgment                          AM PST (Not Opened)
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      page.
      Served (Opened -Service contact opened document to view or pint.
      Served (Not Opened)- Servic:e contact has NOT opened the document to prirrt or view.




                                                                                                     000079
                                                                       ~~
               i.inda T. Hoilenbeck, SBN 145048
               Tana K. Ca~,~o,S          244473
               7755 Center Avenue, Ste. 7100
  3            Huntington Beach, CA 92647
                562 912-7712
  4             562 912-7728 fax
  5            Attorney fior P(aintrff
  6 II
    ii
  7 ~~
                                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
  s ~
    ~~               COUNTY OF LOS ANGELES, CHATSWORTH COURTHQUSE —NORTH VALLEY
  9 '
           j                                            DISTRICT
 10
                                                              Case No.: 20CHUD00033
 ~~            NP PARC CHATEAUX, LLC,
'?                                                            NOTICE OF RULING
.3                                                            Date: F~wa~ 7, 2020
               vs.                                            Time: 8:30 A
 ~a                                                           Dept:   F44
 15
               MOSHE PERRY, and Does Z to 10 inctusfve,
 16                                      Detendant(s)
,~
              PLEASE TAKE NOTICE that Defendant's Motion to Compel and Plaintif'rPs Ex Parte
,$ ;
   ~ I Application to Strike Defendant's Crops-Complaint was heard on February 7, 2020, at 8:30
 19 '~
2G ~ f AM, En Dept. F~4 of the CHATSWORTH COURTHOUSE before JUDGE TRIClA
21 ~ TAYE.OR.                TheCourt DENIED Defiendant's Motion to ComPel.                Further, the Court
~ ~j GRANTED Plaintiffs Ex Parte Application to Strike Defendant's Cross-Complaint. The
23 ~
      ~ i~ Coin also DENTED Defendant s Warrant for Petition for Removal to Fet~e~s1 Court.
2a I'                                                                              ~,...   'r'
23 ~                                                                        ,:'~                 ~
               Dated: February 11, 2020
                                                                   A~LC~R~E~Z~                       ,LL~—
21
                                                                   ATTORNEY FOR PLAINTIFF
~~ ~ `
      ~`                                                  a
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      ;r
      ~~                                           NOTICE OF RULING
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Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 151 of 155 Page ID #:151         000080               1~5
Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 152 of 155 Page ID #:152

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        H                                 ,~R OF        F ~S ~~C~
 __ ,~.~~, [,. T~1N1~►. K GA~OSO, declare
      ~.
                  t am, and was at the time of service of the papers herein referred to, over the age
  3        of eighteen (7 8) yeat^s, and not a party to the within acfion. 1 am employed in the County
  4        of Orange, Caiifomia, in which caunty the within mentioned mailing occuRed. My
           business address is 7755 CENTER AVENUE, SUITE 1100 HUNTINGTON BEACH, CA
  5        8287.

  6        On February 1't, 2020, 1 served the following documertt(s):
  7        Notdce of Ruing
  8
           an the faAowirrg pales:
  9
           (V9Echael (Moshe) Perry
 1Q        23?45 VanOwen Street #262
 ,~         Hest Hilis ~ CA91307


                         ~(BY PERSONAL DELIVERY} !~ delivered iiihand to the place w~ierethe
 13                       property is situated. I declare under penalty of perjury that the foregoing
                          is true and correct and if callod as a witness could testify completely.
 14
           XX             (BY MAtL) 1 placed a true and correct copy at the documents) in a
 ~5                       sealed envelope addressed as follows and 1 caused the envelope to be
 ~~                       deposited in the ma~1 at Huntington Beach, C~~ifomia. Thy envelope was
                          ma~#ed~wifiki postage thereon `ally prepaid.
 17
                          (Bl( FACSi~VftLE) 4 transmitted the documents by facsimile machine
 18                       (from telephone number: (562)912-77'f2, to each person listed in the
 ~g                       above service fist. The transmisslon(s) were reported as complete and
                          without error. A dopy of the transmission report ~s attached to this Proof
 2C                        of Service. This transmission report was properly issued by the
                           transmuting facsimile machine.
 2~
                             (BY OVERNIGHT MAfL) I placed a true and corrQct copy of the
 22                     __ . docum~nt(s).in ~se~led en~R~.~d~fr~$gd ,~f4llov~and I ,caused
 23
                          envelope to be deposited with USPS at Huntington Beach, California.

 24               1 declare under penalty of perjury under the (aws of the State of Ca(ifomia that the
           foregoing is true and correct.                                     .~•'== ~"~
 25                                                                        .~
           Executed on February 11, 2020, at Hun#ington Beach, C~ifo~nia. . ~ L    .~• ._.:.
 2~
 27                                                                              ,-~~Q.
                                                            TAN1A K. CARD
 2s



                                                                                 000081 EX.2
Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 153 of 155 Page ID #:153                                                                                              ...:f

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         Case 2:22-cv-05378-FLA-MAA Document 1 Filed 08/02/22 Page 154 of 155 Page ID #:154

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       MICHAEL(~VfO'~#I~ PERRY
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       23705 VANOWSN $T'. #262
       VVBST FiII.I.B, CA,91307                                      g~ R,tom+                ~-s ~M ~ ~~
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       NP PARC C~HATF.AiT~,LI.C., A SL3BSIDiARY
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                                                                      Casa No.: Z~CHL3D00033
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       QF ALLIANCE RESIDENTIAL dt
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~o             ~.                                                    11~VAL Y~JANT 3'O NOTICE UNDER
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              1.      C~~?W THE P~TI'TI02~~R. N~~~(Mo~j Ferry. ~d 3n dtia~t auppaR oP
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17         2.      Under 28 U.Q.C. Sec. Y443s may aIloa► z~aysl to ~edc ra~ief available only fior
18              of s right ~tts~d ~d~ i+~daral law pmvid~g for       civil rigt~s stated in berraa of
19     T~C~ ~~.                ~ S         IIIL~L SCOW ~ ~1C ~'1~4 bl~Ol1 ade![~ Ol' wit X10 ~Ot !~O[+CE" ~0


ZO             ri~gba in state c~zat Job v.. ~i,esis~, 42I U.S. 213, 9S S.CL 1591,44 L.Bd.2d 121 (1975).
21 '          3.       In tho present c$so, Mr. Perry paid all his raai on his te~cy with P~r~c Chic LLC.,
       who filed a frivolous ~iawful d~ara a~aiaat Mr. Pony, and ~e filed a demurrer ceder Califuraia Cc~d~e,
22
       Code of Civil Procedt~+e - CCP ~ 418.10(e~, but ~vMch did not ~eneraily ~pe~, 8ad whn filed a writ of
23
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   ~        ~ U.S.C. X1443: `Anp afi the foilcrnln~ c~nl adlona a c~t~! p~ecs~larm, canme~ed 'm a State court
25 may be reanov~ad by the        t ~o the dla~t court of the United S'~es ~~c~i~nembr~dr~ tha
                                                                        c~rmt            ttt d~ court of Bch Stake a
26 p!~ wtre~e~rit~a per~ft~:~f~AQa~t ~ Pe~aott wi~a ~ Qe~bd or
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27 ~u~di~lort ~e~eo~, C~ fog          corder  car   of ~~r~der#vad    t~vnt ark► ~aMr p~vv~lr~p for equ~ r~ttbs, or for
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28 838.)
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